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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA                              :
                                                      :
         -against-                                    :          NOTICE OF MOTION TO
                                                      :          TRANSFER VENUE
FRANK JAMES,                                          :
                                                      :          22-CR-214 (WFK)
                  Defendant.                          :
------------------------------------------------------X

        PLEASE TAKE NOTICE, that upon the annexed declaration and memorandum of law,

the defendant FRANK JAMES, by his attorneys MIA EISNER-GRYNBERG, ESQ., and

AMANDA DAVID, ESQ., of the Federal Defenders of New York, Inc., will move the Court,

before the Honorable William F. Kuntz II, Senior United States District Judge for the Eastern

District of New York, for an Order:

        1.       Transferring venue from the Eastern District of New York to the Eastern Division
                 of the Northern District of Illinois, or another District, pursuant to the due process
                 clause of the Fifth Amendment and the impartial jury clause of the Sixth
                 Amendment of the United States Constitution, and Fed. R. Crim. P. 21(a), to
                 ensure Mr. James a fair trial; and

        2.       Granting such other and further relief as the Court may deem just and proper.

DATED:           BROOKLYN, N.Y.
                 November 7, 2022
                                                                         /s/
                                                          MIA EISNER-GRYNBERG, ESQ.
                                                          AMANDA L. DAVID, ESQ.
                                                          Attorneys for Mr. Frank James
                                                          Federal Defenders of New York, Inc.
                                                          1 Pierrepont Plaza, 16th Floor
                                                          Brooklyn, N.Y. 11201
                                                          (718) 330-1257

TO:     BREON PEACE
        United States Attorney
        Eastern District of New York
        271 Cadman Plaza East
        Brooklyn, N.Y. 11201
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      By:   Assistant U.S. Attorney Sarah Winik
            Assistant U.S. Attorney Ian Richardson
            Assistant U.S. Attorney Ellen Sise

CC:   Clerk of the Court (WFK) (by ECF)
      Mr. Frank James (by mail)
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA                              :
                                                      :
         -against-                                    :         DECLARATION
                                                      :
FRANK JAMES,                                          :         22-CR-214 (WFK)
                                                      :
                  Defendant.                          :
------------------------------------------------------X

        MIA EISNER-GRYNBERG, ESQ. and AMANDA L. DAVID, ESQ., declare under

penalty of perjury, pursuant to 28 U.S.C. § 1746, that the following is true and correct:

        1.       We are attorneys employed by the Federal Defenders of New York, Inc., and are

among the attorneys of record assigned to represent Defendant FRANK JAMES.

        2.       This declaration is submitted in support of the Defendant’s motion for an order:

                 A.       Transferring venue from the Eastern District of New York to the Eastern
                          Division of the Northern District of Illinois, or another District, pursuant
                          to the due process clause of the Fifth Amendment and the impartial jury
                          clause of the Sixth Amendment of the United States Constitution, and Fed.
                          R. Crim. P. 21(a), to ensure Mr. James a fair trial; and

                 B.       Granting such other and further relief as the Court may deem just and
                          proper.

        3.       This declaration is based on media in the public record and public opinion polls

and analysis performed by Select Litigation, LLC, of Washington, D.C.

        4.       On April 12, 2022, a mass shooting occurred on a northbound MTA subway car

on the N line. On April 13, 2022, Mr. Frank James was arrested, ECF No. 1, and on April 14,

2022, he was arraigned and detained in connection with the instant offense. ECF No. 7. On May

6, 2022, he was charged in a two-count indictment. ECF No. 15. Count One alleges a violation of

18 U.SC. § 1992(a)(7), (a)(10), and (b)(1), by discharging a firearm at passengers on an MTA

subway car while the car was carrying passengers. Id. Count Two alleges a violation of 18

                                                          1
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U.S.C. § 924(c) by carrying, brandishing, and discharging a firearm in furtherance of a crime of

violence, the § 1992 offense. Id.

        5.      This motion surrounds Mr. James’s Fifth and Sixth Amendment rights to a fair

trial before an impartial jury. Because so great a prejudice against him exists in the Eastern

District of New York, Mr. James cannot receive a fair and impartial trial here. Fed. R. Crim. P.

21(a). Because of its demographic similarities, Mr. James proposes a transfer to the Eastern

Division of the Northern District of Illinois, or another appropriate District in the sound

discretion of the Court. 1

        6.      Exhibit A is a video of a law enforcement press conference held on April 12,

2022, at approximately 7:00 P.M., pulled from @NYPDnews, Twitter (Apr. 12, 2022, 7:03

P.M.), at https://twitter.com/NYPDnews/status/1514016329027620867.

        7.      Exhibit B is a video of New York City Mayor Eric Adams’s televised broadcast

on April 13, 2022, at 2:36 P.M. @CBSNews, Twitter (Apr. 13, 2022, 2:36 P.M.), at

https://twitter.com/CBSNews/status/1514311669341634570.

        8.      Exhibit C is a compendium of representative news articles published in New

York-area newspapers reporting on the instant case.

        9.      Exhibit D is a report produced by Select Litigation, LLC, of Washington, D.C.,

analyzing the results of public opinion polls conducted of 400 respondents in the Eastern District

of New York and 400 respondents in the Eastern Division of the Northern District of Illinois by

telephone from October 29-November 3, 2022, excluding October 31, 2022. Exhibit E is a



1
  Should the Court grant Mr. James’s motion, we contemplate that undersigned counsel, the
government, and the Court, in its discretion, will travel with the case to the transferee district.
E.g., United States v. McVeigh, 918 F. Supp. 1467 (W.D. Okla. 1996) (transferring venue from
the Western District of Oklahoma to the District of Colorado alongside Court and counsel).


                                                  2
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topline report of results and key tables of subgroups (referenced as Appendix A in Ex. D).

Exhibit F is the complete compendium of all results of the public opinion polls.

       10.     The bases for the motion are set forth in the accompanying Memorandum of Law.

Because so great a prejudice exists against Mr. James in the Eastern District of New York, as

demonstrated by both public opinion polling and unfairly prejudicial pretrial publicity, a fair trial

cannot be held here without violating his constitutional rights.

       11.     For the foregoing reasons, as explained in the Memorandum of Law, so that he

may have a fair trial before an impartial jury, Mr. James respectfully requests that the Court (i)

transfer venue in accordance with the procedure set forth in Fed. R. Crim. P. 21(a); (ii) to the

Eastern Division of the Northern District of Illinois; or (iii) to another appropriate District; or

(iv), in the alternative, hold an evidentiary hearing to receive expert opinion testimony on the

issues raised by this motion; and (v) grant such other and further relief that the Court deems just

and proper.

DATED:         BROOKLYN, N.Y.
               November 7, 2022
                                                                      /s/
                                                       MIA EISNER-GRYNBERG, ESQ.
                                                       AMANDA L. DAVID, ESQ.
                                                       Attorneys for Mr. Frank James
                                                       Federal Defenders of New York, Inc.
                                                       1 Pierrepont Plaza, 16th Floor
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                                                   3
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA                              :
                                                      :
         -against-                                    :
                                                      :          22-CR-214 (WFK)
FRANK JAMES,                                          :
                                                      :
                  Defendant.                          :
------------------------------------------------------X




                                  MEMORANDUM IN SUPPORT OF
                                  MOTION TO TRANSFER VENUE




                                                          MIA EISNER-GRYNBERG, ESQ.
                                                          AMANDA L. DAVID, ESQ.
                                                          Federal Defenders of New York, Inc.
                                                          Attorneys for Mr. James
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                                                          Brooklyn, New York 11201
                                                          (718) 330-1257

TO:     BREON PEACE
        United States Attorney
        Eastern District of New York
        271 Cadman Plaza East
        Brooklyn, New York 11201
        By:    Assistant U.S. Attorney Sara Winik, Esq.
               Assistant U.S. Attorney Ian Richardson, Esq.
               Assistant U.S. Attorney Ellen Sise, Esq.
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          This Memorandum of Law is submitted in support of Frank James’s motion to transfer

vernue.

          A.     Introduction

Mr. Frank James cannot receive a fair trial in the Eastern District of New York. Prospective

jurors in the Eastern District of New York have significantly prejudged Mr. James’s guilt, admit

that they will vote “guilty” if serving on his jury without having heard a single witness, and are

decidedly more hostile toward him than prospective jurors in a demographically comparable

District. Pervasive pretrial publicity has fomented prejudice against Mr. James. Together, these

factors warrant a presumption of prejudice, preventing the empanelment of an impartial jury.

Therefore, to protect his Fifth and Sixth Amendment rights to a fair trial before an impartial jury,

and pursuant to Federal Rule of Criminal Procedure 21(a), Mr. James respectfully requests that

this Court transfer his case to the Eastern Division of the Northern District of Chicago, or

another appropriate District.

          B.     Background

          The mass shooting on the Manhattan-bound N train in Sunset Park during the morning

rush hour paralyzed and captivated residents of the Eastern District of New York. New Yorkers

learned of the mass shooting as they commuted to work and took their children to school. The

New York City Emergency Management system alerted every New Yorker with a smartphone to

stay away from Sunset Park. 1 The neighborhood locked down; all schools in Boerum Hill,

Carroll Gardens, Gowanus, Park Slope, Windsor Terrace, Fort Greene, Red Hook and Sunset




1
 Michael Wilson, Ashley Southall and Andy Newman, After a Gunman Seemed to Vanish,
These New Yorkers Helped End the Search, The New York Times (Apr. 16, 2022), at
https://www.nytimes.com/2022/04/16/nyregion/brooklyn-subway-shooter-nypd-manhunt.html.
                                                 1
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Park, Brooklyn were ordered to shelter in place while law enforcement searched for the

perpetrator. 2

        On the evening of April 12, 2022, officials conducted a widely publicized law

enforcement press conference, and released Frank James’s name in connection with the

shootings, offering a $50,000 reward for information regarding his whereabouts. Ex. A at 09:42,

10:28. The video has been watched online by more than 52,000 viewers, in addition to live

television audiences. 3 Around the same time, they released two photographs of Frank James. 4

New Yorkers went to sleep that night with the suspect on the loose. They woke up to this cover

of the New York Post, 5 depicting Mr. James alongside horrifying bloodshed:




2
  Jessica Gould, In wake of subway shooting, nearby Brooklyn schools shelter in place,
Gothamist (Apr. 12, 2022), at https://gothamist.com/news/in-wake-of-subway-shooting-nearby-
brooklyn-schools-shelter-in-place.
3
  @NYPDnews, Twitter (Apr. 12, 2022, 7:03 P.M.), at https://twitter.com/NYPDnews/status/
1514016329027620867.
4
  @NYPDnews, Twitter (Apr. 12, 2022, 7:55 P.M.), at https://twitter.com/NYPDnews/status/
1514029359769792517.
5
  Cover, New York Post (Apr. 13, 2022), at https://nypost.com/cover/april-13-2022/
                                                2
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       On April 13, 2022, at 10:21 A.M., emergency alarms rang on every New Yorker’s

smartphone, altering millions of people: “WANTED FOR BROOKLYN SUBWAY

SHOOTING: FRANK JAMES, BLACK MALE, 62 YEARS OLD. ANY INFORMATION

CAN BE DIRECTED TO NYPD TIPS AT 800-577-TIPS (8477). MORE INFO & PHOTO:

NYC.GOV/NOTIFYNYC.” 6 At 1:10 P.M., Frank James called the Crime Stoppers tip line,

stating that he had seen his face on the news and seeking to turn himself in, providing his

location. Arriving officers arrested him without incident.

       At 2:36 P.M. on April 13, 2022, New York City Mayor Eric Adams announced the arrest

of Frank James, declaring, “My fellow New Yorkers, we got him. We got him.” Ex. B at 00:01-

00:08. More than 4,700,000 viewers, in addition to live television audiences, watched the

announcement. 7 In advance of his federal court arraignment the next day, the New York Post

declared him a “Smirking Terrorist:” 8




6
  John Hendrickson, Today Your Phone Became a Police Radio, The Atlantic (Apr. 13, 2022), at
https://www.theatlantic.com/politics/archive/2022/04/brooklyn-subway-shooting-suspect-
manhunt-push-alert/629549/.
7
  @CBSNews, Twitter (Apr. 13, 2022, 2:36 P.M.), at https://twitter.com/CBSNews/status/
1514311669341634570.
8
  Cover, New York Post (Apr. 14, 2022), at https://nypost.com/cover/april-14-2022/
                                                 3
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       News articles following Mr. James’s arrest referred to him as a “terrorist,” Ex. C at 5, 43;

a “maniac,” id. at 33, 77; a “deranged loner,” id. at 6; “crazed,” id. at 23; a “raving madman,” id.

at 70; “unhinged,” id. at 19, 67, 112; and a “nihilist, obsessed with killing and hatred.” Id. at 68.

Though such articles were most prominent immediately following the arrest, they continue with

each of Mr. James’s court appearances. E.g, id. at 69 (May 13, 2022), 31 (July 25, 2022), and 59

(October 12, 2022). The subway shooting has taken on particular political salience, with

candidates from both major political parties airing footage of the mass shooting as part of

campaign advertisements. 9

       C.      Legal Standards

       The Fifth and Sixth Amendments to the United States Constitution guarantee a criminal

defendant’s right to be tried by a fair and impartial jury. Groppi v. Wisconsin, 400 U.S. 505, 508

(1971). “[I]mpartial” jurors must be “free from outside influences,” Sheppard v. Maxwell, 384

U.S. 333, 362 (1966), and able to decide the case “solely on the basis of evidence produced in

court,” undisturbed by personal prejudice or public passion. Irvin v. Dowd, 366 U.S. 717, 729

(1961) (Frankfurter, J., concurring). “The Constitution’s place-of-trial prescriptions…do not

impede transfer of the proceeding to a different district at the defendant’s request if extraordinary

local prejudice will prevent a fair trial—a ‘basic requirement of due process.’” Skilling v. United

States, 561 U.S. 358, 378 (2010) (quoting In re Murchison, 349 U.S. 133, 136 (1955)).



9
 For example, on October 24, 2022, just before the midterm election, Max Rose, Democratic
candidate for the United States House of Representatives in NY-11, which is entirely within the
Eastern District of New York, published a campaign advertisement depicting the subway
shooting, which has been viewed at least 103,700 times, in addition to television audiences.
@MaxRose4NY, Twitter (Oct. 24, 2022), at https://twitter.com/MaxRose4NY/status/
1584530514064515077. See also Campaign video of Lee Zeldin, Republican candidate for New
York Governor. @leezeldin, Twitter (Apr. 24, 2022), at https://twitter.com/leezeldin/status/
1518275812457422851. The advertisement, which aired to statewide television audiences, and
depicts the subway shooting, has been viewed online at least 10,700 times. Id.
                                                  4
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       A constitutional venue challenge prior to jury selection requires a defendant to “make a

showing of presumed prejudice, arising when ‘prejudicial publicity so pervades or saturates the

community as to render virtually impossible a fair trial by an impartial jury drawn from that

community.’” United States v. Volpe, 42 F. Supp. 2d 204, 216 (E.D.N.Y. 1999) (quoting Mayola

v. Alabama, 623 F.2d 992, 997 (5th Cir. 1980)). “[A]dverse pretrial publicity can create such a

presumption of prejudice in a community that the jurors’ claims that they can be impartial should

not be believed.” Patton v. Yount, 467 U.S. 1025, 1031 (1984). To be sure, “cases presenting this

scenario are very rare,” United States v. Sabhnani, 599 F.3d 215, 233 (2d Cir. 2010), “attend[ing]

only the extreme case.” Skilling, 561 U.S. at 380-81.

       “Upon the defendant’s motion,” Federal Rule of Criminal Procedure 21(a) separately

requires that the Court “must transfer the proceeding against that defendant to another district if

the court is satisfied that so great a prejudice against the defendant exists in the transferring

district that the defendant cannot obtain a fair and impartial trial there.” Rule 21(a) is generally

understood to be more favorable to the defense—that is, it is less tolerant of prejudicial

publicity—than the constitutional standard. See Mu’Min v. Virginia, 500 U.S. 415, 424 (1991)

(indicating that the Supreme Court’s supervisory powers confer “more latitude” to set standards

for the conduct of trials in federal courts than in state courts). “In order to prevail on a motion

under Rule 21(a), the defendant must show ‘a reasonable likelihood that prejudicial news prior to

trial will prevent a fair trial.’” United States v. Maldonado-Rivera, 922 F.2d 934, 966-67 (2d Cir.

1990) (quoting Sheppard v. Maxwell, 384 U.S. 333, 363 (1966)). Among the factors courts

consider are “the extent to which the government is responsible for generating the publicity, the

extent to which the publicity focuses on the crime rather than on the individual defendants

charged with it, and other factors reflecting on the likely effect of the publicity on the ability of



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potential jurors in the district to hear the evidence impartially.” Maldonado-Rivera, 922 F.2d at

967. In addition to the nature of the media coverage relevant to the case, those may include the

size and characteristics of the community and the time elapsed between the crime and the trial.

Skilling, 561 U.S. at 382-83, 425.

       D.      Argument

       Where a community has been saturated with prejudicial and inflammatory publicity about

the crime and the defendant to such a degree that jurors’ assurances of impartiality cannot be

trusted, a fair trial cannot be held there. Rideau v. Louisiana, 373 U.S. 723 (1963); Sheppard,

384 U.S. at 352-55. Here, New York government officials drafted the entire potential jury pool

of the Eastern District of New York into service as citizen-investigators in their hunt for Frank

James, and then assured them “we” got the right perpetrator: Mr. James. The news media and

politicians continually published inflammatory and inadmissible information about Mr. James,

close in time to the intended start of his trial. These efforts combined to produce a jury pool that

harbors decidedly negative, often incorrect, and fixed views about him, and, without hearing any

evidence, is overwhelmingly inclined to find him guilty despite his presumption of innocence.

Under these circumstances, the Court must presume prejudice and transfer venue.

               i.      Inflammatory Pretrial Publicity by Government Officials and the News
                       Media Warrant a Presumption of Prejudice

                       a.      Statements of Government Officials

       On April 12-13, 2022, in their hunt for and capture of the perpetrator of the mass

shootings on the subway, New York City government officials consistently send the prospective

jury a single message: Frank James is guilty. On the evening of April 12, 2022, at a televised

press conference viewed more than 52,000 times, the Mayor, Police Commissioner, FBI Special

Agent-in-Charge, NYPD Chief of Detectives, and other officials released Frank James’s name to

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the public, Ex. A at 09:42, indicated that “we do have a person of interest in this investigation,

but we need the public’s assistance” in finding him, id. at 06:42-06:48, and offered a $50,000

reward. Id. at 10:28-10:31. Officials contemporaneously released two photographs of Mr. James.

          The next morning, the New York City Emergency Management system blasted an urgent

message to every potential juror’s cell phone, naming Mr. James as the sole suspect, linking to

his photograph, and urging New Yorkers to find him. After his name and image so saturated the

media that Mr. James himself referenced these messages and his widely publicized image when

he turned himself in, Mayor Adams broadcast a message, viewed more than 4,700,000 times,

announcing “my fellow New Yorkers:” “We got him,” repeating “we got him” four times in a

one-minute video. Ex. B at 00:01-00:08; 00:30-00:32; 01:03-01:05. The Mayor “thank[ed]

everyday New Yorkers who called in tips.” Id. at 00:46-00:50. His message was clear and

consistent: “we”—the prospective members of the jury—“got him,” Frank James. Candidates

from both major political parties have latched onto prospective jurors’ memories of the subway

shooting with particular salience, using it to warn New Yorkers of a singularly frightening

moment. 10

          In these circumstances, where all members of the prospective jury have been inundated

by a drumbeat from their highest-ranking government officials that Mr. James is guilty, and

where the government drafted them into service to assist with his capture, the government is

“responsible” for the publicity generated as a result. Maldonado-Rivera, 922 F.2d at 967.

                        b.      Statements in the Local News Media

          Following the lead of government officials, the local news media breathlessly followed

the events of April 12-13, 2022, continuing with each of Mr. James’s pretrial court appearances,



10
     See ante n.9.
                                                  7
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close in time to the intended start of his trial, only ten months’ removed from the incident. Their

coverage, which universally assumes his guilt, has exposed potential jurors in this District to

evidence that will be “clearly inadmissible” at trial. Sheppard, 384 U.S. at 360. Local media has

repeatedly characterized Mr. James as a terrorist, a maniac, a raving madman and an unhinged

nihilist obsessed with killing and hatred, none of which will be admissible. Ex. E. Layered atop

the public’s direct involvement in the investigation, as charged by their government officials, Mr.

James has shown a “reasonable likelihood that prejudicial news prior to trial will prevent a fair

trial.’” Maldonado-Rivera, 922 F.2d at 966-67; Sheppard, 384 U.S. at 363 (1966)).

               ii.     A Comparison of Results of Public Opinion Polls in the Eastern District of
                       New York and the Eastern Division of the Northern District of Illinois
                       Demonstrate that Mr. James Cannot Receive a Fair Trial Here

       Because of the prejudicial pretrial publicity produced by government officials and the

local news media, prospective jurors in the Eastern District of New York hold decidedly

negative, often incorrect, and fixed views about Mr. James and his guilt. Their views establish

that any future assurances by the venire that they can be “fair and impartial,” even if genuinely

felt, will be untrustworthy. Yount, 467 U.S. at 1031.

       From October 29-November 3, 2022, but excluding October 31, 2022, Select Litigation,

LLC conducted public opinion polling of 400 jury-eligible citizens of the Eastern District of New

York (“EDNY”) and, for comparison, 400 jury-eligible citizens of the Eastern Division of the

Northern District of Illinois (“EDNDIL”), comprised of Chicago and its surrounding counties.

Ex. D. Results of the poll show a statistically significant difference in the most important

questions presented: jurors here are overwhelmingly more likely both to prejudge Mr. James

guilty, without hearing and evidence, and to the same degree, they are more likely to assert that

they will vote guilty at his trial, despite the presumption of innocence:



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                    Comparison of opinions among prospective jurors in EDNY and EDNDIL
                                                                             NY      IL       Difference
Q5. Do you think that the                          Guilty                    57%    38%           +19
individual arrested for this                       Not guilty                 3       1            -2
shooting is guilty or not guilty     Volunteered (Depends)                   14     17             -3
of the charges brought against       Volunteered (Don’t know/refused)        26     45            -19
him?
Q6. Assume you are on a jury                       Guilty                    51%    34%           +17
for this defendant. Are you                        Not guilty                 2       1            +1
more likely to vote that he is       Volunteered (Depends)                   23     33            -10
guilty or not guilty?                Volunteered (Don’t know/refused)        24     32             -8

 Id. at 4.

          The vast majority (69%) of EDNY prospective jurors polled are aware of the mass

 shooting that took place in Sunset Park on the morning of April 12, 2022, and a majority (57%)

 are aware that a man was arrested. Id. at 2. Only 29% have not seen or read any news coverage

 about the case. Id. at 4. Most (57%) jury-eligible respondents in the EDNY have prejudged Mr.

 James guilty, and more than half volunteered to anonymous interviewers that they would be

 more likely to find him guilty if selected to serve on his jury. Id. at 2. C.f. Skilling, 561 U.S. 380-

 84 (declining to presume prejudice where 43% of venire had never heard of defendant and only

 12.3% thought him guilty). A majority of EDNY respondents say that feel less safe riding the

 subway because of the shooting, including a full third who feel “much” less safe. Ex. D at 3.

 Despite this widespread prejudgment, most (64%) EDNY respondents express confidence that he

 will receive a fair trial here. Id. at 2. This contrast is alarming: among those respondents who

 believe he will receive a fair trial here, 63% of them say they would vote “guilty” at that “fair

 trial.” Id.

          Prospective jurors hold these fixed and negative views about Mr. James despite knowing

 almost nothing about him or the evidence in the case. Only a little above one-quarter can

 articulate any “things that you know about Frank James.” Id. at 3. Many who claim to know

 things about the case possess strongly incorrect memories: “the man killed like 10 people;” Ex. F
                                                    9
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at 70; “a lot of people died,” id., “he killed the innocent people,” id. at 71; “it was a shooting that

killed people on the subway,” id.; “one person died,” id.; “10 people were killed and a lot more

were injured,” id. at 72; “a lot of people were killed,” id, “a lot of people killed,” id.; “10 people

were killed and a lot more were hurt,” id.; “he killed 30 people on the train last April.” Id.

       The Eastern Division of the Northern District of Illinois (“EDNDIL”) is the most

demographically and politically comparable district to the EDNY nationally, aside from the

Southern District of New York, which was plagued by the same prejudices and media exposure

as the EDNY. Ex. D at 3-4. Jury-eligible respondents are much less likely to be aware of the

Brooklyn subway shooting (69% in EDNY, 44% in EDNDIL) and of the arrest of Mr. James

(57% in EDNY, 30% in EDNDIL); the majority have not seen or read any coverage, despite it

having been a prominent national story. Id. at 4. As indicated, EDNDIL jurors are significantly

less likely to have prejudged Mr. James guilty (57% in EDNY, 38% in EDNDIL) and to be less

likely to vote guilty at his trial (51% in EDNY, 34% in EDNDIL). Id. Despite this, EDNDIL

respondents are vastly less likely to believe he will receive a fair trial (64% in EDNY, 43% in

EDNDIL).

       “By most every measure, prospective jurors in the EDNY are by a statistically significant

margin more likely to have prejudged the guilt of Mr. James, to have been exposed to media

coverage that they believe communicates his guilt, to have had discussions with individuals who

believe him guilty, and to have been affected by the shooting than citizens in another division of

the federal court system.” Id. at 5. These public opinion poll results demonstrate that EDNY

jurors know and are committed to the messages they received over and again from their

government officials: Mr. James is guilty—“we got him”—and without hearing any evidence,

the only “fair trial” here is one where they will find him guilty.



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        Accordingly, this is one of the “rare,” Sabhnani, 599 F.3d at 233, and “extreme,” Skilling,

561 U.S. at 380-81, cases in which “prejudicial publicity so pervades or saturates the community

as to render virtually impossible a fair trial by an impartial jury drawn from that

community.” Mayola v. Alabama, 623 F.2d at 997. Mr. James has demonstrated that “so great a

prejudice against the defendant exists in the [EDNY] that the defendant cannot obtain a fair and

impartial trial there.” Fed. R. Crim. P. 21(a). Therefore, so that he is afforded a fair trial before

an impartial jury, to which he is entitled by the Fifth and Sixths Amendments of the United

States Constitution, the Court “must” transfer venue. For the reasons indicated, Mr. James

respectfully requests transfer to the Eastern Division of the Northern District of Illinois, or

another appropriate district.

        E.      Conclusion

        For the foregoing reasons, as explained in the Memorandum of Law, so that he may have

a fair trial before an impartial jury, Mr. James respectfully requests that the Court (i) transfer

venue in accordance with the procedure set forth in Fed. R. Crim. P. 21(a); (ii) to the Eastern

Division of the Northern District of Illinois; or (iii) to another appropriate District; or (iv), in the

alternative, hold an evidentiary hearing to receive expert opinion testimony on the issues raised

by this motion; and (v) grant such other and further relief that the Court deems just and proper.

                                                Respectfully submitted,

                                                        /s/
                                                MIA EISNER-GRYNBERG, ESQ.
                                                AMANDA L. DAVID, ESQ.
                                                Federal Defenders of New York, Inc.
                                                Attorneys for Mr. James
                                                1 Pierrepont Plaza, 16th Floor
                                                Brooklyn, New York 11201
                                                (718) 330-1257




                                                   11
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                        EXHIBIT A
                    NYPD Press Conference

@NYPDnews, Twitter (Apr. 12, 2022, 7:03 P.M.), at
      https://twitter.com/NYPDnews/
       status/1514016329027620867
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                     EXHIBIT B
              Mayor Eric Adams Statement

@CBSNews, Twitter (Apr. 13, 2022, 2:36 P.M.), at
      https://twitter.com/CBSNews/
       status/1514311669341634570
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                            EXHIBIT C
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The attached news articles are a representative, but incomplete, sampling.

1. Cover, New York Post (Apr. 13, 2022), at https://nypost.com/cover/april-13-2022/

2. Cover, New York Post (Apr. 14, 2022), at https://nypost.com/cover/april-14-2022/

3. Kevin Sheehan and Jorge Fitz-Gibbon, Accused Brooklyn subway shooter Frank James
   arraigned, held without bail, New York Post (Apr. 14, 2022), at
   https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/

4.    Jack Morphet, William Farrington, and Mark Lungariello, Accused subway shooter Frank
     James bought smoke bombs, other fireworks in Wisconsin, New York Post (Apr. 13, 2022),
     at https://nypost.com/2022/04/13/accused-brooklyn-subway-shooter-frank-james-bought-
     smoke-bombs-other-fireworks-in-wisconsin

5. Valentina Jaramillo and Ben Feuerherd, Accused NYC subway mass shooter Frank James
   whines about media coverage, says he’s ‘not too good’ in jail, New York Post (Jul. 25,
   2022), at https://nypost.com/2022/07/25/accused-nyc-subway-shooter-frank-james-says-hes-
   not-too-good-in-jail/

6. Craig McCarthy, Alleged shooter Frank James’ past arrests include threatening former boss,
   New York Post (Apr. 14, 2022), at https://nypost.com/2022/04/14/alleged-nyc-shooter-frank-
   james-previously-arrested-for-boss-threats/

7. Kevin Sheehan, Nolan Hicks and Bruce Golding, Brooklyn subway terror suspect Frank
   James was‘quiet and moody’ in group therapy, New York Post (Apr. 13, 2022), at
   https://nypost.com/2022/04/13/alleged-subway-shooter-frank-james-quiet-in-group-therapy/

8. Deroy Murdock, Democrats who claim white supremacy is top problem ignore black racist
   killers, New York Post (Apr. 17, 2022), at https://nypost.com/2022/04/17/democrats-who-
   claim-white-supremacy-is-top-problem-ignore-black-racist-killers/

9. Eyewitness News, Man accused of shooting 10 on subway train refuses to come to court,
   ABC7NY.com (Oct. 12, 2022), at https://abc7ny.com/frank-james-subway-shooting-
   brooklyn/12320241/

10. Ben Feuerherd, Judge angered after accused NYC subway shooter Frank James skips court,
    New York Post (Oct. 12, 2022), at https://nypost.com/2022/10/12/judge-blasts-nyc-subway-
    shooter-frank-james-for-skipping-court/

11. Post Editorial Board, Media downplays accused Brooklyn subway shooter Frank James’
    hatred of whites, New York Post (Apr. 14, 2022), at https://nypost.com/2022/04/14/media-
    downplays-accused-brooklyn-shooter-frank-jamess-hatred-of-whites/
Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 22 of 239 PageID #: 236




12. Khristina Narizhnaya and Gabrielle Fonrouge, NYC subway suspect Frank James pleads not
    guilty to terrorism charges, New York Post (May 13, 2022), at https://nypost.com/2022/05
    /13/nyc-shooting-suspect-frank-james-pleads-not-guilty-to-terrorism/

13. Joe Marino, Tina Moore and Amanda Woods, Pregnant woman trampled during Brooklyn
    subway shooting calls mayhem ‘absolute nightmare’, New York Post (Apr. 13, 2022), at
    https://nypost.com/2022/04/13/pregnant-brooklyn-subway-shooting-victim-recalls-death-
    trap/

14. Kerry J. Byrne, Joe Marino and Melissa Klein, Subway victims’ injuries may reveal alleged
    shooter Frank James’s motives, New York Post (Apr. 16, 2022), at https://nypost.com/2022/
    04/16/subway-victims-injuries-may-reveal-alleged-shooter-frank-jamess-motives/

15. Miranda Devine, Suspect Frank James was spewing racist hate years before Brooklyn
    subway shooting, New York Post (Apr. 13, 2022), at https://nypost.com/2022/04/13/suspect-
    frank-james-was-spewing-racist-hate-well-before-brooklyn-shooting/

16. Nicole Gelinas, The NYC subway shooter, despite disordered thoughts, bears responsibility
    for his crimes, New York Post (Apr. 17, 2022), at https://nypost.com/2022/04/17/the-nyc-
    subway-shooter-bears-responsibility-for-his-crimes/

17. Craig McCarthy, Jack Morphet, Reuven Fenton and Jorge Fitz-Gibbon, Who is Brooklyn
    subway shooting suspect Frank James?, New York Post (Apr. 13, 2022), at
    https://nypost.com/2022/04/13/who-is-brooklyn-subway-shooting-suspect-frank-james/

18. Jorge Fitz-Gibbon, Jesse O’Neill, Craig McCarthy and Tina Moore, Subway shooting suspect
    Frank R. James’ YouTube tirades about race, guns and Eric Adams exposed, New York Post
    (Apr. 12, 2022), at https://nypost.com/2022/04/12/frank-r-james-idd-as-person-of-interest-in-
    brooklyn-subway-shooting/
Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 23 of 239 PageID #: 237
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11/2/22, 1:28Case
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                                                                 shooter Frank       25 of 239 PageID #: 239
                                                                               James arraigned


                                                                                                                                    LOG IN


   Carlos David               Man’s body                 Dog caught                    Parents in          California dad,   Painter fatally
   Castro Rojas               found hanging              running with                  murder-suicide      22-year-old       struck by car on
   family awarde…             from tree in N…            decapitated…                  that killed 6 ki…   daughter…         Van Wyck…




     METRO




  Accused Brooklyn subway shooter Frank James
  arraigned, held without bail
  By Kevin Sheehan and Jorge Fitz-Gibbon
  April 14, 2022        1:10pm        Updated




  Frank James, the deranged loner charged with the bloody attack on a Brooklyn subway train,
  was arraigned on a federal terrorism charge Thursday — with prosecutors calling the
  rampage “entirely premeditated.”



https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                            1/20
11/2/22, 1:28Case
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                                            Accused  Filedsubway
                                                            11/07/22        Page
                                                                 shooter Frank       26 of 239 PageID #: 240
                                                                               James arraigned

  “The defendant . . . opened fire on passengers on a crowded subway train, interrupting their
                                                                                      LOG IN
  morning commute in a way this city hasn’t seen in more than 20 years,” Assistant US
  Attorney Sara Winik said in court.
   Carlos David      Man’s body                        Dog caught                Parents in            California dad,   Painter fatally
   Castro Rojas
  “The    defendant’sfound
   family awarde…    from
                            hanging
                       attack
                          tree inwas
                                 N…           it       running with
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                                                                                                       22-year-old
                                                                                      killed 6 ki… planned
                                                                                                                         struck by car on
                                                                                                             and it caused
                                                                                                       daughter…         Vanterror
                                                                                                                             Wyck…
  among the victims and our entire city,” Winik said as James was ordered held without bail.
  “Defendant’s mere presence outside of federal custody presidents a serious risk, a danger to
  the community.”




  Meanwhile, James’ court-appointed lawyer urged the public to withhold judgment on the
  case until all the facts are out.

  “Initial press and police reports in cases like this one are often inaccurate,” federal defender
  Mia Eisner-Grynberg said outside Brooklyn federal court after James was ordered held
  without bail.




https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                        2/20
11/2/22, 1:28Case
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                                                                 shooter Frank       27 of 239 PageID #: 241
                                                                               James arraigned


                                                                                                                                    LOG IN


   Carlos David               Man’s body                 Dog caught                    Parents in          California dad,   Painter fatally
   Castro Rojas               found hanging              running with                  murder-suicide      22-year-old       struck by car on
   family awarde…             from tree in N…            decapitated…                  that killed 6 ki…   daughter…         Van Wyck…




       00:01                                                                                                                           01:44




  In this courtroom sketch, Frank James, seated at center of right table, and on left of the screen, upper right, appears
  during the brief proceeding in a federal court.
  AP




https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                            3/20
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                                                                 shooter Frank       28 of 239 PageID #: 242
                                                                               James arraigned


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   Carlos David               Man’s body                 Dog caught                    Parents in          California dad,   Painter fatally
   Castro Rojas               found hanging              running with                  murder-suicide      22-year-old       struck by car on
   family awarde…             from tree in N…            decapitated…                  that killed 6 ki…   daughter…         Van Wyck…




  Frank James sits as he appears during his court hearing.
  REUTERS


  “Mr. James is entitled to a fair trial and we will ensure that he will get one.”

  The hulking James wore a green button-down shirt, matching green slacks and sneakers
  with white soles in the courtroom.

  He said little other than to answer the judge with, “yes,” when questioned, and spent much of
  the proceedings signing paperwork.




https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                            4/20
11/2/22, 1:28Case
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                                                                 shooter Frank       29 of 239 PageID #: 243
                                                                               James arraigned


                                                                                                                                    LOG IN


   Carlos David               Man’s body                 Dog caught                    Parents in          California dad,   Painter fatally
   Castro Rojas               found hanging              running with                  murder-suicide      22-year-old       struck by car on
   family awarde…             from tree in N…            decapitated…                  that killed 6 ki…   daughter…         Van Wyck…




  New York subway attacker Frank James was arraigned on federal terrorism charges on April 14, 2022.
  NYPD/ZUMA Press Wire Service




https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                            5/20
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                                                                 shooter Frank       30 of 239 PageID #: 244
                                                                               James arraigned


                                                                                                                                    LOG IN


   Carlos David               Man’s body                 Dog caught                    Parents in          California dad,   Painter fatally
   Castro Rojas               found hanging              running with                  murder-suicide      22-year-old       struck by car on
   family awarde…             from tree in N…            decapitated…                  that killed 6 ki…   daughter…         Van Wyck…




  Frank James is led away from the 9th Precinct into federal custody in New York City on April 13, 2022.
  BRYAN R. SMITH/AFP via Getty Images




https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                            6/20
11/2/22, 1:28Case
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                                                                 shooter Frank       31 of 239 PageID #: 245
                                                                               James arraigned


                                                                                                                                    LOG IN


   Carlos David               Man’s body                 Dog caught                    Parents in          California dad,   Painter fatally
   Castro Rojas               found hanging              running with                  murder-suicide      22-year-old       struck by car on
   family awarde…             from tree in N…            decapitated…                  that killed 6 ki…   daughter…         Van Wyck…




  Blood is seen at the 36th Street subway station after a shooting in the New York subway on April 12, 2022.
  ARMEN ARMENIAN via REUTERS




https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                            7/20
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                                                                 shooter Frank       32 of 239 PageID #: 246
                                                                               James arraigned


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   Carlos David               Man’s body                 Dog caught                    Parents in          California dad,   Painter fatally
   Castro Rojas               found hanging              running with                  murder-suicide      22-year-old       struck by car on
   family awarde…             from tree in N…            decapitated…                  that killed 6 ki…   daughter…         Van Wyck…




  Frank James walks out of the 5th Precinct on April 14, 2022.
  Robert Miller


  He was charged with committing a terrorist or other violent attack against a mass
  transportation system and faces life in prison.

  Federal prosecutors said in a court memo that he was behind the planned attack that injured
  29 straphangers on an N train during the morning commute on Tuesday after driving a rental
  van from Philadelphia.

  Ten of the injured were shot — none fatally.

  Police arrested James Wednesday after a massive manhunt — when he dropped a dime on
  himself and called Crime Stoppers.




https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                            8/20
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                                                                 shooter Frank       33 of 239 PageID #: 247
                                                                               James arraigned


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   Carlos David               Man’s body                 Dog caught                    Parents in          California dad,   Painter fatally
   Castro Rojas               found hanging              running with                  murder-suicide      22-year-old       struck by car on
   family awarde…             from tree in N…            decapitated…                  that killed 6 ki…   daughter…         Van Wyck…




  Law enforcement officials look over the area after a shooting on a subway train Tuesday, April 12, 2022, in Brooklyn.
  AP Photo/Kevin Hagen




https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                            9/20
11/2/22, 1:28Case
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                                                                 shooter Frank       34 of 239 PageID #: 248
                                                                               James arraigned


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   Carlos David               Man’s body                 Dog caught                    Parents in          California dad,   Painter fatally
   Castro Rojas               found hanging              running with                  murder-suicide      22-year-old       struck by car on
   family awarde…             from tree in N…            decapitated…                  that killed 6 ki…   daughter…         Van Wyck…




  Video captured minutes after accused gunman Frank James allegedly opened fire on a New York subway car appears
  to show the madman sauntering down the street as children run behind him.

  “What happened in the New York City subway system was a tragedy,” Eisner-Grynberg
  said. “What we do know is this: Yesterday, Mr. James saw his photograph on the news. He
  called Crime Stoppers to help.”

  She did not clarify the comment about him helping.

  In the courtroom, US Magistrate Judge Roanne Mann ordered James to undergo a
  psychiatric evaluation.




https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                            10/20
11/2/22, 1:28Case
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                                                                 shooter Frank       35 of 239 PageID #: 249
                                                                               James arraigned


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   Carlos David               Man’s body                 Dog caught                    Parents in          California dad,   Painter fatally
   Castro Rojas               found hanging              running with                  murder-suicide      22-year-old       struck by car on
   family awarde…             from tree in N…            decapitated…                  that killed 6 ki…   daughter…         Van Wyck…




  Police arrested alleged subway shooter Frank James.
  Will B Wylde via AP


  James, 62, is accused of boarding a Manhattan-bound N train shortly before 8:30 a.m.
  Tuesday and hurling two smoke bombs into a crowded subway car before he opened fire
  with a Glock 9mm handgun, getting off 33 rounds.

  Ten of the wounded commuters were hit by gunfire — but none suffered fatal injuries.

  According to a federal memo filed Thursday, James left pieces of evidence at the scene, in
  the van, and at his rented room and a storage locker in Philly.




https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                            11/20
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                                                                 shooter Frank       36 of 239 PageID #: 250
                                                                               James arraigned


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   Carlos David               Man’s body                 Dog caught                    Parents in          California dad,   Painter fatally
   Castro Rojas               found hanging              running with                  murder-suicide      22-year-old       struck by car on
   family awarde…             from tree in N…            decapitated…                  that killed 6 ki…   daughter…         Van Wyck…




https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                            12/20
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                                                                 shooter Frank       37 of 239 PageID #: 251
                                                                               James arraigned


                                                                                                                                LOG IN


  Frank
   CarlosR. James entering
         David        Man’sabody
                             subway station thecaught
                                          Dog   morning of his Parents
                                                               attack on
                                                                       in a subway California
                                                                                   train on April
                                                                                              dad, 12, 2022.
                                                                                                         Painter fatally
   Castro
  New  YorkRojas         foundvia
            Police Department   hanging
                                  AP                     running with                  murder-suicide      22-year-old   struck by car on
   family awarde…        from tree in N…                 decapitated…                  that killed 6 ki…   daughter…     Van Wyck…




https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                        13/20
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                                                                 shooter Frank       38 of 239 PageID #: 252
                                                                               James arraigned


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   Carlos David               Man’s body                 Dog caught                    Parents in          California dad,   Painter fatally
   Castro Rojas               found hanging              running with                  murder-suicide      22-year-old       struck by car on
   family awarde…             from tree in N…            decapitated…                  that killed 6 ki…   daughter…         Van Wyck…




  People run away after a shooting at a Brooklyn subway station.
  Will B. Wylde via REUTERS




  Investigators said he left the Glock 17 used in the attack, a container of gasoline, a torch,
  and fireworks on the 36th Street subway platform.

  Inside the U-Haul they found a propane tank, and an empty 9 mm magazine, a magazine for
  a high-capacity rifle, and a blue smoke canister in his room in Philadelphia.

  A storage locker he kept in the Pennsylvania city contained 9 mm ammunition, a threaded 9
  mm pistol barrel which can accommodate a silencer, targets and .223 caliber ammunition,
  the federal memo said.

  James had become increasingly unhinged in recent years, posting several bizarre and racist
  rants on YouTube blaming, among others, Mayor Eric Adams for his low station in life.

  According to a federal affidavit, James, a New York native who has lived in recent years in
  Milwaukee and Philadelphia, rented a room in a Philly townhouse for 15 days on March 28.

  He reserved a U-Haul cargo van on April 6 and picked it up Monday, crossing the
  Verrazzano-Narrows Bridge around 4:10 a.m. Tuesday, the affidavit said.
https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                            14/20
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                                                                 shooter Frank       39 of 239 PageID #: 253
                                                                               James arraigned

  The FBI says he parked the van on Kings Highway — two blocks from the N train station on
                                                                                    LOG IN
  36th Street — around 6:10 a.m., wearing an orange construction vest and lugging a large
  roller bag containing the weapon, ammunition, a hatchet and other items.
  Carlos David              Man’s body               Dog caught                 Parents in          California dad,   Painter fatally
  Castro Rojas
  Sources    said
  family awarde…          hefound
                             bought
                            from
                                   hanging
                                 tree in the
                                         N…       gunrunning
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                                                                                     killed 6 ki…
                                                                                                    22-year-old
                                                                                                    daughter…
                                                                                                                      struck by car on
                                                                                                                      Van Wyck…


  He opened fire on the train around 8:26 a.m., and fled by jumping on a nearby R train when
  an MTA worker led panicked straphangers onto the second train.




https://nypost.com/2022/04/14/accused-brooklyn-subway-shooter-frank-james-arraigned/                                                     15/20
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                                                                 shooter Frank       40 of 239 PageID #: 254
                                                                               James arraigned
  Frank James allegedly opened fire on the train around 8:26 a.m., and fled by jumping on a nearby R train when an MTA
  worker led panicked straphangers onto the second train.                                                    LOG IN
  Facebook / Armen Armenian


  James     allegedlyMan’s
   Carlos David       got off
                            bodyat 25th Street   and disappeared,
                                         Dog caught       Parents in prompting      a massive
                                                                               California dad, manhunt      that
                                                                                                Painter fatally
   Castro Rojas      found hanging       running with     murder-suicide       22-year-old      struck by car on
  even    saw the FBI
   family awarde…       and
                     from treelocal
                               in N… copsdecapitated…
                                           raid his Philadelphia
                                                          that killedroom
                                                                      6 ki… early Wednesday. Van Wyck…
                                                                               daughter…


  Later that day, James called Crime Stoppers and told cops where to find him, with police
  nabbing him near an East Village McDonald’s.

  In a statement Thursday, Breon Peace, US Attorney for the Eastern District of New York,
  called the attack “heinous and premeditated.”

  “All New Yorkers have the right to expect that they will be safe as they travel throughout our
  great city and use our vital transportation systems,” he said.

  Federal prosecutors immediately hit him with terrorism charges.

  Legal experts told The Post Wednesday that the federal terrorism charge, which carries
  harsher penalties, fits the case because James allegedly crossed state lines with intent to
  cause physical harm and used mass transportation in the attack.

  Under federal law, an attack intended to cause death or bodily harm that takes place on a
  mass transit system fits the criteria for a terror charge.

  Additional reporting by Elizabeth Rosner


                               BROOKLYN BROOKLYN FEDERAL COURT BROOKLYN SUBWAY SHOOTING SHOOTINGS
    FILED UNDER            ,            ,                      ,                        ,
  4/14/22




    READ NEXT                    Video shows one of two Bronx gunmen who allegedly killed i...




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11/2/22, 1:34Case
             PM      1:22-cr-00214-WFK
                                    AccusedDocument
                                           Brooklyn subway40     Filed
                                                           shooter        11/07/22
                                                                   Frank James           Page
                                                                               bought smoke bombs,41
                                                                                                   otherof  239 PageID
                                                                                                         fireworks in Wisconsin #: 255


                                                                                                                                   LOG IN


   Man’s body                 Painter fatally           Carlos David               Long Island teen          NYC’s brazen    Key Hasidic
   found hanging              struck by car on          Castro Rojas               nabbed with gun           ‘Nifty 50’      groups back Lee
   from tree in N…            Van Wyck…                 family awarde…             used in Lee…              pickpocket…     Zeldin as Kath…




     METRO




  Accused subway shooter Frank James bought smoke
  bombs, other fireworks in Wisconsin
  By Jack Morphet, William Farrington and Mark Lungariello
  April 13, 2022        7:49pm        Updated




         MORE ON:
         BROOKLYN SUBWAY SHOOTING

         ‘Not an invitation’: Judge angered after accused NYC subway shooter skips court

https://nypost.com/2022/04/13/accused-brooklyn-subway-shooter-frank-james-bought-smoke-bombs-other-fireworks-in-wisconsin/                     1/14
11/2/22, 1:34Case
             PM      1:22-cr-00214-WFK
                                    AccusedDocument
                                           Brooklyn subway40     Filed
                                                           shooter        11/07/22
                                                                   Frank James           Page
                                                                               bought smoke bombs,42
                                                                                                   otherof  239 PageID
                                                                                                         fireworks in Wisconsin #: 256

         Accused NYC subway mass shooter whines about media coverage, says he’s ‘not too good’ in jail
                                                                                                                                   LOG IN

         After mass shooting, NYC explores gun detectors in subways
   Man’s body      Painter fatally     Carlos David      Long Island teen    NYC’s brazen                                    Key Hasidic
   found hanging   struck by car on    Castro Rojas      nabbed with gun     ‘Nifty 50’                                      groups back Lee
       Eric Adams makes
   from tree in N…
                         plea for pro-police
                   Van Wyck…
                                              messaging, challenging
                                       family awarde…    used in Lee…
                                                                       ‘defund’ movement
                                                                             pickpocket…                                     Zeldin as Kath…




  MILWAUKEE, WI. – The smoke bombs used by the crazed man accused in the Brooklyn
  subway shooting were purchased at a store in Wisconsin, not far from the site of the 2020
  Kenosha shootings.

  Frank James, 62, who’s been hit with federal terror-related offenses over the N-train
  bloodshed, bought the smoke bombs and other fireworks on June 21, 2021 at Phantom
  Fireworks in Racine County, according to a receipt of his purchase obtained by The Post.

  In all, James purchased six canister smoke bombs – including the two he allegedly set off on
  a crowded subway as it pulled into 36th Street station before firing 33 rounds with a 9mm
  semiautomatic Glock, striking 10 victims.

  The bombs are supposed to spew smoke for up to two minutes, according to Phantom’s
  store manager, who declined to be named.

  The store is a 20-minute-drive from James’ Milwaukee home and about 20 miles outside of
  Kenosha, where Illinois teenager Kyle Rittenhouse fatally shot two people during civil unrest
  on Aug. 25, 2020.




      00:03                                                                                                                           01:44
https://nypost.com/2022/04/13/accused-brooklyn-subway-shooter-frank-james-bought-smoke-bombs-other-fireworks-in-wisconsin/                     2/14
      00 03
11/2/22, 1:34Case
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                                           Brooklyn subway40     Filed
                                                           shooter        11/07/22
                                                                   Frank James           Page
                                                                               bought smoke bombs,43
                                                                                                   otherof  239 PageID
                                                                                                         fireworks
                                                                                                                                    01 44
                                                                                                                   in Wisconsin #: 257


                                                                                                                                 LOG IN


   Man’s body         Painter fatally    Carlos David       Long Island teen     NYC’s brazen        Key Hasidic
  James      also purchased
   found hanging                 a “Falcon
                      struck by car  on    Rising”
                                         Castro  Rojasrepeater firework
                                                            nabbed  with gunthat shoots
                                                                                 ‘Nifty 50’ 25 flaming  balls
                                                                                                     groups     inLee
                                                                                                             back
   from tree in N…    Van Wyck…          family awarde…     used in Lee…         pickpocket…
  rapid-fire, 12 powerful “Seismic Wave” firecrackers that let off loud bangs, colored smoke         Zeldin as Kath…

  balls and a pack of 72 firecrackers.




  Alleged Brooklyn subway shooter Frank James bought smoke products at Phantom Fireworkks in Caledonia,
  Wisconsin in June of last year.
  William Farrington




https://nypost.com/2022/04/13/accused-brooklyn-subway-shooter-frank-james-bought-smoke-bombs-other-fireworks-in-wisconsin/                  3/14
11/2/22, 1:34Case
             PM      1:22-cr-00214-WFK
                                    AccusedDocument
                                           Brooklyn subway40     Filed
                                                           shooter        11/07/22
                                                                   Frank James           Page
                                                                               bought smoke bombs,44
                                                                                                   otherof  239 PageID
                                                                                                         fireworks in Wisconsin #: 258


                                                                                                                                   LOG IN


   Man’s body                 Painter fatally           Carlos David               Long Island teen          NYC’s brazen    Key Hasidic
   found hanging              struck by car on          Castro Rojas               nabbed with gun           ‘Nifty 50’      groups back Lee
   from tree in N…            Van Wyck…                 family awarde…             used in Lee…              pickpocket…     Zeldin as Kath…




  James purchased six canister smoke bombs – including the two he allegedly set off on a crowded subway.
  318628/MSK/MSKREG2




https://nypost.com/2022/04/13/accused-brooklyn-subway-shooter-frank-james-bought-smoke-bombs-other-fireworks-in-wisconsin/                     4/14
11/2/22, 1:34Case
             PM      1:22-cr-00214-WFK
                                    AccusedDocument
                                           Brooklyn subway40     Filed
                                                           shooter        11/07/22
                                                                   Frank James           Page
                                                                               bought smoke bombs,45
                                                                                                   otherof  239 PageID
                                                                                                         fireworks in Wisconsin #: 259


                                                                                                                                   LOG IN


   Man’s body                 Painter fatally           Carlos David               Long Island teen          NYC’s brazen    Key Hasidic
   found hanging              struck by car on          Castro Rojas               nabbed with gun           ‘Nifty 50’      groups back Lee
   from tree in N…            Van Wyck…                 family awarde…             used in Lee…              pickpocket…     Zeldin as Kath…




  The receipt states James spent $93 at the fireworks store.
  318628/MSK/MSKREG2


  Authorities found 40 feet of safety fuse in a bag at the scene of the carnage, which James
  could have intended to use to set off the fireworks from a distance.

  “Theoretically, with that fuse, you could connect all those fireworks,” the Phantom Fireworks
  store manager told The Post.

  “But it would be tedious to fuse together all those small fireworks like the smoke and
  crackers. People don’t usually use a fuse for smoke because it can’t blow up in your face.”

  The store didn’t have surveillance footage from James’ visit to the store but provided The
  Post with a receipt confirming the $93 purchase.

  “It was a pretty innocuous purchase,” Phantom Fireworks Vice President Bill Weimer said.




https://nypost.com/2022/04/13/accused-brooklyn-subway-shooter-frank-james-bought-smoke-bombs-other-fireworks-in-wisconsin/                     5/14
11/2/22, 1:34Case
             PM      1:22-cr-00214-WFK
                                    AccusedDocument
                                           Brooklyn subway40     Filed
                                                           shooter        11/07/22
                                                                   Frank James           Page
                                                                               bought smoke bombs,46
                                                                                                   otherof  239 PageID
                                                                                                         fireworks in Wisconsin #: 260


                                                                                                                                   LOG IN


   Man’s body                 Painter fatally           Carlos David               Long Island teen          NYC’s brazen    Key Hasidic
   found hanging              struck by car on          Castro Rojas               nabbed with gun           ‘Nifty 50’      groups back Lee
   from tree in N…            Van Wyck…                 family awarde…             used in Lee…              pickpocket…     Zeldin as Kath…




  James was arrested in the East Village Wednesday, more than 24 hours after the shooting.
  AP/Seth Wenig


  “It raised no eyebrows.”

  Boston Marathon bomber Tamerlan Tsarnaev and failed Times Square bomber Faisal
  Shahzad had reportedly bought fireworks they used to make explosives from other Phantom
  locations.

  James was busted by police Wednesday in the East Village after he called Crime Stoppers
  on himself, authorities and law enforcement sources said. He is expected to appear in
  Brooklyn federal court Thursday to face a charge of committing terrorist attacks and other
  violence against mass transportation systems.

  The suspect allegedly wore a reflective vest, helmet and gas mask when he set off the
  smoke bomb and opened fire.

  His gun allegedly jammed, which may have prevented further carnage. A massive hunt was
  launched for the gunman, who police believe may have gotten off the train and mixed with
  the throng of commuters.
https://nypost.com/2022/04/13/accused-brooklyn-subway-shooter-frank-james-bought-smoke-bombs-other-fireworks-in-wisconsin/                     6/14
11/2/22, 1:34Case
             PM      1:22-cr-00214-WFK
                                    AccusedDocument
                                           Brooklyn subway40     Filed
                                                           shooter        11/07/22
                                                                   Frank James           Page
                                                                               bought smoke bombs,47
                                                                                                   otherof  239 PageID
                                                                                                         fireworks in Wisconsin #: 261

  The suspect had made several disturbing social media posts and rambling conspiracy-laden
                                                                                       LOG IN
  YouTube videos, railing against the city’s mental health services, complaining about race
  issues and speaking violently against people he believed wronged him.
   Man’s body                 Painter fatally           Carlos David               Long Island teen          NYC’s brazen    Key Hasidic
   found hanging              struck by car on          Castro Rojas               nabbed with gun           ‘Nifty 50’      groups back Lee
   from tree in N…            Van Wyck…                 family awarde…             used in Lee…              pickpocket…     Zeldin as Kath…




  Phantom Fireworks Vice President Bill Weimer described James’ purchase as “pretty innocuous.”
  William Farrington




https://nypost.com/2022/04/13/accused-brooklyn-subway-shooter-frank-james-bought-smoke-bombs-other-fireworks-in-wisconsin/                     7/14
11/2/22, 1:34Case
             PM      1:22-cr-00214-WFK
                                    AccusedDocument
                                           Brooklyn subway40     Filed
                                                           shooter        11/07/22
                                                                   Frank James           Page
                                                                               bought smoke bombs,48
                                                                                                   otherof  239 PageID
                                                                                                         fireworks in Wisconsin #: 262


                                                                                                                                   LOG IN


   Man’s body                 Painter fatally           Carlos David               Long Island teen          NYC’s brazen    Key Hasidic
   found hanging              struck by car on          Castro Rojas               nabbed with gun           ‘Nifty 50’      groups back Lee
   from tree in N…            Van Wyck…                 family awarde…             used in Lee…              pickpocket…     Zeldin as Kath…




  The smoke bombs are supposed to spew smoke for up to two minutes, according to Phantom’s store manager.
  William Farrington




https://nypost.com/2022/04/13/accused-brooklyn-subway-shooter-frank-james-bought-smoke-bombs-other-fireworks-in-wisconsin/                     8/14
11/2/22, 1:34Case
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                                                           shooter        11/07/22
                                                                   Frank James           Page
                                                                               bought smoke bombs,49
                                                                                                   otherof  239 PageID
                                                                                                         fireworks in Wisconsin #: 263


                                                                                                                                   LOG IN


     Man’s body                 Painter fatally         Carlos David               Long Island teen          NYC’s brazen    Key Hasidic
     found hanging              struck by car on        Castro Rojas               nabbed with gun           ‘Nifty 50’      groups back Lee
     from tree in N…            Van Wyck…               family awarde…             used in Lee…              pickpocket…     Zeldin as Kath…




     James also purchased a “Falcon Rising” repeater firework, 12 powerful “Seismic Wave” firecrackers, colored smoke
     balls and a pack of 72 firecrackers.
     William Farrington



                               BROOKLYN SUBWAY SHOOTING FIREWORKS KENOSHA SHOOTING SHOOTINGS
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 ,                   4/13/22




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             Case
11/2/22, 12:43 PM    1:22-cr-00214-WFK Document    40subway
                                         Accused NYC     Filed   11/07/22
                                                            shooter               Page
                                                                    Frank James says he's 'not50
                                                                                               too of 239
                                                                                                   good' in jailPageID #: 264


                                                                                                        68




     NEWS

                                                                 68



  Accused NYC subway mass shooter Frank James
  whines about media coverage, says he’s ‘not too good’
  in jail
  By Valentina Jaramillo and Ben Feuerherd
  July 25, 2022         6:03pm        Updated




         MORE ON:
         BROOKLYN SUBWAY SHOOTING
                                                                                                                            LOG IN
         ‘Not an invitation’: Judge angered after accused NYC subway shooter skips court

   Dog caught        Parents in          Murders of          California dad,                          Ex Idaho        OnlyFans model
       After
   running    mass shooting,
           with                NYC explores
                     murder-suicide          gundumped
                                         women    detectors in subways
                                                             22-year-old                              gubernatorial   Courtney
   decapitated…      that killed 6 ki…   on LA freeway…      daughter…                                candidate…      Clenney…


https://nypost.com/2022/07/25/accused-nyc-subway-shooter-frank-james-says-hes-not-too-good-in-jail/                                    1/10
             Case
11/2/22, 12:43 PM    1:22-cr-00214-WFK Document    40subway
                                         Accused NYC     Filed   11/07/22
                                                            shooter               Page
                                                                    Frank James says he's 'not51
                                                                                               too of 239
                                                                                                   good' in jailPageID #: 265


         Eric Adams makes plea for pro-police messaging, challenging ‘defund’ movement
                                                                              68


         Adams calls emergency meeting with NYC biz leaders after train killing



  Accused subway mass shooter Frank James whined about media coverage of his case
  Monday, telling a judge he hasn’t been “too good” since getting locked up on federal
  terrorism charges.

  James — who allegedly shot 10 people on a subway car in April — was asked how he was
  doing by Judge William Kuntz during a brief appearance in Brooklyn federal court Monday
  afternoon.

  “Not too good, your honor,” replied the 62-year-old, wearing a tan jail uniform and sporting a
  short gray beard.

  Kuntz then asked the accused gunman if he’s watched or listened to any baseball while in
  custody at Brooklyn’s notorious Metropolitan Detention Center.

  “I’ve watched a bit of baseball, yeah,” James said, before adding: “I’ve read some things in
  the press I’m not too happy about.”




                                                                                                                             LOG IN


   Dog caught                  Parents in                 Murders of                 California dad,   Ex Idaho        OnlyFans model
   running with                murder-suicide             women dumped               22-year-old       gubernatorial   Courtney
   decapitated…                that killed 6 ki…          on LA freeway…             daughter…         candidate…      Clenney…


https://nypost.com/2022/07/25/accused-nyc-subway-shooter-frank-james-says-hes-not-too-good-in-jail/                                     2/10
             Case
11/2/22, 12:43 PM    1:22-cr-00214-WFK Document    40subway
                                         Accused NYC     Filed   11/07/22
                                                            shooter               Page
                                                                    Frank James says he's 'not52
                                                                                               too of 239
                                                                                                   good' in jailPageID #: 266

  The judge then turned to prosecutors and James’ defense attorneys, who agreed to set a
                                                                 68
  tentative trial date of Feb. 27, 2023.




  Alleged Brooklyn subway mass shooter Frank James said he hasn’t been doing “too good” in jail during an appearance
  at Brooklyn federal court on July 25, 2022.
  REUTERS/Jane Rosenberg


  Prosecutors from the Eastern District of New York have recovered a trove of evidence in the
  case, including surveillance video, DNA from the gun and witness statements.

  James — who was arrested following a 30-hour citywide manhunt — faces life in prison if
  convicted of committing a terrorist attack on a mass transit system.

  The maniac allegedly sprayed more than 30 bullets on a packed Manhattan-bound N train as
  it motored through a tunnel below the street of Sunset Park on April 12.

                                                                                                                             LOG IN


   Dog caught                  Parents in                 Murders of                 California dad,   Ex Idaho        OnlyFans model
   running with                murder-suicide             women dumped               22-year-old       gubernatorial   Courtney
   decapitated…                that killed 6 ki…          on LA freeway…             daughter…         candidate…      Clenney…


https://nypost.com/2022/07/25/accused-nyc-subway-shooter-frank-james-says-hes-not-too-good-in-jail/                                     3/10
             Case
11/2/22, 12:43 PM    1:22-cr-00214-WFK Document    40subway
                                         Accused NYC     Filed   11/07/22
                                                            shooter               Page
                                                                    Frank James says he's 'not53
                                                                                               too of 239
                                                                                                   good' in jailPageID #: 267


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  James shot 10 people and injured 29 in a shooting on a subway train in Sunset Park, Brooklyn in April.
  Raymond Chiodini




                                                                                                                             LOG IN


   Dog caught                  Parents in                 Murders of                 California dad,   Ex Idaho        OnlyFans model
   running with                murder-suicide             women dumped               22-year-old       gubernatorial   Courtney
   decapitated…                that killed 6 ki…          on LA freeway…             daughter…         candidate…      Clenney…


https://nypost.com/2022/07/25/accused-nyc-subway-shooter-frank-james-says-hes-not-too-good-in-jail/                                     4/10
             Case
11/2/22, 12:43 PM    1:22-cr-00214-WFK Document    40subway
                                         Accused NYC     Filed   11/07/22
                                                            shooter               Page
                                                                    Frank James says he's 'not54
                                                                                               too of 239
                                                                                                   good' in jailPageID #: 268


                                                                                                      68




  The judge set James’ tentative trial date for Feb. 27, 2023.
  Matthew McDermott


  The attack injured 29 people, including 10 who were shot, authorities said.



                                               68        What do you think? Post a comment.



  James was indicted on the terrorism count and a charge of firing a gun in a violent crime.
  He’s pleaded not guilty.


                 BROOKLYN FEDERAL COURT BROOKLYN SUBWAY SHOOTING JAIL MASS SHOOTINGS
    FILED UNDER,                        ,                        ,    ,
   MTA SHOOTINGS SUBWAYS SUNSET PARK
 ,     ,          ,        ,           7/25/22
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   Dog caught
    READ     NEXT                Fake in
                               Parents   'school shooting'
                                                    Murderssympathy
                                                             of     cards   shock
                                                                     California dad,customers: 'Oh...
                                                                                         Ex Idaho                OnlyFans model
   running with                murder-suicide       women dumped     22-year-old         gubernatorial           Courtney
   decapitated…                that killed 6 ki…    on LA freeway…   daughter…           candidate…              Clenney…


https://nypost.com/2022/07/25/accused-nyc-subway-shooter-frank-james-says-hes-not-too-good-in-jail/                               5/10
11/2/22, 1:25Case
             PM       1:22-cr-00214-WFK Document     40shooter
                                           Alleged NYC     Filed
                                                               Frank11/07/22
                                                                    James previouslyPage     55boss
                                                                                    arrested for of threats
                                                                                                     239 PageID #: 269

                                                                                                                                   LOG IN


   Dog caught                  Ex Idaho                    Painter fatally             Cops on hunt for    California dad,   Key Hasidic
   running with                gubernatorial               struck by car on            Takeoff’s killer,   22-year-old       groups back Lee
   decapitated…                candidate…                  Van Wyck…                   ask public for…     daughter…         Zeldin as Kath…




     METRO




  Alleged shooter Frank James’ past arrests include
  threatening former boss
  By Craig McCarthy
  April 14, 2022         2:50pm         Updated




         MORE ON:
         BROOKLYN SUBWAY SHOOTING

         ‘Not an invitation’: Judge angered after accused NYC subway shooter skips court


https://nypost.com/2022/04/14/alleged-nyc-shooter-frank-james-previously-arrested-for-boss-threats/                                            1/11
11/2/22, 1:25Case
             PM       1:22-cr-00214-WFK Document     40shooter
                                           Alleged NYC     Filed
                                                               Frank11/07/22
                                                                    James previouslyPage     56boss
                                                                                    arrested for of threats
                                                                                                     239 PageID #: 270
         Accused NYC subway mass shooter whines about media coverage, says he’s ‘not too good’ in jail
                                                                                                                  LOG IN
         After mass shooting, NYC explores gun detectors in subways

   Dog caught       Ex Idaho            Painter fatally   Cops on hunt for       California dad,           Key Hasidic
   running
       Ericwith     gubernatorial
             Adams makes                struck by
                          plea for pro-police      car on
                                               messaging, Takeoff’s killer,‘defund’
                                                          challenging            22-year-old
                                                                                    movement               groups back Lee
   decapitated…     candidate…          Van Wyck…         ask public for…        daughter…                 Zeldin as Kath…




  The alleged gunman in the Brooklyn subway shooting was arrested in New Jersey more than
  two decades ago for threatening his old boss after getting canned, officials confirmed.

  Frank James, 62 — who was detained after appearing in federal court Thursday on terrorism
  charges — had repeatedly called his former employer in Fairfield, Curtiss-Wright, and vowed
  some sort of violence over his termination, according to the Essex County Prosecutor’s
  Office.

  Spokeswoman Kathy Carter did not provide what was said on those calls but said, “We
  believe it rose to the level of terroristic threats.”

  James, who was living in Irvington, NJ, at the time, was charged in the 1995 incident with
  one count of making terroristic threats and was later found guilty of a lesser charge,
  harassment, Carter said.




https://nypost.com/2022/04/14/alleged-nyc-shooter-frank-james-previously-arrested-for-boss-threats/                          2/11
11/2/22, 1:25Case
             PM       1:22-cr-00214-WFK Document     40shooter
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                                                                    James previouslyPage     57boss
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   Dog caught                  Ex Idaho                    Painter fatally             Cops on hunt for    California dad,   Key Hasidic
   running with                gubernatorial               struck by car on            Takeoff’s killer,   22-year-old       groups back Lee
   decapitated…                candidate…                  Van Wyck…                   ask public for…     daughter…         Zeldin as Kath…




  A judge sentenced James to one year’s probation due to his clean record at the time, Carter
  said.




https://nypost.com/2022/04/14/alleged-nyc-shooter-frank-james-previously-arrested-for-boss-threats/                                            3/11
11/2/22, 1:25Case
             PM       1:22-cr-00214-WFK Document     40shooter
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                                                               Frank11/07/22
                                                                    James previouslyPage     58boss
                                                                                    arrested for of threats
                                                                                                     239 PageID #: 272

                                                                                                                                   LOG IN


   Dog caught                  Ex Idaho                    Painter fatally             Cops on hunt for    California dad,   Key Hasidic
   running with                gubernatorial               struck by car on            Takeoff’s killer,   22-year-old       groups back Lee
   decapitated…                candidate…                  Van Wyck…                   ask public for…     daughter…         Zeldin as Kath…




       00:01                                                                                                                          01:44



  James was arrested Wednesday in Lower Manhattan after calling the cops on himself —
  ending a more than 24-hour manhunt for the alleged triggerman in the Sunset Park mass
  shooting that left 10 shot and more than a dozen others injured.

  The NYPD picked up James at least 12 times in New York City from 1984 to 1998 on
  charges ranging from burglary and possession of burglar tools to criminal sexual acts, cops
  said.

  He also had three other arrests in New Jersey, but the details of those cases were not
  immediately known.




https://nypost.com/2022/04/14/alleged-nyc-shooter-frank-james-previously-arrested-for-boss-threats/                                            4/11
11/2/22, 1:25Case
             PM       1:22-cr-00214-WFK Document     40shooter
                                           Alleged NYC     Filed
                                                               Frank11/07/22
                                                                    James previouslyPage     59boss
                                                                                    arrested for of threats
                                                                                                     239 PageID #: 273

                                                                                                                                   LOG IN


   Dog caught                  Ex Idaho                    Painter fatally             Cops on hunt for    California dad,   Key Hasidic
   running with                gubernatorial               struck by car on            Takeoff’s killer,   22-year-old       groups back Lee
   decapitated…                candidate…                  Van Wyck…                   ask public for…     daughter…         Zeldin as Kath…




  Law enforcement officials lead subway shooting suspect Frank James away from a police station and into a vehicle in
  New York City on April 13, 2022.
  AP Photo/John Minchillo




https://nypost.com/2022/04/14/alleged-nyc-shooter-frank-james-previously-arrested-for-boss-threats/                                            5/11
11/2/22, 1:25Case
             PM       1:22-cr-00214-WFK Document     40shooter
                                           Alleged NYC     Filed
                                                               Frank11/07/22
                                                                    James previouslyPage     60boss
                                                                                    arrested for of threats
                                                                                                     239 PageID #: 274

                                                                                                                                   LOG IN


   Dog caught                    Ex Idaho                  Painter fatally             Cops on hunt for    California dad,   Key Hasidic
   running with                  gubernatorial             struck by car on            Takeoff’s killer,   22-year-old       groups back Lee
   decapitated…                  candidate…                Van Wyck…                   ask public for…     daughter…         Zeldin as Kath…




  Frank James sits as he appears during his court hearing in New York City on April 14, 2022.
  REUTERS/Jane Rosenberg



                                BROOKLYN SUBWAY SHOOTING NEW JERSEY POLICE SHOOTINGS
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                                                                   Frank James 'quiet'       61therapy
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   Man’s body                  Emerson poll               Painter fatally            ‘Creepy’ NYC      Police shoot    Brazilian boy
   found hanging               finds Kathy                struck by car on           teacher Gabriel   disturbed man   suffers seven
   from tree in N…             Hochul 8 point…            Van Wyck…                  Mitey, who…       who was…        heart attacks,…




     METRO           EXCLUSIVE




  Brooklyn subway terror suspect Frank James was
  ‘quiet and moody’ in group therapy
  By Kevin Sheehan, Nolan Hicks and Bruce Golding
  April 13, 2022        6:52pm         Updated




         MORE ON:
         BROOKLYN SUBWAY SHOOTING

         ‘Not an invitation’: Judge angered after accused NYC subway shooter skips court


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         Accused NYC subway mass shooter whines about media coverage, says he’s ‘not too good’ in jail
                                                                                                                 LOG IN
         After mass shooting, NYC explores gun detectors in subways

   Man’s body        Emerson poll        Painter fatally   ‘Creepy’ NYC         Police shoot              Brazilian boy
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   from tree in N…   Hochul 8 point…     Van Wyck…         Mitey, who…          who was…                  heart attacks,…




  Accused subway terrorist Frank James was so “quiet and moody” that he scared an ex-con
  who attended group therapy sessions with him, the former jailbird said Wednesday.

  Albert Wilder, 57, said he last saw James at the Argus Community headquarters in the Bronx
  about three months ago.

  “He was sitting here and he was quiet and moody,” Wilder said.

  “Y’know, when someone looks like they’re in the middle of something and you afraid to talk to
  them because they’re upset. That was him!”

  Wilder, who said he goes to Argus Community as a condition of his release from prison for
  unspecified crimes, also described James as “a street person.”




       00:21                                                                                                        01:44



  “He frequents trains and buses,” Wilder said.

https://nypost.com/2022/04/13/alleged-subway-shooter-frank-james-quiet-in-group-therapy/                                    2/10
11/2/22, 1:34Case
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                                                    subway shooter11/07/22        Page
                                                                   Frank James 'quiet'       63therapy
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  “He always between 219th and 230th street in the Bronx when I see him.”
                                                                                                                              LOG IN


   Man’s body                  Emerson poll               Painter fatally            ‘Creepy’ NYC      Police shoot    Brazilian boy
   found hanging               finds Kathy                struck by car on           teacher Gabriel   disturbed man   suffers seven
   from tree in N…             Hochul 8 point…            Van Wyck…                  Mitey, who…       who was…        heart attacks,…




  Frank James allegedly opened fire on a New York City subway on April 12, 2022.
  AP


  James is suspected of opening fire on a subway car in Brooklyn during Tuesday’s morning
  rush, shooting and wounding 10 people and leaving another 19 injured.

  In videos posted on YouTube, he said he had a diagnosed mental illness and railed against
  what he called the “horror show” of the city’s mental health services.

  James also blamed Mayor Eric Adams, saying during an extended rant, “Mr. Mayor, I’m a
  victim of your mental health program.”




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   Man’s body                  Emerson poll               Painter fatally            ‘Creepy’ NYC      Police shoot    Brazilian boy
   found hanging               finds Kathy                struck by car on           teacher Gabriel   disturbed man   suffers seven
   from tree in N…             Hochul 8 point…            Van Wyck…                  Mitey, who…       who was…        heart attacks,…




  An ex-con who attended group therapy with Frank James said he was “quiet and moody” and that he was afraid to talk
  to him.
  YouTube / prophet oftruth88


  “I’m 63 now — full of hate, full of anger, and full of bitterness,” he added.

  Discovery of the videos led the NYPD to increase security for Hizzoner.

  James was busted Wednesday by the NYPD in Manhattan’s East Village after he called the
  NYPD Crime Stoppers hotline and told police to come and get him at a local McDonald’s
  restaurant.

  Argus Community offers a variety of residential and outpatient programs to “help severely
  disadvantaged teens and adults to free themselves from poverty and drug abuse,” according
  to its website.




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   Man’s body                  Emerson poll               Painter fatally            ‘Creepy’ NYC      Police shoot    Brazilian boy
   found hanging               finds Kathy                struck by car on           teacher Gabriel   disturbed man   suffers seven
   from tree in N…             Hochul 8 point…            Van Wyck…                  Mitey, who…       who was…        heart attacks,…




  Frank James called himself a “victim” of Mayor Eric Adams’ mental health system.
  Europa Newswire/Shutterstock




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   Man’s body                  Emerson poll               Painter fatally            ‘Creepy’ NYC      Police shoot    Brazilian boy
   found hanging               finds Kathy                struck by car on           teacher Gabriel   disturbed man   suffers seven
   from tree in N…             Hochul 8 point…            Van Wyck…                  Mitey, who…       who was…        heart attacks,…




  According to Albert Wilder, Frank James attended therapy at Argus Community, which the state describes as a
  “nurturing environment.”

  “Argus provides a drug-free, safe and nurturing environment in which persons living on the
  fringes of society can acquire education and skills and transform maladaptive attitudes and
  behaviors,” the site says.

  The nonprofit has $84.3 million worth of contracts with New York state, primarily with the
  Office of Addiction Services and Supports, as well as $233,000 in contracts with the city’s
  Department of Youth and Community Development and the Department of Small Business
  Services, public records show.

  An Argus Community supervisor declined to comment.


                  BROOKLYN SUBWAY SHOOTING CRIME NONPROFITS PAROLE SHOOTINGS SUBWAYS
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   Even                        Elon Musk has              Dog caught                 Dad stabs 1-               OnlyFans model   White House
   Greenpeace                  exposed the                running with               year-old                   Courtney         forced to delete
   finally admits t…           woke left as a…            decapitated…               daughter,…                 Clenney…         Social Securit…




     OPINION




  Democrats who claim white supremacy is top problem
  ignore black racist killers
  By Deroy Murdock
  April 17, 2022        7:47pm         Updated




  Frank James, the alleged Brooklyn shooter is another black racist causing harm to NY residents.
  Getty Images/Bryan R. Smith
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         BROOKLYN SUBWAY SHOOTING
   Even                  Elon Musk has      Dog caught        Dad stabs 1-     OnlyFans model                   White House
         ‘Not an invitation’:
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         Accused NYC subway mass shooter whines about media coverage, says he’s ‘not too good’ in jail


         After mass shooting, NYC explores gun detectors in subways


         Eric Adams makes plea for pro-police messaging, challenging ‘defund’ movement



  Top Democrats claim that nothing in America is more dangerous than white racism.

  As President Joe Biden said Oct. 21, “According to the United States intelligence community,
  domestic terrorism from white supremacists is the most lethal terrorist threat in the
  homeland.”

  “In the FBI’s view,” Attorney General Merrick Garland said June 15, “the top domestic violent-
  extremist threat comes from . . . those who advocate for the superiority of the white race.”

  House Armed Services Committee member Jackie Speier (D-Calif.) complained that the
  federal government insufficiently screens “servicemembers and other individuals with
  sensitive roles for white-supremacist and violent-extremist ties.”

  So where is all the damage from this white-nationalist army? Where are the wounds of those
  they have maimed and the cadavers of those they have killed?

  “Charlottesville!” Biden and the Democratic left shout in unison.

  Yes, James Alex Fields Jr. weaponized his car and murdered protester Heather Heyer
  during Charlottesville, Va.’s race riots in August 2017 — nearly five years ago.




https://nypost.com/2022/04/17/democrats-who-claim-white-supremacy-is-top-problem-ignore-black-racist-killers/                      2/12
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   Even                        Elon Musk has              Dog caught                 Dad stabs 1-               OnlyFans model   White House
   Greenpeace                  exposed the                running with               year-old                   Courtney         forced to delete
   finally admits t…           woke left as a…            decapitated…               daughter,…                 Clenney…         Social Securit…




  People get help from other commuters following the April 12 subway shooting in Brooklyn.
  AP/Will B Wylde


  Anybody else?

  The sound you hear is grass growing.

  As Team Biden searches furiously for those touched by this supposedly ubiquitous white
  threat, black racists scream hatred and inflict dozens of casualties, some fatal.

  The NYPD says that Wednesday, a black man named Frank James unleashed a smoke
  bomb on a Brooklyn subway train. He then fired 33 rounds from a Glock pistol. James
  allegedly shot 10 commuters, and 13 suffered other injuries. Five were hospitalized in critical
  condition. Amazingly, no one was killed.

  Why did James do this?


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  Journalist Andy Ngo perused his social-media profile. James’ profane, deeply bigoted
                                                                                     LOG IN
  posts foreshadow an atrocious, anti-white hate crime.

   Even                        Elon Musk has              Dog caught                 Dad stabs 1-               OnlyFans model   White House
   Greenpeace                  exposed the                running with               year-old                   Courtney         forced to delete
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  James shared various racist social media posts about white people.
  Facebook/ Frank Whitetaker




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   Even                        Elon Musk has              Dog caught                 Dad stabs 1-               OnlyFans model   White House
   Greenpeace                  exposed the                running with               year-old                   Courtney         forced to delete
   finally admits t…           woke left as a…            decapitated…               daughter,…                 Clenney…         Social Securit…




  He has a lengthy criminal record.
  AP/Meredith Goldberg


  * “O black Jesus, please kill all the whiteys,” James wrote on Facebook.

  * “The white motherf–kers that I want to kill, you know, I really want to kill them because
  they’re white,” James declared.

  * “White people and black people as we call ourselves should not have any contact with
  each other,” James stated. “Blacks and whites so-called should not even be in the same
  hemisphere.”

  Frank James had nine prior arrests in Gotham and three in New Jersey.

  Meanwhile, police in Waukesha, Wis., report that Darrell Edward Brooks in November
  plowed his Ford Escape SUV into marchers and spectators at a Christmas parade. Brooks’
  carnage killed six people and wounded 62 others.

  Brooks also is an outspoken, white-hating bigot.


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   Even                        Elon Musk has              Dog caught                 Dad stabs 1-               OnlyFans model   White House
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  Darrell Edward Brooks killed six people and wounded 62 others.
                                                                                                                    LOG IN
  * He wrote, via Twitter: “the old white ppl 2, KNOKK DEM TF OUT!! PERIOD.”

  *Even
   Greenpeace
                       Elon Musk hasBrooks
     As Andy Ngo observed,
                       exposed the
                                          Dog caught this in 2016
                                            posted
                                          running with
                                                             Dad stabs
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                                                                     on1-Facebook:
                                                                               OnlyFans
                                                                                    “Run
                                                                               Courtney
                                                                                        model   White House
                                                                                           them over.   Keep
                                                                                                forced to delete
  traffic   flowing
   finally admits t… & don’t  slow
                       woke left as a…downdecapitated…
                                           for any of thesedaughter,…
                                                              idiots.”         Clenney…         Social Securit…



  * Brooks also posted a rant with these words beside Adolf Hitler’s photo: “HITLER KNEW
  WHO THE REAL JEWS WERE!”

  Lifelong criminal Brooks’ rap sheet stretches some 50 pages.

  The US Capitol Police recall that Noah Green drove up to a barricade on April 7, 2021, and
  charged two officers with a knife before a third fatally shot him.




  President Biden and Democrats claim white supremacy is the #1 threat in America.
  AP/Carolyn Kaster


  Green belonged to the anti-white Nation of Islam, led by notorious Jew-hater Louis
  Farrakhan. In October 2018, via Twitter, he decried “The Satanic Jew.” Farrakhan also said
  that people “call me an anti-Semite. Stop it, I’m anti-termite!”
https://nypost.com/2022/04/17/democrats-who-claim-white-supremacy-is-top-problem-ignore-black-racist-killers/                7/12
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  “I consider him my spiritual father,” Green said of Farrakhan.
                                                                                                                     LOG IN

  These cases confirm that Joe Biden and the Democratic left are lost in space. While they
  battle
   Even imaginary Elon
                     white
                         Musk nationalists,
                                has     Dog real-life
                                            caught    blackDad
                                                             racists
                                                               stabs 1-usher their victims
                                                                              OnlyFans model into White
                                                                                                  hospitals
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   Greenpeace        exposed the        running with       year-old           Courtney            forced to delete
  cemeteries.
   finally admits t… woke left as a…    decapitated…       daughter,…         Clenney…            Social Securit…


  Deroy Murdock is a Manhattan-based Fox News contributor, a contributing editor with
  National Review Online and a senior fellow with the London Center for Policy Research.
  Bucknell University’s Michael Malarkey contributed research to this piece.


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    Subway shooting suspect Frank James refused to                         store looks to…
    come to federal court for his 1 p.m. scheduled status
    conference.



  NEW YORK (WABC) -- Subway shooting
  suspect Frank James refused to come to
  federal court for his 1 p.m. scheduled status
Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 76 of 239 PageID #: 290
  conference Wednesday, prompting the judge
  to order the United States Marshals Service to
  forcibly bring him in.

  "Upon the defendant's refusal to appear
  before the Court when requested in
  connection with the above-captioned case, it
  is hereby: ORDERED that the United States
  Marshals Service, their agents, and/or
  designees, use all necessary force to produce
  the above-named defendant," Judge William
  Kuntz said.

  James allegedly shot 10 people on a subway
                                                                                 NEW
  train in Sunset Park, Brooklyn, April 13 before
  he slipped away on a different train and
  became the subject of a manhunt.

  He has pleaded not guilty to charges of
  conducting a violent attack against a mass
  transportation system.                                               Everyday Shirts
                                                                       Chico's

  On Wednesday, a judge refused a defense
  request to delay the trial.
                                                      Pelosi opens up about
                                                      husband, how she found
                                                      out about attack
                                                      2 hours ago



                                                      Can Musk's Twitter affect
                                                      the midterms?
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  It comes as Eyewitness News was along for
  the ride Tuesday night as New York City's top
  cop went underground in an effort to keep
  riders safe on the subway.

  Police Commissioner Keechant Sewell toured
  the subway station where a teen was assaulted
  over the weekend and rode with New Yorkers
  who all have an opinion.

  It's been a rough two weeks in the transit
  system, with three murders -- two in the
  subway and one on a bus.

  The NYPD, which already flooded transit with
  thousands of cops since the beginning of the
  year, surged nearly a thousand more, focusing
  on 15 train lines in 20 stations citywide.

  "Obviously we're concerned about the safety
  of New Yorkers," Sewell said. "This subway
  has to be safe. I remember taking the subway
  myself to go to school. The people who go to
  school, the people who work in the city, and
  this is the lifeblood, it has to be safe."
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   Dog caught                  ‘I don’t wanna             California dad,            Missing 6-year-    Key Hasidic       OnlyFans model
   running with                die’: Uvalde               22-year-old                old Miami boy      groups back Lee   Courtney
   decapitated…                student begs f…            daughter…                  found safe afte…   Zeldin as Kath…   Clenney…




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  By Ben Feuerherd
  October 12, 2022           3:21pm         Updated




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         Accused NYC subway mass shooter whines about media coverage, says he’s ‘not too good’ in jail

https://nypost.com/2022/10/12/judge-blasts-nyc-subway-shooter-frank-james-for-skipping-court/                                              1/11
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         After mass shooting, NYC explores gun detectors in subways                                            LOG IN

         Eric Adams makes plea for pro-police messaging, challenging ‘defund’ movement
   Dog caught       ‘I don’t wanna     California dad,   Missing 6-year-        Key Hasidic             OnlyFans model
   running with     die’: Uvalde       22-year-old       old Miami boy          groups back Lee         Courtney
       Adams calls emergency
   decapitated…     student begsmeeting
                                  f…    with NYC biz leaders
                                       daughter…             after
                                                         found safe train
                                                                    afte… killing
                                                                                Zeldin as Kath…         Clenney…




  Accused Brooklyn subway shooter Frank James angered the judge overseeing his case by
  refusing to come to a mandatory court hearing on Wednesday.

  James — who allegedly opened fire on a crowded rush-hour train in April — refused to leave
  the Brooklyn jail where he is being held pending trial, US Marshals told prosecutors and his
  defense attorneys.

  Upon learning of the refusal, Judge William Kuntz issued an order that the Marshals use “all
  necessary force” to produce James, 63, for the 1 p.m. hearing in Brooklyn federal court.

  “This isn’t a high school prom invitation. This is an order of the court to be here,” the ticked-
  off jurist said.

  Kuntz ordered the hearing adjourned until James could be produced, telling the defense
  attorneys he wants to be clear that it’s not “his call as to whether or not he elects to be here.”



                                                                                                       Learn More




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                                                                 shooter Frank James      80 ofcourt
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  “This is not, as my pastor says, a dress rehearsal. This is real life,” the judge seethed to the
                                                                                          LOG IN
  attorneys and prosecutors from the Eastern District of New York who did show up for the
  hearing.
   Dog caught                  ‘I don’t wanna             California dad,            Missing 6-year-    Key Hasidic       OnlyFans model
   running with                die’: Uvalde               22-year-old                old Miami boy      groups back Lee   Courtney
   decapitated…                student begs f…            daughter…                  found safe afte…   Zeldin as Kath…   Clenney…




  Alleged Brooklyn subway shooter Frank James angered a judge by refusing to attend a mandatory court hearing on
  Oct. 12, 2022.
  AP Photo/Meredith Goldberg




https://nypost.com/2022/10/12/judge-blasts-nyc-subway-shooter-frank-james-for-skipping-court/                                              3/11
             Case
11/2/22, 12:53 PM    1:22-cr-00214-WFK Document    40NYC
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                                                          subway                Page
                                                                 shooter Frank James      81 ofcourt
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   Dog caught                  ‘I don’t wanna             California dad,            Missing 6-year-    Key Hasidic       OnlyFans model
   running with                die’: Uvalde               22-year-old                old Miami boy      groups back Lee   Courtney
   decapitated…                student begs f…            daughter…                  found safe afte…   Zeldin as Kath…   Clenney…




  James allegedly shot 10 people and injured 29 total after opening fire on a subway train in Sunset Park, Brooklyn, in
  April.
  Will B Wylde via AP




https://nypost.com/2022/10/12/judge-blasts-nyc-subway-shooter-frank-james-for-skipping-court/                                              4/11
             Case
11/2/22, 12:53 PM    1:22-cr-00214-WFK Document    40NYC
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                                                                 shooter Frank James      82 ofcourt
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   Dog caught                  ‘I don’t wanna             California dad,            Missing 6-year-    Key Hasidic       OnlyFans model
   running with                die’: Uvalde               22-year-old                old Miami boy      groups back Lee   Courtney
   decapitated…                student begs f…            daughter…                  found safe afte…   Zeldin as Kath…   Clenney…




  Judge William Kuntz asked US Marshals to use “all necessary force” to bring James to Brooklyn federal court.
  Rashid Umar Abbasi


  The hearing eventually got underway about two hours later, and James’ attorney, Mia Eisner-
  Grynberg, told Kuntz he was having a “particularly difficult day” with unspecified medical
  issues.

  At the hearing, Kuntz shot down a request by Eisner-Grynberg that his trial be delayed for
  two months, in part because of a case pending before the 2nd Circuit Court that could affect
  plea negotiations.

  James is set to stand trial starting February 27, 2023.

  James allegedly shot 10 people and injured a total of 29 when he opened fire on a packed N
  train as it passed through a subway tunnel underneath the streets of Sunset Park in April.

  He was arrested after a 30-hour citywide manhunt and hit with a slew of federal charges,
  including a terrorism charge for attacking a mass transit system.



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https://nypost.com/2022/10/12/judge-blasts-nyc-subway-shooter-frank-james-for-skipping-court/                                              5/11
11/2/22, 1:27Case
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                                                                        shooter Frank James'83   ofof239
                                                                                             hatred   whitesPageID #: 297


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   Ex Idaho                   Dad stabs 1-               Carlos David               Dog caught          Even                California dad,
   gubernatorial              year-old                   Castro Rojas               running with        Greenpeace          22-year-old
   candidate…                 daughter,…                 family awarde…             decapitated…        finally admits t…   daughter…




     OPINION         EDITORIAL




  Media downplays accused Brooklyn subway shooter
  Frank James’ hatred of whites
  By Post Editorial Board
  April 14, 2022        2:43pm        Updated




  The media has ignored Brooklyn subway shooting suspect Frank James' history of racism against white people.
  Photo by BRYAN R. SMITH/AFP via Getty Images

https://nypost.com/2022/04/14/media-downplays-accused-brooklyn-shooter-frank-jamess-hatred-of-whites/                                         1/10
11/2/22, 1:27Case
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                                                                        shooter Frank James'84   ofof239
                                                                                             hatred   whitesPageID #: 298


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         MORE ON:
         BROOKLYN SUBWAY SHOOTING
   Ex Idaho             Dad stabs 1-     Carlos David      Dog caught          Even                           California dad,
        ‘Not an invitation’:
   gubernatorial             Judge angered
                        year-old           afterRojas
                                         Castro  accused NYC  subway
                                                           running with shooterGreenpeace
                                                                                 skips court                  22-year-old
   candidate…           daughter,…       family awarde…    decapitated…        finally admits t…              daughter…

         Accused NYC subway mass shooter whines about media coverage, says he’s ‘not too good’ in jail


         After mass shooting, NYC explores gun detectors in subways


         Eric Adams makes plea for pro-police messaging, challenging ‘defund’ movement



  “The videos he posted frequently devolved into outbursts of homophobia, misogyny and
  offensive comments about Black people, Hispanic people and white people,” the New York
  Times writes about Frank James, the suspect in the subway terrorist attack.

  “Mr. James, who is Black, directed much of his hatred toward Black people, whom he often
  blamed for the way they were treated in the United States.”

  CNN echoes the claim. James “repeatedly espoused hatred toward African Americans.”




https://nypost.com/2022/04/14/media-downplays-accused-brooklyn-shooter-frank-jamess-hatred-of-whites/                           2/10
11/2/22, 1:27Case
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   Ex Idaho                   Dad stabs 1-               Carlos David               Dog caught          Even                California dad,
   gubernatorial              year-old                   Castro Rojas               running with        Greenpeace          22-year-old
   candidate…                 daughter,…                 family awarde…             decapitated…        finally admits t…   daughter…




  That will come as a surprise to anyone who watched any significant portion of James’
  YouTube rants. Though he does spew hate about some black people, particularly black
  women, he often returns to and espouses themes of black nationalism. In one video, he says
  “what happened in Europe with the Jews” could happen to blacks in America. He suggests
  that Russia’s war on Ukraine is a prelude to using nuclear weapons to wipe out black

https://nypost.com/2022/04/14/media-downplays-accused-brooklyn-shooter-frank-jamess-hatred-of-whites/                                         3/10
11/2/22, 1:27Case
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                                                               Brooklyn           Page
                                                                        shooter Frank James'86   ofof239
                                                                                             hatred   whitesPageID #: 300

  people. “Ultimately at the end of the day, they kill and commit genocide against each other.
                                                                                       LOG IN
  What do you think they gonna do to your black ass?”

  He   concludes that
   Ex Idaho         Dad“white
                        stabs 1- peopleCarlos
                                        and David
                                               black people,  as we call ourselves,
                                                         Dog caught       Even          shouldCalifornia
                                                                                               not have  dad, any
   gubernatorial    year-old           Castro Rojas      running with     Greenpeace          22-year-old
  contact   with each
   candidate…         other.”
                    daughter,…         family awarde…    decapitated…     finally admits t…   daughter…


  James is unhinged, but do you think the media would treat a white killer’s bouillabaisse of
  paranoia as “Oh, he hates everyone”? You think they would ignore him reposting memes that
  said “O black Jesus kill all the whiteys” if the races were reversed? Hell, no.

  Just as they did with Darrell Brooks, the man charged with driving through a Wisconsin
  Christmas parade, the press is eager to bury a black suspect’s anti-white statements and
  ignore them as a possible motivation.




  James frequently posted hateful and violent videos on YouTube.
  YouTube / prophet oftruth88




https://nypost.com/2022/04/14/media-downplays-accused-brooklyn-shooter-frank-jamess-hatred-of-whites/                       4/10
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             PM      1:22-cr-00214-WFK Document     40 accused
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                                                               Brooklyn           Page
                                                                        shooter Frank James'87   ofof239
                                                                                             hatred   whitesPageID #: 301


                                                                                                                                   LOG IN


   Ex Idaho                   Dad stabs 1-               Carlos David               Dog caught          Even                California dad,
   gubernatorial              year-old                   Castro Rojas               running with        Greenpeace          22-year-old
   candidate…                 daughter,…                 family awarde…             decapitated…        finally admits t…   daughter…




  James’ statements are similar to those of alleged Waukesha Christmas parade killer Darrell Brooks.
  Mike De Sisti/Milwaukee Journal-Sentinel via AP, Pool


  We don’t know what will be revealed in court. Considering that his victims were of all racial
  backgrounds, it appears that James is simply a nihilist, obsessed with hatred and killing. But
  pretending that James didn’t praise the Nation of Islam or predict there would be a race war
  is nothing more that biased journalism. To the woke, only whites can be racists, and any
  evidence to the contrary must be ignored.


                  BROOKLYN BROOKLYN SUBWAY SHOOTING EDITORIAL MASS SHOOTINGS MEDIA
    FILED UNDER ,          ,                        ,         ,              ,
   RACISM SHOOTINGS SUBWAY
 ,        ,          ,       4/14/22




    READ NEXT                   Why accused Brooklyn subway shooter Frank James can be tri...




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11/2/22, 12:50 PM     1:22-cr-00214-WFK Document  40 suspect
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                                                                    James pleadsPage
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                                                                                           to terrorism


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   Key Hasidic                 David Bonola,               Dog caught                  NY man sprung   ‘I don’t wanna    Murders of
   groups back Lee             handyman who                running with                on no bail in   die’: Uvalde      women dumped
   Zeldin as Kath…             butchered NY…               decapitated…                Facebook-…      student begs f…   on LA freeway…




     METRO




  NYC subway suspect Frank James pleads not guilty to
  terrorism charges
  By Khristina Narizhnaya and Gabrielle Fonrouge
  May 13, 2022          1:54pm         Updated




         MORE ON:
         BROOKLYN SUBWAY SHOOTING

         ‘Not an invitation’: Judge angered after accused NYC subway shooter skips court

https://nypost.com/2022/05/13/nyc-shooting-suspect-frank-james-pleads-not-guilty-to-terrorism/                                            1/11
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         Accused NYC subway mass shooter whines about media coverage, says he’s ‘not too good’ in jail
                                                                                                               LOG IN

         After mass shooting, NYC explores gun detectors in subways
   Key Hasidic      David Bonola,       Dog caught       NY man sprung       ‘I don’t wanna              Murders of
   groups back Lee  handyman who        running with     on no bail in       die’: Uvalde                women dumped
        Eric Adams makes
   Zeldin as Kath…
                          plea for pro-police
                    butchered NY…
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                                        decapitated…     Facebook-…
                                                                       ‘defund’  movement
                                                                             student begs f…             on LA freeway…




  The raving madman who allegedly shot 10 people on a subway train last month told a judge
  he was feeling “pretty good” right before he pleaded not guilty to terrorism charges during his
  arraignment in Brooklyn federal court Friday.

  Frank James, 62, said little else except to confirm that he understood the charges and his
  rights and that he was “competent” enough to move forward with the case.

  The Bronx native is accused of spraying 33 bullets onboard a Manhattan-bound N train on
  April 12, after allegedly letting off a smoke bomb as the subway pulled into the 33rd Street
  station in Sunset Park.

  Ten people were struck by bullets and another 19 were injured.

  James, who wore a khaki jail outfit and a blue surgical mask that was hanging off his face, is
  facing two charges for the crime — committing a terrorist attack on a mass transit system
  and firing a gun during a violent crime, court records show.

          3/2




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https://nypost.com/2022/05/13/nyc-shooting-suspect-frank-james-pleads-not-guilty-to-terrorism/                            2/11
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                                                                                           to terrorism


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   Key Hasidic                 David Bonola,               Dog caught                  NY man sprung   ‘I don’t wanna    Murders of
   groups back Lee             handyman who                running with                on no bail in   die’: Uvalde      women dumped
   Zeldin as Kath…             butchered NY…               decapitated…                Facebook-…      student begs f…   on LA freeway…




  Frank James is arrested on April 13.
  AP


  He faces life in prison if convicted.

  As Judge William Kuntz read out the indictment against James, the defendant looked at the
  jurist and down at the table in front of him as if he were reading something.

  When Kuntz mentioned the government could seek forfeiture of his assets in the event of a
  conviction, James’ eyes grew wide and he raised his eyebrows.




https://nypost.com/2022/05/13/nyc-shooting-suspect-frank-james-pleads-not-guilty-to-terrorism/                                            3/11
             Case
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                                                                    James pleadsPage
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                                                                                           to terrorism


                                                                                                                               LOG IN


   Key Hasidic                 David Bonola,               Dog caught                  NY man sprung   ‘I don’t wanna    Murders of
   groups back Lee             handyman who                running with                on no bail in   die’: Uvalde      women dumped
   Zeldin as Kath…             butchered NY…               decapitated…                Facebook-…      student begs f…   on LA freeway…




  The aftermath of the bloody rampage on April 12.
  AP


  At the end of the proceeding, he was remanded into federal custody, where he is being held
  without bail.

  Prior to the attack, James posted a series of YouTube videos raving against Mayor Eric
  Adams, the mental health care system and a plethora of ethnic groups.

  “Mr. Mayor, I’m a victim of your mental health program,” James said in one lengthy video.




https://nypost.com/2022/05/13/nyc-shooting-suspect-frank-james-pleads-not-guilty-to-terrorism/                                            4/11
             Case
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                                                                    James pleadsPage
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                                                                                           to terrorism


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   Key Hasidic                 David Bonola,               Dog caught                  NY man sprung   ‘I don’t wanna    Murders of
   groups back Lee             handyman who                running with                on no bail in   die’: Uvalde      women dumped
   Zeldin as Kath…             butchered NY…               decapitated…                Facebook-…      student begs f…   on LA freeway…




  People lie injured after the shooting.
  AP




https://nypost.com/2022/05/13/nyc-shooting-suspect-frank-james-pleads-not-guilty-to-terrorism/                                            5/11
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   Key Hasidic                 David Bonola,               Dog caught                  NY man sprung   ‘I don’t wanna    Murders of
   groups back Lee             handyman who                running with                on no bail in   die’: Uvalde      women dumped
   Zeldin as Kath…             butchered NY…               decapitated…                Facebook-…      student begs f…   on LA freeway…




  Victims’ phone cameras captured the chaos following the shooting.
  AP


https://nypost.com/2022/05/13/nyc-shooting-suspect-frank-james-pleads-not-guilty-to-terrorism/                                            6/11
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                                                               11/07/22
                                                                    James pleadsPage
                                                                                not guilty94   of 239 PageID #: 308
                                                                                           to terrorism

  “I’m … now full of hate, full of anger, and full of bitterness.”
                                                                                                                               LOG IN

  He also criticized the mayor for not doing more to combat homelessness.
   Key Hasidic                   David Bonola,             Dog caught                  NY man sprung    ‘I don’t wanna   Murders of
  “Eric
   groupsAdams,
           back Lee Eric Adams:
                       handyman  whoWhat running
                                          are youwithdoing, brother?
                                                            on no bail in What’s die’:
                                                                                  happening
                                                                                       Uvalde    withwomen
                                                                                                      this dumped
   Zeldin as Kath…     butchered NY…     decapitated…       Facebook-…           student begs f…     on LA freeway…
  homeless situation,” he said while referring to the subway.

  “Every car I went to was loaded with homeless people. It was so bad, I couldn’t even stand. I
  had to keep moving from car to car.”


                                BROOKLYN FEDERAL COURT BROOKLYN SUBWAY SHOOTING CRIME TERRORISM
    FILED UNDER             ,                          ,                        ,     ,
  5/13/22




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                                                                                      Envita Medical Centers




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       Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 95 of 239 PageID #: 309

                                                                                                          LOG IN


Porsche owner         Two NYPD             Kentucky          Thieves strike     Prince Andrew      Embattled NYC
avoids jail for       officers allegedly   student fired     another Queens     wept when King     principal leaving
shooting…             assaulted in…        from ‘influenc…   car dealership,…   Charles told hi…   PS 333 after…




 METRO           EXCLUSIVE




Pregnant woman trampled during Brooklyn subway
shooting calls mayhem ‘absolute nightmare’
By Joe Marino, Tina Moore and Amanda Woods
April 13, 2022     1:02pm    Updated




There were 10 people shot in the Brooklyn subway attack.
Raymond Chiodini
      Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 96 of 239 PageID #: 310

                                                                                                               LOG IN
    MORE ON:
    BROOKLYN SUBWAY SHOOTING
Porsche owner           Two NYPD             Kentucky           Thieves strike       Prince Andrew      Embattled NYC
    ‘Not
avoids jail an
            for invitation’:  Judge
                        officers       angered
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shooting…               assaulted in…        from ‘influenc…    car dealership,…     Charles told hi…   PS 333 after…

    Accused NYC subway mass shooter whines about media coverage, says he’s ‘not too good’ in jail


    After mass shooting, NYC explores gun detectors in subways


    Eric Adams makes plea for pro-police messaging, challenging ‘defund’ movement



The pregnant woman injured when a maniac terrorized Brooklyn straphangers on a morning
rush-hour train Tuesday described the chaotic scene as a “death trap” and an “absolute
nightmare.”

The 28-year-old — a medical clinician who works in downtown Brooklyn and only wanted to
be identified by her first name, Chelsea — was initially believed to have been shot in the leg,
but was actually trampled during the mayhem that unfolded on a Manhattan-bound N train
around 8:30 a.m.

“I couldn’t sleep,” Chelsea told The Post in an exclusive phone interview. “Every time I close
my eyes, it’s all I can see, it’s all I can think about.”

“It’s an absolute nightmare. It’s a scary thing to go through in any kind of circumstance —
being pregnant [makes me even] more vulnerable … We’re all just trying to get somewhere.”

“No one should have to experience that,” she added. “The worst part is there’s nowhere to
run. It’s a death trap. None of the doors open.”

Chelsea told The Post she was running behind schedule Tuesday morning after dropping her
7-year-old daughter off at school, and hopped on an R train at 95th Street in Bay Ridge
around 8:10 a.m.

Seven minutes later, she transferred to an N train at 59th Street.
       Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 97 of 239 PageID #: 311

                                                                                                           LOG IN


Porsche owner         Two NYPD             Kentucky          Thieves strike     Prince Andrew       Embattled NYC
avoids jail for       officers allegedly   student fired     another Queens     wept when King      principal leaving
shooting…             assaulted in…        from ‘influenc…   car dealership,…   Charles told hi…    PS 333 after…




The man wanted in connection with the attack, Frank R. James, 62, was initially named as a person of interest, but was
since reclassified as a suspect.
prophetoftruth88/YouTube


“I got on and said, ‘What are the odds? There’s a seat,’” Chelsea said. “So I sat down and I
put my headphones on and started listening to music.”


   SEE ALSO
                      Brooklyn subway shooting suspect’s gun jammed during carnage: police sources




“I’m getting ready for the five minutes it takes to get from 59th Street to Atlantic Avenue,” she
said. “And the train doors closed, and it wasn’t even like 15 seconds — I would say we
barely pulled out of the station and [someone] yelled — I don’t know if it was [the suspect] or
someone else that yelled: ‘Oh, s—!’ It was a scream-yell, and it was louder than my music.”
       Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 98 of 239 PageID #: 312
“I turn my head,” she said through tears. “I turn my head and I see he has these smoke
                                                                                                          LOG IN
canisters. He opened it up and the smoke was pouring out of the canisters. I thought it was
someone playing a prank or doing something r——d — I never expected it being what it
actually
 Porsche ownerended up
                     Two being.
                          NYPD The smokeKentuckyjust startedThieves
                                                             to fill strike
                                                                     the car. Everyone
                                                                               Prince AndrewstartedEmbattled
                                                                                                    screaming  NYC
 avoids jail for     officers allegedly student fired       another Queens     wept when King      principal leaving
and   yelling.”
 shooting…           assaulted in…      from ‘influenc…     car dealership,…   Charles told hi…    PS 333 after…


While all this was going on, Chelsea said, the train was stalled between the 59th and 36th
Street stations, “because in typical MTA fashion there’s a delay for some reason.”

“Everyone is screaming, is running to the other car and the door doesn’t open, and we were
banging on the door for the people in the other car to open the door for us,” she said.
“Smoke filled [the car] and … he was just letting off the gunshots.”

Some wounded straphangers cried out, “I’m hit!” as others desperately tried to make sure
their fellow commuters protected themselves, Chelsea recalled.

“Cover your heads! Cover your chest! Get cover!” they cried, according to Chelsea.




A bag full of fireworks recovered in the Brooklyn subway station where several people were injured in the shooting on
April, 12, 2022.
      Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 99 of 239 PageID #: 313
“Then there was a moment, a pause and we don’t know if that’s when his gun jammed,” she
                                                                                               LOG IN
said. “I can’t tell you how long this went on for. It felt like a lifetime. This is all while we’re
stuck between stations.”
Porsche owner        Two NYPD                Kentucky            Thieves strike    Prince Andrew       Embattled NYC
avoids jail for
Chelsea
shooting… said    sheofficers
                     assaulted
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                                                                       of the seatsCharles
                                                                 car dealership,…   in thetold
                                                                                            car,       principal leaving
                                                                                               hi…but couldn’t     get
                                                                                                       PS 333 after…
her whole body through it.

“People were trying to help me,” she said. “A guy, I don’t know who he is, he tried to help me
—- everybody else was panicked. And I’m yelling, ‘I’m pregnant!’”

“You can’t be mad — everyone is trying to survive,” she said. “You can’t be mad. It’s pure
chaos. It’s absolutely terrible. I fell down [on] my knee twice. It’s absolutely terrible.”

As soon as the doors opened, straphangers frantically ran off the train, Chelsea said.
      Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 100 of 239 PageID #: 314

                                                                                                           LOG IN


Porsche owner       Two NYPD             Kentucky             Thieves strike     Prince Andrew      Embattled NYC
avoids jail for     officers allegedly   student fired        another Queens     wept when King     principal leaving
shooting…           assaulted in…        from ‘influenc…      car dealership,…   Charles told hi…   PS 333 after…




The pregnant victim called the insane scene a “death trap.”
Facebook/Armen Armenian


“I was missing my shoe,” she said. “I have severe OCD and even in the midst of the chaos
— I couldn’t find my shoe — it was honestly the most traumatic of things.”


   SEE ALSO
                     Brooklyn shooting survivor Hourari Benkada says he sat next to suspect on train
      Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 101 of 239 PageID #: 315

                                                                                                      LOG IN


Porsche owner     Two NYPD             Kentucky          Thieves strike     Prince Andrew      Embattled NYC
avoids jail for   officers allegedly   student fired     another Queens     wept when King     principal leaving
shooting…         assaulted in…        from ‘influenc…   car dealership,…   Charles told hi…   PS 333 after…
“There’s blood all over me,” she said. “I didn’t know, being pregnant, if it was coming from me
or someone else.”

Chelsea suffered a knee injury and was treated at Kings County Hospital Center, according
to police sources.

Throughout the pandemonium, Chelsea said, she kept thinking about her daughter — and
prayed for a chance to see her again.

“I said, ‘God, I have to get home to my baby,’” she said. “I was just thinking about my kid the
whole time.”

Chelsea said she wants to see additional safety measures in the city’s subway system —
including a bigger police presence and metal detectors in the stations — but she is not sure
whether either of those options would have made a difference Tuesday.

“I wish, honestly — and I don’t know if it’s a possibility for us — to have more police at every
single station,” she said. “I think that would make us a lot safer, especially because people
are getting on the subway with all sorts of things.”
       Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 102 of 239 PageID #: 316

                                                                                                          LOG IN


Porsche owner         Two NYPD             Kentucky          Thieves strike     Prince Andrew      Embattled NYC
avoids jail for       officers allegedly   student fired     another Queens     wept when King     principal leaving
shooting…             assaulted in…        from ‘influenc…   car dealership,…   Charles told hi…   PS 333 after…




There were 29 injuries stemming from the incident.
Will B Wylde via AP


“In some ways, yes we do need more police, but let’s say someone bypasses that — no
matter what, you’re trapped on that train car,” Chelsea added. “There is no emergency exit.
And if the train is stuck underground, which we all know happens on a regular basis, what
are the conductors going to do realistically with an active shooter? Call into the station?
You’re just dead.”


   SEE ALSO
                      Frank James now considered suspect in Brooklyn subway shooting




“Listen, if we could have metal decorators so people can go through and be screened, but
can you screen for the things this guy had yesterday?” she questioned. “Like maybe open
your bag.”
      Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 103 of 239 PageID #: 317
“This is a reiteration of the fact we live in such a big city that New York City is always a target
                                                                                          LOG IN
for these things,” she said.

Mayor     Eric Adams
 Porsche owner    Twovowed
                       NYPD      to double    the numberThieves
                                       Kentucky          of NYPDstrike officers onAndrew
                                                                             Prince the subway   system
                                                                                              Embattled   NYCin
 avoids jail for  officers allegedly   student fired    another Queens       wept when King   principal leaving
the  wake of the bloodshed.
 shooting…        assaulted in…        from ‘influenc…  car dealership,…     Charles told hi… PS 333 after…


A total of 29 straphangers were hurt during the bloodbath — 10 of whom were shot.

Those who were shot included three women between the ages of 41 and 49, and seven men
between the ages of 15 and 41, the NYPD said Wednesday morning.




Emergency personnel gather near the scene of the Brooklyn subway shooting.
John Minchillo/AP


Children and teens — ages 12, 13, 16 and 18 — were also hurt in the fracas, Gov. Kathy
Hochul told reporters Tuesday night from Maimonides Medical Center, where many of the
victims were being treated.

The man wanted in connection to the savage attack, Frank R. James, 62, was initially named
as a person of interest, but was reclassified as a suspect Wednesday, officials said.
11/2/22, 1:13Case
              PM    1:22-cr-00214-WFK Document      40 injuries
                                        Subway victims'   Filed may11/07/22         Page
                                                                   reveal alleged shooter     104
                                                                                          Frank     of motives
                                                                                                James's 239 PageID #: 318

                                                                                                                             LOG IN


   Debbie Collier’s            Man’s body                 NYC building               Man shot dead       ‘Armed and    NYC’s brazen
   son reveals his             found hanging              commish Eric               in NYC while        dangerous’    ‘Nifty 50’
   suspicions ov…              from tree in N…            Ulrich probed…             bicycling to…       suspect in…   pickpocket…




     METRO




  Subway victims’ injuries may reveal alleged shooter
  Frank James’s motives
  By Kerry J. Byrne, Joe Marino and Melissa Klein
  April 16, 2022        10:38am         Updated




https://nypost.com/2022/04/16/subway-victims-injuries-may-reveal-alleged-shooter-frank-jamess-motives/                                1/10
11/2/22, 1:13Case
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                                                                   reveal alleged shooter     105
                                                                                          Frank     of motives
                                                                                                James's 239 PageID #: 319

                                                                                                                             LOG IN


   Debbie Collier’s            Man’s body                 NYC building               Man shot dead       ‘Armed and    NYC’s brazen
   son reveals his             found hanging              commish Eric               in NYC while        dangerous’    ‘Nifty 50’
   suspicions ov…              from tree in N…            Ulrich probed…             bicycling to…       suspect in…   pickpocket…




  New Yorkers on their way to work treated victims of a shooting on the Manhattan bound platform of the 36th Street N,
  R, and D station.
  Derek French/Shutterstock




         MORE ON:
         BROOKLYN SUBWAY SHOOTING

         ‘Not an invitation’: Judge angered after accused NYC subway shooter skips court


         Accused NYC subway mass shooter whines about media coverage, says he’s ‘not too good’ in jail


         After mass shooting, NYC explores gun detectors in subways


         Eric Adams makes plea for pro-police messaging, challenging ‘defund’ movement




https://nypost.com/2022/04/16/subway-victims-injuries-may-reveal-alleged-shooter-frank-jamess-motives/                                2/10
11/2/22, 1:13Case
              PM    1:22-cr-00214-WFK Document      40 injuries
                                        Subway victims'   Filed may11/07/22         Page
                                                                   reveal alleged shooter     106
                                                                                          Frank     of motives
                                                                                                James's 239 PageID #: 320
  Most of the shooting victims of Tuesday’s subway carnage were hit below the belt, raising
                                                                                      LOG IN
  questions about alleged assailant Frank James’ motivations.

  Bullets   struck seven
   Debbie Collier’s    Man’s people
                              body     in the
                                            NYC legs;   one in the
                                                  building      Manleg
                                                                     shotand
                                                                          dead hand;‘Armed
                                                                                      and and
                                                                                           two in the NYC’s
                                                                                                       torso, brazen
   son reveals his     found hanging        commish Eric        in NYC while        dangerous’        ‘Nifty 50’
  according
   suspicions ov…to lawfrom
                        enforcement
                            tree in N…   sources.
                                            Ulrich probed…      bicycling to…       suspect in…       pickpocket…


  Five victims were men, three were women and information on the other two was not
  available.

  Jim Clemente, a former FBI agent and profiler, said James “was not criminally or forensically
  sophisticated” and that “it’s plausible” he was not trying to kill people.

  He described James as a seeming “injustice collector” — people who “keep a book on
  everybody who has wronged them and always project the blame on other people.

  “I think he was looking for a spotlight and a platform because he doesn’t feel heard. This
  made him feel really powerful and it’s a horrific way to express your ego or your damaged
  ego,” said Clemente, who was once a prosecutor in Bronx Family Court.

  He said that shooting somebody in the leg is dangerous “but if you’re going to shoot
  somebody, the leg is the least fatal place to shoot them.”




https://nypost.com/2022/04/16/subway-victims-injuries-may-reveal-alleged-shooter-frank-jamess-motives/                      3/10
11/2/22, 1:13Case
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                                                                                          Frank     of motives
                                                                                                James's 239 PageID #: 321

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   Debbie Collier’s            Man’s body                 NYC building               Man shot dead       ‘Armed and    NYC’s brazen
   son reveals his             found hanging              commish Eric               in NYC while        dangerous’    ‘Nifty 50’
   suspicions ov…              from tree in N…            Ulrich probed…             bicycling to…       suspect in…   pickpocket…




  Frank James was walked out of the 9th Precinct station house by detectives on April 13, 2022 in New York.
  Alec Tabak for NY Post


  James is alleged to have fired 33 times in the crowded N train car on Tuesday morning,
  stopping when his Glock pistol jammed.

  He has been charged with committing a terrorist or other violent attack against a mass
  transportation system and faces life in prison. He is being held without bail.

                                                                           ADVERTISING




https://nypost.com/2022/04/16/subway-victims-injuries-may-reveal-alleged-shooter-frank-jamess-motives/                                4/10
11/2/22, 1:13Case
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                                                                   reveal alleged shooter     108
                                                                                          Frank     of motives
                                                                                                James's 239 PageID #: 322

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   Debbie Collier’s             Man’s body                NYC building               Man shot dead       ‘Armed and    NYC’s brazen
   son reveals his              found hanging             commish Eric               in NYC while        dangerous’    ‘Nifty 50’
   suspicions ov…               from tree in N…           Ulrich probed…             bicycling to…       suspect in…   pickpocket…
  Candice DeLong, a former FBI criminal profiler and host of “Deadly Women” and “Facing
  Evil” on Investigation Discovery, and the “Killer Psyche” podcast, said James’ alleged actions
  were “sloppy” and “was not well planned or well executed.”




  Photos show injured people waiting for aid on the platform inside the subway station of 36th Street shortly after a
  gunman opened fire on morning rush hour passengers.
  Raymond Chiodini


  “His mind is not together. What he did resulted in chaos, resulted in several hospitalizations
  and somebody could have died,” she said.


                               BROOKLYN SUBWAY SHOOTING SHOOTINGS SUBWAY
    FILED UNDER            ,                            ,         ,      4/16/22




                                 New Jersey couple sues Dunkin' after hot coffee severely b
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                                        Subway victims'   Filed may11/07/22         Page
                                                                   reveal alleged shooter     109
                                                                                          Frank     of motives
                                                                                                James's 239 PageID #: 323

  United Parcel Service Inc. Cl B stock falls                                       Huntington Bancshares Inc. stock outperforms
                                                                                                                          LOG IN
  Tuesday, still...                                                                 competitors on strong...
  MarketWatch                                                                       MarketWatch
   Debbie Collier’s            Man’s body                 NYC building               Man shot dead       ‘Armed and    NYC’s brazen
   son reveals his             found hanging              commish Eric               in NYC while        dangerous’    ‘Nifty 50’
   suspicions ov…              from tree in N…            Ulrich probed…             bicycling to…       suspect in…   pickpocket…




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   The Left’s Black-           Ex Idaho                   Dog caught                 Carlos David          Cops on hunt for    US on alert over
   vote freak-out,             gubernatorial              running with               Castro Rojas          Takeoff’s killer,   ‘imminent’ Iran
   the Democrats…              candidate…                 decapitated…               family awarde…        ask public for…     attack on Saud…




                         MIRANDA DEVINE


     OPINION




  Suspect Frank James was spewing racist hate years
  before Brooklyn subway shooting
  By Miranda Devine
  April 13, 2022        9:59pm         Updated




https://nypost.com/2022/04/13/suspect-frank-james-was-spewing-racist-hate-well-before-brooklyn-shooting/                                          1/15
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   The Left’s Black-           Ex Idaho                   Dog caught                 Carlos David          Cops on hunt for    US on alert over
   vote freak-out,             gubernatorial              running with               Castro Rojas          Takeoff’s killer,   ‘imminent’ Iran
   the Democrats…              candidate…                 decapitated…               family awarde…        ask public for…     attack on Saud…




  Frank James was named by the NYPD as a suspect in the Brooklyn subway shooting and was arrested Wednesday.
  Robert Miller




         MORE FROM:
         MIRANDA DEVINE

         Biden and Democrats spin the attack on Paul Pelosi to smear Trump, MAGA backers


         How long will Democratic voters continue to allow themselves to be treated like fools?


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         apologize


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                                                                       racist hate well before 112   ofshooting
                                                                                               Brooklyn 239 PageID #: 326
  How did Frank R. James, the apparent black nationalist arrested for Tuesday’s subway
                                                                                    LOG IN
  rampage, become radicalized?

  The   social
  The Left’s      mediaExrants
             Black-       Idaho of the 62-year-old
                                         Dog caught suspect reveal
                                                         Carlos David a man Cops
                                                                             consumed
                                                                                 on hunt forwithUShatred
                                                                                                    on alertof
                                                                                                            over
  vote freak-out,      gubernatorial     running with    Castro Rojas       Takeoff’s killer,   ‘imminent’ Iran
  white   people andcandidate…
  the Democrats…         convinced of adecapitated…
                                          looming race war.
                                                         family awarde…     ask public for…     attack on Saud…


  “O black Jesus, please kill all the whiteys,” was one meme he posted.




https://nypost.com/2022/04/13/suspect-frank-james-was-spewing-racist-hate-well-before-brooklyn-shooting/                    3/15
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   The Left’s Black-           Ex Idaho                   Dog caught                 Carlos David          Cops on hunt for    US on alert over
   vote freak-out,             gubernatorial              running with               Castro Rojas          Takeoff’s killer,   ‘imminent’ Iran
   the Democrats…              candidate…                 decapitated…               family awarde…        ask public for…     attack on Saud…




  He’s not too complimentary about Hispanics, Asians and his own race, for that matter, and
  claims to have had long-term mental health problems. The 29 victims of Tuesday’s shooting
  were a multicultural mix, as you would expect in a crowded rush-hour subway train. Police
  say James detonated a smoke grenade before firing 33 shots on the Manhattan-bound N


https://nypost.com/2022/04/13/suspect-frank-james-was-spewing-racist-hate-well-before-brooklyn-shooting/                                          4/15
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                                                                                               Brooklyn 239 PageID #: 328
  train. Police found a hatchet, three ammunition magazines, fireworks and gasoline. It’s a
                                                                                      LOG IN
  miracle no one was killed.

  But   whatever
   The Left’s Black- hisEx
                         psychiatric
                           Idaho      issues,  James sounds
                                         Dog caught     Carlosvery
                                                               Davidmuch like
                                                                          Copsother
                                                                               on huntideologically
                                                                                          for          fixated,
                                                                                              US on alert over
   vote freak-out,      gubernatorial    running with   Castro Rojas      Takeoff’s killer,   ‘imminent’ Iran
  identity-obsessed
   the Democrats…          killers who have
                        candidate…           emerged since
                                         decapitated…       the
                                                        family   BLM-Antifa
                                                               awarde…    ask racial    movement
                                                                              public for…     attackof  2020
                                                                                                    on Saud…
  and the hate speech it unleashed.

  Like Darrell Brooks Jr., who allegedly plowed his car into the Waukesha Christmas parade
  last November, and Noah Green, the Nation of Islam adherent who rammed Capitol Police
  last April in a quickly memory-holed attack, James espoused the rancid, racist ideology of
  black supremacy, once known officially as “black identity extremism,” which we have been
  assured by the FBI and other legal experts doesn’t exist.




  Alleged subway shooter Frank James had been posting racist material on YouTube for years.
  Matthew McDermott


  Extremist ideology

  James posted material on social media linked to black identity extremist ideologies, including
  the Nation of Islam, Black Panthers, Black Liberation Army, BLM and an image of black
https://nypost.com/2022/04/13/suspect-frank-james-was-spewing-racist-hate-well-before-brooklyn-shooting/                    5/15
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                                                                                               Brooklyn 239 PageID #: 329
  nationalist cop-killer Micah Johnson.
                                                                                                                    LOG IN

  “White people and black people, as we call ourselves, should not have any contact with each
  other,”
   The Left’sJames
              Black- rants  in one of hundreds
                       Ex Idaho          Dog caughtof YouTube   videos
                                                           Carlos David posted toonahunt
                                                                            Cops       channel
                                                                                            for  under    the
                                                                                                 US on alert over
   vote freak-out,     gubernatorial     running with      Castro Rojas     Takeoff’s killer,    ‘imminent’ Iran
  user    name “prophetoftruth88,”
   the Democrats…      candidate…      from   which policefamily
                                         decapitated…       tookawarde…
                                                                   a screenshot  to identify
                                                                            ask public for…     him  asonaSaud…
                                                                                                 attack
  suspect, and which was removed from YouTube Wednesday.

  In another video, he weeps over the news that new Supreme Court Justice Ketanji Brown
  Jackson is married to a “white man,” whom he described as the “enemy.”




  Police have tallied 29 victims of the subway shooting.
  AP/John Minchillo


  “You hear black people [inspired by Jackson] say my daughter … dreaming to be a part of
  something that does not want you be a part of it … You’re not white, you’re not European
  … You want to force yourself on these people and they’re going to kill you.”


       SEE ALSO
                               Who is Brooklyn subway shooting suspect Frank James?
https://nypost.com/2022/04/13/suspect-frank-james-was-spewing-racist-hate-well-before-brooklyn-shooting/                     6/15
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                                                                       racist hate well before 116   ofshooting
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   The Left’s Black-           Ex Idaho                   Dog caught                 Carlos David          Cops on hunt for    US on alert over
   vote freak-out,             gubernatorial              running with               Castro Rojas          Takeoff’s killer,   ‘imminent’ Iran
   the Democrats…              candidate…                 decapitated…               family awarde…        ask public for…     attack on Saud…
  James, a fan of CNN, in many of his videos appeared in front of a large TV tuned to the left-
  wing cable channel. His grievances against “whitey” could be ripped from the teleprompters
  of any of the race-baiting hosts of CNN and MSNBC. The only difference between the
  dehumanizing racial hatred he spews and the commentary by Joy Reid when she sneers at
  “white tears” and argues that Americans only care about the war in Ukraine because the
  victims are “white and largely Christian” is that James advocates violence. “I’m wanting to kill
  everything in sight,” he says in one video.

  “These white motherf—ers, this is what they do,” he says in a video about the Ukraine
  invasion, claiming it presaged a black genocide in the United States.

  “Ultimately at the end of the day, they kill and commit genocide against each other. What do
  you think they gonna do to your black ass? …”

  He also criticizes New York City Mayor Eric Adams and black people who don’t perceive
  themselves as victims. “You got your Ph.D. career and nice shoes. You got an education but
  now you’re just a carbon copy of the person who made you a slave … you’re there to serve
  these motherf—ers.”




https://nypost.com/2022/04/13/suspect-frank-james-was-spewing-racist-hate-well-before-brooklyn-shooting/                                          7/15
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                                                                                                                                   LOG IN
  Of white people, he says, “I don’t know how well-intentioned they can be because if you look
  at the history of black people in this country … how many really stood with us or were there
   The Left’s Black-
  for  us when we ­rEx
   vote freak-out,
                       Idaho
                     eally
                     gubernatorial
                                      Dog caught
                            needed it …               Carlos David
                                         They didn’t go
                                      running with
                                                                      Cops on hunt for
                                                        on our side until
                                                      Castro Rojas
                                                                          we started toUS
                                                                      Takeoff’s killer,
                                                                                             on alert over
                                                                                          rise  up.”
                                                                                        ‘imminent’ Iran
   the Democrats…              candidate…                 decapitated…               family awarde…        ask public for…   attack on Saud…
  In another rant, he says: “I wanted to watch people die right in front of my f—ing face
  immediately.”

  ‘Terrorist’ attack

  We were told by the NYPD within hours of the subway attack that it was not terrorism.

  But it sure looked like a lone-wolf terrorist attack motivated by a hateful ideology.




  NYPD Commissioner Keechant Sewell said the shooting initially wasn’t being investigated as an act of terrorism, but
  suspect James was charged with federal terrorism offenses.
  Alexi J. Rosenfeld/Getty Images


  Sure enough, at a press conference Wednesday, Brooklyn US Attorney Breon Peace said
  James had been charged with a federal terrorism offense.
https://nypost.com/2022/04/13/suspect-frank-james-was-spewing-racist-hate-well-before-brooklyn-shooting/                                       8/15
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                                                                                               Brooklyn 239 PageID #: 332
  In that same presser, the FBI refuted reports that James was on any watch list, saying
                                                                                       LOG IN
  agents had not previously investigated him.

  Maybe
   The Left’sif the FBIExdidn’t
              Black-      Idaho waste soDog
                                         much
                                            caughteffort chasing    down white-supremacy
                                                            Carlos David       Cops on hunt for hoaxes,
                                                                                                   US on alert over
   vote freak-out,     gubernatorial    running with        Castro Rojas       Takeoff’s killer,   ‘imminent’ Iran
  entrapping
   the Democrats…  Trump  supporters and
                       candidate…          investigating bogus
                                        decapitated…                 reports ofask
                                                            family awarde…      nooses       in NASCAR
                                                                                   public for…     attack on Saud…
  garages, it might have been better placed to notice James’ years of hate-filled rants on social
  media.

  Just an idea, but maybe the FBI shouldn’t allow elite opinion and politics to dictate where it
  places its resources.

  It wasn’t so long ago that the FBI’s counterterrorism division acknowledged that black identity
  extremist ideology was a domestic terrorism threat.

  In a report dated Aug. 3, 2017, the bureau cited the 2016 massacre of five police officers by
  Micah Johnson during a Black Lives Matter protest in Dallas.




https://nypost.com/2022/04/13/suspect-frank-james-was-spewing-racist-hate-well-before-brooklyn-shooting/                    9/15
11/2/22, 1:30Case
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                                                                       racist hate well before 119   ofshooting
                                                                                               Brooklyn 239 PageID #: 333
  James detonated a smoke grenade before firing 33 shots in the subway car, police said.
  Will B Wylde via AP                                                                                                              LOG IN

  “Based on Johnson’s journal writings and statements to police, he appeared to have been
   The Left’s Black-    Ex Idaho
  influenced
   vote freak-out, by BIE [black identity Dog
                        gubernatorial
                                              caught
                                           extremist]
                                          running
                                                            Carlos David
                                                  with ideology,”
                                                                              Cops on hunt for
                                                                    the FBI report
                                                            Castro Rojas           says.
                                                                              Takeoff’s killer,
                                                                                                US on alert over
                                                                                                ‘imminent’ Iran
   the Democrats…              candidate…                 decapitated…               family awarde…        ask public for…   attack on Saud…

  “The FBI assesses it is very likely [BIE] perceptions of police brutality against African
  Americans spurred an increase in premeditated, retaliatory lethal violence against law
  enforcement and will very likely serve as justification for such violence.”


       SEE ALSO
                               Brooklyn students fear school commutes as many kids stay home day after
                               shooting




  The backlash was immediate, with the media and activists accusing the FBI of racism.
  “There is no such thing as black identity extremism,” Kristen Clarke, president of the National
  Lawyers’ Committee for Civil Rights Under Law, told Congress. “It is not a real threat.”

  Within months, the bureau had abandoned the term black identity extremism, and FBI
  Director Christopher Wray was telling Congress in 2019 that “what you might call white
  supremacist violence” was behind much domestic terrorism.

  The Center for Security Policy, a conservative, Washington, DC-based think tank, claims that
  the FBI came under “political pressure from the Congressional Black Caucus and left-wing
  media to eliminate the category of black identity extremism as a potential terrorism
  motivation.”

  According to Kyle Shideler, the center’s director for homeland security and counterterrorism,
  “The FBI, DHS and other elements of the intelligence community have routinely downplayed
  the potential risk of violence from black identity extremists …

  “As a result of this political pressure, there has been minimal study and training done to
  educate law enforcement on the intricacies of the black identity extremist thought, and its
  various strains and idiosyncrasies,” he wrote in a paper published Wednesday.




https://nypost.com/2022/04/13/suspect-frank-james-was-spewing-racist-hate-well-before-brooklyn-shooting/                                       10/15
11/2/22, 1:30Case
              PM    1:22-cr-00214-WFK Document
                                        Suspect Frank40
                                                      JamesFiled  11/07/22
                                                           was spewing              Page
                                                                       racist hate well before 120   ofshooting
                                                                                               Brooklyn 239 PageID #: 334

                                                                                                                                     LOG IN


   The Left’s Black-           Ex Idaho                   Dog caught                 Carlos David          Cops on hunt for    US on alert over
   vote freak-out,             gubernatorial              running with               Castro Rojas          Takeoff’s killer,   ‘imminent’ Iran
   the Democrats…              candidate…                 decapitated…               family awarde…        ask public for…     attack on Saud…




  NYPD officers handcuff James in the East Village more than 24 hours after he allegedly fired shots in the subway.
  AP


  “Instead, the tendency is to deny that such attacks are politically motivated, and thus deny
  any terrorism angle for further investigation.”

  End identity politics

  How about law enforcement just does its job, without kowtowing to identity politics.

  How about acknowledging that racist hate speech has the potential of radicalizing unhinged
  people, no matter who the intended target is. How about everyone in a position of influence,
  from the president on down, stops exploiting racial division for political capital.

  How about we admit that America is the most equitable, welcoming, multiracial country in the
  world, and we’d like to keep it that way.


                 BROOKLYN BROOKLYN SUBWAY SHOOTING FBI RACISM SHOOTINGS SOCIAL MEDIA
    FILED UNDER,            ,                      ,   ,      ,         ,
   SUBWAY TERRORISM
 ,        ,          4/13/22

https://nypost.com/2022/04/13/suspect-frank-james-was-spewing-racist-hate-well-before-brooklyn-shooting/                                          11/15
11/2/22, 1:05Case
              PM     1:22-cr-00214-WFK Document  40 subway
                                            The NYC   Filed   11/07/22
                                                           shooter             Pagefor121
                                                                   bears responsibility        of 239 PageID #: 335
                                                                                        his crimes




                         NICOLE GELINAS


     LIFESTYLE




  The NYC subway shooter, despite disordered thoughts,
  bears responsibility for his crimes
  By Nicole Gelinas
  April 17, 2022         7:55pm        Updated




                                                                                                                          LOG IN

     Lifestyle                  Health            Fitness            Health Care            Medicine   Men’s Health   Women’s Health
https://nypost.com/2022/04/17/the-nyc-subway-shooter-bears-responsibility-for-his-crimes/                                          1/11
11/2/22, 1:05Case
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                                            The NYC   Filed   11/07/22
                                                           shooter             Pagefor122
                                                                   bears responsibility        of 239 PageID #: 336
                                                                                        his crimes


         MORE FROM:
         NICOLE GELINAS

         Gov. Hochul's refusal to fix bail laws is a war on women


         Want a weapons-free subway? Enforce farebeating


         This subway-cop surge is about getting Hochul re-elected, not a lasting fix


         Yes, New Yorkers have a 'perception' of more crime — because there IS more crime


         The eighth subway murder this year shows NYC's public safety in deep decline



  In the near week since Frank James’ alleged Brooklyn subway attack, it’s become accepted
  wisdom that New York City’s or America’s social services system failed him — and us. Yet no
  one has shown any way in which social services could have stopped this attack. What we
  have is what it looks like: a bad guy who intelligently planned and executed a bad thing.

  After the mass shooting, City Councilwoman Alexa Avilés and Assemblywoman Marcela
  Mitaynes, who represent Sunset Park, said that it showed how “we need investments in
  social services — housing, healthcare and education.” Politico wondered “What Brooklyn’s
  subway shooting reveals about the state of mental health care.”

  So far? Nothing.

  True, New York City and state leave seriously mentally ill people on the street, despite
  multiple warning signs. Some of those people, like Martial Simon, who pushed Michelle Go
  to her death under a subway in January, are violent. Simon had a documented history of
  delusions and compulsions so severe that he couldn’t function.




                                                                                                                          LOG IN

     Lifestyle                  Health            Fitness            Health Care            Medicine   Men’s Health   Women’s Health
https://nypost.com/2022/04/17/the-nyc-subway-shooter-bears-responsibility-for-his-crimes/                                          2/11
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                                                           shooter             Pagefor123
                                                                   bears responsibility        of 239 PageID #: 337
                                                                                        his crimes




  New York Police Department officers arrest subway shooting suspect Frank James on April 13.
  Meredith Goldberg/AP


  James is not that person. James, though born in New York, has no apparent recent ties to
  the city. Until Wednesday, he hadn’t been arrested here in nearly a quarter-century.




                                                                                                                          LOG IN

     Lifestyle                  Health            Fitness            Health Care            Medicine   Men’s Health   Women’s Health
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https://nypost.com/2022/04/17/the-nyc-subway-shooter-bears-responsibility-for-his-crimes/                                            3/11
11/2/22, 1:05Case
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                                            The NYC   Filed   11/07/22
                                                           shooter             Pagefor124
                                                                   bears responsibility        of 239 PageID #: 338
                                                                                        his crimes




  He doesn’t fit the profile of Simon or the people accused of killing Christina Yuna Lee and
  Krystal Bayron-Nieves this year: people recently arrested and released, despite escalating
  episodes of uncontrolled violent impulses.

  James claimed, in his video rants, that New York’s mental health system failed him, but he
  didn’t say when or how. If the education system failed him, it did so five decades ago.
  (Maybe the lack of charter schools back then failed him.)




  People get help from other commuters following the April 12 subway shooting in Brooklyn.
  AP/Will B Wylde


  Our housing system didn’t fail him, unless it fails everyone who leaves New York for a
                                                                                       LOG IN
  different city for one reason or another. He found housing in Milwaukee and an Airbnb in
  Philly.
   Lifestyle          Health   Fitness   Health Care     Medicine   Men’s Health Women’s Health
https://nypost.com/2022/04/17/the-nyc-subway-shooter-bears-responsibility-for-his-crimes/                             4/11
11/2/22, 1:05Case
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                                            The NYC   Filed   11/07/22
                                                           shooter             Pagefor125
                                                                   bears responsibility        of 239 PageID #: 339
                                                                                        his crimes

  Should social services run by Milwaukee or some other city have noticed James’ YouTube
  screeds, in which he said white people “kill and commit genocide against each other” and will
  do the same to “your black ass,” declared that “white people and black people … should not
  have any contact with each other” and praised 9/11 as “a beautiful day”?

  These are disordered thoughts — and, as Mayor Eric Adams said last week, big tech should
  stop allowing people to amplify disordered thoughts.

  But you are allowed to have disordered thoughts. You’re allowed to think 9/11 was an inside
  job; you’re allowed to have bizarre racial theories.




  There’s no getting around the fact that James was functional. As he said himself, he chose
  not to work consistently for a living: “There’s no way that I’m going to … go to work, pay my
  taxes.”

  He was functional enough to plot a complex ideological attack across geographic boundaries
  and carry it out.

  He was functional enough to compile the equipment he needed, to disguise himself as an
  MTA construction worker, to discard his disguise immediately so that he could escape. He
                                                                                     LOG IN
  even arranged his own arrest.

     Lifestyle                  Health            Fitness            Health Care            Medicine   Men’s Health   Women’s Health
https://nypost.com/2022/04/17/the-nyc-subway-shooter-bears-responsibility-for-his-crimes/                                          5/11
11/2/22, 1:05Case
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                                            The NYC   Filed   11/07/22
                                                           shooter             Pagefor126
                                                                   bears responsibility        of 239 PageID #: 340
                                                                                        his crimes

  There’s a whiff of patronizing racism in assuming that James didn’t do exactly what he set
  out to do but rather “needed help.”




  NYPD personnel stand outside the subway entrance where the April 12 shooting occurred.
  John Minchillo/AP


  Anyone who commits a mass attack has mental problems. Timothy McVeigh, the Oklahoma
  City bomber, probably did have post-traumatic stress disorder, and Boston Marathon bomber
  Dzhokhar Tsarnaev probably was manipulated by his mastermind brother. The 9/11 hijackers
  also (apparently!) had disordered thoughts.

  Nobody ever says that he needed housing services.

  Like these other attackers, James knows right from wrong and action and consequence. In
  one video, he said that “I wanted to kill people” but “I don’t want to go to f–king prison.”

  Should the FBI have zeroed in on the videos James posted just before his attack, when he
  used more menacing language, saying, for example, that “it’s time”?
                                                                                                                          LOG IN

     Lifestyle                  Health            Fitness            Health Care            Medicine   Men’s Health   Women’s Health
https://nypost.com/2022/04/17/the-nyc-subway-shooter-bears-responsibility-for-his-crimes/                                          6/11
11/2/22, 1:05Case
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                                            The NYC   Filed   11/07/22
                                                           shooter             Pagefor127
                                                                   bears responsibility        of 239 PageID #: 341
                                                                                        his crimes




  NYPD officers escort James into a police vehicle following his arrest.
  John Minchillo/AP


  Sure, but that’s law enforcement, not social services. Plus, James made no direct threats —
  more evidence of careful planning.

  It may be a good idea for social services agencies to interact more with people like
  James. But there are a lot of such people: people on the border of society, with plenty of time
  to cultivate loony ideas.

  Is New York City going to hunt each of these people down and provide him with an
  apartment and daily intensive counseling so that he doesn’t make a cross-country trip here to
  attack us?

  Nicole Gelinas is a contributing editor to the Manhattan Institute’s City Journal.


                                BROOKLYN SUBWAY SHOOTING CRIME SOCIAL SERVICES
    FILED UNDER             ,                            ,     ,               4/17/22
                                                                                                                          LOG IN

     Lifestyle                   Health           Fitness            Health Care            Medicine   Men’s Health   Women’s Health
https://nypost.com/2022/04/17/the-nyc-subway-shooter-bears-responsibility-for-his-crimes/                                          7/11
11/2/22, 1:31Case
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                                                is Brooklyn  11/07/22        Page
                                                                  shooting suspect     128
                                                                                   Frank     of 239 PageID #: 342
                                                                                         James?


                                                                                                                                LOG IN


   Man’s body                 California dad,            Dog caught                  Ex Idaho        Cops on hunt for    ‘Creepy’ NYC
   found hanging              22-year-old                running with                gubernatorial   Takeoff’s killer,   teacher Gabriel
   from tree in N…            daughter…                  decapitated…                candidate…      ask public for…     Mitey, who…




     METRO




  Who is Brooklyn subway shooting suspect Frank
  James?
  By Craig McCarthy, Jack Morphet, Reuven Fenton and Jorge Fitz-Gibbon
  April 13, 2022        4:51pm        Updated




         MORE ON:
         BROOKLYN SUBWAY SHOOTING

         ‘Not an invitation’: Judge angered after accused NYC subway shooter skips court

https://nypost.com/2022/04/13/who-is-brooklyn-subway-shooting-suspect-frank-james/                                                         1/13
11/2/22, 1:31Case
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                                                is Brooklyn  11/07/22        Page
                                                                  shooting suspect     129
                                                                                   Frank     of 239 PageID #: 343
                                                                                         James?

         Accused NYC subway mass shooter whines about media coverage, says he’s ‘not too good’ in jail
                                                                                                             LOG IN

         After mass shooting, NYC explores gun detectors in subways
   Man’s body      California dad,     Dog caught       Ex Idaho            Cops on hunt for          ‘Creepy’ NYC
   found hanging   22-year-old         running with     gubernatorial       Takeoff’s killer,         teacher Gabriel
       Eric Adams makes
   from tree in N…
                         plea for pro-police
                   daughter…
                                             messaging, challenging
                                       decapitated…     candidate…
                                                                      ‘defund’ movement
                                                                            ask public for…           Mitey, who…




  Accused Brooklyn subway shooter Frank James was a troubled loner with a checkered past
  and had been estranged from his family in the years before this week’s horrific attack.

  James, who was arrested Wednesday in the Sunset Park subway shooting, was described
  as quiet and unassuming by those that knew him –but the conspiracy theorist also had a rap
  sheet dating back to 1984 for largely petty busts.

  James, 62, was arrested at least 12 times by the NYPD between 1984 and 1998 on charges
  ranging from burglary, possession of burglar tools, and criminal sexual acts, cops said. The
  outcomes of those cases, however, were not immediately available.

  The suspected shooter also “has a record of terroristic threats in New Jersey,” one NYPD
  official told The Post. He has no record of a conviction in the Garden State.

  His sister, Catherine James Robinson, told The Post her brother “kept to himself” and said
  she last spoke to him about three years ago.




https://nypost.com/2022/04/13/who-is-brooklyn-subway-shooting-suspect-frank-james/                                      2/13
11/2/22, 1:31Case
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                                                is Brooklyn  11/07/22        Page
                                                                  shooting suspect     130
                                                                                   Frank     of 239 PageID #: 344
                                                                                         James?


                                                                                                            LOG IN
  “He was a loner, yes he was,” she said.

  After  his time in New
  Man’s body                 York
                     California dad,in theDog
                                           1990s,
                                              caughtJames lived    in both Philadelphia
                                                            Ex Idaho          Cops on hunt andfor Milwaukee
                                                                                                   ‘Creepy’ NYC
  found hanging      22-year-old          running with      gubernatorial     Takeoff’s killer,    teacher Gabriel
  where
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            in N… described
                     daughter…him as quiet      and polite. candidate…
                                          decapitated…                        ask public for…      Mitey, who…




  Frank James has been named by the NYPD as a suspect in the Brooklyn subway shooting.
  Courtesy of NYPD via AP


  “He was cordial,” said Eugene Yarbrough, pastor at Mount Zion Wings of Glory Church in
  Milwaukee. “He wasn’t bothering anybody. I didn’t know of him messing with anybody.”

  His genial attitude changed on Tuesday when he parked a U-Haul van two blocks from the
  Sunset Park N train station on 36th Street shortly before 8:30 a.m. and unleashed the attack
  that wounded 29 straphangers, including 10 who suffered gunshot wounds.

  According to a federal complaint released Wednesday, James had rented a room in
  Philadelphia for 15 days starting on March 28 and was still booked there when he reserved a
  U-Haul van on April 6 at a nearby outlet.

https://nypost.com/2022/04/13/who-is-brooklyn-subway-shooting-suspect-frank-james/                                   3/13
11/2/22, 1:31Case
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                                                                  shooting suspect     131
                                                                                   Frank     of 239 PageID #: 345
                                                                                         James?


                                                                                                                                LOG IN


   Man’s body                 California dad,            Dog caught                  Ex Idaho        Cops on hunt for    ‘Creepy’ NYC
   found hanging              22-year-old                running with                gubernatorial   Takeoff’s killer,   teacher Gabriel
   from tree in N…            daughter…                  decapitated…                candidate…      ask public for…     Mitey, who…




  James was arrested at least 12 times by the NYPD between 1984 and 1998 on charges ranging from burglary,
  possession of burglar tools and criminal sexual acts.
  DOJ


  He picked up the white Chevy Cargo Van on Monday and headed for New York.

  Early Wednesday morning — while James remained on the run — the FBI and local police
  raided the Philadelphia apartment looking for the fugitive. Inside, authorities found an empty
  magazine for a Glock, a taser, a high-capacity rifle magazine, and a blue smoke canister.

  “He wasn’t here long,” said neighbor Bruce Allen. “I don’t remember his face. He would just
  go in and leave. He wasn’t one of those guys who stays outside. He might stay for an hour or
  two and leave, and then come back late at night.”

  In recent years James had become increasingly unhinged, posting bizarre YouTube rants
  where he claimed to have suffered from mental illness and blamed Mayor Eric Adams,
  among others, for his plight.




https://nypost.com/2022/04/13/who-is-brooklyn-subway-shooting-suspect-frank-james/                                                         4/13
11/2/22, 1:31Case
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                                                                  shooting suspect     132
                                                                                   Frank     of 239 PageID #: 346
                                                                                         James?


                                                                                                                                LOG IN


   Man’s body                 California dad,            Dog caught                  Ex Idaho        Cops on hunt for    ‘Creepy’ NYC
   found hanging              22-year-old                running with                gubernatorial   Takeoff’s killer,   teacher Gabriel
   from tree in N…            daughter…                  decapitated…                candidate…      ask public for…     Mitey, who…




  James lived upstairs in this 2624 N 6th Street Milwaukee home.
  William Farrington




https://nypost.com/2022/04/13/who-is-brooklyn-subway-shooting-suspect-frank-james/                                                         5/13
11/2/22, 1:31Case
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                                                                  shooting suspect     133
                                                                                   Frank     of 239 PageID #: 347
                                                                                         James?


                                                                                                                                LOG IN


   Man’s body                 California dad,            Dog caught                  Ex Idaho        Cops on hunt for    ‘Creepy’ NYC
   found hanging              22-year-old                running with                gubernatorial   Takeoff’s killer,   teacher Gabriel
   from tree in N…            daughter…                  decapitated…                candidate…      ask public for…     Mitey, who…




  James reportedly stayed in the center door’s room.
  Rachel Wisniewski/For the New York Post




https://nypost.com/2022/04/13/who-is-brooklyn-subway-shooting-suspect-frank-james/                                                         6/13
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                                                                  shooting suspect     134
                                                                                   Frank     of 239 PageID #: 348
                                                                                         James?


                                                                                                                                LOG IN


   Man’s body                 California dad,            Dog caught                  Ex Idaho        Cops on hunt for    ‘Creepy’ NYC
   found hanging              22-year-old                running with                gubernatorial   Takeoff’s killer,   teacher Gabriel
   from tree in N…            daughter…                  decapitated…                candidate…      ask public for…     Mitey, who…




  James allegedly rented a room at a Philadelphia Airbnb for 15 days starting on March 28.
  Rachel Wisniewski/For the New York Post


  In one since-deleted post titled “My Family the Enemy,” James said he blamed his father “40
  percent” for leaving him unprepared to face the world.




https://nypost.com/2022/04/13/who-is-brooklyn-subway-shooting-suspect-frank-james/                                                         7/13
11/2/22, 1:31Case
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                                                                  shooting suspect     135
                                                                                   Frank     of 239 PageID #: 349
                                                                                         James?


                                                                                                                                LOG IN


   Man’s body                   California dad,          Dog caught                  Ex Idaho        Cops on hunt for    ‘Creepy’ NYC
   found hanging                22-year-old              running with                gubernatorial   Takeoff’s killer,   teacher Gabriel
   from tree in N…              daughter…                decapitated…                candidate…      ask public for…     Mitey, who…




                                                                         ADVERTISEMENT




  “I’ll take 60 percent of the blame…”cause it’s my life,” he ranted. “It’s my life and I didn’t
  realize what I was up against…. to live and not be f–ed up by other motherf—ers, which is to
  take the position that if you f–k with me I’ll f–k you up or I’ll kill you.”

  Anyone with information on the shooting should call the NYPD’s Crime Stoppers Hotline at 1-
  800-577-TIPS or log onto the CrimeStoppers website.


                               BROOKLYN BROOKLYN SUBWAY SHOOTING NYPD SHOOTINGS
    FILED UNDER            ,            ,                        ,    ,         4/13/22




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      Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 136 of 239 PageID #: 350

                                                                                                       LOG IN


Two NYPD                Porsche owner     At least 6        Thieves strike     Kentucky          Man stabbed on
officers allegedly      avoids jail for   straphangers      another Queens     student fired     subway after
assaulted in…           shooting…         attacked durin…   car dealership,…   from ‘influenc…   defending…




 METRO




Subway shooting suspect Frank R. James’ YouTube
tirades about race, guns and Eric Adams exposed
By Jorge Fitz-Gibbon, Jesse O’Neill, Craig McCarthy and Tina Moore
April 12, 2022       7:19pm   Updated




    MORE ON:
    BROOKLYN SUBWAY SHOOTING

    ‘Not an invitation’: Judge angered after accused NYC subway shooter skips court
     Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 137 of 239 PageID #: 351
    Accused NYC subway mass shooter whines about media coverage, says he’s ‘not too good’ in jail
                                                                                               LOG IN

    After mass shooting, NYC explores gun detectors in subways
Two NYPD           Porsche owner    At least 6       Thieves strike    Kentucky          Man stabbed on
officers allegedly avoids jail for  straphangers     another Queens    student fired     subway after
     Eric Adams makes plea for pro-police messaging, challenging ‘defund’ movement
assaulted in…      shooting…        attacked durin…  car dealership,…  from ‘influenc…   defending…




A troubled man who railed against Mayor Eric Adams and made bizarre, threatening rants on
YouTube has been identified as a person of interest — and now a suspect — in the savage
Brooklyn subway attack that injured at least 23 people Tuesday morning, officials said.

Frank James — who warned last month that he was “entering the danger zone” — rented a
U-Haul van tied to the N train attack in Sunset Park and is being sought for
questioning, police said at an evening briefing.

“Mr. Mayor, I’m a victim of your mental health program,” James said in one lengthy video.

“I’m 63 now full of hate, full of anger, and full of bitterness.”

He also criticized the mayor for not doing more to combat homelessness.

     2/2
       Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 138 of 239 PageID #: 352
“Eric Adams, Eric Adams: What are you doing, brother? What’s happening with this
                                                                                        LOG IN
homeless situation,” he said while referring to the subway. “Every car I went to was loaded
with homeless people. It was so bad, I couldn’t even stand. I had to keep moving from car to
car.”
 Two NYPD       Porsche owner   At least 6        Thieves strike Kentucky        Man stabbed on
officers allegedly     avoids jail for   straphangers      another Queens     student fired     subway after
assaulted in…          shooting…         attacked durin…   car dealership,…   from ‘influenc…   defending…
The NYPD said it was increasing security for Adams after police discovered the videos.




Frank R. James, the NYPD’s person of interest in the subway rampage, has spent years making troubling YouTube
videos.
YouTube / prophet oftruth88


James said in the videos that he had a diagnosed mental illness and railed against what he
called the “horror show” of the city’s mental health services.

“What’s going on in that place is violence,” he said about a facility where he claimed to have
received care. “Not physical violence,” he explained, “but the kind of violence a child
experiences in grade school … that would make him go get a gun and shooting motherf—
ers.”
       Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 139 of 239 PageID #: 353
The person of interest ranted about race issues and claimed that the Russian invasion of
                                                                                   LOG IN
Ukraine was proof that black people were treated with disdain in society.

Two NYPD               Porsche owner     At least 6        Thieves strike     Kentucky             Man stabbed on
officers allegedly     avoids jail for   straphangers      another Queens     student fired        subway after
assaulted in…          shooting…         attacked durin…   car dealership,…   from ‘influenc…      defending…




Among Frank R. James’ diatribes were rants about guns, race, mental health and Mayor Eric Adams.
YouTube / prophet oftruth88


“These white motherf—ers, this is what they do,” he said. “Ultimately at the end of the day,
they kill and commit genocide against each other. What do you think they gonna do to your
black ass?”

In his rambling conspiracy theory, James claimed that a race war would follow the ongoing
conflict in Europe.

“It’s just a matter of time before these white motherf—ers decide, ‘Hey listen. Enough is
enough. These n—ers got to go,'” he said.
       Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 140 of 239 PageID #: 354

                                                                                                      LOG IN


Two NYPD             Porsche owner      At least 6         Thieves strike     Kentucky          Man stabbed on
officers allegedly   avoids jail for    straphangers       another Queens     student fired     subway after
assaulted in…        shooting…          attacked durin…    car dealership,…   from ‘influenc…   defending…




Police named Frank James as a person of interest in the shooting.
NYPD


“And what’re you going to do? You gonna fight. And guess what? You gonna die. ‘Cause
unlike President [Volodymyr Zelensky] over in Ukraine, nobody has your back. The whole
world is against you. And you’re against your f—ing self. So why should you be alive again is
the f—ing question. Why should a n—er be alive on this planet? Besides to pick cotton or
chop sugar cane or tobacco.”

The only options James could find, he claimed, was to commit more violence or become a
criminal.

“And so the message to me is: I should have gotten a gun, and just started shooting motherf
—ers,” he said.

“Or I should have gotten some dope and started shooting or starting hitting bi—es in the
head, robbing old ladies, you know what the f— it is.”
      Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 141 of 239 PageID #: 355

                                                                                                     LOG IN


Two NYPD             Porsche owner      At least 6        Thieves strike     Kentucky          Man stabbed on
officers allegedly   avoids jail for    straphangers      another Queens     student fired     subway after
assaulted in…        shooting…          attacked durin…   car dealership,…   from ‘influenc…   defending…




Front cover of the New York Post on April 13, 2022.

The key to James’ van was found at the scene of the crime, as was as a credit card that
rented the vehicle out of Philadelphia, cops and law enforcement sources said.
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Cops believe that James was living out of the U-Haul van because his clothing and personal
                                                                                   LOG IN
care products were inside.

ItTwo
   is NYPD
      unclear if James   isowner
                   Porsche  the suspected
                                    At least 6gunman, the  department
                                                      Thieves strike  said.
                                                                      Kentucky                     Man stabbed on
officers allegedly        avoids jail for   straphangers      another Queens     student fired     subway after
assaulted in…             shooting…         attacked durin…   car dealership,…   from ‘influenc…   defending…
Authorities said 10 of the injured commuters had been wounded by gunfire.

The gunman had been on the run for hours before police uncovered a crucial clue:
the van, which had Arizona plates and was located on West Third Street near Kings Highway
late Tuesday afternoon, sources said.

Police have launched a massive manhunt for the shooter and revealed that surveillance
cameras at the Sunset Park subway station were not working at the time of the assault. Law
enforcement sources told The Post that the cameras tend to go out “from time to time.”


  SEE ALSO
                          Photos: Brooklyn subway shooting leaves dozens bloodied, injured




NYPD Commissioner Keechant Sewell said at an earlier press conference that the suspect
is a roughly 5-foot-5 black man with a heavy build at around 170 pounds. He was wearing a
gas mask, an orange and green construction-type vest, neon-green work helmet and a
hooded gray sweatshirt at the time.

During an evening press briefing, Sewell said that among the items recovered by cops at the
scene were a 9mm handgun, a hatchet, gasoline and “consumer-grade fireworks.”

At least one witness said she mistook the attacker for an MTA worker.

In an email earlier in the day to the entire police patrol force, cops had been ordered to keep
their eyes peeled for the U-Haul and mark down its location and license plates.

Anyone with information on the shooting should call the NYPD’s Crime Stoppers Hotline at 1-
800-577-TIPS or log onto the CrimeStoppers website.


                         BROOKLYN SUBWAY SHOOTING CRIME SHOOTINGS
 FILED UNDER         ,                            ,     ,         4/12/22
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                             EXHIBIT D
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                                                               November 4, 2022
 Dear Msses. Eisner-Grynberg and David,

         As you know, the Federal Defenders of New York, Inc., commissioned Select Litigation,
 LLC, of Washington, D.C., to assess the federal jury pool in the Eastern District of New York in
 conjunction with your representation of Mr. Frank James who was indicted for a shooting that
 occurred on April 12, 2022. To that end, Select Litigation conducted two public opinion polls, one
 among jury-eligible citizens of the Eastern District of New York, and one among jury-eligible
 citizens of the Eastern Division of the Northern District in Illinois. For ease of reference, I have
 numbered the paragraphs of this letter reporting on the results of these two opinion polls.

         1.     The samples for the polls were drawn from current lists including both landlines
 and cellular devices, and the sampling was done in a manner to ensure that every jury-eligible
 citizen on the lists from each of the two jurisdictions would have an equal probability of being
 included in the final sample. Interviewing for the polls was conducted by professional
 interviewers by telephone October 29-November 3, 2022. (No interviews were conducted on
 Halloween.) Respondents were interviewed on both landlines and mobile devices. The total
 sample size was 800 respondents comprised of 400 interviews in each jurisdiction. The wording
 and ordering of the substantive questions were identical in both jurisdictions, and copies of the
 questionnaires are included as an addendum to this letter.
         2.     All polls are subject to errors related to interviewing a sample of a universe rather
 than the entire population. The margin of estimation or sample error for a sample size of 400 is
 4.9 percentage points at the 95% confidence interval. This means that in 95 out of 100 cases, the
 responses in these polls should be within plus or minus 4.9 percentage points of the responses
 that would have been obtained interviewing the entire population in each jurisdiction. The
 sampling error for subgroups contained in these samples would be larger. Small adjustments
 were made to the interviews collected to ensure that the samples are reflective of the best
 available information about the composition of the populations in these jurisdictions. In this and
 other respects, the methods used in conducting these polls were according to or exceed
 professional standards for public opinion research.
        3.      I was the project manager for this research by Select Litigation. Over the past four
 decades, I have conducted over 3000 public opinion polls. I am a political scientist by training,
 having earned a degree with departmental honors at Guilford College, an M.A. from the
 University of Nebraska, completed doctoral course work and comprehensive exams at Tulane
 University, and did advanced study in opinion research and statistics at the University of
 Michigan.
                                 Key Findings of Jury Pool Analysis
         4.      Prospective jurors in the Eastern District of New York (EDNY) have decidedly
 negative impressions of the individual arrested in conjunction with the shooting on the Brooklyn
 subway on April 12, 2022. Their bias against the defendant is evident in numerous results and is
 reflected in a significant prejudgment of the case: a clear majority admit they would be inclined
 to vote “guilty” if they were serving on a jury at the defendant’s trial. The attitudes of prospective

                                                   1
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 jurors in EDNY are decidedly more hostile toward the defendant than prospective jurors in a
 demographically comparable federal court division, the Eastern Division of the Northern District
 in Illinois (EDNDIL).
         5.     The first part of this document describes the findings from the poll of jury-eligible
 citizens of ENDY. The next section compares the views of the EDNY jury pool with the jury-eligible
 citizens in EDNDIL.
                             The Eastern District of New York Jury Pool
         6.     The vast majority of jury-eligible citizens in the EDNY (69%) say they are “aware”
 that “a mass shooting took place in Sunset Park, Brooklyn, on the subway, on the morning of April
 12, 2022.” 29% say they are not aware of this, and 2% are not sure. See Appendix A, Q1.
        7.    A majority (57%) are aware that “a man was arrested in conjunction with this
 shooting.” About half (49%) articulate specific memories of the incident. See Appendix A, Q2,
 Q3, Q4.
        8.      Most individuals eligible to serve on a jury in the EDNY have a prejudgment that
 the defendant is guilty. A majority (57%) think that “Frank James, the individual arrested for this
 shooting” is guilty of “the charges brought against him.” Only 3% think he is not guilty. 14%
 volunteer that the question of guilty “depends,” while 26% say they are not sure about his guilt.
 See Appendix A, Q5.
        9.     The commitment to this belief of guilt is more than loosely held. Despite the well-
 known legal standard that an individual should be treated as innocent until proven guilty, in this
 anonymous interview 51% admit that, if they were “on a jury for this defendant, Frank James,”
 they would be “more likely to vote that he is guilty.” Only 2% say they would vote “not guilty,”
 and the remainder either volunteer uncertainty about their vote (23%) or do not express an
 opinion about their hypothetical votes as a juror (24%). See Appendix A, Q6.
          10.    Just under half (46%) of the EDNY jury pool members say that “most of the media
 coverage” that they “have seen, heard, or read” has suggested that Mr. James is most likely guilty
 of the charges brought against him. And the vast majority of those who say they have spoken to
 others about the case report that the people with whom they have spoken believe the defendant
 is guilty. See Appendix A, Q9, Q10.
          11.   Despite this widespread prejudgment about the defendant’s guilt, most jury-
 eligible EDNY citizens (64%) express confidence that Mr. James will receive a “fair trial from a jury
 in this community.” See Appendix A, Q7.
          12.      The expression of confidence that the defendant would receive a “fair trial” are in
 sharp contrast to the prejudgment revealed in responses to the questions about the respondents’
 opinion of guilt and how they would vote on a jury. The notion of what they mean by “fair trial”
 is colored by the fact that 67% of those who stated that they believe the defendants will receive
 a fair trial think the defendant is guilty, and 63% of them say they would vote “guilty” if a juror in
 the case.
       13.   This is not to say that prospective jurors know much about Mr. James beyond the
 judgment about his guilt. Only a little above one-quarter (29%) of the EDNY jury pool can
                                                   2
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 articulate “things that you know about Frank James.” When asked directly about the accuracy of
 several descriptions, the only two descriptions on which a majority will venture an opinion are
 “mentally ill” (45% think it is an accurate description, 4% say it is inaccurate) and “terrorist” (26%
 accurate, 20% inaccurate). See Appendix A, Q12.
         14.   Most members of the jury pool say they were not “affected” by the shooting (17%
 affected, 76% not affected), and most (73%) say they do not know anyone who was “affected”
 by the shooting. In contrast, 44% say that their response to the shooting was “a change in your
 perception of safety when riding the subway.” 32% say the shooting led to “a change in your
 travel or commuting habits,” and 30% say it caused a “change in your use of the subway system.”
 A majority (54%) say they feel less safe when riding the subway because of the shooting, including
 33% who say they feel MUCH less safe. See Appendix A, Q18, Q19.

                          Comparison of Jury-Eligible Citizens in the EDNY and
                        in the Eastern Division of the Northern District of Illinois


        15.    To provide context to the opinions of the jury pool in the EDNY, we compared the
 opinions of these prospective jurors about the defendant with those of prospective jurors in
 another federal court division.
         16.     The selection of the additional district in which to poll was based on numerous
 considerations and research into other divisions of the federal court system. From study and
 prior experience, we know that most urban areas in the United States have relative similar
 distribution of gender, age, and other demographic measures of the populations.
        17.     One of the biggest differences among the divisions is the racial composition. In
 that regard, the division with one of the closest approximations of the racial composition of the
 EDNY is the Eastern Division of the Northern District of Illinois. Citizens in these two jurisdictions
 also have remarkably similar levels of formal education. The following table shows the racial
 composition of fourteen divisions.
                                                                        Race/Ethnicity           Associates
                                                                White     Black     Hispanic   Degree or more
                              Eastern District of New York      41%       17%        22%           50%
        Eastern Division of the Northern District of Illinois   52%       16%        22%           49%

                       District of the District of Columbia     41%       39%        11%           64%
         Northern Division of Middle District of Alabama        55%       37%         3%           43%
                            Southern District of New York       43%       16%        30%           51%
          Atlanta Division of Northern District of Georgia      40%       38%        12%           51%
       Eastern Division of the Eastern District of Missouri     73%       17%         3%           48%
                          Eastern District of Pennsylvania      65%       16%        10%           46%
        Norfolk Division of the Eastern District of Virginia    55%       29%         7%           45%
                              Eastern District of Louisiana     55%       29%         9%           38%
                                       District of Delaware     62%       21%         9%           43%
        Southern Division of Eastern District of Michigan       69%       18%         4%           43%
                         Middle District of North Carolina      62%       21%         9%           45%
                                       District of Colorado     68%        5%        22%           41%


                                                            3
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         18.     One could argue that the pool in the Southern District of New York is more similar
 to the EDNY than the one in the Illinois division. But one would expect that the SDNY would have
 similar levels of awareness of the shooting and the defendant. Other divisions with a comparable
 proportion of white citizens have significantly higher proportions of African American citizens
 than the EDNY and the division in Illinois.
        19.      Another obvious point of comparison between the EDNY and the division selected
 for comparison is the similarity of the vote in the most recent presidential election. In the EDNY,
 Biden defeated Trump by 63% to 36%. In the Eastern Division of the Northern District of Illinois,
 the vote was 66%-32%. While formal education and political leanings traditionally are not factors
 to consider in selecting venue, the closeness of the divisions on these variables is another way of
 confirming the underlying similarities of the respective populations.
       20.     A poll with identical substantive questions was conducted in the EDNDIL over the
 same days as the poll in the EDNY discussed above.
        21.    Citizens in these two jurisdictions have different levels of awareness of the subway
 shooting in question (69% aware in EDNY, 44% in EDNDIL) and that a man was arrested in
 connection with the incident (57% aware in EDNY, 30% in EDNDIL). See Appendix A, Q1, Q2.
        22.      The jury pools also differ in the amount of media coverage they have seen about
 “the shooting, the investigations, the arrest, court proceedings and other stories about the
 incident.” In the EDNY, only 29% say they have not seen or read any coverage. A majority (54%)
 of those in the EDNDIL say this despite this having been a prominent national story. It follows
 that prospective jurors in the EDNDIL are much less likely to recall having been exposed to media
 coverage communicating that the defendant is guilty (46% in EDNY, 34% in EDNDIL). See
 Appendix A, Q8, Q9.
        23.    More pertinent to the issue at hand, prospective jurors in the EDNY have more
 negative views of the defendant by a statistically significant margin on each of these questions
 as these examples show.


                    Comparison of opinions among prospective jurors in EDNY and EDNDIL
                                                                             NY      IL   Difference
Q5. Do you think that the                          Guilty                    57%    38%       +19
individual arrested for this                       Not guilty                 3       1        -2
shooting is guilty or not guilty     Volunteered (Depends)                   14     17         -3
of the charges brought against       Volunteered (Don’t know/refused)        26     45        -19
him?
Q6. Assume you are on a jury                       Guilty                    51%    34%      +17
for this defendant. Are you                        Not guilty                 2       1       +1
more likely to vote that he is       Volunteered (Depends)                   23     33       -10
guilty or not guilty?                Volunteered (Don’t know/refused)        24     32        -8




                                                  4
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         24.    This level of prejudgment about the defendant is also evident in the assessments
 of the accuracy of various descriptions of Mr. James. That is, while the jury pool in EDNY is only
 marginally more likely to be able to volunteer “things that you know about Frank James” (29% in
 EDNY, 19% in EDNDIL), the EDNY citizens are more likely than their EDNDIL counterparts to have
 opinions about whether Mr. James is “mentally ill,” “terrorist,” “racist,” or “black nationalist.”
 See Appendix A, Q11, Q12.
          25.    Despite this level of prejudgment, jury-eligible citizens in the EDNY are much more
 likely than those in the EDNDIL to think that the defendant will receive a “fair trial” (64% in EDNY
 say he will; 43% in EDNDIL say he will). See Appendix A, Q7.
         26.    By most every measure, prospective jurors in the EDNY are by a statistically
 significant margin more likely to have prejudged the guilt of Mr. James, to have been exposed to
 media coverage that they believe communicates his guilt, to have had discussions with
 individuals who believe him guilty, and to have been affected by the shooting than citizens in
 another division of the federal court system.


 Sincerely yours,
 s/
 Harrison Hickman
 Select Litigation, LLC
 5301 Wisconsin Ave, NW, Suite 330
 Washington, DC 20015




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Copyright 2022                                                       October 29 – November 3, 2022                                                                     400/400 Interviews
Eastern Dist. of New York/Eastern Division of Northern Dist. of Illinois       SL 3617-8                                                                        Margin of Error: +/- 4.9/4.9
 Hello, my name is __________ from [PHONEBANK], a national research firm.
 [IF LANDLINE] We're conducting a survey in (New York/Illinois) to get people's opinions on important local issues. This number was
 selected at random and according to the research procedure, I would like to speak to the youngest (ALTERNATE: MAN/WOMAN) at this
 address who is registered to vote.
 [IF CELL PHONE] We're conducting a survey of cell phone users in (New York/Illinois) to get people's opinions on important local
 issues. Since you are on a cell phone, I can call you back if you are driving or doing anything else that requires your full attention. Can
 you talk safely and privately now? [IF YES, CONTINUE. IF NO, SCHEDULE CALLBACK]
                                                                                                                                                                             NY       Illinois
                                                                                                     Number ..........................................................      400          400
 RESUME ASKING ALL RESPONDENTS                                                                       Margin of error ...............................................       +/- 4.9    +/- 4.9
 QA. To ensure we have a proper sample, would you please tell me                                                                                                            NY
 the name of the county you live in? [CODED]                                                     Kings ...............................................................      29%
                                                                                                 Nassau ............................................................        18
                                                                                                 Queens ............................................................        24
                                                                                                 Richmond ........................................................           7
                                                                                                 Suffolk .............................................................      21

 QA. To ensure we have a proper sample, would you please tell me                                                                                                                      Illinois
 the name of the county you live in? [CODED]                                                     Cook ................................................................                    58%
                                                                                                 DuPage ...........................................................                       13
                                                                                                 McHenry ..........................................................                        5
                                                                                                 Grundy.............................................................                       1
                                                                                                 Kane ................................................................                     5
                                                                                                 Kendall ............................................................                      1
                                                                                                 LaSalle ............................................................                      1
                                                                                                 Lake.................................................................                    10
                                                                                                 Will...................................................................                   6

 QB. Are you officially registered to vote in (New York/Illinois)?                                                                                                          NY        Illinois
                                                                                                 Yes ..................................................................     99%           99%
                                                                                                 No ....................................................................     1             *
                                                                                        VOL:     (Don’t know) ....................................................           -             *

 ASK QC IF NOT REGISTERED TO VOTE OR DON’T KNOW [QB=2,3]
 QC. Do you currently have a driver’s license or a non-driver ID with a                                                                                                 NY  Illinois
 (New York/Illinois) address?                                                                    Yes ..................................................................  1%      1%
                                                                                                 No/Don't know ----------------------------------------------------► TERMINATE
                                                                                                 Registered to vote ...........................................         99      99

 RESUME ASKING ALL RESPONDENTS
 QD. And to make sure we interview people in all parts of your area, please tell me the ZIP code at the address where you live. [CODED]

 QE. In the last month, have you received a summons to appear for                                                                                                         NY  Illinois
 jury duty?                                                                                      No .................................................................... 100%   100%
                                                                                                 Yes/Don't know ---------------------------------------------------► TERMINATE

 QF. Are you a member of federal, state, or local law enforcement?                                                                                                        NY  Illinois
                                                                                                 No .................................................................... 100%   100%
                                                                                                 Yes/Don't know ---------------------------------------------------► TERMINATE

 QG. Are you an active-duty military member?                                                                                                                              NY  Illinois
                                                                                                 No .................................................................... 100%   100%
                                                                                                 Yes/Don't know ---------------------------------------------------► TERMINATE

 QH. Are you, or any of your immediate family prosecutors or                                                                                                              NY  Illinois
 employees of a legal prosecutor?                                                                No .................................................................... 100%   100%
                                                                                                 Yes/Don't know ---------------------------------------------------► TERMINATE
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 QI. Are you, or any of your immediate family members, employed by                                                                                                     NY  Illinois
 the Department of Justice, or the federal court system?                                      No .................................................................... 100%   100%
                                                                                              Yes/Don't know ---------------------------------------------------► TERMINATE

 QJ. Are you, or any of your immediate family members or close                                                                                                         NY  Illinois
 personal friends CURRENTLY employed by or have any affiliation                               No .................................................................... 100%   100%
                                                                                              Yes/Don't know ---------------------------------------------------► TERMINATE
 with the media?
 Q1. Are you aware or not aware of a mass shooting that took place in                                                                                                        NY          Illinois
 Sunset Park, Brooklyn, on the subway, on the morning April 12,                               Aware ..............................................................           69%             44%
                                                                                              Not aware ........................................................             29              56
 2022?                                                                               VOL:     (Refused).........................................................              2               1

 Q2. Are you aware or not aware than a man was arrested in                                                                                                                   NY          Illinois
 conjunction with this shooting?                                                              Aware ..............................................................           57%             30%
                                                                                              Not aware ........................................................             39              70
                                                                                     VOL:     (Refused).........................................................              4               *

 Q3. Do you happen to know the name of the individual arrested in                                                                                                            NY          Illinois
 conjunction with this shooting? [IF YES/MAYBE] From what you                                 YES/MAYBE: Frank James.............................                            14%              9%
                                                                                              YES/MAYBE: All other responses...................                               1               *
 remember, what is his name?                                                                  NO/(Don’t know) ..............................................                 83              88
                                                                                     VOL:     (Refused).........................................................              2               3

                                                                                              TOTAL YES/MAYBE .......................................                        15%            9%

 Q4. In your own words, what do you remember about the incident?                 What else? Anything else?
                                                                      NY  ILL                                                                                           NY         ILL
         Shooting details ........................................... 29%  12%         Think guilty ..................................................                   1           -
         Investigation details .....................................   4    1
         Vague recollection .......................................    4    6          OTHER ........................................................                    *          *
         Shock at event .............................................  3    1          DON'T KNOW/REFUSED ....................................                          51         76
         Media coverage ...........................................    3    3
         Knew someone on train ...............................         1    -          TOTAL MENTION ................................................                   49%        24%
         Blame mayor ...............................................   1    -

 Q5. Frank James has been indicted for federal crimes of terrorism                                                                                                           NY          Illinois
 against a mass transportation system. From what you have heard or                            Guilty ...............................................................         57%             38%
                                                                                              Not guilty .........................................................            3               1
 read, do you think Frank James, the individual arrested for this                    VOL:     (Depends)........................................................              14              17
 shooting, is guilty or not guilty of the charges brought against him?               VOL:     (Don’t know/Refused) ......................................                    26              45

 Q6. Assume you are on a jury for this defendant, Frank James.             Are                                                                                               NY          Illinois
 you more likely to vote that he is guilty or not guilty?                                     Guilty ...............................................................         51%             34%
                                                                                              Not guilty .........................................................            2               1
                                                                                     VOL:     (Depends)........................................................              23              33
                                                                                     VOL:     (Don’t know/Refused) ......................................                    24              32

 Q7. Do you think Frank James, the defendant charged with this                                                                                                               NY          Illinois
 crime, will or will not get a fair trial from a jury in this community?                      Will...................................................................        64%             43%
                                                                                              Will not.............................................................           7               9
                                                                                     VOL:     (Depends)........................................................              14              21
                                                                                     VOL:     (Don’t know/Refused) ......................................                    16              27

 Q8. Since the shooting, how much news coverage have you seen,                                                                                                               NY          Illinois
 heard, or read about the shooting, the investigations, the arrest,                           A lot .................................................................         6%              3%
                                                                                              Quite a bit ........................................................            5               3
 court proceedings and other stories about the incident – a lot, quite a                      Some ...............................................................           20              11
 bit, some, not much, none at all?                                                            Not much .........................................................             34              27
                                                                                              None at all .......................................................            29              54
                                                                                     VOL:     (Don’t know/Refused) ......................................                     6               3
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 Q9. Has most of the media coverage you have seen, heard, or read                                                                                                                                                        NY          Illinois
 suggested Frank James, the defendant, is most likely guilty or most                                                                      Likely guilty ......................................................           46%             34%
                                                                                                                                          Likely not guilty ................................................              2               1
 likely not guilty of the charges brought against him?                                                                           VOL:     (Depends)........................................................              18              13
                                                                                                                                 VOL:     (Don’t know/Refused) ......................................                    34              52

 Q10. Do most of the people you have spoken with about the case                                                                                                                                                          NY          Illinois
 think that Frank James is guilty or not guilty?                                                                                          Guilty ...............................................................         37%             18%
                                                                                                                                          Not guilty .........................................................            2               1
                                                                                                                                 VOL:     (Mixed) ............................................................           10               3
                                                                                                                                 VOL:     (Haven’t spoken with others)...........................                        41              63
                                                                                                                                 VOL:     (Don’t know/Refused) ......................................                    10              16

 Q11. In your own words, what are some of the things that you know about Frank James? What are other things you know about Frank
 James? What else? Anything else?
                                                                                             NY            ILL                                                                                                      NY         ILL
              Mentally ill ....................................................              10%             7%                    Scared to go on the subway ........................                               1           -
              Media coverage ...........................................                      3              2                     Terrorist .......................................................                 1           *
              Shooter ........................................................                3              1                     Wore uniform during shooting .....................                                1           -
              Racist ...........................................................              2              2
              Guilty ...........................................................              2              2                     OTHER ........................................................                    1          1
              Black man ....................................................                  2              1                     DON'T KNOW/REFUSED ...........................                                   71         81
              Travelled to NYC .........................................                      2              1
              Has a record ................................................                   1              1                     TOTAL MENTION........................................                            29%        19%
              Murdered people .........................................                       1              -

 Q12. I am going to read some descriptions of people. For each of these, tell me if you believe it is an accurate or inaccurate description of
 Frank James. Here’s the first one: [READ ITEM] Do you believe this is an accurate or inaccurate description of Frank James?
 SCRAMBLE                                                                                                                               Accurate Inaccurate (Don’t know) (Refused)
                                                                                                                             New York     45%         4          46           5
 • Mentally ill ............................................................................................................   Illinois   30%         4          65           2
                                                                                                                                        New York                26%                     20                          49                   4
 • Terrorist ................................................................................................................             Illinois              25%                      7                          65                   2
                                                                                                                                        New York                18%                     17                          61                   4
 • Racist ....................................................................................................................            Illinois              13%                      7                          77                   3
                                                                                                                                        New York                11%                     16                          67                   5
 • Black nationalist.................................................................................................                     Illinois              11%                      8                          78                   3

 Q13. Were you personally affected or not affected by the shooting?                                                                                                                                                      NY          Illinois
                                                                                                                                          Affected ...........................................................           17%              7%
                                                                                                                                          Not affected .....................................................             76              87
                                                                                                                                 VOL:     (Refused).........................................................              7               6

 Q14. Was anyone you know affected by the shooting?                                                                                                                                                                      NY          Illinois
                                                                                                                                          Yes ..................................................................         18%              4%
                                                                                                                                          No ....................................................................        73              88
                                                                                                                                 VOL:     (Refused).........................................................              9               8

 Q15. Were you or anyone you know on the subway at the time of the                                                                                                                                                       NY
 shooting?                                                                                                                                Yes: Self ..........................................................            3%
                                                                                                                                          Yes: Others .....................................................               6
                                                                                                                                          Yes: Self and others ........................................                   3
                                                                                                                                          No ....................................................................        82
                                                                                                                                 VOL:     (Refused).........................................................              6

                                                                                                                                          TOTAL YES.....................................................                 12%
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 Q16. Were you or anyone you know on the N/R subway at the time of                                                                                                                 NY
 the shooting?                                                                                      Yes: Self ..........................................................            2%
                                                                                                    Yes: Others .....................................................               6
                                                                                                    Yes: Self and others ........................................                   1
                                                                                                    No ....................................................................        87
                                                                                            VOL:    (Refused).........................................................              4

                                                                                                    TOTAL YES.....................................................                 9%
 Q17. Do you or anyone regularly take the N/R subway line in                                                                                                                       NY
 Brooklyn?                                                                                          Yes: Self ..........................................................            7%
                                                                                                    Yes: Others .....................................................              15
                                                                                                    Yes: Self and others ........................................                   9
                                                                                                    No ....................................................................        65
                                                                                            VOL:    (Refused).........................................................              5

                                                                                                    TOTAL YES.....................................................                 30%
 Q18. People had different responses to the subway shooting.                    Let’s begin. [READ ITEM] Was or was not that part of your response to the
 subway shooting for you?
 SCRAMBLE                                                                                                                 Was                Was not                 (Don’t know)          (Refused)
 • A change in your feeling of safety when riding the subway................                       New York               44%                  37                         15                    5

 • A change in your travel or commuting habits ..........................................          New York               32%                     49                          15                5

 • A change in your use of the subway system ...........................................           New York               30%                     47                          19                4
 Q19. As a result of the shooting, do you feel more safe or less safe                                                                                                              NY
 when riding the subway, or has it not made a difference in how you                                 MORE SAFE: Much ........................................                        2%
                                                                                                    MORE SAFE: Somewhat ................................                            3
 feel? [IF MORE/LESS SAFE] Is that much or only somewhat [MORE                                      NO DIFFERENCE ...........................................                      35
 SAFE/LESS SAFE]?                                                                                   LESS SAFE: Somewhat..................................                          21
                                                                                                    LESS SAFE: Much ..........................................                     33
                                                                                            VOL:    (Don’t know/Refused) ......................................                     7

                                                                                                    TOTAL MORE SAFE ......................................                          5%
                                                                                                    TOTAL LESS SAFE ........................................                       54
 Now let’s go to some final questions with a reminder that this survey is completely confidential.
 D100. Gender.                                                                                                                                                                     NY       Illinois
                                                                                                    Male.................................................................          45%          46%
                                                                                                    Female ............................................................            55           54
 D101. What is your age?                                                                                                                                                           NY       Illinois
                                                                                                    18-24 ...............................................................           9%          12%
                                                                                                    25-29 ...............................................................          11           10
                                                                                                    30-34 ...............................................................          12           11
                                                                                                    35-39 ...............................................................          11            9
                                                                                                    40-44 ...............................................................           4            6
                                                                                                    45-49 ...............................................................           3            6
                                                                                                    50-54 ...............................................................           9            5
                                                                                                    55-59 ...............................................................           7            9
                                                                                                    60-64 ...............................................................           8            5
                                                                                                    65+ ..................................................................         26           28
                                                                                            VOL:    (Refused).........................................................              -            -
 D102. What is the last grade you completed in school?                                                                                                                             NY       Illinois
                                                                                                    Some grade school (1-8).................................                        2%           *
                                                                                                    Some high school (9-11) .................................                       7            5
                                                                                                    Graduated high school ....................................                     15           21
                                                                                                    Technical/Vocational .......................................                    7            4
                                                                                                    Some college ..................................................                33           31
                                                                                                    Graduated college ...........................................                  19           24
                                                                                                    Graduate/Professional ....................................                     12           12
                                                                                            VOL:    (Don’t know/Refused) ......................................                     6            3
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 ASK ONLY IF REGISTERED TO VOTE IN QB [QB=1]
 Q20. Regardless of how you feel about the parties, how are you                                                                                                NY
 registered to vote: as a Democrat, an Independent, or a Republican?                 Democrat .........................................................        40%
                                                                                     Independent ....................................................          21
                                                                                     Republican ......................................................         19
                                                                             VOL:    (Other) .............................................................      5
                                                                             VOL:    (Don't know) ....................................................         14
                                                                                     Not registered ..................................................          1

 RESUME ASKING ALL RESPONDENTS
 D300. And just to make sure we have a representative sample of                                                                                                NY       Illinois
 voters, could you please tell me your race? [IF NECESSARY] Well,                    Black................................................................     21%          17%
                                                                                     White ...............................................................     54           64
 most people consider themselves Black, white, or Asian?                             Asian ...............................................................      5            3
                                                                             VOL:    (Other) .............................................................     16           13
                                                                             VOL:    (Don’t know/Refused) ......................................                5            3

 D301. Do you consider yourself a Hispanic, Latino, or Spanish-                                                                                                NY       Illinois
 speaking American?                                                                  Yes ..................................................................    13%          12%
                                                                                     No ....................................................................   82           86
                                                                             VOL:    (Don’t know/Refused) ......................................                5            2

 Thank you for taking the time to complete this interview.
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                                                    Q5. Opinion on guilt                     Q6. Jury vote
                                                                            Net                               Net
                                   Total   Guilty      Not      Oth        Guilty   Guilty    Not    Oth     Guilty

           Eastern District NY     400      57%          3       40         54       51%       2     47       49
    East Div South Dist Illinois   400      38%          1       61         38       34%       1     65       33

                NY REGION
                    Brooklyn       116      61%          1       38         60       60%       1     40       59
                     Queens         97      47%         10       43         36       43%       8     49       35
         Nassau/Staten Island      103      61%          0       39         61       51%       0     49       51
                      Suffolk       83      56%          1       43         56       47%       1     52       47

                  ILL REGION
                        Cook       233      42%          0       58         42       37%       0     63       37
                        Collar     114      38%          0       62         38       34%       0     66       34
                         Rest       53      22%          4       74         18       25%       8     68       17

                           AGE
                     NY: 18-49     201      56%          6       38         51       52%       4     43       48
                     NY: 50-64      96      55%          0       45         55       48%       0     52       48
                       NY: 65+     103      59%          1       41         58       51%       0     49       50
                     ILL: 18-49    213      38%          1       61         38       35%       2     62       33
                     ILL: 50-64     76      37%          0       63         36       40%       0     60       40
                       ILL: 65+    112      39%          0       61         39       28%       0     72       28

                           SEX
                      NY: Men      181      53%          4       43         50       46%       2     52       44
                  NY: Women        219      59%          2       38         57       55%       3     42       53
                      ILL: Men     186      38%          1       62         37       33%       2     65       31
                  ILL: Women       214      39%          0       61         38       35%       1     64       35

                          RACE
                     NY: White     207      59%          2       39         57       51%       1     48       50
                      NY: Black     78      50%          1       49         49       49%       2     50       47
                  NY: Hispanic      53      63%          7       30         56       64%       6     31       58
                     NY: Other      61      50%          4       46         46       42%       5     53       37
                     ILL: White    247      38%          0       62         37       33%       1     66       31
                      ILL: Black    67      41%          0       59         41       35%       0     65       35
                  ILL: Hispanic     50      44%          2       54         42       48%       1     51       46
                     ILL: Other     36 *    29%          2       69         28       27%       4     68       23

                 EDUCATION
                  NY: College      121      57%          3       40         54       50%       3     48       47
        NY: Less than college      279      56%          3       41         53       51%       2     46       49
                  ILL: College     142      41%          1       58         40       34%       1     65       33
        ILL: Less than college     258      37%          0       63         37       34%       1     64       33

                 SEX & RACE
               NY: White men        98      55%          4       41         51       47%       1     52       46
            NY: White women        109      63%          1       36         62       55%       1     45       54
               NY: Other men        84      51%          4       45         48       44%       3     53       41
            NY: Other women        109      56%          4       40         52       56%       4     40       51
               ILL: White men      117      36%          0       64         36       33%       2     66       31
            ILL: White women       130      39%          0       60         39       33%       0     67       32
               ILL: Other men       69      40%          2       58         38       34%       2     64       32
            ILL: Other women        84      38%          0       61         38       40%       1     59       39

        RACE & EDUCATION
           NY: White college        87      55%          2       42         53       48%       1     51       47
              NY: White less       120      62%          2       36         60       53%       1     46       52
           NY: Other college        34 *    61%          4       35         57       53%       6     40       47
              NY: Other less       159      52%          4       44         48       50%       3     47       47
           ILL: White college      112      40%          0       60         39       32%       1     66       31
              ILL: White less      135      36%          0       64         36       33%       1     66       32
           ILL: Other college       30 *    44%          4       53         40       40%       2     58       37
              ILL: Other less      123      38%          1       61         38       37%       1     62       35
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                          Opinions Filed 11/07/22
                                      guilt        Page 156 of 239 PageID #: 370
                                            (continued)
                                                       Q5. Opinion on guilt                     Q6. Jury vote
                                                                               Net                               Net
                                      Total   Guilty      Not      Oth        Guilty   Guilty    Not    Oth     Guilty

             Eastern District NY      400      57%          3       40         54       51%       2     47       49
      East Div South Dist Illinois    400      38%          1       61         38       34%       1     65       33

                   PARTY REG
                  NY: Democrat        159      66%          2       32         65       58%       1     41       57
                 NY: Republican        76      58%          2       40         56       51%       1     49       50
                      NY: Other       106      52%          8       41         44       47%       6     46       41

                 THINK GUILTY
                      NY: Guilty      226     100%          0        0         100      84%       0     16        84
                  NY: Not guilty       12 *     0%        100        0        -100       6%      62     32       -55
                      NY: Other       162       0%          0      100           0       8%       1     91         7
                      ILL: Guilty     153     100%          0        0         100      81%       0     19        81
                  ILL: Not guilty       2*      0%        100        0        -100       0%      83     17       -83
                      ILL: Other      245       0%          0      100           0       5%       1     93         4

                    JURY VOTE
                       NY: Guilty     204      94%          0        6          93     100%       0      0       100
                   NY: Not guilty       9*      2%         82       16         -80       0%     100      0      -100
                       NY: Other      187      19%          2       79          17       0%       0    100         0
                       ILL: Guilty    137      90%          0       10          90     100%       0      0       100
                   ILL: Not guilty      5*      0%         38       62         -38       0%     100      0      -100
                       ILL: Other     258      11%          0       89          11       0%       0    100         0

                     FAIR TRIAL
                  NY: Will be fair    254      67%          1       32         67       63%       0     37       62
              NY: Will not be fair     29 *    68%         10       22         59       49%      10     41       39
                        NY: Other     117      31%          7       63         24       26%       5     69       21
                  ILL: Will be fair   174      54%          0       46         54       47%       0     53       47
              ILL: Will not be fair    35 *    49%          5       46         44       51%      10     38       41
                        ILL: Other    191      22%          0       78         22       19%       1     80       19

            MEDIA COVERAGE
                     NY: Guilty       186      84%          1       15         84       80%       0     20       80
                 NY: Not guilty         9*     77%          6       18         71       51%       6     44       45
                     NY: Other        205      31%          5       65         26       25%       4     72       21
                     ILL: Guilty      136      73%          0       27         73       71%       0     29       71
                 ILL: Not guilty        4*     51%         28       21         23       23%      18     59        5
                     ILL: Other       260      20%          0       80         19       15%       2     83       14

                 NY AFFECTED
                  Know anyone          97      78%          2       20         76       77%       0     23       77
                           Self        67      73%          3       24         70       74%       0     26       74
                        Others         73      80%          1       19         79       81%       0     19       81
                   Know no one        303      50%          3       47         46       43%       3     54       40

                  NY SUBWAY
             On subway during          47      76%          0       24         76       73%       0     27       73
          Not on subway during        353      54%          3       43         50       48%       3     50       45
             On N/R line during        36 *    74%          0       26         74       67%       0     33       67
         Not on N/R line during       364      55%          3       42         52       49%       2     48       47
        Regularly take N/R line       122      72%          1       27         72       72%       0     28       72
  Do not regularly take N/R line      278      50%          4       46         46       42%       3     55       39

 NY CHANGES IN RESPONSE
          Changed travel habits       126      73%          1       27         72       66%       0     34       66
      Didn't change travel habits     195      57%          1       42         56       52%       1     47       51
        Changed subway usage          122      77%          0       23         77       69%       0     31       69
   Didn't change subway usage         187      55%          2       43         53       50%       2     48       48
           Changed feeling safe       176      72%          0       28         72       62%       0     38       62
      Didn't change feeling safe      148      55%          4       42         51       53%       2     45       50
       Feel less safe on subway       215      68%          1       31         67       61%       0     38       61
 Feel more safe or no difference      158      47%          6       47         40       41%       5     54       36
   Case 1:22-cr-00214-WFK     Document
                       Fair trial         40 and
                                  likelihood  Filed 11/07/22
                                                 other's      Page 157
                                                         impressions    of 239 PageID #: 371
                                                                     of guilt
                                       Q7. Opinion of fair trial likelihood   Q9. Media's impression of guilt   Q10. Other's impression of guilt
                                                                       Net                            Net                                Net
                               Total    Will     Not       Oth         Will   Guilty   Not    Oth Guilty         Guilty   Not    Oth Guilty

       Eastern District NY     400     64%          7       29        56       46%       2     51      44         37%       2     61      34
East Div South Dist Illinois   400     43%          9       48        35       34%       1     65      33         18%       1     82      17

            NY REGION
                Brooklyn       116     62%          7       31        55       58%       2     40      57         46%       2     52      45
                 Queens         97     55%          8       37        48       37%       2     61      35         27%       5     68      22
     Nassau/Staten Island      103     65%          7       28        58       54%       4     43      50         44%       1     55      43
                  Suffolk       83     73%          8       19        65       31%       2     67      29         25%       2     73      24

              ILL REGION
                    Cook       233     43%         8        49        34       34%       0     66      33         21%       1     79      20
                    Collar     114     52%         4        45        48       36%       2     62      34         16%       0     84      16
                     Rest       53     30%        21        49         9       31%       2     67      29          7%       2     92       5
                       AGE
                 NY: 18-49     201     48%         9        42        39       47%       3     50      44         40%       2     57      38
                 NY: 50-64      96     74%         8        18        66       42%       1     57      41         34%       1     65      33
                   NY: 65+     103     84%         3        13        81       50%       2     48      48         32%       3     65      29
                 ILL: 18-49    213     37%        11        53        26       37%       1     62      36         22%       1     77      21
                 ILL: 50-64     76     47%         4        49        42       40%       0     60      39         17%       0     82      17
                   ILL: 65+    112     55%         8        37        46       25%       1     74      24         10%       0     90      10
                       SEX
                  NY: Men      181     64%          7       28        57       42%       2     56      40         34%       3     63      31
              NY: Women        219     63%          7       30        56       50%       3     48      47         38%       2     60      37
                  ILL: Men     186     44%          9       47        34       32%       1     67      31         19%       1     80      18
              ILL: Women       214     43%          8       49        35       35%       1     64      34         16%       0     84      16
                      RACE
                 NY: White     207     72%         7        22        65       45%       2     53      43         35%       3     62      32
                  NY: Black     78     51%         1        47        50       49%       1     50      49         44%       0     56      43
              NY: Hispanic      53     64%         7        28        57       54%       1     45      54         42%       0     58      42
                 NY: Other      61     52%        16        32        35       39%       6     54      33         30%       5     66      25
                 ILL: White    247     49%         8        43        41       30%       1     69      29         15%       0     85      14
                  ILL: Black    67     26%         8        66        18       50%       0     50      50         27%       1     72      26
              ILL: Hispanic     50     38%        11        50        27       41%       2     57      39         24%       1     76      23
                 ILL: Other     36     45%        11        44        34       23%       0     77      23         10%       0     90      10

             EDUCATION
              NY: College      121     69%         9        22        60       48%       3     49      46         31%       1     68      30
    NY: Less than college      279     61%         7        32        54       45%       2     52      43         39%       3     58      36
              ILL: College     142     51%        11        38        41       31%       2     67      29         18%       0     81      18
    ILL: Less than college     258     39%         8        53        32       36%       0     64      35         17%       1     82      16
             SEX & RACE
           NY: White men        98     72%         4        24        67       43%       0     56      43         32%       3     66      29
        NY: White women        109     71%         9        19        62       47%       3     49      44         37%       3     60      34
           NY: Other men        84     55%        11        34        44       41%       4     55      37         37%       4     59      34
        NY: Other women        109     55%         5        40        49       52%       2     46      51         40%       0     60      40
           ILL: White men      117     51%         7        43        44       28%       1     72      27         14%       1     85      13
        ILL: White women       130     47%         9        44        38       32%       1     67      31         15%       0     85      15
           ILL: Other men       69     32%        14        54        18       40%       1     59      39         28%       1     71      27
        ILL: Other women        84     37%         7        56        30       41%       0     59      40         17%       0     83      17
    RACE & EDUCATION
       NY: White college        87     71%         9        21        62       47%       2     51      45         29%       1     70      28
          NY: White less       120     72%         6        22        67       44%       2     54      42         39%       4     57      34
       NY: Other college        34 *   66%        10        24        56       52%       5     42      47         36%       0     64      35
          NY: Other less       159     52%         7        40        45       47%       2     51      45         39%       2     59      37
       ILL: White college      112     52%        11        37        41       29%       2     70      27         16%       0     84      16
          ILL: White less      135     47%         6        48        41       31%       1     68      30         14%       1     85      13
       ILL: Other college       30 *   48%        10        42        38       38%       4     59      34         27%       1     72      26
          ILL: Other less      123     31%        10        59        21       41%       0     59      41         21%       0     79      20
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                       Fair trial likelihood and40  Filedimpressions
                                                 other's  11/07/22 Page  158(continued)
                                                                     of guilt of 239 PageID #: 372
                                            Q7. Opinion of fair trial likelihood   Q9. Media's impression of guilt   Q10. Other's impression of guilt
                                                                            Net                            Net                                Net
                                    Total    Will     Not       Oth         Will   Guilty   Not    Oth Guilty         Guilty   Not    Oth Guilty

            Eastern District NY     400     64%          7       29        56       46%       2     51      44         37%       2     61      34
     East Div South Dist Illinois   400     43%          9       48        35       34%       1     65      33         18%       1     82      17

                  PARTY REG
                 NY: Democrat       159     73%         6        20        67       55%       2     43      53         42%       2     56      39
                NY: Republican       76     65%        13        22        52       47%       4     49      44         47%       0     53      47
                     NY: Other      106     50%         8        42        43       42%       2     56      40         33%       4     63      28

                THINK GUILTY
                     NY: Guilty     226     75%         9        16        67       69%       3     28      66         58%      2      40      56
                 NY: Not guilty      12 *   12%        23        64       -11       11%       4     84       7          6%     41      53     -34
                     NY: Other      162     51%         4        45        47       17%       1     82      16          9%      0      91       9
                     ILL: Guilty    153     61%        11        28        50       65%       1     34      64         38%      1      61      38
                 ILL: Not guilty      2 *    0%        78        22       -78        0%      49     51     -49         32%     17      51      15
                     ILL: Other     245     33%         7        61        26       15%       0     85      15          4%      0      95       4
                   JURY VOTE
                      NY: Guilty    204     78%         7        15        71       73%       2     25      71         62%      2      37      60
                  NY: Not guilty      9 *   10%        31        59       -20        7%       6     88       1          0%     24      76     -24
                      NY: Other     187     50%         6        43        44       19%       2     78      17         11%      2      87       9
                      ILL: Guilty   137     60%        13        27        47       70%       1     29      69         42%      1      57      41
                  ILL: Not guilty     5 *    0%        74        26       -74        0%      15     85     -15         15%      0      85      15
                      ILL: Other    258     35%         5        59        30       16%       1     84      15          5%      0      95       4
                   FAIR TRIAL
                NY: Will be fair    254     100%        0         0       100       55%       2     43      53         45%      1      53      44
            NY: Will not be fair     29 *     0%      100         0      -100       55%       9     36      46         38%     11      51      27
                      NY: Other     117       0%        0       100         0       25%       2     73      23         17%      2      81      15
                ILL: Will be fair   174     100%        0         0       100       45%       1     54      44         28%      1      71      27
            ILL: Will not be fair    35 *     0%      100         0      -100       52%       3     45      49         32%      3      65      29
                      ILL: Other    191       0%        0       100         0       21%       1     78      20          6%      0      94       6

           MEDIA COVERAGE
                    NY: Guilty      186     76%         9        16        67      100%       0      0     100         68%      0      31      68
                NY: Not guilty        9 *   47%        29        23        18        0%     100      0    -100         26%     24      50       2
                    NY: Other       205     53%         5        41        48        0%       0    100       0          8%      3      89       5
                    ILL: Guilty     136     57%        13        29        44      100%       0      0     100         46%      0      54      46
                ILL: Not guilty       4 *   28%        28        44         0        0%     100      0    -100         46%     10      44      37
                    ILL: Other      260     36%         6        58        30        0%       0    100       0          2%      1      97       2

                NY AFFECTED
                 Know anyone         97     64%        11        25        53       63%       2     35      61         55%       1     44      53
                          Self       67     65%        14        20        51       62%       3     35      59         52%       2     46      50
                       Others        73     63%        13        24        49       73%       2     26      71         64%       0     36      64
                  Know no one       303     63%         6        31        57       41%       2     57      39         31%       3     67      28
                  NY SUBWAY
             On subway during        47     52%        18        30        34       61%       7     32      53         58%       2     40      57
          Not on subway during      353     65%         6        29        59       44%       2     54      43         34%       2     64      31
            On N/R line during       36 *   63%        21        16        42       52%       9     39      43         58%       2     40      56
         Not on N/R line during     364     64%         6        31        58       46%       2     53      44         34%       2     63      32
        Regularly take N/R line     122     70%        10        20        59       64%       4     33      60         59%       1     41      58
  Do not regularly take N/R line    278     61%         6        33        55       39%       2     60      37         27%       3     70      24
NY CHANGES IN RESPONSE
         Changed travel habits      126     75%          6       19        68       58%       2     40      56         48%       1     50      47
     Didn't change travel habits    195     67%          8       25        59       49%       2     49      47         37%       1     61      36
       Changed subway usage         122     72%          8       20        64       66%       1     33      65         55%       1     44      53
  Didn't change subway usage        187     67%          7       27        60       46%       1     53      45         36%       2     62      34
          Changed feeling safe      176     72%          8       20        64       58%       3     38      55         45%       1     54      44
     Didn't change feeling safe     148     69%          6       25        62       46%       1     53      45         40%       4     56      36
      Feel less safe on subway      215     69%          9       22        59       53%       3     44      50         43%       1     56      42
Feel more safe or no difference     158     60%          6       34        54       42%       1     58      41         33%       4     64      29
                                             Accuracy of descriptions
                                                                        New York                            Illinois
                                                                                       Net                                Net
                                                             Accurate   Inaccurate   accurate   Accurate   Inaccurate   accurate

                                              Mentally ill     45%          4          +41        30%          4          +26
                                               Terrorist       26%         20           +6        25%          7          +18
                                                  Racist       18%         17           +2        13%          7           +6
                                        Black nationalist      11%         16           -5        11%          8           +3

                                         Response to subway shooting
                                                                        New York
                                                                                       Net
                                                               Was       Was not       was

A change in your feeling of safety when riding the subway      44%         37           +7
             A change in your use of the subway system         30%         47          -16
             A change in your travel or commuting habits       32%         49          -17
                                                                                                                                   Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 159 of 239 PageID #: 373
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                             EXHIBIT F
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                                          CONFIDENTIAL
                                         TABULAR REPORT




  (Eastern District of New York/Eastern Division of Northern District of Illinois – November 4, 2022)




                                      October-November 2022
                                            SL3617-8




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                                                                          Washington, DC 20015
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                                                    PREFACE

        The following tabular report is based on a survey of 400 residents who are eligible to serve on a jury
in the Eastern District of New York and 400 in the Eastern Division of the Northern District of Illinois.
Telephone interviewing was conducted from October 29th through November 3rd, using a listed sample with
cell phone numbers.

         All polls are subject to errors caused by interviewing a sample of persons, rather than the entire
population. In 95 cases out of 100, the responses to this survey should be within plus or minus 4.9
percentage points of those that would have been obtained from interviewing the entire adult population of
either district who are eligible to serve on a jury. The sampling error for subgroups of the survey will be
greater.

        As with any survey, the release of selected figures from this report without the analysis that explains
their meaning could be damaging to Select Litigation. Therefore, we reserve the right to correct any
erroneous or misleading release of this data in any medium through the release of correct data or analysis.


                                  HOW TO READ THE TABULAR REPORT

        Always read down; the percentages in all the tables relate to the subgroups under which they
appear. For example, on Page 1, Table 1, under the heading NY REGION BROOK the figure 116 indicates
the number of respondents who say they live in Kings County, and the percentages below indicate the
opinions of that subgroup for that particular question. The TOTAL column listed at the far left reflects the
opinions of all survey respondents answering that particular question. If there is a star next to the count for
the column, there are not enough respondents in that category to make an assumption about the
representative status of those respondents. In addition, the following points may need further clarification.

    •   NY refers to those in the Eastern District of New York.
    •   ILL refers to those in the Eastern Division of the Northern District of Illinois.


Banner 1

            o   NY REGION – Refers to the region of Eastern District of New York in which the respondent
                lives. See map for details.

            o   ILL REGION – Refers to the region of the Eastern Division of the Northern District of Illinois
                in which the respondent lives. COOK refers to that county, COLL refers to the three counties
                closest to Cook, and REST refers to the remaining counties in the division. See map for
                details.

            o   AGE

            o   SEX

            o   RACE
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Banner 2

           o   EDUCATION – COLL refers to respondents with at least a bachelor's degree. LESS refers
               to all those without at least a bachelor's degree.

           o   SEX & RACE

           o   RACE & EDUCATION

           o   PARTY REG – Subdivides respondents based on whether they are registered as a
               DEMocrat, a REPublican, or OTHer. As Illinois does not have party registration, this was
               only asked in New York.

Banner 3

           o   THINK GUILTY – Indicates respondents’ initial impression about whether they think Frank
               James is GUILTy or NOT.

           o   JURY VOTE – Indicates whether they would vote to find Frank James GUILTy or NOT
               guilty, or something else (OTH) were they to be on the jury in this case.

           o   FAIR TRIAL – Indicates whether they think Frank James would have a fair trial in their area
               or not.

           o   MEDIA COVERAGE – Indicates whether they think the media coverage has portrayed Frank
               James as likely GUILTy or likely NOT guilty, or something else (OTH) based on what they
               have seen or read.

Banner 4

           o   NY AFFECTED – Subdivides respondents based on whether they knew anyone who was
               affected or not by the subway shooting. KNOW ANY indicates they or someone they knew
               was affected, KNOW SELF indicates only they themselves were, KNOW OTH indicates
               someone they knew was affected, and KNOW NONE means that they or anyone they
               knew was not affected by the shooting.

           o   NY SUBWAY – Subdivides respondents based on whether they or someone they know
               were on the subway during the shooting, or if they take the N/R line regularly. DURING
               SUBWAY indicates they or someone they knew were on the subway during the shooting,
               NOT SUB indicates no one they knew were, DURING N/R indicates they or someone they
               knew were on the N/R line during the shooting, and DURING NOT N/R indicates no one they
               knew were. TAKE N/R indicates they or someone they know regularly take the N/R line, and
               NOT indicates no one they know does.

           o   NY CHANGES IN RESPONSE – Subdivides respondents based on their response to the
               subway shooting. TRAVEL indicates that they changed travel habits, SUBWAY indicates
               they changed their use of the subway, and SAFE indicates they changed how safe they felt
               on the subway. FEEL SAFE subdivides respondents based on whether they feel LESS safe
               or MORE/NO DIFFerent about riding the subway after the shooting.
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Eastern District of New York regions




                                                          Suffolk
                                       Queens




                                                                                        Nassau/Staten Island
                                                                    Brooklyn
Eastern Division of Northern District of Illinois regions




                                            Cook
                                   Collar
              Rest of
              Division
                                                            Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 166 of 239 PageID #: 380
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Copyright 2022                                                       October 29 – November 3, 2022                                                                     400/400 Interviews
Eastern Dist. of New York/Eastern Division of Northern Dist. of Illinois       SL 3617-8                                                                        Margin of Error: +/- 4.9/4.9
 Hello, my name is __________ from [PHONEBANK], a national research firm.
 [IF LANDLINE] We're conducting a survey in (New York/Illinois) to get people's opinions on important local issues. This number was
 selected at random and according to the research procedure, I would like to speak to the youngest (ALTERNATE: MAN/WOMAN) at this
 address who is registered to vote.
 [IF CELL PHONE] We're conducting a survey of cell phone users in (New York/Illinois) to get people's opinions on important local
 issues. Since you are on a cell phone, I can call you back if you are driving or doing anything else that requires your full attention. Can
 you talk safely and privately now? [IF YES, CONTINUE. IF NO, SCHEDULE CALLBACK]
                                                                                                                                                                             NY       Illinois
                                                                                                     Number ..........................................................      400          400
 RESUME ASKING ALL RESPONDENTS                                                                       Margin of error ...............................................       +/- 4.9    +/- 4.9
 QA. To ensure we have a proper sample, would you please tell me                                                                                                            NY
 the name of the county you live in? [CODED]                                                     Kings ...............................................................      29%
                                                                                                 Nassau ............................................................        18
                                                                                                 Queens ............................................................        24
                                                                                                 Richmond ........................................................           7
                                                                                                 Suffolk .............................................................      21

 QA. To ensure we have a proper sample, would you please tell me                                                                                                                      Illinois
 the name of the county you live in? [CODED]                                                     Cook ................................................................                    58%
                                                                                                 DuPage ...........................................................                       13
                                                                                                 McHenry ..........................................................                        5
                                                                                                 Grundy.............................................................                       1
                                                                                                 Kane ................................................................                     5
                                                                                                 Kendall ............................................................                      1
                                                                                                 LaSalle ............................................................                      1
                                                                                                 Lake.................................................................                    10
                                                                                                 Will...................................................................                   6

 QB. Are you officially registered to vote in (New York/Illinois)?                                                                                                          NY        Illinois
                                                                                                 Yes ..................................................................     99%           99%
                                                                                                 No ....................................................................     1             *
                                                                                        VOL:     (Don’t know) ....................................................           -             *

 ASK QC IF NOT REGISTERED TO VOTE OR DON’T KNOW [QB=2,3]
 QC. Do you currently have a driver’s license or a non-driver ID with a                                                                                                 NY  Illinois
 (New York/Illinois) address?                                                                    Yes ..................................................................  1%      1%
                                                                                                 No/Don't know ----------------------------------------------------► TERMINATE
                                                                                                 Registered to vote ...........................................         99      99

 RESUME ASKING ALL RESPONDENTS
 QD. And to make sure we interview people in all parts of your area, please tell me the ZIP code at the address where you live. [CODED]

 QE. In the last month, have you received a summons to appear for                                                                                                         NY  Illinois
 jury duty?                                                                                      No .................................................................... 100%   100%
                                                                                                 Yes/Don't know ---------------------------------------------------► TERMINATE

 QF. Are you a member of federal, state, or local law enforcement?                                                                                                        NY  Illinois
                                                                                                 No .................................................................... 100%   100%
                                                                                                 Yes/Don't know ---------------------------------------------------► TERMINATE

 QG. Are you an active-duty military member?                                                                                                                              NY  Illinois
                                                                                                 No .................................................................... 100%   100%
                                                                                                 Yes/Don't know ---------------------------------------------------► TERMINATE

 QH. Are you, or any of your immediate family prosecutors or                                                                                                              NY  Illinois
 employees of a legal prosecutor?                                                                No .................................................................... 100%   100%
                                                                                                 Yes/Don't know ---------------------------------------------------► TERMINATE
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 QI. Are you, or any of your immediate family members, employed by                                                                                                     NY  Illinois
 the Department of Justice, or the federal court system?                                      No .................................................................... 100%   100%
                                                                                              Yes/Don't know ---------------------------------------------------► TERMINATE

 QJ. Are you, or any of your immediate family members or close                                                                                                         NY  Illinois
 personal friends CURRENTLY employed by or have any affiliation                               No .................................................................... 100%   100%
                                                                                              Yes/Don't know ---------------------------------------------------► TERMINATE
 with the media?
 Q1. Are you aware or not aware of a mass shooting that took place in                                                                                                        NY          Illinois
 Sunset Park, Brooklyn, on the subway, on the morning April 12,                               Aware ..............................................................           69%             44%
                                                                                              Not aware ........................................................             29              56
 2022?                                                                               VOL:     (Refused).........................................................              2               1

 Q2. Are you aware or not aware than a man was arrested in                                                                                                                   NY          Illinois
 conjunction with this shooting?                                                              Aware ..............................................................           57%             30%
                                                                                              Not aware ........................................................             39              70
                                                                                     VOL:     (Refused).........................................................              4               *

 Q3. Do you happen to know the name of the individual arrested in                                                                                                            NY          Illinois
 conjunction with this shooting? [IF YES/MAYBE] From what you                                 YES/MAYBE: Frank James.............................                            14%              9%
                                                                                              YES/MAYBE: All other responses...................                               1               *
 remember, what is his name?                                                                  NO/(Don’t know) ..............................................                 83              88
                                                                                     VOL:     (Refused).........................................................              2               3

                                                                                              TOTAL YES/MAYBE .......................................                        15%            9%

 Q4. In your own words, what do you remember about the incident?                 What else? Anything else?
                                                                      NY  ILL                                                                                           NY         ILL
         Shooting details ........................................... 29%  12%         Think guilty ..................................................                   1           -
         Investigation details .....................................   4    1
         Vague recollection .......................................    4    6          OTHER ........................................................                    *          *
         Shock at event .............................................  3    1          DON'T KNOW/REFUSED ....................................                          51         76
         Media coverage ...........................................    3    3
         Knew someone on train ...............................         1    -          TOTAL MENTION ................................................                   49%        24%
         Blame mayor ...............................................   1    -

 Q5. Frank James has been indicted for federal crimes of terrorism                                                                                                           NY          Illinois
 against a mass transportation system. From what you have heard or                            Guilty ...............................................................         57%             38%
                                                                                              Not guilty .........................................................            3               1
 read, do you think Frank James, the individual arrested for this                    VOL:     (Depends)........................................................              14              17
 shooting, is guilty or not guilty of the charges brought against him?               VOL:     (Don’t know/Refused) ......................................                    26              45

 Q6. Assume you are on a jury for this defendant, Frank James.             Are                                                                                               NY          Illinois
 you more likely to vote that he is guilty or not guilty?                                     Guilty ...............................................................         51%             34%
                                                                                              Not guilty .........................................................            2               1
                                                                                     VOL:     (Depends)........................................................              23              33
                                                                                     VOL:     (Don’t know/Refused) ......................................                    24              32

 Q7. Do you think Frank James, the defendant charged with this                                                                                                               NY          Illinois
 crime, will or will not get a fair trial from a jury in this community?                      Will...................................................................        64%             43%
                                                                                              Will not.............................................................           7               9
                                                                                     VOL:     (Depends)........................................................              14              21
                                                                                     VOL:     (Don’t know/Refused) ......................................                    16              27

 Q8. Since the shooting, how much news coverage have you seen,                                                                                                               NY          Illinois
 heard, or read about the shooting, the investigations, the arrest,                           A lot .................................................................         6%              3%
                                                                                              Quite a bit ........................................................            5               3
 court proceedings and other stories about the incident – a lot, quite a                      Some ...............................................................           20              11
 bit, some, not much, none at all?                                                            Not much .........................................................             34              27
                                                                                              None at all .......................................................            29              54
                                                                                     VOL:     (Don’t know/Refused) ......................................                     6               3
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 Q9. Has most of the media coverage you have seen, heard, or read                                                                                                                                                        NY          Illinois
 suggested Frank James, the defendant, is most likely guilty or most                                                                      Likely guilty ......................................................           46%             34%
                                                                                                                                          Likely not guilty ................................................              2               1
 likely not guilty of the charges brought against him?                                                                           VOL:     (Depends)........................................................              18              13
                                                                                                                                 VOL:     (Don’t know/Refused) ......................................                    34              52

 Q10. Do most of the people you have spoken with about the case                                                                                                                                                          NY          Illinois
 think that Frank James is guilty or not guilty?                                                                                          Guilty ...............................................................         37%             18%
                                                                                                                                          Not guilty .........................................................            2               1
                                                                                                                                 VOL:     (Mixed) ............................................................           10               3
                                                                                                                                 VOL:     (Haven’t spoken with others)...........................                        41              63
                                                                                                                                 VOL:     (Don’t know/Refused) ......................................                    10              16

 Q11. In your own words, what are some of the things that you know about Frank James? What are other things you know about Frank
 James? What else? Anything else?
                                                                                             NY            ILL                                                                                                      NY         ILL
              Mentally ill ....................................................              10%             7%                    Scared to go on the subway ........................                               1           -
              Media coverage ...........................................                      3              2                     Terrorist .......................................................                 1           *
              Shooter ........................................................                3              1                     Wore uniform during shooting .....................                                1           -
              Racist ...........................................................              2              2
              Guilty ...........................................................              2              2                     OTHER ........................................................                    1          1
              Black man ....................................................                  2              1                     DON'T KNOW/REFUSED ...........................                                   71         81
              Travelled to NYC .........................................                      2              1
              Has a record ................................................                   1              1                     TOTAL MENTION........................................                            29%        19%
              Murdered people .........................................                       1              -

 Q12. I am going to read some descriptions of people. For each of these, tell me if you believe it is an accurate or inaccurate description of
 Frank James. Here’s the first one: [READ ITEM] Do you believe this is an accurate or inaccurate description of Frank James?
 SCRAMBLE                                                                                                                               Accurate Inaccurate (Don’t know) (Refused)
                                                                                                                             New York     45%         4          46           5
 • Mentally ill ............................................................................................................   Illinois   30%         4          65           2
                                                                                                                                        New York                26%                     20                          49                   4
 • Terrorist ................................................................................................................             Illinois              25%                      7                          65                   2
                                                                                                                                        New York                18%                     17                          61                   4
 • Racist ....................................................................................................................            Illinois              13%                      7                          77                   3
                                                                                                                                        New York                11%                     16                          67                   5
 • Black nationalist.................................................................................................                     Illinois              11%                      8                          78                   3

 Q13. Were you personally affected or not affected by the shooting?                                                                                                                                                      NY          Illinois
                                                                                                                                          Affected ...........................................................           17%              7%
                                                                                                                                          Not affected .....................................................             76              87
                                                                                                                                 VOL:     (Refused).........................................................              7               6

 Q14. Was anyone you know affected by the shooting?                                                                                                                                                                      NY          Illinois
                                                                                                                                          Yes ..................................................................         18%              4%
                                                                                                                                          No ....................................................................        73              88
                                                                                                                                 VOL:     (Refused).........................................................              9               8

 Q15. Were you or anyone you know on the subway at the time of the                                                                                                                                                       NY
 shooting?                                                                                                                                Yes: Self ..........................................................            3%
                                                                                                                                          Yes: Others .....................................................               6
                                                                                                                                          Yes: Self and others ........................................                   3
                                                                                                                                          No ....................................................................        82
                                                                                                                                 VOL:     (Refused).........................................................              6

                                                                                                                                          TOTAL YES.....................................................                 12%
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 Q16. Were you or anyone you know on the N/R subway at the time of                                                                                                                 NY
 the shooting?                                                                                      Yes: Self ..........................................................            2%
                                                                                                    Yes: Others .....................................................               6
                                                                                                    Yes: Self and others ........................................                   1
                                                                                                    No ....................................................................        87
                                                                                            VOL:    (Refused).........................................................              4

                                                                                                    TOTAL YES.....................................................                 9%
 Q17. Do you or anyone regularly take the N/R subway line in                                                                                                                       NY
 Brooklyn?                                                                                          Yes: Self ..........................................................            7%
                                                                                                    Yes: Others .....................................................              15
                                                                                                    Yes: Self and others ........................................                   9
                                                                                                    No ....................................................................        65
                                                                                            VOL:    (Refused).........................................................              5

                                                                                                    TOTAL YES.....................................................                 30%
 Q18. People had different responses to the subway shooting.                    Let’s begin. [READ ITEM] Was or was not that part of your response to the
 subway shooting for you?
 SCRAMBLE                                                                                                                 Was                Was not                 (Don’t know)          (Refused)
 • A change in your feeling of safety when riding the subway................                       New York               44%                  37                         15                    5

 • A change in your travel or commuting habits ..........................................          New York               32%                     49                          15                5

 • A change in your use of the subway system ...........................................           New York               30%                     47                          19                4
 Q19. As a result of the shooting, do you feel more safe or less safe                                                                                                              NY
 when riding the subway, or has it not made a difference in how you                                 MORE SAFE: Much ........................................                        2%
                                                                                                    MORE SAFE: Somewhat ................................                            3
 feel? [IF MORE/LESS SAFE] Is that much or only somewhat [MORE                                      NO DIFFERENCE ...........................................                      35
 SAFE/LESS SAFE]?                                                                                   LESS SAFE: Somewhat..................................                          21
                                                                                                    LESS SAFE: Much ..........................................                     33
                                                                                            VOL:    (Don’t know/Refused) ......................................                     7

                                                                                                    TOTAL MORE SAFE ......................................                          5%
                                                                                                    TOTAL LESS SAFE ........................................                       54
 Now let’s go to some final questions with a reminder that this survey is completely confidential.
 D100. Gender.                                                                                                                                                                     NY       Illinois
                                                                                                    Male.................................................................          45%          46%
                                                                                                    Female ............................................................            55           54
 D101. What is your age?                                                                                                                                                           NY       Illinois
                                                                                                    18-24 ...............................................................           9%          12%
                                                                                                    25-29 ...............................................................          11           10
                                                                                                    30-34 ...............................................................          12           11
                                                                                                    35-39 ...............................................................          11            9
                                                                                                    40-44 ...............................................................           4            6
                                                                                                    45-49 ...............................................................           3            6
                                                                                                    50-54 ...............................................................           9            5
                                                                                                    55-59 ...............................................................           7            9
                                                                                                    60-64 ...............................................................           8            5
                                                                                                    65+ ..................................................................         26           28
                                                                                            VOL:    (Refused).........................................................              -            -
 D102. What is the last grade you completed in school?                                                                                                                             NY       Illinois
                                                                                                    Some grade school (1-8).................................                        2%           *
                                                                                                    Some high school (9-11) .................................                       7            5
                                                                                                    Graduated high school ....................................                     15           21
                                                                                                    Technical/Vocational .......................................                    7            4
                                                                                                    Some college ..................................................                33           31
                                                                                                    Graduated college ...........................................                  19           24
                                                                                                    Graduate/Professional ....................................                     12           12
                                                                                            VOL:    (Don’t know/Refused) ......................................                     6            3
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 ASK ONLY IF REGISTERED TO VOTE IN QB [QB=1]
 Q20. Regardless of how you feel about the parties, how are you                                                                                                NY
 registered to vote: as a Democrat, an Independent, or a Republican?                 Democrat .........................................................        40%
                                                                                     Independent ....................................................          21
                                                                                     Republican ......................................................         19
                                                                             VOL:    (Other) .............................................................      5
                                                                             VOL:    (Don't know) ....................................................         14
                                                                                     Not registered ..................................................          1

 RESUME ASKING ALL RESPONDENTS
 D300. And just to make sure we have a representative sample of                                                                                                NY       Illinois
 voters, could you please tell me your race? [IF NECESSARY] Well,                    Black................................................................     21%          17%
                                                                                     White ...............................................................     54           64
 most people consider themselves Black, white, or Asian?                             Asian ...............................................................      5            3
                                                                             VOL:    (Other) .............................................................     16           13
                                                                             VOL:    (Don’t know/Refused) ......................................                5            3

 D301. Do you consider yourself a Hispanic, Latino, or Spanish-                                                                                                NY       Illinois
 speaking American?                                                                  Yes ..................................................................    13%          12%
                                                                                     No ....................................................................   82           86
                                                                             VOL:    (Don’t know/Refused) ......................................                5            2

 Thank you for taking the time to complete this interview.
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                                                    Q5. Opinion on guilt                     Q6. Jury vote
                                                                            Net                               Net
                                   Total   Guilty      Not      Oth        Guilty   Guilty    Not    Oth     Guilty

           Eastern District NY     400      57%          3       40         54       51%       2     47       49
    East Div South Dist Illinois   400      38%          1       61         38       34%       1     65       33

                NY REGION
                    Brooklyn       116      61%          1       38         60       60%       1     40       59
                     Queens         97      47%         10       43         36       43%       8     49       35
         Nassau/Staten Island      103      61%          0       39         61       51%       0     49       51
                      Suffolk       83      56%          1       43         56       47%       1     52       47

                  ILL REGION
                        Cook       233      42%          0       58         42       37%       0     63       37
                        Collar     114      38%          0       62         38       34%       0     66       34
                         Rest       53      22%          4       74         18       25%       8     68       17

                           AGE
                     NY: 18-49     201      56%          6       38         51       52%       4     43       48
                     NY: 50-64      96      55%          0       45         55       48%       0     52       48
                       NY: 65+     103      59%          1       41         58       51%       0     49       50
                     ILL: 18-49    213      38%          1       61         38       35%       2     62       33
                     ILL: 50-64     76      37%          0       63         36       40%       0     60       40
                       ILL: 65+    112      39%          0       61         39       28%       0     72       28

                           SEX
                      NY: Men      181      53%          4       43         50       46%       2     52       44
                  NY: Women        219      59%          2       38         57       55%       3     42       53
                      ILL: Men     186      38%          1       62         37       33%       2     65       31
                  ILL: Women       214      39%          0       61         38       35%       1     64       35

                          RACE
                     NY: White     207      59%          2       39         57       51%       1     48       50
                      NY: Black     78      50%          1       49         49       49%       2     50       47
                  NY: Hispanic      53      63%          7       30         56       64%       6     31       58
                     NY: Other      61      50%          4       46         46       42%       5     53       37
                     ILL: White    247      38%          0       62         37       33%       1     66       31
                      ILL: Black    67      41%          0       59         41       35%       0     65       35
                  ILL: Hispanic     50      44%          2       54         42       48%       1     51       46
                     ILL: Other     36 *    29%          2       69         28       27%       4     68       23

                 EDUCATION
                  NY: College      121      57%          3       40         54       50%       3     48       47
        NY: Less than college      279      56%          3       41         53       51%       2     46       49
                  ILL: College     142      41%          1       58         40       34%       1     65       33
        ILL: Less than college     258      37%          0       63         37       34%       1     64       33

                 SEX & RACE
               NY: White men        98      55%          4       41         51       47%       1     52       46
            NY: White women        109      63%          1       36         62       55%       1     45       54
               NY: Other men        84      51%          4       45         48       44%       3     53       41
            NY: Other women        109      56%          4       40         52       56%       4     40       51
               ILL: White men      117      36%          0       64         36       33%       2     66       31
            ILL: White women       130      39%          0       60         39       33%       0     67       32
               ILL: Other men       69      40%          2       58         38       34%       2     64       32
            ILL: Other women        84      38%          0       61         38       40%       1     59       39

        RACE & EDUCATION
           NY: White college        87      55%          2       42         53       48%       1     51       47
              NY: White less       120      62%          2       36         60       53%       1     46       52
           NY: Other college        34 *    61%          4       35         57       53%       6     40       47
              NY: Other less       159      52%          4       44         48       50%       3     47       47
           ILL: White college      112      40%          0       60         39       32%       1     66       31
              ILL: White less      135      36%          0       64         36       33%       1     66       32
           ILL: Other college       30 *    44%          4       53         40       40%       2     58       37
              ILL: Other less      123      38%          1       61         38       37%       1     62       35
Case 1:22-cr-00214-WFK Document 40 of
                          Opinions Filed 11/07/22
                                      guilt        Page 173 of 239 PageID #: 387
                                            (continued)
                                                       Q5. Opinion on guilt                     Q6. Jury vote
                                                                               Net                               Net
                                      Total   Guilty      Not      Oth        Guilty   Guilty    Not    Oth     Guilty

             Eastern District NY      400      57%          3       40         54       51%       2     47       49
      East Div South Dist Illinois    400      38%          1       61         38       34%       1     65       33

                   PARTY REG
                  NY: Democrat        159      66%          2       32         65       58%       1     41       57
                 NY: Republican        76      58%          2       40         56       51%       1     49       50
                      NY: Other       106      52%          8       41         44       47%       6     46       41

                 THINK GUILTY
                      NY: Guilty      226     100%          0        0         100      84%       0     16        84
                  NY: Not guilty       12 *     0%        100        0        -100       6%      62     32       -55
                      NY: Other       162       0%          0      100           0       8%       1     91         7
                      ILL: Guilty     153     100%          0        0         100      81%       0     19        81
                  ILL: Not guilty       2*      0%        100        0        -100       0%      83     17       -83
                      ILL: Other      245       0%          0      100           0       5%       1     93         4

                    JURY VOTE
                       NY: Guilty     204      94%          0        6          93     100%       0      0       100
                   NY: Not guilty       9*      2%         82       16         -80       0%     100      0      -100
                       NY: Other      187      19%          2       79          17       0%       0    100         0
                       ILL: Guilty    137      90%          0       10          90     100%       0      0       100
                   ILL: Not guilty      5*      0%         38       62         -38       0%     100      0      -100
                       ILL: Other     258      11%          0       89          11       0%       0    100         0

                     FAIR TRIAL
                  NY: Will be fair    254      67%          1       32         67       63%       0     37       62
              NY: Will not be fair     29 *    68%         10       22         59       49%      10     41       39
                        NY: Other     117      31%          7       63         24       26%       5     69       21
                  ILL: Will be fair   174      54%          0       46         54       47%       0     53       47
              ILL: Will not be fair    35 *    49%          5       46         44       51%      10     38       41
                        ILL: Other    191      22%          0       78         22       19%       1     80       19

            MEDIA COVERAGE
                     NY: Guilty       186      84%          1       15         84       80%       0     20       80
                 NY: Not guilty         9*     77%          6       18         71       51%       6     44       45
                     NY: Other        205      31%          5       65         26       25%       4     72       21
                     ILL: Guilty      136      73%          0       27         73       71%       0     29       71
                 ILL: Not guilty        4*     51%         28       21         23       23%      18     59        5
                     ILL: Other       260      20%          0       80         19       15%       2     83       14

                 NY AFFECTED
                  Know anyone          97      78%          2       20         76       77%       0     23       77
                           Self        67      73%          3       24         70       74%       0     26       74
                        Others         73      80%          1       19         79       81%       0     19       81
                   Know no one        303      50%          3       47         46       43%       3     54       40

                  NY SUBWAY
             On subway during          47      76%          0       24         76       73%       0     27       73
          Not on subway during        353      54%          3       43         50       48%       3     50       45
             On N/R line during        36 *    74%          0       26         74       67%       0     33       67
         Not on N/R line during       364      55%          3       42         52       49%       2     48       47
        Regularly take N/R line       122      72%          1       27         72       72%       0     28       72
  Do not regularly take N/R line      278      50%          4       46         46       42%       3     55       39

 NY CHANGES IN RESPONSE
          Changed travel habits       126      73%          1       27         72       66%       0     34       66
      Didn't change travel habits     195      57%          1       42         56       52%       1     47       51
        Changed subway usage          122      77%          0       23         77       69%       0     31       69
   Didn't change subway usage         187      55%          2       43         53       50%       2     48       48
           Changed feeling safe       176      72%          0       28         72       62%       0     38       62
      Didn't change feeling safe      148      55%          4       42         51       53%       2     45       50
       Feel less safe on subway       215      68%          1       31         67       61%       0     38       61
 Feel more safe or no difference      158      47%          6       47         40       41%       5     54       36
   Case 1:22-cr-00214-WFK     Document
                       Fair trial         40 and
                                  likelihood  Filed 11/07/22
                                                 other's      Page 174
                                                         impressions    of 239 PageID #: 388
                                                                     of guilt
                                       Q7. Opinion of fair trial likelihood   Q9. Media's impression of guilt   Q10. Other's impression of guilt
                                                                       Net                            Net                                Net
                               Total    Will     Not       Oth         Will   Guilty   Not    Oth Guilty         Guilty   Not    Oth Guilty

       Eastern District NY     400     64%          7       29        56       46%       2     51      44         37%       2     61      34
East Div South Dist Illinois   400     43%          9       48        35       34%       1     65      33         18%       1     82      17

            NY REGION
                Brooklyn       116     62%          7       31        55       58%       2     40      57         46%       2     52      45
                 Queens         97     55%          8       37        48       37%       2     61      35         27%       5     68      22
     Nassau/Staten Island      103     65%          7       28        58       54%       4     43      50         44%       1     55      43
                  Suffolk       83     73%          8       19        65       31%       2     67      29         25%       2     73      24

              ILL REGION
                    Cook       233     43%         8        49        34       34%       0     66      33         21%       1     79      20
                    Collar     114     52%         4        45        48       36%       2     62      34         16%       0     84      16
                     Rest       53     30%        21        49         9       31%       2     67      29          7%       2     92       5
                       AGE
                 NY: 18-49     201     48%         9        42        39       47%       3     50      44         40%       2     57      38
                 NY: 50-64      96     74%         8        18        66       42%       1     57      41         34%       1     65      33
                   NY: 65+     103     84%         3        13        81       50%       2     48      48         32%       3     65      29
                 ILL: 18-49    213     37%        11        53        26       37%       1     62      36         22%       1     77      21
                 ILL: 50-64     76     47%         4        49        42       40%       0     60      39         17%       0     82      17
                   ILL: 65+    112     55%         8        37        46       25%       1     74      24         10%       0     90      10
                       SEX
                  NY: Men      181     64%          7       28        57       42%       2     56      40         34%       3     63      31
              NY: Women        219     63%          7       30        56       50%       3     48      47         38%       2     60      37
                  ILL: Men     186     44%          9       47        34       32%       1     67      31         19%       1     80      18
              ILL: Women       214     43%          8       49        35       35%       1     64      34         16%       0     84      16
                      RACE
                 NY: White     207     72%         7        22        65       45%       2     53      43         35%       3     62      32
                  NY: Black     78     51%         1        47        50       49%       1     50      49         44%       0     56      43
              NY: Hispanic      53     64%         7        28        57       54%       1     45      54         42%       0     58      42
                 NY: Other      61     52%        16        32        35       39%       6     54      33         30%       5     66      25
                 ILL: White    247     49%         8        43        41       30%       1     69      29         15%       0     85      14
                  ILL: Black    67     26%         8        66        18       50%       0     50      50         27%       1     72      26
              ILL: Hispanic     50     38%        11        50        27       41%       2     57      39         24%       1     76      23
                 ILL: Other     36     45%        11        44        34       23%       0     77      23         10%       0     90      10

             EDUCATION
              NY: College      121     69%         9        22        60       48%       3     49      46         31%       1     68      30
    NY: Less than college      279     61%         7        32        54       45%       2     52      43         39%       3     58      36
              ILL: College     142     51%        11        38        41       31%       2     67      29         18%       0     81      18
    ILL: Less than college     258     39%         8        53        32       36%       0     64      35         17%       1     82      16
             SEX & RACE
           NY: White men        98     72%         4        24        67       43%       0     56      43         32%       3     66      29
        NY: White women        109     71%         9        19        62       47%       3     49      44         37%       3     60      34
           NY: Other men        84     55%        11        34        44       41%       4     55      37         37%       4     59      34
        NY: Other women        109     55%         5        40        49       52%       2     46      51         40%       0     60      40
           ILL: White men      117     51%         7        43        44       28%       1     72      27         14%       1     85      13
        ILL: White women       130     47%         9        44        38       32%       1     67      31         15%       0     85      15
           ILL: Other men       69     32%        14        54        18       40%       1     59      39         28%       1     71      27
        ILL: Other women        84     37%         7        56        30       41%       0     59      40         17%       0     83      17
    RACE & EDUCATION
       NY: White college        87     71%         9        21        62       47%       2     51      45         29%       1     70      28
          NY: White less       120     72%         6        22        67       44%       2     54      42         39%       4     57      34
       NY: Other college        34 *   66%        10        24        56       52%       5     42      47         36%       0     64      35
          NY: Other less       159     52%         7        40        45       47%       2     51      45         39%       2     59      37
       ILL: White college      112     52%        11        37        41       29%       2     70      27         16%       0     84      16
          ILL: White less      135     47%         6        48        41       31%       1     68      30         14%       1     85      13
       ILL: Other college       30 *   48%        10        42        38       38%       4     59      34         27%       1     72      26
          ILL: Other less      123     31%        10        59        21       41%       0     59      41         21%       0     79      20
        Case 1:22-cr-00214-WFK       Document
                       Fair trial likelihood and40  Filedimpressions
                                                 other's  11/07/22 Page  175(continued)
                                                                     of guilt of 239 PageID #: 389
                                            Q7. Opinion of fair trial likelihood   Q9. Media's impression of guilt   Q10. Other's impression of guilt
                                                                            Net                            Net                                Net
                                    Total    Will     Not       Oth         Will   Guilty   Not    Oth Guilty         Guilty   Not    Oth Guilty

            Eastern District NY     400     64%          7       29        56       46%       2     51      44         37%       2     61      34
     East Div South Dist Illinois   400     43%          9       48        35       34%       1     65      33         18%       1     82      17

                  PARTY REG
                 NY: Democrat       159     73%         6        20        67       55%       2     43      53         42%       2     56      39
                NY: Republican       76     65%        13        22        52       47%       4     49      44         47%       0     53      47
                     NY: Other      106     50%         8        42        43       42%       2     56      40         33%       4     63      28

                THINK GUILTY
                     NY: Guilty     226     75%         9        16        67       69%       3     28      66         58%      2      40      56
                 NY: Not guilty      12 *   12%        23        64       -11       11%       4     84       7          6%     41      53     -34
                     NY: Other      162     51%         4        45        47       17%       1     82      16          9%      0      91       9
                     ILL: Guilty    153     61%        11        28        50       65%       1     34      64         38%      1      61      38
                 ILL: Not guilty      2 *    0%        78        22       -78        0%      49     51     -49         32%     17      51      15
                     ILL: Other     245     33%         7        61        26       15%       0     85      15          4%      0      95       4
                   JURY VOTE
                      NY: Guilty    204     78%         7        15        71       73%       2     25      71         62%      2      37      60
                  NY: Not guilty      9 *   10%        31        59       -20        7%       6     88       1          0%     24      76     -24
                      NY: Other     187     50%         6        43        44       19%       2     78      17         11%      2      87       9
                      ILL: Guilty   137     60%        13        27        47       70%       1     29      69         42%      1      57      41
                  ILL: Not guilty     5 *    0%        74        26       -74        0%      15     85     -15         15%      0      85      15
                      ILL: Other    258     35%         5        59        30       16%       1     84      15          5%      0      95       4
                   FAIR TRIAL
                NY: Will be fair    254     100%        0         0       100       55%       2     43      53         45%      1      53      44
            NY: Will not be fair     29 *     0%      100         0      -100       55%       9     36      46         38%     11      51      27
                      NY: Other     117       0%        0       100         0       25%       2     73      23         17%      2      81      15
                ILL: Will be fair   174     100%        0         0       100       45%       1     54      44         28%      1      71      27
            ILL: Will not be fair    35 *     0%      100         0      -100       52%       3     45      49         32%      3      65      29
                      ILL: Other    191       0%        0       100         0       21%       1     78      20          6%      0      94       6

           MEDIA COVERAGE
                    NY: Guilty      186     76%         9        16        67      100%       0      0     100         68%      0      31      68
                NY: Not guilty        9 *   47%        29        23        18        0%     100      0    -100         26%     24      50       2
                    NY: Other       205     53%         5        41        48        0%       0    100       0          8%      3      89       5
                    ILL: Guilty     136     57%        13        29        44      100%       0      0     100         46%      0      54      46
                ILL: Not guilty       4 *   28%        28        44         0        0%     100      0    -100         46%     10      44      37
                    ILL: Other      260     36%         6        58        30        0%       0    100       0          2%      1      97       2

                NY AFFECTED
                 Know anyone         97     64%        11        25        53       63%       2     35      61         55%       1     44      53
                          Self       67     65%        14        20        51       62%       3     35      59         52%       2     46      50
                       Others        73     63%        13        24        49       73%       2     26      71         64%       0     36      64
                  Know no one       303     63%         6        31        57       41%       2     57      39         31%       3     67      28
                  NY SUBWAY
             On subway during        47     52%        18        30        34       61%       7     32      53         58%       2     40      57
          Not on subway during      353     65%         6        29        59       44%       2     54      43         34%       2     64      31
            On N/R line during       36 *   63%        21        16        42       52%       9     39      43         58%       2     40      56
         Not on N/R line during     364     64%         6        31        58       46%       2     53      44         34%       2     63      32
        Regularly take N/R line     122     70%        10        20        59       64%       4     33      60         59%       1     41      58
  Do not regularly take N/R line    278     61%         6        33        55       39%       2     60      37         27%       3     70      24
NY CHANGES IN RESPONSE
         Changed travel habits      126     75%          6       19        68       58%       2     40      56         48%       1     50      47
     Didn't change travel habits    195     67%          8       25        59       49%       2     49      47         37%       1     61      36
       Changed subway usage         122     72%          8       20        64       66%       1     33      65         55%       1     44      53
  Didn't change subway usage        187     67%          7       27        60       46%       1     53      45         36%       2     62      34
          Changed feeling safe      176     72%          8       20        64       58%       3     38      55         45%       1     54      44
     Didn't change feeling safe     148     69%          6       25        62       46%       1     53      45         40%       4     56      36
      Feel less safe on subway      215     69%          9       22        59       53%       3     44      50         43%       1     56      42
Feel more safe or no difference     158     60%          6       34        54       42%       1     58      41         33%       4     64      29
                                             Accuracy of descriptions
                                                                        New York                            Illinois
                                                                                       Net                                Net
                                                             Accurate   Inaccurate   accurate   Accurate   Inaccurate   accurate

                                              Mentally ill     45%          4          +41        30%          4          +26
                                               Terrorist       26%         20           +6        25%          7          +18
                                                  Racist       18%         17           +2        13%          7           +6
                                        Black nationalist      11%         16           -5        11%          8           +3

                                         Response to subway shooting
                                                                        New York
                                                                                       Net
                                                               Was       Was not       was

A change in your feeling of safety when riding the subway      44%         37           +7
             A change in your use of the subway system         30%         47          -16
             A change in your travel or commuting habits       32%         49          -17
                                                                                                                                   Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 176 of 239 PageID #: 390
 Select Litigation Page 1                                                               SL3617-8 EDNY/EDivNDILL                                                                  November 2022
 Banner1 Table1

QA. County.   QB. Registered to vote.      QC. Driver's license.    QE. Received summons.      QF. Law enforcement.     QG. Active-duty military.        QH. Prosecutor.    QI. D.o.J. or courts.        QJ.
Media.

                                                     NY REGION              ILL REGION                      AGE                              SEX                                RACE
                                              =======================     ==============       ==============================         ==================       ======================================
                                                            NASS                               ******NY****** ******ILL*****          ***NY*** ***ILL**        ********NY******** ********ILL*******
                               NY   ILL       BROOK QUEENS /STAT SUFF      COOK COLL REST      <50 50-64 65+ <50 50-64 65+            MEN WOM MEN WOM          WHT BLK HISP OTH WHT BLK HISP OTH
                              ---- ----      ------ ------ ----- ----     ----- ---- ----     ---- ----- ---- ---- ----- ----        ---- ---- ---- ----      ---- ---- ---- ---- ---- ---- ---- ----

TOTAL                          400 400          116     97    103   83     233 114    53       201     96 103 213         76 112      181 219 186 214          207   78   53   61 247    67   50 36*
                              100% 100%        100%   100%   100% 100%    100% 100% 100%      100%   100% 100% 100%     100% 100%    100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%

QA. COUNTY
Kings                          29%     -       100%      -      -    -        -     -     -    33%    34%   16%     -      -     -    28%   30%     -     -    21%   53%   13%   39%     -     -     -     -
Nassau                         18%     -          -      -    71%    -        -     -     -    16%    23%   19%     -      -     -    17%   20%     -     -    26%    2%   13%   18%     -     -     -     -
Queens                         24%     -          -   100%      -    -        -     -     -    32%    10%   22%     -      -     -    24%   24%     -     -    14%   26%   56%   30%     -     -     -     -
Richmond                        7%     -          -      -    29%    -        -     -     -     6%    10%    8%     -      -     -     9%    6%     -     -     7%   12%    4%    4%     -     -     -     -
Suffolk                        21%     -          -      -      - 100%        -     -     -    13%    23%   34%     -      -     -    21%   20%     -     -    32%    6%   13%    9%     -     -     -     -
Cook                             -   58%          -      -      -    -     100%     -     -      -      -     -   65%    52%   49%      -     -   57%   59%      -     -     -     -   47%   88%   71%   58%
DuPage                           -   13%          -      -      -    -        -   45%     -      -      -     -   10%    17%   16%      -     -   12%   14%      -     -     -     -   15%    4%    7%   19%
McHenry                          -    5%          -      -      -    -        -     -   34%      -      -     -    4%     6%    5%      -     -    6%    4%      -     -     -     -    6%    1%    3%    6%
Grundy                           -    1%          -      -      -    -        -     -    9%      -      -     -     -     3%    2%      -     -     -    2%      -     -     -     -    2%     -     -     -
Kane                             -    5%          -      -      -    -        -     -   37%      -      -     -    5%     4%    6%      -     -    6%    4%      -     -     -     -    7%    1%    5%     -
Kendall                          -    1%          -      -      -    -        -     -   11%      -      -     -    1%      -    3%      -     -    1%    2%      -     -     -     -    2%     -    2%    2%
LaSalle                          -    1%          -      -      -    -        -     -    9%      -      -     -    1%     3%     -      -     -    1%    1%      -     -     -     -    2%     *     -     -
Lake                             -   10%          -      -      -    -        -   33%     -      -      -     -    9%     8%   12%      -     -   11%    8%      -     -     -     -   13%    3%    7%    4%
Will                             -    6%          -      -      -    -        -   22%     -      -      -     -    6%     7%    7%      -     -    6%    6%      -     -     -     -    7%    3%    4%   11%

QB. REGISTERED TO VOTE
Yes                            99%   99%       100%   100%   100%   97%    99%    99% 100%     99%   100% 100%    98%   100% 100%    99% 100%     99%   99%    99% 100% 100% 100% 100% 100%        99%   96%
No                              1%     *          -      -      -    3%      *     1%    -      1%      -    -     1%      -    -     1%    -       *    1%     1%    -    -    -    *    *         1%     -
(Don't know)                     -     *          -      -      -     -     1%      -    -       -      -    -     1%      -    -      -    -      1%     -      -    -    -    -    -    -          -    4%

QC. DRIVER'S LICENSE
Yes                             1%    1%          -      -      -    3%     1%     1%    -      1%      -    -     2%      -    -      1%    -     1%    1%     1%    -    -    -    *    *         1%    4%
Registered to vote             99%   99%       100%   100%   100%   97%    99%    99% 100%     99%   100% 100%    98%   100% 100%     99% 100%    99%   99%    99% 100% 100% 100% 100% 100%        99%   96%

QE. RECEIVED JURY SUMMONS
No                            100% 100%        100%   100%   100% 100%    100% 100% 100%      100%   100% 100% 100%     100% 100%    100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%

QF. LAW ENFORCEMENT
No                            100% 100%        100%   100%   100% 100%    100% 100% 100%      100%   100% 100% 100%     100% 100%    100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%

QG. ACTIVE-DUTY MILITARY
No                            100% 100%        100%   100%   100% 100%     100% 100% 100%     100%   100% 100% 100%     100% 100%    100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%

QH. PROSECUTOR
No                            100% 100%        100%   100%   100% 100%    100% 100% 100%      100%   100% 100% 100%     100% 100%    100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%

QI. D.O.J. OR COURTS
No                            100% 100%        100%   100%   100% 100%    100% 100% 100%      100%   100% 100% 100%     100% 100%    100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%

QJ. MEDIA
No                            100% 100%        100%   100%   100% 100%    100% 100% 100%      100%   100% 100% 100%     100% 100%    100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%
                                                                                                                                                                                                               Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 177 of 239 PageID #: 391
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 Banner2 Table1

QA. County.   QB. Registered to vote.     QC. Driver's license.        QE. Received summons.      QF. Law enforcement.     QG. Active-duty military.           QH. Prosecutor.     QI. D.o.J. or courts.   QJ.
Media.

                                                          EDUCATION                           SEX & RACE                                    RACE & EDUCATION                          PARTY REG
                                                     ===================        ======================================           ======================================             =============
                                                     ****NY*** ***ILL***        ********NY******** ********ILL*******            ********NY******** ********ILL*******              ******NY*****
                                     NY   ILL        COLL LESS COLL LESS        W M W W O M O W W M W W O M O W                  W C W L O C O L W C W L O C O L                    DEM REP OTH
                                    ---- ----       ----- ---- ---- ----       ---- ---- ---- ---- ---- ---- ---- ----          ---- ---- ---- ---- ---- ---- ---- ----            ---- ---- ----

      TOTAL                          400 400         121 279 142 258             98 109    84 109 117 130      69   84            87 120 34* 159 112 135 30* 123                    159   76 106
                                    100% 100%       100% 100% 100% 100%        100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100% 100% 100%            100% 100% 100%

      QA. COUNTY
      Kings                             29%     -    24%   31%     -       -    21%   21%   36%   38%     -     -     -     -    23%   20%   29%   39%     -       -     -     -    36%    9%   23%
      Nassau                            18%     -    29%   14%     -       -    23%   28%    9%   11%     -     -     -     -    32%   22%   24%    7%     -       -     -     -    17%   29%   19%
      Queens                            24%     -    17%   27%     -       -    14%   14%   37%   35%     -     -     -     -    12%   15%   29%   37%     -       -     -     -    21%   11%   39%
      Richmond                           7%     -     5%    8%     -       -    10%    5%    9%    6%     -     -     -     -     6%    9%    3%    8%     -       -     -     -     9%   13%    4%
      Suffolk                           21%     -    24%   19%     -       -    32%   32%    9%    9%     -     -     -     -    27%   35%   15%    8%     -       -     -     -    17%   38%   14%
      Cook                                -   58%      -     -   54%     60%      -     -     -     -   47%   47%   75%   76%      -     -     -     -   51%     44%   64%   79%      -     -     -
      DuPage                              -   13%      -     -   17%     11%      -     -     -     -   13%   17%    8%    9%      -     -     -     -   16%     15%   20%    6%      -     -     -
      McHenry                             -    5%      -     -    3%      5%      -     -     -     -    6%    5%    5%    1%      -     -     -     -    3%      8%    2%    3%      -     -     -
      Grundy                              -    1%      -     -     -      2%      -     -     -     -     -    4%     -     -      -     -     -     -     -      3%     -     -      -     -     -
      Kane                                -    5%      -     -    4%      6%      -     -     -     -    9%    5%    2%    3%      -     -     -     -    5%      9%    1%    2%      -     -     -
      Kendall                             -    1%      -     -    2%      1%      -     -     -     -    2%    2%    1%    1%      -     -     -     -    2%      1%    1%    1%      -     -     -
      LaSalle                             -    1%      -     -    1%      1%      -     -     -     -    2%    2%     *     -      -     -     -     -    1%      3%    1%     -      -     -     -
      Lake                                -   10%      -     -   10%      9%      -     -     -     -   16%   10%    2%    7%      -     -     -     -   13%     12%     -    6%      -     -     -
      Will                                -    6%      -     -    9%      5%      -     -     -     -    5%    8%    7%    3%      -     -     -     -    8%      6%   11%    4%      -     -     -

      QB. REGISTERED TO VOTE
      Yes                               99%   99%   100%   99%   99%     99%    98% 100% 100% 100% 100%       99%   97% 100%    99%    99% 100% 100%     99% 100%      99%   98%   100% 100% 100%
      No                                 1%     *      *    1%    1%       *     2%    -    -    -    -        1%    1%    *     1%     1%    -    -      1%    -       1%    1%      -    -    -
      (Don't know)                        -     *      -     -     -      1%      -    -    -    -    -         -    2%    -      -      -    -    -       -    -        -    1%      -    -    -

      QC. DRIVER'S LICENSE
      Yes                                1%    1%      *    1%    1%      1%     2%    -    -    -    -        1%    3%    *     1%     1%    -    -      1%    -       1%    2%      -    -    -
      Registered to vote                99%   99%   100%   99%   99%     99%    98% 100% 100% 100% 100%       99%   97% 100%    99%    99% 100% 100%     99% 100%      99%   98%   100% 100% 100%

      QE. RECEIVED JURY SUMMONS
      No                            100% 100%       100% 100% 100% 100%        100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100% 100% 100%            100% 100% 100%

      QF. LAW ENFORCEMENT
      No                            100% 100%       100% 100% 100% 100%        100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100% 100% 100%            100% 100% 100%

      QG. ACTIVE-DUTY MILITARY
      No                            100% 100%       100% 100% 100% 100%        100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100% 100% 100%            100% 100% 100%

      QH. PROSECUTOR
      No                            100% 100%       100% 100% 100% 100%        100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100% 100% 100%            100% 100% 100%

      QI. D.O.J. OR COURTS
      No                            100% 100%       100% 100% 100% 100%        100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100% 100% 100%            100% 100% 100%

      QJ. MEDIA
      No                            100% 100%       100% 100% 100% 100%        100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100% 100% 100%            100% 100% 100%
                                                                                                                                                                                                                 Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 178 of 239 PageID #: 392
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 Banner3 Table1

QA. County.     QB. Registered to vote.    QC. Driver's license.     QE. Received summons.          QF. Law enforcement.      QG. Active-duty military.       QH. Prosecutor.    QI. D.o.J. or courts.   QJ.
Media.

                                                           THINK GUILTY                          JURY VOTE                              FAIR TRIAL                         MEDIA COVERAGE
                                                   ============================         ============================           ============================         ============================
                                                   ******NY***** *****ILL*****          ******NY***** *****ILL*****            ******NY***** *****ILL*****          ******NY***** *****ILL*****
                                     NY   ILL      GLT NOT OTH GLT NOT OTH              GLT NOT OTH GLT NOT OTH                YES NO    OTH YES NO     OTH         GLT NOT OTH GLT NOT OTH
                                    ---- ----     ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----          ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----

    TOTAL                            400 400       226   12 162 153     2* 245          204   9* 187 137     5* 258            254   29 117 174 35* 191             186   9* 205 136     4* 260
                                    100% 100%     100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%

    QA. COUNTY
    Kings                            29%      -    31%   12%   27%     -     -     -    34%    8%     25%     -     -     -    29%   28%   31%     -     -     -    37%   23%   23%     -     -     -
    Nassau                           18%      -    18%     -   20%     -     -     -    16%     -     21%     -     -     -    17%   21%   21%     -     -     -    18%   40%   18%     -     -     -
    Queens                           24%      -    20%   83%   26%     -     -     -    21%   85%     25%     -     -     -    21%   25%   31%     -     -     -    20%   21%   29%     -     -     -
    Richmond                          7%      -     9%     -    5%     -     -     -    10%     -      5%     -     -     -     9%    4%    4%     -     -     -    12%     -    4%     -     -     -
    Suffolk                          21%      -    21%    5%   22%     -     -     -    19%    7%     23%     -     -     -    24%   23%   14%     -     -     -    14%   15%   27%     -     -     -
    Cook                               -    58%      -     -     -   64%     -   55%      -     -       -   62%   15%   57%      -     -     -   57%   54%   60%      -     -     -   58%   21%   59%
    DuPage                             -    13%      -     -     -   12%     -   14%      -     -       -   10%     -   14%      -     -     -   15%    5%   13%      -     -     -   12%     -   14%
    McHenry                            -     5%      -     -     -    2%   83%    5%      -     -       -    2%   56%    5%      -     -     -    3%    8%    6%      -     -     -    3%   18%    5%
    Grundy                             -     1%      -     -     -    2%     -    1%      -     -       -    2%     -    1%      -     -     -    3%     -     -      -     -     -    3%     -     -
    Kane                               -     5%      -     -     -    3%   17%    6%      -     -       -    4%   28%    5%      -     -     -    1%   19%    6%      -     -     -    4%   10%    5%
    Kendall                            -     1%      -     -     -     *     -    2%      -     -       -     *     -    2%      -     -     -    1%    4%    1%      -     -     -     *     -    2%
    LaSalle                            -     1%      -     -     -     *     -    2%      -     -       -    1%     -    1%      -     -     -    1%    1%    1%      -     -     -    1%     -    1%
    Lake                               -    10%      -     -     -    9%     -   10%      -     -       -   10%     -    9%      -     -     -   13%    5%    7%      -     -     -   12%   28%    8%
    Will                               -     6%      -     -     -    8%     -    5%      -     -       -    7%     -    6%      -     -     -    6%    3%    7%      -     -     -    7%   23%    5%

    QB. REGISTERED TO VOTE
    Yes                              99%    99%    99% 100% 100%     99% 100% 100%     100% 100%     99%    98% 100% 100%     99% 100% 100% 100% 100%        99%    99% 100% 100% 100% 100%       99%
    No                                1%      *     1%    -    *      1%    -    *        -    -      1%     1%    -    *      1%    -    -    *    -         1%     1%    -    *    -    -        1%
    (Don't know)                       -      *      -    -    -      1%    -    -        -    -       -     1%    -    -       -    -    -    -    -         1%      -    -    -    -    -        1%

    QC. DRIVER'S LICENSE
    Yes                               1%     1%     1%    -    *      1%    -    *        -    -      1%     2%    -    *      1%    -    -    *    -         1%     1%    -    *    -    -        1%
    Registered to vote               99%    99%    99% 100% 100%     99% 100% 100%     100% 100%     99%    98% 100% 100%     99% 100% 100% 100% 100%        99%    99% 100% 100% 100% 100%       99%

    QE. RECEIVED JURY SUMMONS
    No                              100% 100%     100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%

    QF. LAW ENFORCEMENT
    No                              100% 100%     100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%

    QG. ACTIVE-DUTY MILITARY
    No                              100% 100%     100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%

    QH. PROSECUTOR
    No                              100% 100%     100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%

    QI. D.O.J. OR COURTS
    No                              100% 100%     100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%

    QJ. MEDIA
    No                              100% 100%     100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%
                                                                                                                                                                                                               Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 179 of 239 PageID #: 393
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 Banner4 Table1

QA. County.     QB. Registered to vote.   QC. Driver's license.       QE. Received summons.     QF. Law enforcement.     QG. Active-duty military.       QH. Prosecutor.   QI. D.o.J. or courts.   QJ.
Media.

                                                             NY AFFECTED                          NY SUBWAY                                  NY CHANGES IN RESPONSE
                                                          ==================        =====================================        ==============================================
                                                          *******KNOW*******        ***********DURING********** TAKE N/R         *TRAVEL* *SUBWAY* **SAFE** ****FEEL SAFE****
                                             NY   ILL     ANY SELF OTH NONE         SUBWAY NOT SUB N/R NOT N/R REG NOT           WAS NOT WAS NOT WAS NOT LESS MORE/NO DIFF
                                            ---- ----    ---- ---- ---- ----       ------- ------- ---- ------- ---- ----       ---- ---- ---- ---- ---- ---- ---- ------------

              TOTAL                          400 400       97   67   73 303            47       353 36*      364 122 278         126 195 122 187 176 148 215                    158
                                            100% 100%    100% 100% 100% 100%         100%      100% 100%    100% 100% 100%      100% 100% 100% 100% 100% 100% 100%             100%

              QA. COUNTY
              Kings                          29%     -    38%   38%    43%   26%      38%       28%   36%    28%   42%    23%    28%   37%   34%   33%   30%   33%   29%        30%
              Nassau                         18%     -    12%   13%    13%   20%      20%       18%   18%    18%   15%    20%    19%   19%   17%   18%   20%   17%   21%        16%
              Queens                         24%     -    37%   38%    34%   20%      25%       24%   33%    23%   26%    23%    28%   16%   26%   18%   24%   21%   24%        25%
              Richmond                        7%     -     3%    3%     3%    9%       2%        8%     -     8%    8%     7%     8%    6%    9%    9%    7%    9%    9%         5%
              Suffolk                        21%     -     9%    8%     8%   24%      15%       22%   14%    22%    8%    26%    16%   22%   14%   22%   20%   19%   18%        24%
              Cook                             -   58%      -     -      -     -        -         -     -      -     -      -      -     -     -     -     -     -     -          -
              DuPage                           -   13%      -     -      -     -        -         -     -      -     -      -      -     -     -     -     -     -     -          -
              McHenry                          -    5%      -     -      -     -        -         -     -      -     -      -      -     -     -     -     -     -     -          -
              Grundy                           -    1%      -     -      -     -        -         -     -      -     -      -      -     -     -     -     -     -     -          -
              Kane                             -    5%      -     -      -     -        -         -     -      -     -      -      -     -     -     -     -     -     -          -
              Kendall                          -    1%      -     -      -     -        -         -     -      -     -      -      -     -     -     -     -     -     -          -
              LaSalle                          -    1%      -     -      -     -        -         -     -      -     -      -      -     -     -     -     -     -     -          -
              Lake                             -   10%      -     -      -     -        -         -     -      -     -      -      -     -     -     -     -     -     -          -
              Will                             -    6%      -     -      -     -        -         -     -      -     -      -      -     -     -     -     -     -     -          -

              QB. REGISTERED TO VOTE
              Yes                            99%   99%   100% 100% 100%      99%     100%       99% 100%     99% 100%     99%    98% 100% 100%     99%   99% 100% 100%          99%
              No                              1%     *      -    -    -       1%        -        1%    -      1%    -      1%     2%    -    *      1%    1%    -    *           1%
              (Don't know)                     -     *      -    -    -        -        -         -    -       -    -       -      -    -    -       -     -    -    -            -

              QC. DRIVER'S LICENSE
              Yes                             1%    1%      -    -    -       1%        -        1%    -      1%    -      1%     2%    -    *      1%    1%    -    *            1%
              Registered to vote             99%   99%   100% 100% 100%      99%     100%       99% 100%     99% 100%     99%    98% 100% 100%     99%   99% 100% 100%           99%

              QE. RECEIVED JURY SUMMONS
              No                            100% 100%    100% 100% 100% 100%         100%      100% 100%    100% 100% 100%      100% 100% 100% 100% 100% 100% 100%             100%

              QF. LAW ENFORCEMENT
              No                            100% 100%    100% 100% 100% 100%         100%      100% 100%    100% 100% 100%      100% 100% 100% 100% 100% 100% 100%             100%

              QG. ACTIVE-DUTY MILITARY
              No                            100% 100%    100% 100% 100% 100%         100%      100% 100%    100% 100% 100%      100% 100% 100% 100% 100% 100% 100%              100%

              QH. PROSECUTOR
              No                            100% 100%    100% 100% 100% 100%         100%      100% 100%    100% 100% 100%      100% 100% 100% 100% 100% 100% 100%              100%

              QI. D.O.J. OR COURTS
              No                            100% 100%    100% 100% 100% 100%         100%      100% 100%    100% 100% 100%      100% 100% 100% 100% 100% 100% 100%              100%

              QJ. MEDIA
              No                            100% 100%    100% 100% 100% 100%         100%      100% 100%    100% 100% 100%      100% 100% 100% 100% 100% 100% 100%              100%
                                                                                                                                                                                                         Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 180 of 239 PageID #: 394
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 Banner1 Table2

                       Q1. Subway mass shooting awareness.     Q2. Aware of arrest.      Q3. Know name of suspect.        Q4. (Open-end) Remember about incident.

                                                  NY REGION             ILL REGION                      AGE                               SEX                               RACE
                                           =======================    ==============       ==============================          ==================      ======================================
                                                         NASS                              ******NY****** ******ILL*****           ***NY*** ***ILL**       ********NY******** ********ILL*******
                               NY   ILL    BROOK QUEENS /STAT SUFF    COOK COLL REST       <50 50-64 65+ <50 50-64 65+             MEN WOM MEN WOM         WHT BLK HISP OTH WHT BLK HISP OTH
                              ---- ----   ------ ------ ----- ----   ----- ---- ----      ---- ----- ---- ---- ----- ----         ---- ---- ---- ----     ---- ---- ---- ---- ---- ---- ---- ----

TOTAL                          400 400      116     97    103   83     233 114    53       201     96 103 213         76 112       181 219 186 214         207   78   53   61 247    67   50 36*
                              100% 100%    100%   100%   100% 100%    100% 100% 100%      100%   100% 100% 100%     100% 100%     100% 100% 100% 100%     100% 100% 100% 100% 100% 100% 100% 100%

Q1. SUBWAY MASS SHOOTING
               AWARENESS
Aware                         69%   44%     77%    62%   70%   66%    40%    50%   49%    62%    73%    79%   43%   46%    44%    68%   70%   46%   42%   70%   69%   73%   62%   44%   40%   48%   40%
Not aware                     29%   56%     20%    34%   30%   33%    59%    50%   51%    34%    26%    21%   57%   54%    54%    30%   28%   54%   58%   28%   24%   27%   37%   55%   60%   52%   60%
(Refused)                      2%    1%      3%     4%     *    1%     1%      -     -     4%      *      -     -     -     2%     2%    2%    1%    1%    1%    7%     -    1%    1%     -     -     -

Q2. AWARE OF ARREST
Aware                         57%   30%     60%    55%   59%   54%    30%    32%   24%    55%    59%    61%   30%   31%    27%    55%   59%   32%   28%   58%   56%   61%   55%   30%   24%   39%   25%
Not aware                     39%   70%     39%    34%   40%   44%    70%    68%   75%    40%    41%    36%   69%   69%    73%    43%   36%   68%   72%   40%   39%   34%   40%   70%   76%   61%   73%
(Refused)                      4%     *      1%    11%    1%    2%      -      -    1%     5%      *     3%     *     -      -     3%    4%     *     -    2%    5%    6%    6%     -     -     -    2%

Q3. KNOW NAME OF SUSPECT
YES/MAYBE: Frank James        14%    9%     17%    20%   14%    4%    10%     8%    2%    24%     4%     5%   11%   10%      2%   10%   18%    7%   10%   10%    9%   24%   28%    6%   11%   20%    8%
YES/MAYBE: Other name          1%     *      1%      -    1%    1%      *      -     -      *     1%     1%     -     -      1%    1%     *     -     *    1%     -    1%     -     *     -     -     -
NO/(Don't know)               83%   88%     78%    78%   85%   94%    85%    91%   95%    72%    93%    94%   84%   87%     96%   86%   81%   87%   89%   88%   91%   74%   64%   91%   84%   77%   92%
(Refused)                      2%    3%      5%     2%     *    1%     5%     1%    3%     3%     3%      -    5%    3%      1%    3%    1%    6%    1%    2%     -    1%    8%    3%    6%    3%     -

TOTAL YES/MAYBE               15%    9%     18%    20%   15%    5%    10%     8%    2%     25%     4%    6%   11%    10%     3%   11%   18%    7%   10%   10%   9%    26%   28%   6%    11%   20%   8%

Q4. REMEMBER ABOUT INCIDENT
Shooting details              29%   12%     34%    34%   31%   16%     14%   12%    3%     36%    20%   26%   14%    13%    7%    32%   27%   11%   13%   25%   31%   50%   25%   11%   10%   23%   8%
Investigation details          4%    1%      3%     1%    8%    7%      1%    1%    1%      4%     5%    5%    1%      -    1%     2%    7%    1%     *    5%   10%     -    1%    1%     -     -   1%
Vague recollection             4%    6%      4%     3%    4%    6%      7%    5%    5%      5%     2%    4%    7%     6%    4%     6%    2%    3%    9%    4%    1%    6%    6%    6%    8%    7%   5%
Shock at event                 3%    1%      4%     5%    1%    4%       -    2%     -      2%     5%    5%    1%     1%     -      *    6%    1%    1%    3%    3%     -    7%     *     -    4%    -
Media coverage                 3%    3%      7%      *    1%    4%      2%    4%    6%      1%     7%    4%    4%     2%    2%     2%    5%    4%    2%    3%    5%    3%    4%    5%     *    3%   1%
Knew someone on train          1%     -      4%      *     -    2%       -     -     -      2%      -    2%     -      -     -     2%    1%     -     -    3%     -     -     -     -     -     -    -
Blame mayor                    1%     -      3%      -     -     -       -     -     -       -      -    4%     -      -     -      -    2%     -     -     -    5%     -     -     -     -     -    -
Think guilty                   1%     -       *      -     -    3%       -     -     -      1%     1%     *     -      -     -     1%    1%     -     -    1%     -     -     -     -     -     -    -

OTHER                           *     *       *      -     -     *      *      -     -       -     1%     -     *      -      -     *     *     -     *     *     -     -     *     *     -     -     -
DON'T KNOW/REFUSED            51%   76%     41%    56%   52%   56%    75%    74%   85%     50%    55%   48%   72%    76%    84%   52%   49%   79%   73%   54%   44%   41%   56%   75%   82%   64%   85%

TOTAL MENTION                 49%   24%     59%    44%   48%   44%    25%    26%   15%    50%    45%    52%   28%   24%    16%    48%   51%   21%   27%   46%   56%   59%   44%   25%   18%   36%   15%
                                                                                                                                                                                                          Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 181 of 239 PageID #: 395
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                       Q1. Subway mass shooting awareness.     Q2. Aware of arrest.        Q3. Know name of suspect.      Q4. (Open-end) Remember about incident.

                                                     EDUCATION                          SEX & RACE                                    RACE & EDUCATION                       PARTY REG
                                                ===================       ======================================           ======================================          =============
                                                ****NY*** ***ILL***       ********NY******** ********ILL*******            ********NY******** ********ILL*******           ******NY*****
                                    NY   ILL    COLL LESS COLL LESS       W M W W O M O W W M W W O M O W                  W C W L O C O L W C W L O C O L                 DEM REP OTH
                                   ---- ----   ----- ---- ---- ----      ---- ---- ---- ---- ---- ---- ---- ----          ---- ---- ---- ---- ---- ---- ---- ----         ---- ---- ----

     TOTAL                          400 400     121 279 142 258            98 109    84 109 117 130      69   84            87 120 34* 159 112 135 30* 123                 159   76 106
                                   100% 100%   100% 100% 100% 100%       100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100% 100% 100%         100% 100% 100%

     Q1. SUBWAY MASS SHOOTING
                    AWARENESS
     Aware                         69%   44%    72%   68%    46%   42%   72%   69%   64%    71%   47%   41%   43%   42%   68%   72%   79%   65%   45%   44%   53%   40%   81%   62%   67%
     Not aware                     29%   56%    27%   29%    54%   57%   26%   30%   33%    25%   52%   58%   57%   58%   30%   27%   19%   31%   55%   54%   47%   60%   18%   37%   32%
     (Refused)                      2%    1%     2%    2%      -    1%    1%    1%    3%     4%    1%    1%     -     -    1%    1%    2%    4%     -    2%     -     -     *     *    2%

     Q2. AWARE OF ARREST
     Aware                         57%   30%    63%   55%    34%   27%   55%   60%   55%    58%   35%   26%   28%   30%   61%   56%   68%   54%   32%   28%   44%   25%   72%   50%   53%
     Not aware                     39%   70%    36%   41%    66%   73%   45%   37%   40%    36%   65%   74%   72%   70%   38%   43%   31%   39%   68%   72%   56%   74%   28%   47%   41%
     (Refused)                      4%     *     2%    4%      -     *    1%    3%    5%     6%     -     -    1%     -    2%    2%    1%    6%     -     -     -    1%    1%    3%    6%

     Q3. KNOW NAME OF SUSPECT
     YES/MAYBE: Frank James        14%    9%    11%   16%    11%    7%    8%   11%   12%    25%    5%    6%   10%   15%    9%   10%   17%   20%    8%    4%   21%   11%   23%    5%   11%
     YES/MAYBE: Other name          1%     *     1%     *     1%     -    1%    1%    1%      -     -    1%     -     -    2%     -     -     *    1%     -     -     -    1%     -    1%
     NO/(Don't know)               83%   88%    85%   82%    86%   89%   88%   88%   83%    73%   90%   91%   82%   85%   87%   89%   80%   77%   88%   93%   79%   85%   75%   94%   86%
     (Refused)                      2%    3%     3%    2%     2%    4%    3%     *    4%     2%    5%    2%    7%     -    2%    2%    4%    2%    3%    4%     -    4%    2%    1%    1%

     TOTAL YES/MAYBE               15%    9%    12%   16%    11%    7%    9%   12%   13%    25%    5%    7%   10%   15%   11%   10%   17%   21%    9%    4%   21%   11%   23%    5%   12%

     Q4. REMEMBER ABOUT INCIDENT
     Shooting details              29%   12%    30%   29%    17%   10%   29%   21%   35%    34%   11%   12%   12%   15%   30%   21%   30%   35%   14%    9%   26%   11%   34%   30%   34%
     Investigation details          4%    1%     7%    3%     1%     *    2%    6%    1%     7%    1%    1%    1%     -    7%    3%    9%    3%    1%    1%    1%     -   10%    2%    1%
     Vague recollection             4%    6%     5%    4%     6%    7%    7%    2%    5%     3%    4%    8%    1%   11%    4%    4%    7%    4%    6%    6%    5%    7%    5%    3%    5%
     Shock at event                 3%    1%     3%    4%     1%    1%     -    6%    1%     6%    1%     -     -    2%    3%    3%    4%    4%    1%     -     -    1%    7%    1%     -
     Media coverage                 3%    3%     4%    3%     4%    3%    1%    4%    2%     5%    6%    4%    3%     *    5%    1%    2%    4%    5%    4%    2%    1%    4%    2%    2%
     Knew someone on train          1%     -     1%    2%      -     -    4%    2%     -      -     -     -     -     -    1%    4%     -     -     -     -     -     -    1%    2%    1%
     Blame mayor                    1%     -      -    1%      -     -     -     -     -     3%     -     -     -     -     -     -     -    2%     -     -     -     -     -     -    4%
     Think guilty                   1%     -     1%    1%      -     -    2%    1%     -      -     -     -     -     -    1%    1%     -     -     -     -     -     -     *    1%    2%

     OTHER                           *     *     1%     -     1%     -    1%     -     -      *     -    1%     -     -    1%     -    1%     -    1%     -     -     -     -     -    1%
     DON'T KNOW/REFUSED            51%   76%    48%   52%    71%   79%   50%   57%   55%    41%   77%   74%   84%   71%   49%   57%   46%   48%   72%   78%   66%   79%   40%   56%   50%

     TOTAL MENTION                 49%   24%    52%   48%    29%   21%   50%   43%   45%    59%   23%   26%   16%   29%   51%   43%   54%   52%   28%   22%   34%   21%   60%   44%   50%
                                                                                                                                                                                             Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 182 of 239 PageID #: 396
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                         Q1. Subway mass shooting awareness.     Q2. Aware of arrest.        Q3. Know name of suspect.       Q4. (Open-end) Remember about incident.

                                                        THINK GUILTY                         JURY VOTE                              FAIR TRIAL                         MEDIA COVERAGE
                                                ============================        ============================           ============================         ============================
                                                ******NY***** *****ILL*****         ******NY***** *****ILL*****            ******NY***** *****ILL*****          ******NY***** *****ILL*****
                                    NY   ILL    GLT NOT OTH GLT NOT OTH             GLT NOT OTH GLT NOT OTH                YES NO    OTH YES NO     OTH         GLT NOT OTH GLT NOT OTH
                                   ---- ----   ---- ---- ---- ---- ---- ----       ---- ---- ---- ---- ---- ----          ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----

   TOTAL                            400 400     226   12 162 153     2* 245         204   9* 187 137     5* 258            254   29 117 174 35* 191             186   9* 205 136     4* 260
                                   100% 100%   100% 100% 100% 100% 100% 100%       100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%

   Q1. SUBWAY MASS SHOOTING
                  AWARENESS
   Aware                           69%   44%   87%   14%   49%   71%   68%   27%   84%     12%    56%   68%   70%   30%   78%    60%   51%   55%   53%   31%    90%   35%   52%   76%   33%   27%
   Not aware                       29%   56%   13%   81%   46%   29%   32%   72%   14%     68%    42%   32%   30%   69%   20%    38%   45%   45%   47%   67%     7%   61%   46%   24%   67%   72%
   (Refused)                        2%    1%     -    5%    5%     -     -    1%    2%     20%     2%     -     -    1%    2%     2%    3%     -     -    1%     2%    4%    2%     -     -    1%

   Q2. AWARE OF ARREST
   Aware                           57%   30%   76%   23%   34%   52%   72%   15%   73%     20%    42%   51%   41%   18%   66%    58%   39%   42%   26%   19%   81%    34%   37%   57%   56%   15%
   Not aware                       39%   70%   24%   51%   60%   48%   28%   85%   26%     46%    53%   49%   59%   82%   33%    42%   51%   58%   74%   80%   18%    66%   57%   43%   44%   85%
   (Refused)                        4%     *    1%   26%    6%     -     -     *    1%     34%     5%     -     -     *    1%      -    9%     -     -     *     *      -    7%     -     -     *

   Q3. KNOW NAME OF SUSPECT
   YES/MAYBE: Frank James          14%    9%   20%    4%    7%   19%   40%    1%   23%      5%     5%   21%   10%    2%   15%    30%    9%   14%    7%    4%    24%   12%    5%   23%   10%    1%
   YES/MAYBE: Other name            1%     *    1%     -     *    1%     -     -    1%       -      *     -     -     *    1%      -    1%     *     -     -     1%     -     -    1%     -     -
   NO/(Don't know)                 83%   88%   76%   96%   91%   76%   60%   96%   73%     95%    93%   77%   90%   94%   82%    68%   88%   85%   89%   91%    71%   85%   94%   70%   90%   97%
   (Refused)                        2%    3%    3%     -    2%    4%     -    3%    3%       -     2%    2%     -    4%    2%     2%    3%    1%    4%    5%     3%    3%    1%    6%     -    2%

   TOTAL YES/MAYBE                 15%    9%   21%    4%    7%   20%   40%   1%    24%      5%    6%    21%   10%   2%    16%    30%   9%    14%    7%    4%    26%   12%    5%   24%   10%    1%

   Q4. REMEMBER ABOUT INCIDENT
   Shooting details                29%   12%   44%   12%   11%   26%     -    4%    42%      8%   17%   26%     -    5%    34%   30%   20%   17%   10%    8%    42%   34%   18%   26%     -    5%
   Investigation details            4%    1%    7%     -    1%    1%     -    1%     7%       -    2%    1%     -    1%     6%    2%    2%    1%     -     *     7%     -    2%    2%     -     *
   Vague recollection               4%    6%    5%     -    4%   11%     -    4%     5%       -    3%   12%     -    3%     5%    5%    3%    9%    6%    4%     5%    3%    3%   12%     -    3%
   Shock at event                   3%    1%    5%     -    2%     -     -    1%     4%       -    3%    1%     -     *     3%    3%    4%    1%     -    1%     3%   12%    3%    1%     -     *
   Media coverage                   3%    3%    4%     -    3%    4%     -    3%     3%       -    4%    4%     -    3%     4%    1%    2%    4%   12%    1%     4%     -    2%    5%     -    3%
   Knew someone on train            1%     -    2%     -    1%     -     -     -     2%       -    1%     -     -     -     2%     -     -     -     -     -     2%     -    1%     -     -     -
   Blame mayor                      1%     -    2%     -     -     -     -     -     2%       -     -     -     -     -      -     -    3%     -     -     -     2%     -     -     -     -     -
   Think guilty                     1%     -    1%     -     -     -     -     -     1%       -     -     -     -     -     1%    4%     -     -     -     -     1%     -    1%     -     -     -

   OTHER                             *     *     *     -     *     -    -      *     *       -      *     -    -      *     *      -     -     -    2%     -      *     -     *     -    -      *
   DON'T KNOW/REFUSED              51%   76%   31%   88%   76%   57% 100%    88%   33%     92%    68%   55% 100%    86%   44%    52%   66%   66%   69%   86%    31%   51%   69%   53% 100%    88%

   TOTAL MENTION                   49%   24%   69%   12%   24%   43%     -   12%    67%      8%   32%   45%     -   14%    56%   48%   34%   34%   31%   14%    69%   49%   31%   47%     -   12%
                                                                                                                                                                                                    Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 183 of 239 PageID #: 397
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                      Q1. Subway mass shooting awareness.         Q2. Aware of arrest.     Q3. Know name of suspect.       Q4. (Open-end) Remember about incident.

                                                         NY AFFECTED                           NY SUBWAY                                    NY CHANGES IN RESPONSE
                                                      ==================         =====================================          ==============================================
                                                      *******KNOW*******         ***********DURING********** TAKE N/R           *TRAVEL* *SUBWAY* **SAFE** ****FEEL SAFE****
                                         NY   ILL     ANY SELF OTH NONE          SUBWAY NOT SUB N/R NOT N/R REG NOT             WAS NOT WAS NOT WAS NOT LESS MORE/NO DIFF
                                        ---- ----    ---- ---- ---- ----        ------- ------- ---- ------- ---- ----         ---- ---- ---- ---- ---- ---- ---- ------------

          TOTAL                          400 400       97   67   73 303             47       353 36*       364 122 278          126 195 122 187 176 148 215                 158
                                        100% 100%    100% 100% 100% 100%          100%      100% 100%     100% 100% 100%       100% 100% 100% 100% 100% 100% 100%          100%

          Q1. SUBWAY MASS SHOOTING
                         AWARENESS
          Aware                         69%    44%   87%    86%    92%    64%      88%       67%    82%   68%    86%     62%   83%    72%   88%   71%   82%   67%   75%      67%
          Not aware                     29%    56%   10%    11%     5%    34%      12%       31%    18%   30%    11%     36%   17%    26%   11%   27%   18%   29%   22%      32%
          (Refused)                      2%     1%    2%     3%     3%     2%        -        2%      -    2%     3%      2%     -     2%     *    3%     -    4%    3%       1%

          Q2. AWARE OF ARREST
          Aware                         57%    30%   67%    67%    68%    54%      74%       55%    66%   56%    68%     53%   70%    58%   73%   57%   65%   60%   57%      62%
          Not aware                     39%    70%   28%    28%    25%    43%      23%       41%    28%   40%    31%     43%   29%    41%   25%   43%   34%   37%   41%      33%
          (Refused)                      4%      *    6%     5%     7%     3%       3%        4%     6%    3%     1%      5%    1%     1%    1%    1%    1%    3%    2%       4%

          Q3. KNOW NAME OF SUSPECT
          YES/MAYBE: Frank James        14%     9%   29%    28%    29%    10%      29%       12%    34%   12%    27%      9%   21%    13%   22%   13%   17%   13%   14%      16%
          YES/MAYBE: Other name          1%      *     -      -      -     1%        -        1%      -    1%      -      1%     -     1%     -    1%    1%    1%    1%        *
          NO/(Don't know)               83%    88%   69%    71%    69%    87%      63%       86%    59%   85%    71%     88%   77%    85%   75%   86%   80%   86%   84%      81%
          (Refused)                      2%     3%    2%      *     3%     2%       7%        1%     7%    2%     3%      2%    2%     2%    3%    1%    2%     -    2%       3%

          TOTAL YES/MAYBE               15%     9%   29%    28%     29%   10%       29%       13%   34%    13%     27%   10%    21%   14%   22%   14%   18%   14%   14%      16%

          Q4. REMEMBER ABOUT INCIDENT
          Shooting details              29%    12%   43%    34%     48%   25%      38%       28%    42%   28%    36%     27%   37%    33%   41%   29%   38%   31%   34%     25%
          Investigation details          4%     1%    3%     1%      3%    5%       8%        4%     3%    5%     9%      2%    6%     5%    8%    4%    6%    4%    6%      3%
          Vague recollection             4%     6%    4%     3%      4%    4%       4%        4%     6%    4%     5%      4%    2%     6%    2%    7%    2%    7%    3%      6%
          Shock at event                 3%     1%    7%     8%      7%    2%       5%        3%     2%    3%     5%      3%    5%     4%    5%    3%    5%    2%    3%      5%
          Media coverage                 3%     3%    2%     3%      1%    4%        -        4%     3%    3%     3%      3%    2%     6%    5%    4%    4%    5%    4%      3%
          Knew someone on train          1%      -    6%     5%      8%     -       8%        1%    11%    1%     5%       -    4%      *    5%     -    3%     -    3%       *
          Blame mayor                    1%      -    4%     6%      5%     -       8%         -      -    1%     3%       -    3%      -    3%     -    2%     -    2%       -
          Think guilty                   1%      -     *     1%      1%    1%       3%         *     5%     *     1%       *     *      *     *     *     *     *     *      1%

          OTHER                           *      *     -      -      -      *       1%         *     1%     *      -       *     *      *     *     *     *     -     *        -
          DON'T KNOW/REFUSED            51%    76%   29%    37%    21%    57%      20%       55%    26%   53%    32%     59%   37%    45%   30%   51%   36%   50%   42%      57%

          TOTAL MENTION                  49%   24%    71%   63%     79%   43%      80%       45%    74%   47%    68%     41%   63%    55%   70%   49%   64%   50%   58%     43%
                                                                                                                                                                                          Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 184 of 239 PageID #: 398
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                                  Q5. Opinion of guilt.     Q6. Jury vote.   Q7. Fair trial.    Q8. News coverage about shooting/investigation.

                                                NY REGION               ILL REGION                     AGE                            SEX                               RACE
                                         =======================      ==============      ==============================       ==================      ======================================
                                                       NASS                               ******NY****** ******ILL*****        ***NY*** ***ILL**       ********NY******** ********ILL*******
                             NY   ILL    BROOK QUEENS /STAT SUFF       COOK COLL REST     <50 50-64 65+ <50 50-64 65+          MEN WOM MEN WOM         WHT BLK HISP OTH WHT BLK HISP OTH
                            ---- ----   ------ ------ ----- ----      ----- ---- ----    ---- ----- ---- ---- ----- ----      ---- ---- ---- ----     ---- ---- ---- ---- ---- ---- ---- ----

TOTAL                        400 400       116     97      103   83    233 114    53      201     96 103 213        76 112     181 219 186 214         207   78   53   61 247    67   50 36*
                            100% 100%     100%   100%     100% 100%   100% 100% 100%     100%   100% 100% 100%    100% 100%   100% 100% 100% 100%     100% 100% 100% 100% 100% 100% 100% 100%

Q5. OPINION OF GUILT
Guilty                      57%   38%     61%    47%      61%   56%    42%   38%   22%   56%    55%   59%   38%   37%   39%   53%   59%   38%   39%   59%    50%   63%   50%   38%   41%   44%   29%
Not guilty                   3%    1%      1%    10%        -    1%      -     -    4%    6%      -    1%    1%     *     -    4%    2%    1%     *    2%     1%    7%    4%     *     -    2%    2%
(Depends)                   14%   17%     10%    19%      15%   14%    17%   12%   24%   15%    15%   13%   17%   17%   16%   15%   13%   18%   15%   15%    12%   13%   14%   18%   13%   17%   13%
(Don't know/Refused)        26%   45%     27%    24%      24%   29%    41%   50%   50%   23%    30%   28%   44%   46%   45%   28%   25%   44%   45%   23%    37%   16%   31%   44%   46%   37%   56%

Q6. JURY VOTE
Guilty                      51%   34%     60%    43%      51%   47%    37%   34%   25%   52%    48%   51%   35%   40%   28%   46%   55%   33%   35%    51%   49%   64%   42%   33%   35%   48%   27%
Not guilty                   2%    1%      1%     8%        -    1%      *     -    8%    4%      -     *    2%     -     -    2%    3%    2%    1%     1%    2%    6%    5%    1%     -    1%    4%
(Depends)                   23%   33%     16%    29%      23%   26%    33%   32%   37%   23%    24%   21%   31%   31%   39%   26%   20%   37%   30%    27%   16%   13%   28%   37%   35%   20%   22%
(Don't know/Refused)        24%   32%     24%    20%      26%   26%    30%   35%   31%   20%    28%   28%   32%   28%   33%   26%   22%   28%   34%    21%   34%   18%   25%   30%   31%   31%   47%

Q7. FAIR TRIAL
Will                        64%   43%     62%    55%      65%   73%    43%   52%   30%   48%    74%   84%   37%   47%   55%   64%   63%   44%   43%   72%    51%   64%   52%   49%   26%   38%   45%
Will not                     7%    9%      7%     8%       7%    8%     8%    4%   21%    9%     8%    3%   11%    4%    8%    7%    7%    9%    8%    7%     1%    7%   16%    8%    8%   11%   11%
(Depends)                   14%   21%     11%    25%      12%    5%    22%   17%   24%   21%     5%    7%   22%   23%   17%   10%   16%   25%   18%   11%    16%   16%   19%   20%   26%   24%   14%
(Don't know/Refused)        16%   27%     20%    12%      15%   14%    27%   28%   24%   21%    13%    7%   30%   26%   21%   18%   13%   22%   31%   11%    31%   13%   13%   23%   40%   26%   30%

Q8. NEWS COVERAGE ABOUT
 SHOOTING/INVESTIGATION
A lot                        6%    3%      9%     2%       6%    7%     4%    4%    1%    6%     5%    8%    3%    8%     -    7%    6%    4%    3%     7%    1%    5%   10%    2%    4%   11%    3%
Quite a bit                  5%    3%      7%     1%       8%    4%     4%     -    3%    9%      *    2%    3%    3%    1%    3%    7%    4%    1%     5%    7%    3%    4%    2%    7%    3%     -
Some                        20%   11%     18%    32%      18%   10%    11%   13%    5%   20%    22%   19%   13%    8%    8%   19%   21%    8%   13%    17%   25%   27%   18%    9%   10%   14%   16%
Not much                    34%   27%     34%    35%      26%   42%    26%   29%   27%   31%    39%   33%   29%   22%   24%   34%   34%   30%   24%    36%   28%   38%   29%   26%   29%   27%   24%
None at all                 29%   54%     28%    23%      34%   32%    53%   55%   59%   26%    30%   34%   49%   55%   64%   31%   28%   52%   57%    31%   30%   22%   29%   58%   49%   44%   53%
(Don't know/Refused)         6%    3%      4%     6%       8%    5%     3%     -    5%    7%     3%    5%    2%    5%    3%    7%    5%    2%    3%     4%    8%    5%   10%    3%    2%     -    4%
                                                                                                                                                                                                       Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 185 of 239 PageID #: 399
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                               Q5. Opinion of guilt.     Q6. Jury vote.    Q7. Fair trial.    Q8. News coverage about shooting/investigation.

                                                  EDUCATION                         SEX & RACE                                   RACE & EDUCATION                       PARTY REG
                                             ===================      ======================================          ======================================          =============
                                             ****NY*** ***ILL***      ********NY******** ********ILL*******           ********NY******** ********ILL*******           ******NY*****
                                 NY   ILL    COLL LESS COLL LESS      W M W W O M O W W M W W O M O W                 W C W L O C O L W C W L O C O L                 DEM REP OTH
                                ---- ----   ----- ---- ---- ----     ---- ---- ---- ---- ---- ---- ---- ----         ---- ---- ---- ---- ---- ---- ---- ----         ---- ---- ----

     TOTAL                       400 400     121 279 142 258           98 109    84 109 117 130      69   84           87 120 34* 159 112 135 30* 123                 159   76 106
                                100% 100%   100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%         100% 100% 100% 100% 100% 100% 100% 100%         100% 100% 100%

     Q5. OPINION OF GUILT
     Guilty                     57%   38%    57%   56%   41%   37%   55%   63%   51%   56%   36%   39%   40%   38%   55%   62%   61%   52%   40%   36%   44%   38%   66%   58%   52%
     Not guilty                  3%    1%     3%    3%    1%     *    4%    1%    4%    4%     -     *    2%     *    2%    2%    4%    4%     *     -    4%    1%    2%    2%    8%
     (Depends)                  14%   17%    13%   15%   16%   17%   14%   17%   17%   10%   20%   16%   15%   14%   15%   16%    8%   14%   15%   20%   17%   14%   10%   16%   16%
     (Don't know/Refused)       26%   45%    27%   26%   42%   46%   27%   19%   28%   30%   45%   44%   43%   47%   27%   20%   27%   30%   44%   44%   36%   48%   22%   24%   24%

     Q6. JURY VOTE
     Guilty                     51%   34%    50%   51%   34%   34%   47%   55%   44%   56%   33%   33%   34%   40%   48%   53%   53%   50%   32%   33%   40%   37%   58%   51%   47%
     Not guilty                  2%    1%     3%    2%    1%    1%    1%    1%    3%    4%    2%     *    2%    1%    1%    1%    6%    3%    1%    1%    2%    1%    1%    1%    6%
     (Depends)                  23%   33%    24%   22%   38%   30%   27%   26%   24%   14%   39%   35%   32%   22%   26%   27%   19%   19%   41%   34%   30%   26%   23%   27%   23%
     (Don't know/Refused)       24%   32%    24%   24%   26%   34%   25%   18%   28%   25%   26%   32%   32%   37%   24%   19%   21%   28%   26%   33%   28%   36%   18%   21%   23%

     Q7. FAIR TRIAL
     Will                       64%   43%    69%   61%   51%   39%   72%   71%   55%   55%   51%   47%   32%   37%   71%   72%   66%   52%   52%   47%   48%   31%   73%   65%   50%
     Will not                    7%    9%     9%    7%   11%    8%    4%    9%   11%    5%    7%    9%   14%    7%    9%    6%   10%    7%   11%    6%   10%   10%    6%   13%    8%
     (Depends)                  14%   21%    11%   15%   15%   24%   12%    9%    8%   23%   25%   16%   25%   21%   10%   11%   13%   18%   16%   23%   12%   25%    8%    8%   30%
     (Don't know/Refused)       16%   27%    11%   17%   23%   29%   12%   10%   25%   17%   18%   28%   29%   36%   11%   11%   12%   22%   21%   25%   30%   34%   12%   14%   12%

     Q8. NEWS COVERAGE ABOUT
      SHOOTING/INVESTIGATION
     A lot                       6%    3%     8%    6%    4%    3%    6%    8%    7%    4%    2%    1%    6%    6%    8%    7%    9%    5%    3%    1%    8%    6%    8%    7%    5%
     Quite a bit                 5%    3%     5%    5%    2%    3%    3%    8%    3%    7%    2%    2%    8%     *    5%    5%    4%    5%    2%    2%    2%    4%    8%    3%    4%
     Some                       20%   11%    16%   22%   10%   11%   18%   15%   20%   26%    7%   11%   10%   16%   15%   18%   18%   25%    9%    9%   16%   12%   20%    7%   31%
     Not much                   34%   27%    34%   33%   27%   26%   34%   38%   33%   29%   31%   22%   28%   26%   36%   36%   28%   32%   25%   27%   33%   26%   31%   39%   35%
     None at all                29%   54%    31%   28%   55%   54%   34%   28%   28%   27%   56%   60%   44%   52%   31%   30%   30%   27%   59%   57%   39%   51%   31%   41%   18%
     (Don't know/Refused)        6%    3%     6%    6%    2%    3%    5%    2%    9%    7%    1%    5%    4%     -    4%    4%   11%    7%    2%    4%    2%    2%    2%    3%    8%
                                                                                                                                                                                        Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 186 of 239 PageID #: 400
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                              Q5. Opinion of guilt.     Q6. Jury vote.    Q7. Fair trial.        Q8. News coverage about shooting/investigation.

                                                  THINK GUILTY                          JURY VOTE                             FAIR TRIAL                         MEDIA COVERAGE
                                          ============================         ============================          ============================         ============================
                                          ******NY***** *****ILL*****          ******NY***** *****ILL*****           ******NY***** *****ILL*****          ******NY***** *****ILL*****
                              NY   ILL    GLT NOT OTH GLT NOT OTH              GLT NOT OTH GLT NOT OTH               YES NO    OTH YES NO     OTH         GLT NOT OTH GLT NOT OTH
                             ---- ----   ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----         ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----

   TOTAL                      400 400     226   12 162 153     2* 245          204   9* 187 137     5* 258           254   29 117 174 35* 191             186   9* 205 136     4* 260
                             100% 100%   100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%         100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%

   Q5. OPINION OF GUILT
   Guilty                    57%   38%   100%    -      - 100%    -       -    94%    2%   19%    90%     -   11%    67%   68%   31%   54%   49%   22%    84%   77%   31%   73%   51%   20%
   Not guilty                 3%    1%      - 100%      -    - 100%       -      *   82%    2%      -   38%     *     1%   10%    7%     -    5%     *     1%    6%    5%     -   28%     *
   (Depends)                 14%   17%      -    -    35%    -    -     27%     3%   16%   27%     4%   34%   23%    12%    5%   23%   12%   16%   21%     4%    4%   24%   11%     -   20%
   (Don't know/Refused)      26%   45%      -    -    65%    -    -     73%     3%     -   52%     6%   28%   66%    21%   17%   40%   34%   31%   57%    10%   14%   41%   16%   21%   60%

   Q6. JURY VOTE
   Guilty                    51%   34%    84%    6%    8%   81%     -    5%   100%    -      - 100%    -        -    63%   49%   26%   47%   51%   19%    80%   51%   25%   71%   23%   15%
   Not guilty                 2%    1%      *   62%    1%     -   83%    1%      - 100%      -    - 100%        -      *   10%    5%     -   10%    1%      *    6%    4%     -   18%    2%
   (Depends)                 23%   33%    11%   32%   39%   16%   17%   44%      -    -    49%    -    -      51%    21%   23%   28%   36%   16%   33%    10%   26%   34%   22%   38%   39%
   (Don't know/Refused)      24%   32%     5%     -   53%    3%     -   49%      -    -    51%    -    -      49%    16%   18%   42%   16%   23%   47%     9%   18%   38%    7%   21%   44%

   Q7. FAIR TRIAL
   Will                      64%   43%    75%   12%   51%   61%     -   33%   78%    10%   50%   60%      -   35%   100%    -      - 100%    -       -    76%   47%   53%   57%   28%   36%
   Will not                   7%    9%     9%   23%    4%   11%   78%    7%    7%    31%    6%   13%    74%    5%      - 100%      -    - 100%       -     9%   29%    5%   13%   28%    6%
   (Depends)                 14%   21%    12%   55%   13%   16%   22%   24%   12%    57%   13%   18%    26%   22%      -    -    47%    -    -     44%    11%   23%   15%   19%   23%   22%
   (Don't know/Refused)      16%   27%     4%    9%   33%   11%     -   37%    3%     2%   30%    9%      -   37%      -    -    53%    -    -     56%     5%     -   26%   10%   21%   36%

   Q8. NEWS COVERAGE ABOUT
    SHOOTING/INVESTIGATION
   A lot                      6%    3%    10%    6%    2%    8%   17%     *   11%      -    2%    8%      -    1%    8%     9%    3%    6%    3%    1%   11%     9%    2%    9%   10%     *
   Quite a bit                5%    3%     8%    5%    1%    3%     -    2%    9%     7%    1%    5%      -    2%    6%     9%    3%    1%    4%    4%   10%      -    1%    7%     -     *
   Some                      20%   11%    23%   56%   14%   19%   32%    5%   22%    74%   15%   20%    33%    5%   23%    12%   16%   17%   12%    5%   28%    20%   13%   25%   18%    3%
   Not much                  34%   27%    35%   13%   33%   35%   51%   21%   33%     2%   36%   36%    39%   21%   35%    39%   29%   28%   42%   23%   32%    49%   35%   36%   51%   21%
   None at all               29%   54%    23%   17%   38%   35%     -   67%   24%    10%   35%   31%    28%   67%   27%    28%   35%   48%   39%   63%   18%    19%   40%   22%   21%   71%
   (Don't know/Refused)       6%    3%     1%    3%   12%     -     -    4%    1%     8%   11%     -      -    4%    2%     3%   14%    1%     -    5%    1%     4%   10%     -     -    4%
                                                                                                                                                                                              Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 187 of 239 PageID #: 401
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                                    Q5. Opinion of guilt.   Q6. Jury vote.    Q7. Fair trial.     Q8. News coverage about shooting/investigation.

                                                          NY AFFECTED                        NY SUBWAY                                 NY CHANGES IN RESPONSE
                                                       ==================      =====================================       ==============================================
                                                       *******KNOW*******      ***********DURING********** TAKE N/R        *TRAVEL* *SUBWAY* **SAFE** ****FEEL SAFE****
                                           NY   ILL    ANY SELF OTH NONE       SUBWAY NOT SUB N/R NOT N/R REG NOT          WAS NOT WAS NOT WAS NOT LESS MORE/NO DIFF
                                          ---- ----   ---- ---- ---- ----     ------- ------- ---- ------- ---- ----      ---- ---- ---- ---- ---- ---- ---- ------------

          TOTAL                            400 400      97   67   73 303          47       353 36*      364 122 278        126 195 122 187 176 148 215                158
                                          100% 100%   100% 100% 100% 100%       100%      100% 100%    100% 100% 100%     100% 100% 100% 100% 100% 100% 100%         100%

          Q5. OPINION OF GUILT
          Guilty                          57%   38%   78%   73%   80%   50%      76%       54%   74%    55%   72%   50%   73%   57%   77%   55%   72%   55%   68%     47%
          Not guilty                       3%    1%    2%    3%    1%    3%        -        3%     -     3%    1%    4%    1%    1%     -    2%     -    4%    1%      6%
          (Depends)                       14%   17%   13%   17%   12%   15%      16%       14%   21%    14%   14%   15%   19%    8%   18%    8%   15%    8%   15%     11%
          (Don't know/Refused)            26%   45%    7%    7%    7%   32%       7%       29%    6%    28%   13%   32%    8%   34%    5%   35%   14%   33%   16%     37%

          Q6. JURY VOTE
          Guilty                          51%   34%   77%   74%   81%   43%      73%       48%   67%    49%   72%   42%   66%   52%   69%   50%   62%   53%   61%     41%
          Not guilty                       2%    1%     -     -     -    3%        -        3%     -     2%     -    3%     -    1%     -    2%     -    2%     *      5%
          (Depends)                       23%   33%   18%   19%   16%   24%      26%       23%   28%    22%   22%   23%   25%   17%   24%   17%   26%   18%   22%     25%
          (Don't know/Refused)            24%   32%    5%    7%    3%   30%       1%       27%    5%    26%    7%   31%    8%   30%    7%   31%   13%   27%   16%     29%

          Q7. FAIR TRIAL
          Will                            64%   43%   64%   65%   63%   63%      52%       65%   63%    64%   70%   61%   75%   67%   72%   67%   72%   69%   69%     60%
          Will not                         7%    9%   11%   14%   13%    6%      18%        6%   21%     6%   10%    6%    6%    8%    8%    7%    8%    6%    9%      6%
          (Depends)                       14%   21%   18%   14%   19%   12%      28%       12%   14%    14%   15%   13%   15%    8%   17%    8%   14%    7%   14%     13%
          (Don't know/Refused)            16%   27%    6%    6%    5%   18%       2%       17%    1%    17%    5%   20%    4%   18%    3%   19%    6%   18%    8%     21%

          Q8. NEWS COVERAGE ABOUT
           SHOOTING/INVESTIGATION
          A lot                            6%    3%   16%   16%   18%    3%      17%        5%   23%     5%   12%    4%   14%    4%   13%    4%   10%    4%    8%      5%
          Quite a bit                      5%    3%    7%    8%    8%    5%       3%        6%    4%     5%   11%    3%    9%    4%    8%    5%    7%    5%    6%      5%
          Some                            20%   11%   23%   19%   24%   19%      17%       20%   23%    20%   27%   17%   21%   21%   23%   21%   22%   21%   21%     20%
          Not much                        34%   27%   36%   37%   39%   33%      36%       33%   38%    33%   33%   34%   33%   35%   37%   30%   38%   28%   38%     30%
          None at all                     29%   54%   16%   17%   10%   33%      23%       30%    6%    31%   14%   36%   22%   31%   16%   36%   22%   37%   23%     38%
          (Don't know/Refused)             6%    3%    2%    3%    1%    7%       4%        6%    7%     5%    2%    7%    2%    5%    2%    5%    2%    5%    3%      3%
                                                                                                                                                                                    Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 188 of 239 PageID #: 402
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                               Q9. Media's impression of guilt.     Q10. People spoken with impression of guilt.           Q11. (Open-end) Know about James.

                                                   NY REGION              ILL REGION                     AGE                              SEX                               RACE
                                            =======================     ==============      ==============================         ==================      ======================================
                                                          NASS                              ******NY****** ******ILL*****          ***NY*** ***ILL**       ********NY******** ********ILL*******
                                NY   ILL    BROOK QUEENS /STAT SUFF      COOK COLL REST     <50 50-64 65+ <50 50-64 65+            MEN WOM MEN WOM         WHT BLK HISP OTH WHT BLK HISP OTH
                               ---- ----   ------ ------ ----- ----     ----- ---- ----    ---- ----- ---- ---- ----- ----        ---- ---- ---- ----     ---- ---- ---- ---- ---- ---- ---- ----

TOTAL                           400 400      116     97    103   83      233 114    53      201     96 103 213         76 112      181 219 186 214         207   78   53   61 247    67   50 36*
                               100% 100%    100%   100%   100% 100%     100% 100% 100%     100%   100% 100% 100%     100% 100%    100% 100% 100% 100%     100% 100% 100% 100% 100% 100% 100% 100%

Q9. MEDIA'S IMPRESSION OF
        DEFENDANTS' GUILT
Likely guilty                  46%   34%     58%    37%   54%     31%    34%   36%   31%   47%    42%    50%   37%   40%    25%   42%   50%   32%   35%    45%   49%   54%   39%   30%   50%   41%   23%
Likely not guilty               2%    1%      2%     2%    4%      2%      *    2%    2%    3%     1%     2%    1%     *     1%    2%    3%    1%    1%     2%    1%    1%    6%    1%     -    2%     -
(Depends)                      18%   13%      6%    39%   12%     16%    14%    8%   20%   23%    16%    10%   15%   14%    10%   17%   18%   15%   12%    17%   12%   23%   22%   13%    8%   23%   12%
(Don't know/Refused)           34%   52%     33%    22%   31%     51%    52%   54%   47%   28%    40%    38%   47%   46%    64%   38%   30%   52%   52%    36%   37%   22%   32%   56%   42%   33%   66%

Q10. PEOPLE SPOKEN WITH
    IMPRESSION OF GUILT
Guilty                         37%   18%     46%    27%   44%     25%    21%   16%    7%   40%    34%    32%   22%   17%    10%   34%   38%   19%   16%   35%    44%   42%   30%   15%   27%   24%   10%
Not guilty                      2%    1%      2%     5%    1%      2%     1%     -    2%    2%     1%     3%    1%     *      -    3%    2%    1%     *    3%      *     -    5%     *    1%    1%     -
(Mixed)                        10%    3%      6%    28%    6%      2%     1%    5%    9%   16%    10%      *    4%    2%     3%    8%   12%    4%    2%    4%    16%   18%   18%    3%     *    8%    6%
(Haven't spoken with others)   41%   63%     34%    32%   45%     57%    62%   66%   58%   30%    47%    57%   61%   64%    65%   41%   41%   62%   63%   50%    23%   30%   44%   63%   62%   60%   62%
(Don't know/Refused)           10%   16%     12%     8%    5%     14%    15%   14%   24%   12%     8%     7%   13%   16%    22%   13%    7%   13%   18%    8%    18%   11%    4%   18%   10%    8%   21%

Q11. KNOW ABOUT JAMES
Mentally ill                   10%    7%     12%     8%   10%      7%     8%   7%    4%     12%    9%    7%    8%     6%     6%    9%   10%    4%   10%    11%    6%   11%    9%    6%   13%   6%    6%
Media coverage                  3%    2%      6%     1%    2%      1%     4%   1%     -      1%    6%    4%    2%     3%     3%    2%    3%    3%    2%     2%    6%    4%    1%    3%     -   4%    2%
Shooter                         3%    1%      2%     1%    5%      2%     1%   1%    1%      4%     *    3%    1%     1%      -    1%    4%    1%    1%     2%    7%    2%    1%    1%    1%   3%     -
Racist                          2%    2%      5%     1%    3%       -     2%   1%    4%      4%    2%    1%    1%     6%     1%    2%    3%    2%    2%     2%    1%    7%    2%    3%    1%    -     -
Guilty                          2%    2%      1%     3%    3%      1%     3%   2%    1%      2%    1%    2%    3%     1%     2%    2%    2%    1%    3%     2%     -    4%    3%    2%    4%   4%    1%
Black man                       2%    1%      1%      -    3%      4%      *   3%    2%      2%    2%     *    1%     1%     1%    2%    2%    1%    1%     3%     -     -     -    1%     *   4%     -
Travelled to NYC                2%    1%      2%     3%    1%       -     1%    -    1%      2%     -    2%    1%      -      *     -    3%    2%     -     1%     -    6%    3%     *     -   6%     -
Has a record                    1%    1%       -     2%     -      4%     1%   1%     -       -    4%    2%    1%      -     2%    2%    1%    1%     *     2%     -     -    3%    1%     -    -     -
Murdered people                 1%     -      4%      -     -       -      -    -     -      2%     -     -     -      -      -     -    2%     -     -     1%    5%     -     -     -     -    -     -
Scared to go on the subway      1%     -      3%      -     -       -      -    -     -       -     -    4%     -      -      -     -    2%     -     -      -    5%     -     -     -     -    -     -
Terrorist                       1%     *      1%      -    2%       -      -   2%     -      1%     -     -     *     1%      -     *    1%     -    1%      -     -     -    4%    1%     -    -     -
Wore uniform during shooting    1%     -       *      *    1%      1%      -    -     -      1%    1%     -     -      -      -    1%     -     -     -     1%     -     -    1%     -     -    -     -

OTHER                           1%     *       *     1%    2%       -      -    1%     -     *     1%     2%     -    1%     1%    1%    1%    1%     -     2%     -     -     *     -     -    1%    2%
DON'T KNOW/REFUSED             71%   81%     63%    79%   67%     80%    80%   81%   87%   69%    74%    74%   80%   80%    83%   76%   68%   83%   79%    73%   71%   66%   73%   82%   81%   69%   89%

TOTAL MENTION                  29%   19%     37%    21%    33%    20%    20%   19%   13%    31%    26%   26%   20%   20%    17%   24%   32%   17%   21%   27%    29%   34%   27%   18%   19%   31%   11%
                                                                                                                                                                                                           Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 189 of 239 PageID #: 403
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                            Q9. Media's impression of guilt.       Q10. People spoken with impression of guilt.          Q11. (Open-end) Know about James.

                                                      EDUCATION                         SEX & RACE                                   RACE & EDUCATION                       PARTY REG
                                                 ===================      ======================================          ======================================          =============
                                                 ****NY*** ***ILL***      ********NY******** ********ILL*******           ********NY******** ********ILL*******           ******NY*****
                                     NY   ILL    COLL LESS COLL LESS      W M W W O M O W W M W W O M O W                 W C W L O C O L W C W L O C O L                 DEM REP OTH
                                    ---- ----   ----- ---- ---- ----     ---- ---- ---- ---- ---- ---- ---- ----         ---- ---- ---- ---- ---- ---- ---- ----         ---- ---- ----

     TOTAL                           400 400     121 279 142 258           98 109    84 109 117 130      69   84           87 120 34* 159 112 135 30* 123                 159   76 106
                                    100% 100%   100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%         100% 100% 100% 100% 100% 100% 100% 100%         100% 100% 100%

     Q9. MEDIA'S IMPRESSION OF
             DEFENDANTS' GUILT
     Likely guilty                  46%   34%    48%   45%   31%   36%   43%   47%   41%   52%   28%   32%   40%   41%   47%   44%   52%   47%   29%   31%   38%   41%    55%   47%   42%
     Likely not guilty               2%    1%     3%    2%    2%     *     *    3%    4%    2%    1%    1%    1%     *    2%    2%    5%    2%    2%    1%    4%     -     2%    4%    2%
     (Depends)                      18%   13%    11%   21%   13%   13%   15%   19%   20%   17%   12%   13%   19%   10%   11%   22%   12%   20%   14%   12%   11%   15%    12%   17%   27%
     (Don't know/Refused)           34%   52%    38%   32%   54%   51%   41%   31%   35%   29%   59%   54%   40%   49%   40%   32%   31%   32%   56%   57%   48%   44%    32%   32%   29%

     Q10. PEOPLE SPOKEN WITH
         IMPRESSION OF GUILT
     Guilty                         37%   18%    31%   39%   18%   17%   32%   37%   37%   40%   14%   15%   28%   17%   29%   39%   36%   39%   16%   14%   27%   21%    42%   47%   33%
     Not guilty                      2%    1%     1%    3%     *    1%    3%    3%    4%     -    1%     -    1%     *    1%    4%     *    2%     -    1%    1%     *     2%     -    4%
     (Mixed)                        10%    3%     5%   13%    2%    4%    4%    5%   14%   19%    4%    2%    5%    3%    4%    4%    7%   19%    2%    4%    1%    5%     5%    4%   22%
     (Haven't spoken with others)   41%   63%    54%   35%   67%   61%   53%   47%   28%   34%   66%   61%   56%   66%   56%   45%   50%   28%   69%   59%   56%   63%    42%   41%   33%
     (Don't know/Refused)           10%   16%     9%   10%   13%   17%    9%    7%   17%    7%   15%   22%   10%   13%   10%    7%    7%   12%   13%   23%   15%   11%    10%    7%    8%

     Q11. KNOW ABOUT JAMES
     Mentally ill                   10%    7%    10%    9%    8%    6%   10%   11%    8%    8%    5%    6%    2%   15%    8%   13%   16%    7%    7%    4%   11%    9%    14%    7%   10%
     Media coverage                  3%    2%     2%    3%    1%    3%    2%    2%    3%    4%    2%    3%    4%     -    2%    2%    3%    4%    1%    4%    4%    1%     5%    5%     -
     Shooter                         3%    1%     2%    3%    1%    1%    2%    2%     -    6%    1%     -    1%    2%    2%    2%    1%    4%    1%     -    2%    1%     5%    1%     -
     Racist                          2%    2%     4%    2%    2%    2%    2%    1%    1%    4%    3%    3%    1%     -    3%    1%    5%    2%    2%    4%    2%     -     2%    1%    5%
     Guilty                          2%    2%     4%    1%    2%    3%    3%    1%    2%    2%    2%    2%     -    6%    4%    1%    5%    1%    2%    2%    3%    3%     2%    1%    3%
     Black man                       2%    1%     1%    2%    1%    1%    4%    3%     -     -    1%     *     -    2%    2%    4%     -     -    1%    1%    1%    1%     2%     -    3%
     Travelled to NYC                2%    1%      *    2%     *    1%     -    2%     -    4%     *     -    4%     -     *    1%     -    3%     *     -     -    2%     2%     -    3%
     Has a record                    1%    1%     2%    1%    1%    1%    2%    2%    2%     -    2%    1%     -     -    2%    1%     -    1%    1%    2%     -     -      -    2%    2%
     Murdered people                 1%     -      -    2%     -     -     -    1%     -    3%     -     -     -     -     -    1%     -    2%     -     -     -     -     1%     -     -
     Scared to go on the subway      1%     -      -    1%     -     -     -     -     -    3%     -     -     -     -     -     -     -    2%     -     -     -     -      -     -    4%
     Terrorist                       1%     *      *    1%    1%     -     -     -    1%    2%     -    1%     -     -     -     -    1%    1%    2%     -     -     -     1%     -    1%
     Wore uniform during shooting    1%     -     2%     -     -     -    2%     -     *     -     -     -     -     -    2%     -    1%     -     -     -     -     -      *    2%     *

     OTHER                           1%     *     1%    1%    1%     *    2%    2%     -     *     -     -    2%     -    2%    2%    1%     -     -     -    2%    1%    1%      -    1%
     DON'T KNOW/REFUSED             71%   81%    71%   72%   81%   81%   72%   74%   81%   62%   82%   83%   84%   75%   73%   73%   66%   71%   82%   82%   75%   80%   66%    82%   67%

     TOTAL MENTION                  29%   19%    29%   28%   19%   19%   28%   26%   19%   38%   18%   17%   16%   25%   27%   27%   34%   29%   18%   18%   25%   20%    34%   18%   33%
                                                                                                                                                                                            Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 190 of 239 PageID #: 404
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                               Q9. Media's impression of guilt.        Q10. People spoken with impression of guilt.         Q11. (Open-end) Know about James.

                                                        THINK GUILTY                           JURY VOTE                            FAIR TRIAL                         MEDIA COVERAGE
                                                ============================          ============================         ============================         ============================
                                                ******NY***** *****ILL*****           ******NY***** *****ILL*****          ******NY***** *****ILL*****          ******NY***** *****ILL*****
                                    NY   ILL    GLT NOT OTH GLT NOT OTH               GLT NOT OTH GLT NOT OTH              YES NO    OTH YES NO     OTH         GLT NOT OTH GLT NOT OTH
                                   ---- ----   ---- ---- ---- ---- ---- ----         ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----

   TOTAL                            400 400     226   12 162 153     2* 245           204   9* 187 137     5* 258          254   29 117 174 35* 191             186   9* 205 136     4* 260
                                   100% 100%   100% 100% 100% 100% 100% 100%         100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%

   Q9. MEDIA'S IMPRESSION OF
           DEFENDANTS' GUILT
   Likely guilty                   46%   34%   69%   11%   17%   65%      -    15%    73%    7%   19%   70%     -   16%   55%    55%   25%   45%   52%   21%   100%    -      - 100%    -       -
   Likely not guilty                2%    1%    3%    4%    1%    1%    49%      *     2%    6%    2%    1%   15%    1%    2%     9%    2%    1%    3%    1%      - 100%      -    - 100%       -
   (Depends)                       18%   13%   11%   76%   23%    6%    51%    17%     9%   74%   24%    4%   57%   17%   13%     8%   30%    9%   12%   17%      -    -    35%    -    -     20%
   (Don't know/Refused)            34%   52%   17%    9%   59%   27%      -    68%    16%   14%   54%   25%   28%   67%   30%    27%   43%   45%   33%   61%      -    -    65%    -    -     80%

   Q10. PEOPLE SPOKEN WITH
       IMPRESSION OF GUILT
   Guilty                          37%   18%   58%    6%    9%   38%    32%     4%   62%      -   11%   42%   15%    5%   45%    38%   17%   28%   32%    6%   68%    26%    8%   46%   46%    2%
   Not guilty                       2%    1%    2%   41%     -    1%    17%      *    2%    24%    2%    1%     -     *    1%    11%    2%    1%    3%     -     *    24%    3%     -   10%    1%
   (Mixed)                         10%    3%    6%   39%   14%    4%    28%     3%    6%    51%   13%    5%   31%    2%    5%     1%   25%    1%    4%    5%    5%    23%   14%    4%     -    3%
   (Haven't spoken with others)    41%   63%   30%   14%   58%   47%    22%    73%   27%    25%   57%   42%   26%   74%   42%    37%   40%   58%   55%   68%   24%    27%   57%   48%   44%   71%
   (Don't know/Refused)            10%   16%    4%     -   19%   10%      -    20%    4%      -   16%   10%   28%   19%    7%    13%   16%   12%    6%   21%    2%      -   17%    2%     -   23%

   Q11. KNOW ABOUT JAMES
   Mentally ill                    10%    7%   16%     -    2%   13%       -    3%    16%     -    3%   12%     -    5%    11%   19%    4%    8%    8%    6%    18%     -    2%   13%     -    4%
   Media coverage                   3%    2%    4%    6%     *    4%       -    1%     3%    8%    2%    4%     -    1%     4%     -     *    4%    2%    1%     4%     -    2%    4%     -    1%
   Shooter                          3%    1%    5%     -     -    1%       -    1%     5%     -     -    1%     -    1%     4%     -     -    1%    4%    1%     4%   12%    1%    1%     -    1%
   Racist                           2%    2%    3%     -    1%    4%       -    1%     3%     -    1%    3%     -    2%     3%    3%    2%    4%     -    1%     4%    8%     *    4%     -    1%
   Guilty                           2%    2%    4%     -     -    5%       -    1%     3%     -    1%    7%     -     -     2%    2%    2%    6%     -     -     3%     -    1%    6%     -     *
   Black man                        2%    1%    3%     -     -    2%       -     *     3%     -    1%    2%     -     *     3%     -     *    1%    1%    1%     1%     -    2%    2%     -     *
   Travelled to NYC                 2%    1%    1%     -    3%    2%       -     -     1%     -    3%    2%     -     -     2%    6%     -    1%     -    1%     4%     -     -    2%     -     -
   Has a record                     1%    1%    3%     -     -    1%       -     *     3%     -     -    1%     -     *     2%    2%     -    1%     -    1%     1%     -    2%    1%     -    1%
   Murdered people                  1%     -     *     -    2%     -       -     -     2%     -     -     -     -     -     1%    4%     -     -     -     -     3%     -     -     -     -     -
   Scared to go on the subway       1%     -    2%     -     -     -       -     -     2%     -     -     -     -     -      -     -    3%     -     -     -     2%     -     -     -     -     -
   Terrorist                        1%     *    1%     -     -    1%       -     -     1%     -     *    1%     -     *      *     -    1%    1%     -     -     1%     -     *    1%     -     -
   Wore uniform during shooting     1%     -    1%     -     -     -       -     -     1%     -     *     -     -     -     1%     -     -     -     -     -     1%     -     *     -     -     -

   OTHER                            1%     *    1%     -    1%    1%    -        -    1%      -     *    1%    -      -    1%     4%     -    1%     -     -     2%     -     *    1%    -      *
   DON'T KNOW/REFUSED              71%   81%   56%   94%   91%   65% 100%      91%   55%    92%   88%   65% 100%    89%   65%    60%   88%   72%   80%   90%    53%   80%   88%   62% 100%    91%

   TOTAL MENTION                   29%   19%   44%    6%    9%   35%       -    9%    45%    8%   12%   35%     -   11%    35%   40%   12%   28%   20%   10%    47%   20%   12%   38%     -    9%
                                                                                                                                                                                                    Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 191 of 239 PageID #: 405
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                               Q9. Media's impression of guilt.      Q10. People spoken with impression of guilt.          Q11. (Open-end) Know about James.

                                                           NY AFFECTED                         NY SUBWAY                                    NY CHANGES IN RESPONSE
                                                        ==================       =====================================          ==============================================
                                                        *******KNOW*******       ***********DURING********** TAKE N/R           *TRAVEL* *SUBWAY* **SAFE** ****FEEL SAFE****
                                           NY   ILL     ANY SELF OTH NONE        SUBWAY NOT SUB N/R NOT N/R REG NOT             WAS NOT WAS NOT WAS NOT LESS MORE/NO DIFF
                                          ---- ----    ---- ---- ---- ----      ------- ------- ---- ------- ---- ----         ---- ---- ---- ---- ---- ---- ---- ------------

          TOTAL                            400 400       97   67   73 303           47       353 36*      364 122 278           126 195 122 187 176 148 215                 158
                                          100% 100%    100% 100% 100% 100%        100%      100% 100%    100% 100% 100%        100% 100% 100% 100% 100% 100% 100%          100%

          Q9. MEDIA'S IMPRESSION OF
                  DEFENDANTS' GUILT
          Likely guilty                   46%    34%   63%    62%   73%   41%      61%       44%   52%    46%    64%     39%   58%    49%   66%   46%   58%   46%   53%     42%
          Likely not guilty                2%     1%    2%     3%    2%    2%       7%        2%    9%     2%     4%      2%    2%     2%    1%    1%    3%    1%    3%      1%
          (Depends)                       18%    13%   19%    18%   14%   17%      17%       18%   22%    17%    15%     19%   21%     8%   15%   14%   14%   17%   17%     19%
          (Don't know/Refused)            34%    52%   15%    17%   11%   39%      15%       36%   18%    35%    17%     41%   20%    41%   18%   38%   24%   36%   27%     39%

          Q10. PEOPLE SPOKEN WITH
              IMPRESSION OF GUILT
          Guilty                          37%    18%   55%    52%   64%   31%      58%       34%   58%    34%    59%     27%   48%    37%   55%   36%   45%   40%   43%      33%
          Not guilty                       2%     1%    1%     2%     -    3%       2%        2%    2%     2%     1%      3%    1%     1%    1%    2%    1%    4%    1%       4%
          (Mixed)                         10%     3%   11%     7%   10%   10%       6%       11%    3%    11%     7%     12%    7%     6%    9%    4%    8%    5%    7%      15%
          (Haven't spoken with others)    41%    63%   33%    38%   26%   44%      34%       42%   37%    41%    31%     45%   41%    43%   30%   48%   43%   42%   44%      36%
          (Don't know/Refused)            10%    16%     *      *     -   13%        -       11%     -    11%     3%     13%    3%    12%    5%   10%    4%    9%    5%      13%

          Q11. KNOW ABOUT JAMES
          Mentally ill                     10%    7%    20%   22%   22%    6%      11%       10%   12%     9%    16%      7%   16%    10%   18%    8%   13%   10%   12%      7%
          Media coverage                    3%    2%     1%    2%     -    3%       1%        3%     -     3%     4%      2%    2%     4%    5%    2%    3%    4%    4%      1%
          Shooter                           3%    1%     1%    2%    2%    3%        -        3%     -     3%     5%      1%    5%     2%    5%    2%    5%    1%    4%      1%
          Racist                            2%    2%     3%    1%    2%    2%       6%        2%    8%     2%     5%      1%    2%     3%    2%    2%    3%    1%    3%      2%
          Guilty                            2%    2%     3%    4%    3%    2%       3%        2%    3%     2%     4%      1%    4%     1%    4%    1%    4%    1%    4%       *
          Black man                         2%    1%     2%    1%    2%    2%       2%        2%     -     2%      -      3%    1%     3%    2%    1%    2%    1%    2%      1%
          Travelled to NYC                  2%    1%      *     -    1%    2%       5%        1%    1%     2%      *      2%     -     3%     *    2%    2%    2%    2%      2%
          Has a record                      1%    1%     3%    3%    1%    1%       1%        1%    2%     1%     2%      1%    2%     2%    1%    2%    2%    1%    3%       -
          Murdered people                   1%     -     1%    2%    1%    1%        -        1%     -     1%     4%       -    1%     2%    1%    2%    1%    3%    2%       -
          Scared to go on the subway        1%     -     4%    6%    5%     -       8%         -     -     1%     3%       -    3%      -    3%     -    2%     -    2%       -
          Terrorist                         1%     *     2%    2%    2%     *       3%         *     -     1%     1%       *    1%      *    1%     *    1%    1%    1%       *
          Wore uniform during shooting      1%     -      *    1%     -    1%        -        1%    3%      *      *      1%     *     1%     *    1%    1%    1%     *      1%

          OTHER                            1%      *    1%     2%    1%    1%       2%        1%     -     1%     1%      1%    3%      *    2%     *    2%     -    2%        -
          DON'T KNOW/REFUSED              71%    81%   58%    53%   58%   76%      58%       73%   71%    72%    53%     80%   59%    69%   54%   75%   59%   74%   60%      85%

          TOTAL MENTION                   29%    19%   42%    47%   42%   24%      42%       27%   29%     28%     47%   20%    41%   31%   46%   25%   41%   26%   40%      15%
                                                                                                                                                                                          Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 192 of 239 PageID #: 406
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                                                                Q12. (Series) Accuracy of descriptions (A-D).

                                                 NY REGION            ILL REGION                     AGE                            SEX                               RACE
                                          =======================   ==============      ==============================       ==================      ======================================
                                                        NASS                            ******NY****** ******ILL*****        ***NY*** ***ILL**       ********NY******** ********ILL*******
                              NY   ILL    BROOK QUEENS /STAT SUFF    COOK COLL REST     <50 50-64 65+ <50 50-64 65+          MEN WOM MEN WOM         WHT BLK HISP OTH WHT BLK HISP OTH
                             ---- ----   ------ ------ ----- ----   ----- ---- ----    ---- ----- ---- ---- ----- ----      ---- ---- ---- ----     ---- ---- ---- ---- ---- ---- ---- ----

TOTAL                         400 400      116     97    103   83    233 114    53      201     96 103 213        76 112     181 219 186 214         207   78   53   61 247    67   50 36*
                             100% 100%    100%   100%   100% 100%   100% 100% 100%     100%   100% 100% 100%    100% 100%   100% 100% 100% 100%     100% 100% 100% 100% 100% 100% 100% 100%

Q12A. BLACK NATIONALIST
Accurate                     11%   11%     15%     7%   13%    7%    12%    9%   10%   15%    10%    5%   12%   15%    6%   13%   10%   11%   11%   13%     6%    8%   15%   10%   14%   13%    4%
Inaccurate                   16%    8%     18%    20%   15%   13%     8%   10%    4%   15%    15%   20%   10%    5%    7%   14%   18%    7%    9%   17%    13%   27%   12%    5%   14%   21%    6%
(Not sure/Don't know)        67%   78%     62%    67%   69%   73%    78%   78%   82%   63%    72%   72%   74%   77%   87%   67%   68%   78%   78%   66%    76%   58%   69%   83%   69%   61%   87%
(Refused)                     5%    3%      5%     6%    3%    7%     2%    3%    3%    8%     4%    2%    4%    3%     -    6%    4%    3%    2%    5%     5%    7%    4%    2%    3%    5%    3%

Q12B. TERRORIST
Accurate                     26%   25%     31%    23%   27%   22%    29%   22%   17%   30%    19%   25%   30%   27%   15%   28%   25%   28%   22%   29%    16%   37%   21%   22%   30%   39%   19%
Inaccurate                   20%    7%     21%    15%   23%   22%     7%    9%    8%   16%    20%   29%    9%    8%    4%   18%   22%    6%    9%   21%    29%   15%   11%    6%   14%   10%    4%
(Not sure/Don't know)        49%   65%     43%    58%   47%   49%    63%   66%   73%   48%    57%   44%   58%   62%   80%   49%   50%   64%   67%   47%    50%   45%   61%   70%   54%   48%   74%
(Refused)                     4%    2%      5%     4%    3%    7%     2%    3%    2%    6%     4%    2%    3%    3%    1%    5%    4%    2%    2%    4%     5%    2%    7%    2%    2%    3%    3%

Q12C. RACIST
Accurate                     18%   13%     18%    22%   18%   14%    16%    8%   10%   20%    12%   20%   15%   15%    9%   21%   16%   13%   13%    19%    5%   27%   24%   12%   16%   20%   11%
Inaccurate                   17%    7%     19%    19%   14%   13%     5%    9%   11%   17%    15%   17%    9%    4%    6%   12%   20%    4%   10%    16%   20%   23%   10%    7%    8%    8%    5%
(Not sure/Don't know)        61%   77%     59%    55%   65%   66%    76%   79%   75%   58%    69%   61%   72%   78%   85%   62%   60%   81%   73%    62%   70%   48%   59%   79%   74%   67%   81%
(Refused)                     4%    3%      4%     4%    3%    7%     2%    3%    3%    5%     4%    2%    4%    3%     -    5%    4%    2%    3%     3%    5%    2%    7%    3%    2%    5%    3%

Q12D. MENTALLY ILL
Accurate                     45%   30%     54%    39%   39%   47%    30%   32%   22%   47%    41%   44%   32%   34%   22%   39%   50%   29%   30%    46%   51%   49%   32%   29%   37%   37%    7%
Inaccurate                    4%    4%      3%     7%    3%    3%     4%    2%    6%    3%     3%    7%    5%    4%     -    3%    5%    4%    3%     4%     *    9%    3%    1%    6%    7%   13%
(Not sure/Don't know)        46%   65%     35%    53%   55%   43%    63%   64%   70%   43%    53%   47%   59%   59%   78%   52%   42%   64%   65%    46%   39%   39%   62%   68%   55%   53%   77%
(Refused)                     5%    2%      8%     1%    3%    8%     2%    2%    2%    7%     4%    2%    3%    3%     -    6%    4%    2%    2%     4%   10%    4%    4%    2%    2%    3%    3%
                                                                                                                                                                                                     Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 193 of 239 PageID #: 407
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                                                              Q12. (Series) Accuracy of descriptions (A-D).

                                                 EDUCATION                         SEX & RACE                                   RACE & EDUCATION                       PARTY REG
                                            ===================      ======================================          ======================================          =============
                                            ****NY*** ***ILL***      ********NY******** ********ILL*******           ********NY******** ********ILL*******           ******NY*****
                                NY   ILL    COLL LESS COLL LESS      W M W W O M O W W M W W O M O W                 W C W L O C O L W C W L O C O L                 DEM REP OTH
                               ---- ----   ----- ---- ---- ----     ---- ---- ---- ---- ---- ---- ---- ----         ---- ---- ---- ---- ---- ---- ---- ----         ---- ---- ----

     TOTAL                      400 400     121 279 142 258           98 109    84 109 117 130      69   84           87 120 34* 159 112 135 30* 123                 159   76 106
                               100% 100%   100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%         100% 100% 100% 100% 100% 100% 100% 100%         100% 100% 100%

     Q12A. BLACK NATIONALIST
     Accurate                  11%   11%    11%   11%   10%   11%   15%   11%   11%    8%   10%   11%   13%   10%   10%   15%   15%    8%    9%   12%   12%   11%   13%    12%   13%
     Inaccurate                16%    8%    18%   16%    8%    8%   16%   17%   12%   20%    3%    6%   14%   14%   19%   15%   15%   17%    6%    4%   18%   13%   22%    17%   16%
     (Not sure/Don't know)     67%   78%    66%   68%   80%   77%   66%   66%   67%   70%   83%   82%   70%   71%   66%   65%   67%   69%   84%   82%   66%   72%   61%    65%   65%
     (Refused)                  5%    3%     5%    6%    2%    3%    3%    7%   10%    2%    3%    1%    3%    4%    5%    5%    3%    6%    1%    3%    4%    4%    5%     6%    5%

     Q12B. TERRORIST
     Accurate                  26%   25%    33%   23%   25%   25%   30%   27%   26%   22%   24%   20%   36%   25%   31%   27%   35%   21%   23%   21%   33%   29%   28%    24%   34%
     Inaccurate                20%    7%    22%   19%    9%    7%   17%   24%   19%   20%    7%    5%    4%   15%   25%   18%   15%   21%    8%    4%   12%   10%   24%    20%   24%
     (Not sure/Don't know)     49%   65%    41%   53%   64%   66%   51%   43%   46%   56%   67%   73%   59%   56%   39%   52%   47%   53%   68%   72%   53%   58%   44%    49%   38%
     (Refused)                  4%    2%     4%    5%    1%    3%    2%    6%    9%    2%    3%    2%    1%    4%    4%    4%    4%    5%    1%    3%    2%    3%    4%     6%    4%

     Q12C. RACIST
     Accurate                  18%   13%    16%   19%   11%   14%   21%   18%   20%   15%   12%   12%   16%   16%   14%   22%   19%   17%   12%   12%   11%   17%    16%   28%   25%
     Inaccurate                17%    7%    20%   15%    7%    7%   15%   16%    9%   24%    5%    9%    1%   13%   20%   12%   20%   17%    6%    7%   12%    7%    20%   11%   21%
     (Not sure/Don't know)     61%   77%    61%   61%   80%   75%   64%   60%   61%   60%   81%   77%   80%   67%   63%   61%   57%   61%   81%   78%   74%   73%    61%   55%   50%
     (Refused)                  4%    3%     3%    5%    2%    3%    1%    6%   10%    1%    3%    2%    2%    4%    2%    4%    4%    5%    1%    4%    4%    3%     3%    6%    4%

     Q12D. MENTALLY ILL
     Accurate                  45%   30%    47%   44%   31%   29%   45%   47%   33%   53%   32%   27%   25%   34%   44%   47%   54%   42%   33%   26%   25%   31%    52%   34%   54%
     Inaccurate                 4%    4%     5%    4%    4%    4%    3%    5%    2%    5%    1%    1%   10%    6%    4%    5%    6%    3%    2%     -    9%    8%     2%    9%    4%
     (Not sure/Don't know)     46%   65%    45%   47%   64%   65%   51%   42%   53%   41%   65%   70%   63%   56%   48%   44%   36%   48%   64%   71%   65%   58%    42%   51%   40%
     (Refused)                  5%    2%     3%    6%    1%    3%    1%    6%   12%    2%    3%    1%    1%    4%    3%    4%    4%    7%    1%    2%    2%    3%     4%    6%    2%
                                                                                                                                                                                       Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 194 of 239 PageID #: 408
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Banner3 Table5

                                                                 Q12. (Series) Accuracy of descriptions (A-D).

                                                  THINK GUILTY                          JURY VOTE                           FAIR TRIAL                        MEDIA COVERAGE
                                          ============================         ============================        ============================        ============================
                                          ******NY***** *****ILL*****          ******NY***** *****ILL*****         ******NY***** *****ILL*****         ******NY***** *****ILL*****
                              NY   ILL    GLT NOT OTH GLT NOT OTH              GLT NOT OTH GLT NOT OTH             YES NO    OTH YES NO     OTH        GLT NOT OTH GLT NOT OTH
                             ---- ----   ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----       ---- ---- ---- ---- ---- ----       ---- ---- ---- ---- ---- ----

   TOTAL                      400 400     226   12 162 153     2* 245          204   9* 187 137     5* 258         254   29 117 174 35* 191            186   9* 205 136     4* 260
                             100% 100%   100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%       100% 100% 100% 100% 100% 100%       100% 100% 100% 100% 100% 100%

   Q12A. BLACK NATIONALIST
   Accurate                  11%   11%   17%    1%    3%   22%    22%    4%   16%    2%    6%   22%   10%    5%   13%   26%    4%   17%   11%    5%    17%   37%    5%   24%   28%    4%
   Inaccurate                16%    8%   22%   22%    9%   17%    49%    2%   22%   29%   10%   17%   15%    4%   20%   28%    7%    9%   19%    6%    24%   29%    9%   22%   28%    1%
   (Not sure/Don't know)     67%   78%   59%   57%   79%   59%    28%   90%   60%   69%   75%   60%   59%   88%   64%   38%   81%   74%   67%   84%    59%   30%   77%   54%   44%   92%
   (Refused)                  5%    3%    1%   21%    9%    2%      -    4%    1%     -   10%    1%   15%    3%    3%    8%    9%    1%    4%    4%     1%    3%    9%    1%     -    4%

   Q12B. TERRORIST
   Accurate                  26%   25%   39%    6%    9%   51%    60%    9%   43%    9%    9%   56%   28%    9%   30%   30%   16%   35%   51%   11%   41%    11%   13%   49%   18%   13%
   Inaccurate                20%    7%   28%   22%    9%   12%    17%    4%   30%   15%   10%   15%     -    3%   24%   23%   12%    9%   10%    5%   28%    31%   13%   16%   10%    3%
   (Not sure/Don't know)     49%   65%   31%   53%   74%   35%    22%   84%   26%   52%   74%   29%   72%   84%   43%   31%   67%   55%   39%   79%   31%    54%   66%   35%   72%   81%
   (Refused)                  4%    2%    1%   18%    8%    1%      -    3%    1%   24%    7%     -     -    4%    3%   15%    4%     *     -    4%     *     3%    8%     -     -    3%

   Q12C. RACIST
   Accurate                  18%   13%   27%     -    7%   24%      -    6%   29%     -    7%   24%     -    8%   19%   31%   13%   18%   23%    7%    28%   26%    9%   28%     -    6%
   Inaccurate                17%    7%   20%   68%    7%   12%    17%    4%   22%   57%    9%   16%   18%    2%   17%   31%   12%    6%   21%    6%    25%   37%    8%   16%   10%    3%
   (Not sure/Don't know)     61%   77%   51%   14%   79%   63%    83%   86%   48%   15%   77%   60%   82%   86%   61%   23%   71%   75%   53%   82%    47%   37%   75%   56%   90%   87%
   (Refused)                  4%    3%    1%   18%    7%    1%      -    4%    1%   28%    6%     *     -    4%    3%   15%    4%    1%    2%    5%      -     -    8%     -     -    4%

   Q12D. MENTALLY ILL
   Accurate                  45%   30%   64%   12%   21%   51%    17%   16%   66%   15%   24%   57%   15%   15%   51%   55%   30%   39%   39%   20%   69%    23%   24%   56%   38%   16%
   Inaccurate                 4%    4%    5%    4%    2%    6%    83%    2%    6%    6%    2%    6%   56%    1%    5%     -    2%    3%   23%    1%    5%    24%    2%    5%   18%    3%
   (Not sure/Don't know)     46%   65%   29%   77%   67%   43%      -   78%   28%   72%   65%   37%   28%   80%   41%   34%   60%   58%   36%   75%   25%    49%   65%   39%   44%   78%
   (Refused)                  5%    2%    1%    6%   10%     -      -    4%    1%    8%    9%     -     -    3%    3%   10%    8%     *    2%    4%    1%     3%    9%     -     -    3%
                                                                                                                                                                                           Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 195 of 239 PageID #: 409
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Banner4 Table5

                                                             Q12. (Series) Accuracy of descriptions (A-D).

                                                    NY AFFECTED                        NY SUBWAY                                 NY CHANGES IN RESPONSE
                                                 ==================      =====================================       ==============================================
                                                 *******KNOW*******      ***********DURING********** TAKE N/R        *TRAVEL* *SUBWAY* **SAFE** ****FEEL SAFE****
                                     NY   ILL    ANY SELF OTH NONE       SUBWAY NOT SUB N/R NOT N/R REG NOT          WAS NOT WAS NOT WAS NOT LESS MORE/NO DIFF
                                    ---- ----   ---- ---- ---- ----     ------- ------- ---- ------- ---- ----      ---- ---- ---- ---- ---- ---- ---- ------------

          TOTAL                      400 400      97   67   73 303          47       353 36*      364 122 278        126 195 122 187 176 148 215                158
                                    100% 100%   100% 100% 100% 100%       100%      100% 100%    100% 100% 100%     100% 100% 100% 100% 100% 100% 100%         100%

          Q12A. BLACK NATIONALIST
          Accurate                  11%   11%   21%   19%   24%    8%      25%        9%   31%     9%   16%    9%   18%   11%   18%    7%   17%    8%   14%       7%
          Inaccurate                16%    8%   18%   19%   22%   16%      21%       16%   16%    16%   19%   15%   14%   23%   19%   18%   18%   22%   17%      18%
          (Not sure/Don't know)     67%   78%   57%   58%   52%   70%      52%       69%   51%    69%   62%   70%   67%   63%   62%   69%   64%   67%   66%      68%
          (Refused)                  5%    3%    3%    3%    2%    6%       3%        6%    1%     6%    2%    6%    1%    3%     *    5%    1%    3%    3%       8%

          Q12B. TERRORIST
          Accurate                  26%   25%   47%   44%   55%   19%      52%       23%   60%    23%   36%   22%   38%   21%   39%   22%   33%   25%   31%      23%
          Inaccurate                20%    7%   30%   30%   31%   17%      17%       21%   12%    21%   28%   17%   26%   24%   32%   20%   27%   20%   23%      18%
          (Not sure/Don't know)     49%   65%   21%   25%   12%   58%      29%       52%   27%    51%   34%   56%   35%   53%   29%   53%   39%   53%   44%      53%
          (Refused)                  4%    2%    2%    1%    2%    5%       3%        5%    1%     5%    2%    5%    1%    3%     *    5%    1%    3%    2%       6%

          Q12C. RACIST
          Accurate                  18%   13%   35%   28%   41%   13%      41%       15%   51%    15%   26%   15%   29%   15%   29%   13%   25%   16%   24%      12%
          Inaccurate                17%    7%   24%   30%   26%   14%      27%       15%   14%    17%   20%   15%   18%   19%   21%   16%   20%   17%   18%      17%
          (Not sure/Don't know)     61%   77%   40%   42%   32%   68%      31%       65%   36%    64%   52%   65%   52%   63%   50%   66%   54%   65%   56%      66%
          (Refused)                  4%    3%    1%     -    1%    5%       1%        5%     -     5%    2%    5%    1%    3%     *    5%    1%    2%    2%       6%

          Q12D. MENTALLY ILL
          Accurate                  45%   30%   67%   62%   73%   38%      64%       42%   60%    43%   66%   36%   58%   50%   67%   43%   64%   38%   55%      36%
          Inaccurate                 4%    4%    5%    6%    6%    4%       1%        4%    4%     4%    2%    5%    6%    3%    6%    3%    2%    7%    5%       3%
          (Not sure/Don't know)     46%   65%   27%   32%   20%   52%      33%       48%   36%    47%   30%   53%   35%   43%   27%   49%   33%   53%   38%      56%
          (Refused)                  5%    2%    1%     *    1%    6%       2%        5%     -     5%    2%    6%    1%    4%     *    5%    1%    2%    2%       5%
                                                                                                                                                                              Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 196 of 239 PageID #: 410
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Q13. Affected by shooting.     Q14. Know anyone affected by shooting.     Q15. On subway at time of shooting.         Q16. On N/R line at time of shooting.         Q17. Regularly take N/R line.

                                                    NY REGION             ILL REGION                      AGE                              SEX                                RACE
                                             =======================    ==============       ==============================         ==================       ======================================
                                                           NASS                              ******NY****** ******ILL*****          ***NY*** ***ILL**        ********NY******** ********ILL*******
                                 NY   ILL    BROOK QUEENS /STAT SUFF     COOK COLL REST      <50 50-64 65+ <50 50-64 65+            MEN WOM MEN WOM          WHT BLK HISP OTH WHT BLK HISP OTH
                                ---- ----   ------ ------ ----- ----    ----- ---- ----     ---- ----- ---- ---- ----- ----        ---- ---- ---- ----      ---- ---- ---- ---- ---- ---- ---- ----

TOTAL                            400 400      116     97    103   83     233 114    53       201     96 103 213         76 112      181 219 186 214          207   78   53   61 247    67   50 36*
                                100% 100%    100%   100%   100% 100%    100% 100% 100%      100%   100% 100% 100%     100% 100%    100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%

Q13. AFFECTED BY SHOOTING
Affected                        17%    7%     22%    26%   11%     6%     9%     3%    1%   16%    14%    20%   10%     5%    2%   18%    16%   11%    2%    13%   18%   28%   19%    2%   26%    8%    2%
Not affected                    76%   87%     72%    59%   86%    89%    84%    96%   84%   74%    80%    77%   85%    92%   89%   74%    77%   83%   91%    82%   75%   61%   71%   92%   65%   86%   97%
(Refused)                        7%    6%      6%    15%    4%     5%     7%     1%   14%   10%     6%     3%    6%     4%    9%    8%     7%    5%    7%     5%    8%   11%   11%    6%    9%    6%    1%

Q14. KNOW ANYONE AFFECTED BY
                    SHOOTING
Yes                             18%    4%     27%    25%   11%     7%     3%     4%    4%   22%    11%    19%    5%     4%    1%   18%    19%    3%    4%   14%    27%   31%    9%    3%   10%     -     -
No                              73%   88%     60%    57%   88%    89%    88%    91%   84%   66%    82%    78%   86%    91%   91%   71%    74%   90%   87%   80%    62%   63%   71%   91%   78%   93%   86%
(Refused)                        9%    8%     13%    18%    1%     3%     9%     4%   13%   13%     7%     4%    9%     6%    7%   11%     7%    7%    9%    6%    11%    5%   20%    6%   12%    7%   14%

Q15. ON SUBWAY AT TIME OF
                 SHOOTING
Yes: Self                        3%     -      3%     1%     6%    1%       -     -     -     3%     3%    2%     -      -     -     3%    2%     -     -     3%     -     -    9%     -     -     -     -
Yes: Others                      6%     -      9%     6%     3%    7%       -     -     -     8%     5%    4%     -      -     -     7%    5%     -     -     6%    5%   10%    4%     -     -     -     -
Yes: Self and others             3%     -      4%     5%     1%     *       -     -     -     3%      *    4%     -      -     -     1%    4%     -     -     1%    7%    6%    1%     -     -     -     -
No                              82%     -     75%    83%    87%   86%       -     -     -    79%    88%   85%     -      -     -    82%   82%     -     -    86%   82%   80%   72%     -     -     -     -
(Refused)                        6%     -     10%     5%     2%    5%       -     -     -     6%     4%    6%     -      -     -     6%    6%     -     -     4%    6%    4%   14%     -     -     -     -

TOTAL YES                       12%     -     15%    12%    10%    8%       -     -     -    15%     9%    9%     -      -     -    12%   12%     -     -    10%   12%   16%   15%     -     -     -     -

Q16. ON N/R LINE AT TIME OF
                   SHOOTING
Yes: Self                        2%     -      1%     2%     4%     -       -     -     -     2%     1%    2%     -      -     -     2%    2%     -     -     2%     -     -    6%     -     -     -     -
Yes: Others                      6%     -      9%     6%     1%    6%       -     -     -     8%     3%    3%     -      -     -     7%    4%     -     -     6%    4%    8%    3%     -     -     -     -
Yes: Self and others             1%     -       *     4%     1%     -       -     -     -     3%      -     -     -      -     -     1%    2%     -     -     1%     -    6%    1%     -     -     -     -
No                              87%     -     83%    84%    94%   88%       -     -     -    81%    93%   92%     -      -     -    84%   89%     -     -    88%   91%   84%   81%     -     -     -     -
(Refused)                        4%     -      6%     4%      -    6%       -     -     -     5%     2%    3%     -      -     -     5%    3%     -     -     3%    5%    1%    9%     -     -     -     -

TOTAL YES                        9%     -     11%    12%     6%    6%       -     -     -    13%     4%    5%     -      -     -    10%    8%     -     -    10%    4%   14%   10%     -     -     -     -

Q17. REGULARLY TAKE N/R LINE
Yes: Self                        7%     -      8%    12%     4%    2%       -     -     -     5%     9%    8%     -      -     -     8%    5%     -     -     6%    6%    4%   11%     -     -     -     -
Yes: Others                     15%     -     18%    13%    17%   10%       -     -     -    20%    15%    7%     -      -     -    15%   15%     -     -    14%   17%   14%   15%     -     -     -     -
Yes: Self and others             9%     -     18%     8%     6%     -       -     -     -     8%     9%    9%     -      -     -     7%   10%     -     -     7%   15%   11%    6%     -     -     -     -
No                              65%     -     50%    60%    71%   83%       -     -     -    60%    64%   74%     -      -     -    64%   65%     -     -    69%   54%   67%   62%     -     -     -     -
(Refused)                        5%     -      6%     7%     2%    5%       -     -     -     7%     2%    3%     -      -     -     7%    3%     -     -     4%    8%    4%    6%     -     -     -     -

TOTAL YES                       30%     -     44%    33%    27%   12%       -     -     -    32%    33%   24%     -      -     -    29%   31%     -     -    27%   39%   29%   32%     -     -     -     -
                                                                                                                                                                                                             Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 197 of 239 PageID #: 411
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 Banner2 Table6

Q13. Affected by shooting.   Q14. Know anyone affected by shooting.        Q15. On subway at time of shooting.        Q16. On N/R line at time of shooting.            Q17. Regularly take N/R line.

                                                        EDUCATION                         SEX & RACE                                    RACE & EDUCATION                         PARTY REG
                                                   ===================      ======================================           ======================================            =============
                                                   ****NY*** ***ILL***      ********NY******** ********ILL*******            ********NY******** ********ILL*******             ******NY*****
                                      NY   ILL     COLL LESS COLL LESS      W M W W O M O W W M W W O M O W                  W C W L O C O L W C W L O C O L                   DEM REP OTH
                                     ---- ----    ----- ---- ---- ----     ---- ---- ---- ---- ---- ---- ---- ----          ---- ---- ---- ---- ---- ---- ---- ----           ---- ---- ----

      TOTAL                           400 400      121 279 142 258           98 109    84 109 117 130      69   84            87 120 34* 159 112 135 30* 123                   159   76 106
                                     100% 100%    100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100% 100% 100%           100% 100% 100%

      Q13. AFFECTED BY SHOOTING
      Affected                       17%     7%    16%   17%    1%   10%    16%   11%   20%   21%    3%    1%   26%    5%   13%    13%   24%   20%    1%    3%    1%   18%     22%   10%   14%
      Not affected                   76%    87%    82%   73%   93%   84%    81%   82%   66%   73%   91%   92%   70%   88%   85%    79%   74%   69%   94%   90%   92%   77%     75%   84%   77%
      (Refused)                       7%     6%     2%   10%    6%    7%     3%    7%   14%    6%    6%    7%    4%    7%    2%     8%    3%   11%    6%    7%    6%    6%      3%    7%    9%

      Q14. KNOW ANYONE AFFECTED BY
                          SHOOTING
      Yes                            18%     4%    11%   22%    1%    5%    14%   14%   21%   24%    1%    5%    6%    3%   12%    16%    8%   26%    2%    4%     -    6%     23%   15%   18%
      No                             73%    88%    85%   67%   93%   86%    80%   79%   61%   69%   93%   89%   86%   83%   85%    75%   84%   61%   94%   88%   90%   83%     74%   83%   74%
      (Refused)                       9%     8%     4%   11%    6%    9%     6%    6%   18%    7%    6%    7%    8%   14%    2%     9%    9%   13%    4%    8%   10%   11%      3%    2%    8%

      Q15. ON SUBWAY AT TIME OF
                       SHOOTING
      Yes: Self                       3%      -     4%    3%     -     -     3%    3%    4%    2%     -     -     -     -     4%    2%    3%    3%     -     -     -      -     3%    4%    3%
      Yes: Others                     6%      -     9%    5%     -     -     8%    4%    6%    6%     -     -     -     -     8%    5%   11%    5%     -     -     -      -    10%    5%    3%
      Yes: Self and others            3%      -     1%    3%     -     -     2%     *    1%    8%     -     -     -     -     1%    1%    2%    5%     -     -     -      -     1%     *    8%
      No                             82%      -    84%   82%     -     -    84%   89%   81%   76%     -     -     -     -    85%   87%   81%   78%     -     -     -      -    84%   89%   83%
      (Refused)                       6%      -     2%    7%     -     -     4%    4%    8%    8%     -     -     -     -     2%    5%    3%    9%     -     -     -      -     1%    2%    2%

      TOTAL YES                      12%      -    14%   11%     -     -    13%    8%   11%   16%     -     -     -     -    13%    8%   16%   13%     -     -     -      -    15%    9%   15%

      Q16. ON N/R LINE AT TIME OF
                         SHOOTING
      Yes: Self                       2%      -     3%    2%     -     -     1%    3%    4%     *     -     -     -     -     4%    1%    1%    2%     -     -     -      -     2%    3%    2%
      Yes: Others                     6%      -     8%    5%     -     -     7%    6%    8%    2%     -     -     -     -     8%    5%    7%    4%     -     -     -      -     8%    5%    5%
      Yes: Self and others            1%      -     1%    2%     -     -     1%    1%     *    3%     -     -     -     -      -    2%    2%    2%     -     -     -      -     1%     -    4%
      No                             87%      -    87%   87%     -     -    89%   87%   79%   91%     -     -     -     -    87%   88%   85%   86%     -     -     -      -    89%   91%   87%
      (Refused)                       4%      -     2%    5%     -     -     3%    3%    8%    3%     -     -     -     -     1%    4%    4%    6%     -     -     -      -      *    1%    1%

      TOTAL YES                       9%      -    12%    8%     -     -     9%   10%   12%    6%     -     -     -     -    12%    8%   11%    8%     -     -     -      -    11%    8%   11%

      Q17. REGULARLY TAKE N/R LINE
      Yes: Self                       7%      -     8%    6%     -     -     7%    5%    9%    6%     -     -     -     -     8%    4%    9%    7%     -     -     -      -     8%    3%    5%
      Yes: Others                    15%      -    13%   16%     -     -    15%   14%   15%   17%     -     -     -     -    10%   17%   18%   15%     -     -     -      -    20%   18%    8%
      Yes: Self and others            9%      -     9%    9%     -     -     6%    7%    7%   14%     -     -     -     -     8%    6%   12%   11%     -     -     -      -    11%    1%   15%
      No                             65%      -    70%   63%     -     -    67%   71%   60%   59%     -     -     -     -    74%   66%   59%   60%     -     -     -      -    60%   78%   70%
      (Refused)                       5%      -      *    7%     -     -     5%    3%    9%    4%     -     -     -     -      -    6%    2%    7%     -     -     -      -     1%     -    2%

      TOTAL YES                       30%     -    30%   31%     -     -    28%   26%   31%   36%     -     -     -     -    26%   27%   39%   33%     -     -     -      -    39%   22%   28%
                                                                                                                                                                                                       Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 198 of 239 PageID #: 412
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Q13. Affected by shooting.   Q14. Know anyone affected by shooting.           Q15. On subway at time of shooting.           Q16. On N/R line at time of shooting.         Q17. Regularly take N/R line.

                                                        THINK GUILTY                            JURY VOTE                              FAIR TRIAL                         MEDIA COVERAGE
                                                ============================           ============================           ============================         ============================
                                                ******NY***** *****ILL*****            ******NY***** *****ILL*****            ******NY***** *****ILL*****          ******NY***** *****ILL*****
                                    NY   ILL    GLT NOT OTH GLT NOT OTH                GLT NOT OTH GLT NOT OTH                YES NO    OTH YES NO     OTH         GLT NOT OTH GLT NOT OTH
                                   ---- ----   ---- ---- ---- ---- ---- ----          ---- ---- ---- ---- ---- ----          ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----

    TOTAL                           400 400     226   12 162 153     2* 245            204   9* 187 137     5* 258            254   29 117 174 35* 191             186   9* 205 136     4* 260
                                   100% 100%   100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%

    Q13. AFFECTED BY SHOOTING
    Affected                       17%    7%   22%    18%   10%   10%   28%      5%   24%      -     9%    6%   13%    7%    17%    33%   12%    4%   13%    8%    22%   22%   11%   14%     -    3%
    Not affected                   76%   87%   75%    54%   79%   90%   40%     86%   73%    46%    81%   93%   28%   85%    79%    67%   72%   94%   79%   82%    73%   69%   78%   85%   82%   89%
    (Refused)                       7%    6%    3%    28%   11%    1%   32%      9%    3%    54%    10%    2%   59%    8%     4%      -   17%    2%    8%   10%     4%    9%   10%    2%   18%    8%

    Q14. KNOW ANYONE AFFECTED BY
                        SHOOTING
    Yes                            18%    4%   26%     6%    9%    3%     -      4%   29%      -     7%    4%     -    4%    18%    33%   15%    4%    2%    3%    29%   12%    9%    9%     -    1%
    No                             73%   88%   69%    62%   78%   95%   68%     84%   64%    96%    81%   93%   39%   87%    75%    67%   70%   93%   87%   84%    66%   76%   79%   89%   82%   88%
    (Refused)                       9%    8%    5%    32%   13%    2%   32%     12%    7%     4%    11%    3%   61%   10%     7%      -   15%    2%   12%   13%     6%   12%   12%    2%   18%   11%

    Q15. ON SUBWAY AT TIME OF
                     SHOOTING
    Yes: Self                       3%     -     3%     -    3%     -     -       -     3%    -      3%     -     -     -      2%   19%    1%     -     -     -     3%   34%    1%     -     -     -
    Yes: Others                     6%     -     9%     -    2%     -     -       -    10%    -      2%     -     -     -      7%    8%    3%     -     -     -    10%    3%    3%     -     -     -
    Yes: Self and others            3%     -     4%     -    2%     -     -       -     4%    -      2%     -     -     -       *    2%    8%     -     -     -     2%     -    3%     -     -     -
    No                             82%     -    82%   91%   82%     -     -       -    81% 100%     83%     -     -     -     85%   70%   80%     -     -     -    81%   54%   85%     -     -     -
    (Refused)                       6%     -     2%    9%   11%     -     -       -     2%    -     10%     -     -     -      5%     -    8%     -     -     -     3%    8%    8%     -     -     -

    TOTAL YES                      12%     -    16%     -    7%     -     -       -    17%      -    7%     -     -     -     10%   30%   12%     -     -     -    15%   38%    7%     -     -     -

    Q16. ON N/R LINE AT TIME OF
                       SHOOTING
    Yes: Self                       2%     -     2%     -    2%     -     -       -     2%      -    2%     -     -     -      2%   10%     *     -     -     -     2%   34%     *     -     -     -
    Yes: Others                     6%     -     8%     -    2%     -     -       -     8%      -    3%     -     -     -      7%   15%    1%     -     -     -     8%     -    4%     -     -     -
    Yes: Self and others            1%     -     2%     -    1%     -     -       -     2%      -    1%     -     -     -       *    1%    4%     -     -     -      *     -    3%     -     -     -
    No                             87%     -    87%   99%   86%     -     -       -    87%    94%   87%     -     -     -     88%   73%   88%     -     -     -    87%   62%   88%     -     -     -
    (Refused)                       4%     -     1%    1%    8%     -     -       -     1%     6%    7%     -     -     -      3%    1%    7%     -     -     -     2%    3%    5%     -     -     -

    TOTAL YES                       9%     -    12%     -    6%     -     -       -    12%      -    6%     -     -     -      9%   26%    5%     -     -     -    10%   34%    7%     -     -     -

    Q17. REGULARLY TAKE N/R LINE
    Yes: Self                       7%     -     8%    6%    4%     -     -       -     9%      -    4%     -     -     -      9%     -    3%     -     -     -     9%    9%    4%     -     -     -
    Yes: Others                    15%     -    20%     -   10%     -     -       -    21%      -   10%     -     -     -     17%   35%    7%     -     -     -    21%   37%    9%     -     -     -
    Yes: Self and others            9%     -    11%     -    6%     -     -       -    12%      -    5%     -     -     -      8%    8%   12%     -     -     -    11%    3%    7%     -     -     -
    No                             65%     -    59%   81%   72%     -     -       -    55%    98%   74%     -     -     -     64%   57%   69%     -     -     -    56%   51%   74%     -     -     -
    (Refused)                       5%     -     2%   13%    8%     -     -       -     2%     2%    8%     -     -     -      3%    1%    9%     -     -     -     2%     -    7%     -     -     -

    TOTAL YES                      30%     -    39%    6%   20%     -     -       -    43%      -   18%     -     -     -     33%   43%   21%     -     -     -    42%   49%   19%     -     -     -
                                                                                                                                                                                                          Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 199 of 239 PageID #: 413
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 Banner4 Table6

Q13. Affected by shooting.   Q14. Know anyone affected by shooting.      Q15. On subway at time of shooting.        Q16. On N/R line at time of shooting.           Q17. Regularly take N/R line.

                                                          NY AFFECTED                         NY SUBWAY                                    NY CHANGES IN RESPONSE
                                                       ==================       =====================================          ==============================================
                                                       *******KNOW*******       ***********DURING********** TAKE N/R           *TRAVEL* *SUBWAY* **SAFE** ****FEEL SAFE****
                                           NY   ILL    ANY SELF OTH NONE        SUBWAY NOT SUB N/R NOT N/R REG NOT             WAS NOT WAS NOT WAS NOT LESS MORE/NO DIFF
                                          ---- ----   ---- ---- ---- ----      ------- ------- ---- ------- ---- ----         ---- ---- ---- ---- ---- ---- ---- ------------

           TOTAL                           400 400      97   67   73 303           47       353 36*       364 122 278          126 195 122 187 176 148 215                      158
                                          100% 100%   100% 100% 100% 100%        100%      100% 100%     100% 100% 100%       100% 100% 100% 100% 100% 100% 100%               100%

           Q13. AFFECTED BY SHOOTING
           Affected                       17%    7%   69% 100%     60%     -       33%       15%   30%    15%     34%    9%   38%     8%   35%    8%   27%   13%   26%          7%
           Not affected                   76%   87%   28%    -     36%   91%       65%       77%   68%    77%     64%   81%   61%    89%   63%   89%   72%   85%   73%         82%
           (Refused)                       7%    6%    3%    -      4%    9%        2%        8%    2%     8%      2%   10%    1%     3%    2%    3%    2%    2%    1%         11%

           Q14. KNOW ANYONE AFFECTED BY
                               SHOOTING
           Yes                            18%    4%   76%    65% 100%      -       56%       13%   56%    15%     37%   10%   35%    13%   40%    9%   28%   15%   27%          8%
           No                             73%   88%   18%    26%    -    90%       40%       77%   38%    76%     56%   80%   62%    84%   58%   86%   71%   79%   68%         83%
           (Refused)                       9%    8%    6%     9%    -    10%        4%       10%    6%     9%      7%   10%    3%     3%    2%    5%    1%    7%    5%          9%

           Q15. ON SUBWAY AT TIME OF
                            SHOOTING
           Yes: Self                       3%     -     5%    8%    5%    2%      25%          -   19%     1%      6%    2%    5%     3%    4%    2%    5%    2%    3%          3%
           Yes: Others                     6%     -    17%    7%   21%    3%      52%          -   43%     3%     16%    2%    5%     8%    9%    6%    8%    6%    6%          6%
           Yes: Self and others            3%     -     9%    9%   10%    1%      23%          -   16%     1%      8%    1%    8%     1%    5%    3%    5%    1%    4%          1%
           No                             82%     -    68%   75%   63%   87%        -        94%   22%    88%     67%   89%   82%    84%   81%   86%   81%   88%   83%         87%
           (Refused)                       6%     -     1%    1%    1%    7%        -         6%     -     6%      3%    7%     -     4%     *    4%    1%    4%    3%          3%

           TOTAL YES                      12%     -    31%   24%   36%    6%      100%         -   78%     5%     30%    4%   18%    12%   19%   10%   18%    8%   14%         10%

           Q16. ON N/R LINE AT TIME OF
                              SHOOTING
           Yes: Self                       2%     -     4%    5%    2%    2%      14%         *    23%      -      6%     *     4%    1%    2%    1%    4%     -    2%           2%
           Yes: Others                     6%     -    17%    8%   20%    2%      36%        1%    62%      -     16%    1%     7%    6%    9%    5%    6%    6%    6%           5%
           Yes: Self and others            1%     -     5%    3%    5%     *      10%         *    16%      -      4%     *     4%     -    1%    2%    3%     -    2%           1%
           No                             87%     -    74%   83%   72%   91%      40%       93%      -    96%     72%   94%    85%   92%   87%   92%   87%   93%   88%          92%
           (Refused)                       4%     -     1%    1%     -    5%       1%        4%      -     4%      2%    5%      -    1%     *    1%     *    1%    1%           1%

           TOTAL YES                       9%     -    25%   16%   28%    4%      60%        2% 100%        -     26%    2%    15%    7%   13%    7%   13%    6%   10%           8%

           Q17. REGULARLY TAKE N/R LINE
           Yes: Self                       7%     -    16%   24%   12%    3%       9%        6%    14%    6%    22%       -    12%    4%   11%    5%    9%    5%    6%           8%
           Yes: Others                    15%     -    19%   16%   24%   14%      37%       12%    45%   12%    50%       -    20%   17%   25%   12%   21%   13%   20%          10%
           Yes: Self and others            9%     -    23%   23%   26%    4%      31%        6%    29%    7%    29%       -    21%    4%   22%    4%   18%    1%   14%           2%
           No                             65%     -    38%   33%   36%   73%      23%       70%    12%   70%      -     93%    48%   73%   42%   78%   52%   77%   58%          78%
           (Refused)                       5%     -     3%    5%    3%    5%        -        5%      -    5%      -      7%      -    2%     -    1%     -    4%    2%           2%

           TOTAL YES                      30%     -    59%   62%   62%   21%      77%       24%    88%   25% 100%         -    52%   25%   58%   21%   48%   19%   40%          21%
                                                                                                                                                                                                    Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 200 of 239 PageID #: 414
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 Banner1 Table7

                                                               Q18. (Series) Response to subway shooting (A-C).

                                                 NY REGION             ILL REGION                    AGE                            SEX                             RACE
                                          =======================    ==============     ==============================       ==================    ======================================
                                                        NASS                            ******NY****** ******ILL*****        ***NY*** ***ILL**     ********NY******** ********ILL*******
                              NY   ILL    BROOK QUEENS /STAT SUFF     COOK COLL REST    <50 50-64 65+ <50 50-64 65+          MEN WOM MEN WOM       WHT BLK HISP OTH WHT BLK HISP OTH
                             ---- ----   ------ ------ ----- ----    ----- ---- ----   ---- ----- ---- ---- ----- ----      ---- ---- ---- ----   ---- ---- ---- ---- ---- ---- ---- ----

TOTAL                         400 400      116     97    103   83     233 114    53     201     96 103 213        76 112     181 219 186 214       207   78   53   61 247    67   50 36*
                             100% 100%    100%   100%   100% 100%    100% 100% 100%    100%   100% 100% 100%    100% 100%   100% 100% 100% 100%   100% 100% 100% 100% 100% 100% 100% 100%

Q18A. CHANGE IN TRAVEL OR
          COMMUTING HABITS
Was                          32%     -     31%    36%    33%   25%       -    -    -    29%    30%   39%    -      -    -    27%   36%   -    -    34%   29%   33%   26%    -    -   -   -
Was not                      49%     -     61%    32%    47%   52%       -    -    -    43%    57%   51%    -      -    -    47%   50%   -    -    48%   52%   54%   41%    -    -   -   -
(Not sure/Don't know)        15%     -      6%    26%    15%   14%       -    -    -    22%     8%    7%    -      -    -    17%   13%   -    -    14%   11%   13%   23%    -    -   -   -
(Refused)                     5%     -      2%     5%     5%    9%       -    -    -     6%     4%    3%    -      -    -     9%    2%   -    -     4%    8%     -   10%    -    -   -   -

Q18B. CHANGE IN USE OF THE
             SUBWAY SYSTEM
Was                          30%     -     36%    32%    30%   21%       -    -    -    25%    34%   37%    -      -    -    22%   37%   -    -    30%   40%   26%   22%    -    -   -   -
Was not                      47%     -     53%    34%    49%   50%       -    -    -    44%    49%   51%    -      -    -    53%   41%   -    -    49%   47%   45%   41%    -    -   -   -
(Not sure/Don't know)        19%     -      9%    28%    19%   20%       -    -    -    26%    13%   10%    -      -    -    20%   18%   -    -    16%   12%   23%   32%    -    -   -   -
(Refused)                     4%     -      2%     6%     1%    9%       -    -    -     5%     4%    3%    -      -    -     5%    4%   -    -     5%     *    6%    6%    -    -   -   -

Q18C. CHANGE IN FEELING OF
          SAFETY ON SUBWAY
Was                          44%     -     45%    43%    46%   42%       -    -    -    41%    46%   48%    -      -    -    36%   50%   -    -    49%   43%   42%   31%    -    -   -   -
Was not                      37%     -     42%    33%    37%   35%       -    -    -    34%    38%   42%    -      -    -    41%   33%   -    -    33%   43%   46%   35%    -    -   -   -
(Not sure/Don't know)        15%     -      6%    21%    16%   17%       -    -    -    20%    10%    7%    -      -    -    16%   14%   -    -    15%    9%   12%   22%    -    -   -   -
(Refused)                     5%     -      7%     4%      *    7%       -    -    -     5%     6%    3%    -      -    -     7%    3%   -    -     3%    5%     -   12%    -    -   -   -
                                                                                                                                                                                             Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 201 of 239 PageID #: 415
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Banner2 Table7

                                                                Q18. (Series) Response to subway shooting (A-C).

                                                    EDUCATION                          SEX & RACE                              RACE & EDUCATION                 PARTY REG
                                               ===================       ======================================     ======================================    =============
                                               ****NY*** ***ILL***       ********NY******** ********ILL*******      ********NY******** ********ILL*******     ******NY*****
                                   NY   ILL    COLL LESS COLL LESS       W M W W O M O W W M W W O M O W            W C W L O C O L W C W L O C O L           DEM REP OTH
                                  ---- ----   ----- ---- ---- ----      ---- ---- ---- ---- ---- ---- ---- ----    ---- ---- ---- ---- ---- ---- ---- ----   ---- ---- ----

     TOTAL                         400 400     121 279 142 258            98 109    84 109 117 130      69   84      87 120 34* 159 112 135 30* 123           159   76 106
                                  100% 100%   100% 100% 100% 100%       100% 100% 100% 100% 100% 100% 100% 100%    100% 100% 100% 100% 100% 100% 100% 100%   100% 100% 100%

     Q18A. CHANGE IN TRAVEL OR
               COMMUTING HABITS
     Was                          32%     -    25%   34%    -       -    28%   39%   25%   33%   -    -    -   -    26%   40%   23%   30%   -   -   -    -    34%   34%   34%
     Was not                      49%     -    62%   43%    -       -    53%   44%   40%   56%   -    -    -   -    61%   39%   64%   46%   -   -   -    -    56%   48%   38%
     (Not sure/Don't know)        15%     -    11%   17%    -       -    13%   15%   21%   11%   -    -    -   -    11%   16%   11%   17%   -   -   -    -     6%   18%   20%
     (Refused)                     5%     -     2%    6%    -       -     5%    3%   14%     *   -    -    -   -     2%    5%    3%    7%   -   -   -    -     3%     -    8%

     Q18B. CHANGE IN USE OF THE
                  SUBWAY SYSTEM
     Was                          30%     -    25%   33%    -       -    22%   38%   23%   36%   -    -    -   -    24%   35%   27%   31%   -   -   -    -    37%   31%   31%
     Was not                      47%     -    60%   41%    -       -    59%   40%   47%   43%   -    -    -   -    61%   40%   58%   42%   -   -   -    -    54%   45%   36%
     (Not sure/Don't know)        19%     -    12%   21%    -       -    14%   18%   26%   18%   -    -    -   -    12%   19%   13%   23%   -   -   -    -     8%   24%   25%
     (Refused)                     4%     -     3%    5%    -       -     5%    4%    4%    3%   -    -    -   -     3%    6%    1%    4%   -   -   -    -     1%     -    9%

     Q18C. CHANGE IN FEELING OF
               SAFETY ON SUBWAY
     Was                          44%     -    48%   42%    -       -    45%   52%   26%   49%   -    -    -   -    49%   49%   45%   37%   -   -   -    -    50%   45%   50%
     Was not                      37%     -    37%   37%    -       -    38%   28%   46%   38%   -    -    -   -    35%   31%   43%   41%   -   -   -    -    40%   38%   24%
     (Not sure/Don't know)        15%     -    13%   15%    -       -    14%   17%   18%   11%   -    -    -   -    14%   16%   10%   15%   -   -   -    -     6%   18%   22%
     (Refused)                     5%     -     2%    6%    -       -     3%    3%   11%    2%   -    -    -   -     1%    5%    2%    7%   -   -   -    -     3%     -    4%
                                                                                                                                                                                Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 202 of 239 PageID #: 416
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Banner3 Table7

                                                               Q18. (Series) Response to subway shooting (A-C).

                                                     THINK GUILTY                       JURY VOTE                         FAIR TRIAL                    MEDIA COVERAGE
                                             ============================      ============================      ============================    ============================
                                             ******NY***** *****ILL*****       ******NY***** *****ILL*****       ******NY***** *****ILL*****     ******NY***** *****ILL*****
                                 NY   ILL    GLT NOT OTH GLT NOT OTH           GLT NOT OTH GLT NOT OTH           YES NO    OTH YES NO     OTH    GLT NOT OTH GLT NOT OTH
                                ---- ----   ---- ---- ---- ---- ---- ----     ---- ---- ---- ---- ---- ----     ---- ---- ---- ---- ---- ----   ---- ---- ---- ---- ---- ----

   TOTAL                         400 400     226   12 162 153     2* 245       204   9* 187 137     5* 258       254   29 117 174 35* 191        186   9* 205 136     4* 260
                                100% 100%   100% 100% 100% 100% 100% 100%     100% 100% 100% 100% 100% 100%     100% 100% 100% 100% 100% 100%   100% 100% 100% 100% 100% 100%

   Q18A. CHANGE IN TRAVEL OR
             COMMUTING HABITS
   Was                          32%     -    41%    6%   21%    -    -    -    41%     -   23%   -   -      -    37%   28%   20%   -   -    -    39%   24%   25%     -    -    -
   Was not                      49%     -    49%   15%   51%    -    -    -    49%   22%   49%   -   -      -    51%   51%   42%   -   -    -    52%   49%   46%     -    -    -
   (Not sure/Don't know)        15%     -     6%   79%   23%    -    -    -     5%   74%   22%   -   -      -     6%   15%   34%   -   -    -     5%   27%   24%     -    -    -
   (Refused)                     5%     -     4%     -    6%    -    -    -     4%    4%    6%   -   -      -     5%    5%    4%   -   -    -     5%     -    6%     -    -    -

   Q18B. CHANGE IN USE OF THE
                SUBWAY SYSTEM
   Was                          30%     -    41%     -   18%    -    -    -    41%     -   20%   -   -      -    34%   32%   21%   -   -    -    43%   15%   19%     -    -    -
   Was not                      47%     -    46%   28%   50%    -    -    -    46%   43%   48%   -   -      -    49%   43%   43%   -   -    -    47%   27%   48%     -    -    -
   (Not sure/Don't know)        19%     -    10%   36%   29%    -    -    -    11%   21%   27%   -   -      -    12%   19%   32%   -   -    -     8%   57%   26%     -    -    -
   (Refused)                     4%     -     3%   36%    4%    -    -    -     2%   36%    5%   -   -      -     4%    6%    4%   -   -    -     2%     -    6%     -    -    -

   Q18C. CHANGE IN FEELING OF
             SAFETY ON SUBWAY
   Was                          44%     -    56%     -   31%    -    -    -    53%     -   36%   -   -      -    50%   48%   30%   -   -    -    55%   61%   33%     -    -    -
   Was not                      37%     -    36%   46%   38%    -    -    -    38%   39%   35%   -   -      -    40%   32%   32%   -   -    -    36%   15%   38%     -    -    -
   (Not sure/Don't know)        15%     -     7%   50%   22%    -    -    -     8%   56%   20%   -   -      -     7%   14%   31%   -   -    -     6%   23%   22%     -    -    -
   (Refused)                     5%     -     2%    4%    9%    -    -    -     1%    5%    8%   -   -      -     3%    6%    7%   -   -    -     2%     -    7%     -    -    -
                                                                                                                                                                                   Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 203 of 239 PageID #: 417
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Banner4 Table7

                                                                Q18. (Series) Response to subway shooting (A-C).

                                                       NY AFFECTED                         NY SUBWAY                                 NY CHANGES IN RESPONSE
                                                    ==================       =====================================       ==============================================
                                                    *******KNOW*******       ***********DURING********** TAKE N/R        *TRAVEL* *SUBWAY* **SAFE** ****FEEL SAFE****
                                        NY   ILL    ANY SELF OTH NONE        SUBWAY NOT SUB N/R NOT N/R REG NOT          WAS NOT WAS NOT WAS NOT LESS MORE/NO DIFF
                                       ---- ----   ---- ---- ---- ----      ------- ------- ---- ------- ---- ----      ---- ---- ---- ---- ---- ---- ---- ------------

          TOTAL                         400 400      97   67   73 303           47       353 36*      364 122 278        126 195 122 187 176 148 215                158
                                       100% 100%   100% 100% 100% 100%        100%      100% 100%    100% 100% 100%     100% 100% 100% 100% 100% 100% 100%         100%

          Q18A. CHANGE IN TRAVEL OR
                    COMMUTING HABITS
          Was                          32%     -    60%   71%   60%   23%      47%       29%   52%    30%   54%   22%   100%    -   78%   13%   63%   11%   51%      11%
          Was not                      49%     -    33%   22%   33%   54%      48%       49%   39%    50%   40%   53%      - 100%   20%   81%   34%   81%   41%      64%
          (Not sure/Don't know)        15%     -     5%    6%    4%   18%       1%       17%    3%    16%    3%   20%      -    -    1%    4%    3%    4%    6%      19%
          (Refused)                     5%     -     2%     -    3%    6%       3%        5%    6%     5%    3%    6%      -    -     -    3%     *    4%    2%       6%

          Q18B. CHANGE IN USE OF THE
                       SUBWAY SYSTEM
          Was                          30%     -    60%   64%   66%   21%      49%       28%   44%    29%   58%   18%   76%   13% 100%    -     62%    8%   49%       8%
          Was not                      47%     -    27%   22%   24%   53%      39%       48%   36%    48%   33%   53%   19%   78%    - 100%     27%   85%   34%      70%
          (Not sure/Don't know)        19%     -    12%   14%   10%   21%       9%       20%   12%    19%    6%   24%    6%    9%    -    -     10%    6%   14%      17%
          (Refused)                     4%     -      -     -     -    5%       3%        4%    8%     4%    3%    5%     -     *    -    -       *     -    3%       4%

          Q18C. CHANGE IN FEELING OF
                    SAFETY ON SUBWAY
          Was                          44%     -    66%   70%   67%   37%      66%       41%   63%    42%   70%   33%   87%   31%   90%   26% 100%    -     68%      19%
          Was not                      37%     -    31%   28%   30%   39%      26%       38%   23%    38%   23%   43%   13%   61%   10%   67%    - 100%     25%      56%
          (Not sure/Don't know)        15%     -     3%    2%    3%   18%       8%       15%    9%    15%    5%   19%     -    5%     *    5%    -    -      5%      19%
          (Refused)                     5%     -      -     -     -    6%        -        5%    4%     5%    2%    6%     -    3%     -    2%    -    -      2%       6%
                                                                                                                                                                                  Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 204 of 239 PageID #: 418
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 Banner1 Table8

                                                               Q19. Effect of shooting on how safe feel on subway.

                                                 NY REGION             ILL REGION                    AGE                            SEX                             RACE
                                          =======================    ==============     ==============================       ==================    ======================================
                                                        NASS                            ******NY****** ******ILL*****        ***NY*** ***ILL**     ********NY******** ********ILL*******
                              NY   ILL    BROOK QUEENS /STAT SUFF     COOK COLL REST    <50 50-64 65+ <50 50-64 65+          MEN WOM MEN WOM       WHT BLK HISP OTH WHT BLK HISP OTH
                             ---- ----   ------ ------ ----- ----    ----- ---- ----   ---- ----- ---- ---- ----- ----      ---- ---- ---- ----   ---- ---- ---- ---- ---- ---- ---- ----

TOTAL                         400 400      116     97    103   83     233 114    53     201     96 103 213        76 112     181 219 186 214       207   78   53   61 247    67   50 36*
                             100% 100%    100%   100%   100% 100%    100% 100% 100%    100%   100% 100% 100%    100% 100%   100% 100% 100% 100%   100% 100% 100% 100% 100% 100% 100% 100%

Q19. EFFECT OF SHOOTING ON
   HOW SAFE FEEL ON SUBWAY
MORE SAFE: Much               2%     -      3%      -     1%    2%       -    -    -     1%     1%    2%    -      -    -     1%    2%   -    -     2%    1%     -    2%    -    -   -   -
MORE SAFE: Somewhat           3%     -      2%     4%     5%    1%       -    -    -     4%     3%    1%    -      -    -     2%    3%   -    -     1%    7%    6%     -    -    -   -   -
NO DIFFERENCE                35%     -     36%    36%    27%   43%       -    -    -    39%    32%   31%    -      -    -    42%   29%   -    -    36%   32%   32%   38%    -    -   -   -
LESS SAFE: Somewhat          21%     -     22%    20%    24%   16%       -    -    -    22%    21%   18%    -      -    -    15%   25%   -    -    19%   29%   23%   14%    -    -   -   -
LESS SAFE: Much              33%     -     31%    34%    37%   29%       -    -    -    26%    38%   42%    -      -    -    32%   34%   -    -    35%   23%   38%   34%    -    -   -   -
(Don't know/Refused)          7%     -      6%     7%     6%    9%       -    -    -     8%     4%    7%    -      -    -     7%    6%   -    -     7%    7%     -   12%    -    -   -   -

TOTAL MORE SAFE               5%     -      5%     4%     6%    3%       -    -    -     5%     4%    3%    -      -    -     4%    5%   -    -     3%    9%    6%    2%    -    -   -   -
TOTAL LESS SAFE              54%     -     53%    53%    62%   45%       -    -    -    48%    59%   60%    -      -    -    47%   60%   -    -    54%   52%   61%   48%    -    -   -   -
                                                                                                                                                                                             Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 205 of 239 PageID #: 419
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Banner2 Table8

                                                            Q19. Effect of shooting on how safe feel on subway.

                                                    EDUCATION                       SEX & RACE                              RACE & EDUCATION                 PARTY REG
                                               ===================    ======================================     ======================================    =============
                                               ****NY*** ***ILL***    ********NY******** ********ILL*******      ********NY******** ********ILL*******     ******NY*****
                                   NY   ILL    COLL LESS COLL LESS    W M W W O M O W W M W W O M O W            W C W L O C O L W C W L O C O L           DEM REP OTH
                                  ---- ----   ----- ---- ---- ----   ---- ---- ---- ---- ---- ---- ---- ----    ---- ---- ---- ---- ---- ---- ---- ----   ---- ---- ----

     TOTAL                         400 400     121 279 142 258         98 109    84 109 117 130      69   84      87 120 34* 159 112 135 30* 123           159   76 106
                                  100% 100%   100% 100% 100% 100%    100% 100% 100% 100% 100% 100% 100% 100%    100% 100% 100% 100% 100% 100% 100% 100%   100% 100% 100%

     Q19. EFFECT OF SHOOTING ON
        HOW SAFE FEEL ON SUBWAY
     MORE SAFE: Much               2%     -     1%    2%    -    -     1%    3%    3%     -   -    -    -   -     1%    3%    1%    1%   -   -   -    -     3%    1%    1%
     MORE SAFE: Somewhat           3%     -     2%    4%    -    -      -    3%    5%    4%   -    -    -   -     1%    2%    2%    5%   -   -   -    -     8%     -     -
     NO DIFFERENCE                35%     -    40%   33%    -    -    43%   30%   41%   29%   -    -    -   -    43%   31%   31%   35%   -   -   -    -    41%   26%   35%
     LESS SAFE: Somewhat          21%     -    22%   20%    -    -    22%   16%    7%   34%   -    -    -   -    21%   18%   27%   22%   -   -   -    -    20%   18%   25%
     LESS SAFE: Much              33%     -    33%   33%    -    -    30%   40%   34%   28%   -    -    -   -    32%   38%   38%   29%   -   -   -    -    27%   49%   34%
     (Don't know/Refused)          7%     -     3%    9%    -    -     5%    8%   10%    4%   -    -    -   -     3%    9%    2%    8%   -   -   -    -     2%    5%    5%

     TOTAL MORE SAFE               5%     -     2%    6%    -    -     1%    6%    8%    4%   -    -    -   -     2%    4%    3%    6%   -   -   -    -    10%    1%    1%
     TOTAL LESS SAFE              54%     -    56%   53%    -    -    52%   56%   41%   63%   -    -    -   -    53%   55%   64%   51%   -   -   -    -    47%   68%   59%
                                                                                                                                                                             Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 206 of 239 PageID #: 420
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Banner3 Table8

                                                               Q19. Effect of shooting on how safe feel on subway.

                                                     THINK GUILTY                        JURY VOTE                            FAIR TRIAL                    MEDIA COVERAGE
                                             ============================       ============================         ============================    ============================
                                             ******NY***** *****ILL*****        ******NY***** *****ILL*****          ******NY***** *****ILL*****     ******NY***** *****ILL*****
                                 NY   ILL    GLT NOT OTH GLT NOT OTH            GLT NOT OTH GLT NOT OTH              YES NO    OTH YES NO     OTH    GLT NOT OTH GLT NOT OTH
                                ---- ----   ---- ---- ---- ---- ---- ----      ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----   ---- ---- ---- ---- ---- ----

   TOTAL                         400 400     226   12 162 153     2* 245        204   9* 187 137     5* 258          254   29 117 174 35* 191        186   9* 205 136     4* 260
                                100% 100%   100% 100% 100% 100% 100% 100%      100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%   100% 100% 100% 100% 100% 100%

   Q19. EFFECT OF SHOOTING ON
      HOW SAFE FEEL ON SUBWAY
   MORE SAFE: Much               2%     -     2%     -    1%     -    -    -     2%       -    1%   -    -      -     2%    1%     -   -   -    -     3%    9%     *     -    -    -
   MORE SAFE: Somewhat           3%     -     5%     -    1%     -    -    -     4%       -    2%   -    -      -     4%     -    1%   -   -    -     6%     -    1%     -    -    -
   NO DIFFERENCE                35%     -    26%   80%   45%     -    -    -    25%     88%   43%   -    -      -    31%   31%   45%   -   -    -    27%    4%   43%     -    -    -
   LESS SAFE: Somewhat          21%     -    25%   11%   16%     -    -    -    28%      8%   13%   -    -      -    23%   18%   17%   -   -    -    31%   23%   12%     -    -    -
   LESS SAFE: Much              33%     -    40%    9%   25%     -    -    -    37%       -   31%   -    -      -    35%   49%   24%   -   -    -    31%   49%   34%     -    -    -
   (Don't know/Refused)          7%     -     3%     -   12%     -    -    -     3%      4%   10%   -    -      -     5%     -   13%   -   -    -     3%   15%   10%     -    -    -

   TOTAL MORE SAFE                5%    -     7%     -    2%     -    -    -     7%       -    2%   -    -      -     6%    1%    1%   -   -    -     8%    9%    1%     -    -    -
   TOTAL LESS SAFE               54%    -    64%   20%   41%     -    -    -    65%      8%   44%   -    -      -    58%   68%   41%   -   -    -    61%   73%   46%     -    -    -
                                                                                                                                                                                       Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 207 of 239 PageID #: 421
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Banner4 Table8

                                                                Q19. Effect of shooting on how safe feel on subway.

                                                       NY AFFECTED                          NY SUBWAY                                 NY CHANGES IN RESPONSE
                                                    ==================        =====================================       ==============================================
                                                    *******KNOW*******        ***********DURING********** TAKE N/R        *TRAVEL* *SUBWAY* **SAFE** ****FEEL SAFE****
                                        NY   ILL    ANY SELF OTH NONE         SUBWAY NOT SUB N/R NOT N/R REG NOT          WAS NOT WAS NOT WAS NOT LESS MORE/NO DIFF
                                       ---- ----   ---- ---- ---- ----       ------- ------- ---- ------- ---- ----      ---- ---- ---- ---- ---- ---- ---- ------------

          TOTAL                         400 400      97   67   73 303            47       353 36*      364 122 278        126 195 122 187 176 148 215                158
                                       100% 100%   100% 100% 100% 100%         100%      100% 100%    100% 100% 100%     100% 100% 100% 100% 100% 100% 100%         100%

          Q19. EFFECT OF SHOOTING ON
             HOW SAFE FEEL ON SUBWAY
          MORE SAFE: Much               2%     -     1%    2%     2%    2%       5%        1%    6%     1%    4%     *    3%    1%    3%    1%    3%    1%     -       4%
          MORE SAFE: Somewhat           3%     -     3%    4%      -    3%       2%        3%    3%     3%    4%    3%    3%    2%    3%    4%    4%    4%     -       8%
          NO DIFFERENCE                35%     -    17%   10%    16%   41%      26%       36%   24%    36%   18%   42%    8%   49%    5%   54%   11%   55%     -      89%
          LESS SAFE: Somewhat          21%     -    22%   19%    26%   20%      18%       21%   17%    21%   32%   16%   22%   24%   28%   18%   31%   14%   38%        -
          LESS SAFE: Much              33%     -    55%   65%    53%   26%      45%       32%   44%    32%   40%   30%   64%   21%   59%   21%   51%   23%   62%        -
          (Don't know/Refused)          7%     -     2%     -     3%    8%       4%        7%    5%     7%    2%    9%     -    3%    2%    1%     -    3%     -        -

          TOTAL MORE SAFE               5%     -     4%    6%     2%    5%       7%        4%   10%     4%    8%    3%    6%    3%    6%    6%    6%    5%    -       11%
          TOTAL LESS SAFE              54%     -    77%   84%    79%   46%      63%       53%   61%    53%   71%   46%   86%   45%   87%   39%   83%   37% 100%         -
                                                                                                                                                                                   Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 208 of 239 PageID #: 422
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 Banner1 Table9

                                    D100. Gender.     D101. Age.     D102. Education.        Q20. Party registration.      D300. Race.       D301. Hispanic.

                                                 NY REGION                 ILL REGION                        AGE                              SEX                                  RACE
                                          =======================        ==============         ==============================         ==================         ======================================
                                                        NASS                                    ******NY****** ******ILL*****          ***NY*** ***ILL**          ********NY******** ********ILL*******
                              NY   ILL    BROOK QUEENS /STAT SUFF         COOK COLL REST        <50 50-64 65+ <50 50-64 65+            MEN WOM MEN WOM            WHT BLK HISP OTH WHT BLK HISP OTH
                             ---- ----   ------ ------ ----- ----        ----- ---- ----       ---- ----- ---- ---- ----- ----        ---- ---- ---- ----        ---- ---- ---- ---- ---- ---- ---- ----

TOTAL                         400 400      116        97    103   83      233 114    53        201      96 103 213         76 112      181 219 186 214            207   78   53   61 247    67   50 36*
                             100% 100%    100%      100%   100% 100%     100% 100% 100%       100%    100% 100% 100%     100% 100%    100% 100% 100% 100%        100% 100% 100% 100% 100% 100% 100% 100%

D100. GENDER
Male                         45%   46%     44%      45%    46%     47%    46%    47%   49%     48%    43%    41%   49%   49%    40%   100%    - 100%    -         47%   40%   33%   56%   47%   43%   41%   54%
Female                       55%   54%     56%      55%    54%     53%    54%    53%   51%     52%    57%    59%   51%   51%    60%      - 100%    - 100%         53%   60%   67%   44%   53%   57%   59%   46%

D101. AGE
18-24                         9%   12%      6%      17%     8%      5%    13%    10%   12%     18%       -    -    22%      -    -      7%     10%   13%   11%     7%    4%   21%   12%    9%    8%   33%   12%
25-29                        11%   10%     11%      14%    13%      7%    11%     9%    6%     22%       -    -    18%      -    -     10%     12%   11%    9%     7%   16%   13%   17%    7%   22%   13%    5%
30-34                        12%   11%     14%      11%    11%     12%    15%     5%    3%     24%       -    -    20%      -    -     14%     10%   10%   11%     8%   18%   20%   10%    5%   19%   19%   21%
35-39                        11%    9%     20%      13%     4%      4%     9%     7%   15%     22%       -    -    17%      -    -     12%     10%    9%    9%     9%   20%   12%    7%    9%   12%    3%   14%
40-44                         4%    6%      2%       8%     3%      3%     6%     7%    5%      8%       -    -    12%      -    -      6%      2%    7%    6%     2%    5%    6%    6%    7%    3%    6%    6%
45-49                         3%    6%      5%       2%     3%      2%     6%     6%    2%      6%       -    -    10%      -    -      5%      2%    6%    5%     4%    1%    1%    5%    5%    7%    3%   12%
50-54                         9%    5%     10%       4%    15%      8%     6%     5%    4%       -     38%    -      -    27%    -      9%     10%    6%    4%    14%    1%    2%   11%    4%    7%    8%    8%
55-59                         7%    9%      9%       4%     5%     11%     7%    10%   14%       -     30%    -      -    48%    -      7%      7%    9%    9%     6%   11%    3%   10%   10%   10%    1%   13%
60-64                         8%    5%      9%       2%    11%      7%     4%     7%    4%       -     32%    -      -    25%    -      7%      8%    5%    4%     9%   12%    1%    2%    6%    2%    3%    1%
65+                          26%   28%     14%      24%    27%     42%    23%    34%   35%       -       - 100%      -      - 100%     24%     28%   24%   31%    33%   13%   22%   20%   39%   11%   11%    9%
(Refused)                      -     -       -        -      -       -      -      -     -       -       -    -      -      -    -       -       -     -     -      -     -     -     -     -     -     -     -

D102. EDUCATION
Some grade school (1-8)       2%     *      5%        -     1%      1%     1%      -     -      3%      -     2%    1%     -      -     *      3%      -    1%     1%    5%    2%    1%     -    2%     -     -
Some high school (9-11)       7%    5%      8%       3%    11%      4%     5%     4%   10%     10%     4%     4%    6%    5%     3%    8%      6%     6%    4%     4%   12%    7%   11%    2%   14%    9%    2%
Graduated high school        15%   21%     11%      13%    18%     21%    23%    17%   23%     15%    19%    14%   24%   14%    22%   14%     16%    24%   19%    15%   17%   15%   16%   17%   33%   37%   12%
Technical/Vocational          7%    4%      7%      11%     4%      4%     4%     3%    4%      9%     3%     5%    3%    4%     4%    6%      7%     5%    2%     4%   11%    6%    8%    3%    4%    9%    2%
Some college                 33%   31%     33%      48%    22%     27%    31%    28%   36%     34%    27%    35%   30%   28%    34%   35%     31%    25%   35%    27%   36%   52%   32%   31%   31%   24%   37%
Graduated college            19%   24%     17%      16%    23%     20%    23%    28%   18%     18%    25%    14%   25%   30%    17%   19%     19%    24%   23%    26%    6%   12%   16%   29%   10%   14%   22%
Graduate/Professional        12%   12%      8%       6%    18%     15%    10%    17%    9%      7%    16%    15%    8%   15%    17%   12%     11%    12%   12%    16%    7%    4%   10%   16%    3%    4%   13%
(Don't know/Refused)          6%    3%      9%       3%     4%      9%     4%     3%    1%      4%     6%    11%    3%    5%     2%    5%      7%     3%    4%     7%    7%    3%    6%    2%    4%    3%   12%

Q20. PARTY REGISTRATION
Democrat                     40%     -     49%       34%    40%    32%       -     -     -      42%    40%   35%     -      -     -    37%     42%     -     -    38%   59%   42%   20%     -     -     -     -
Independent                  21%     -     20%       31%    19%    14%       -     -     -      26%    12%   21%     -      -     -    22%     20%     -     -    18%   13%   35%   29%     -     -     -     -
Republican                   19%     -      6%        9%    31%    35%       -     -     -      10%    29%   27%     -      -     -    19%     19%     -     -    28%     *   18%   13%     -     -     -     -
(Other)                       5%     -      1%       12%     5%     4%       -     -     -       7%     4%    4%     -      -     -     8%      3%     -     -     6%    7%     -    4%     -     -     -     -
(Don't know)                 14%     -     24%       14%     5%    12%       -     -     -      14%    15%   14%     -      -     -    12%     16%     -     -     8%   21%    6%   35%     -     -     -     -
Not registered                1%     -       -         -      -     3%       -     -     -       1%      -     -     -      -     -     1%       -     -     -     1%     -     -     -     -     -     -     -

D300. RACE
Black                        21%   17%     37%      23%    11%      6%    26%     6%    4%     27%    20%    10%   23%   17%     7%   20%     21%    16%   19%      - 100%     8%     -    - 100%      5%     -
White                        54%   64%     39%      32%    68%     82%    54%    76%   85%     40%    65%    70%   51%   68%    88%   56%     51%    65%   64%   100%    -    13%     - 100%    -     20%     -
Asian                         5%    3%      3%      13%     2%      2%     3%     3%    3%      7%     4%     1%    4%    3%      -    6%      4%     4%    2%      -    -     9%   24%    -    -       -   33%
(Other)                      16%   13%     13%      27%    15%      8%    14%    13%    7%     24%     3%    13%   18%    7%     5%   14%     17%    14%   12%      -    -    70%   43%    -    -     75%   37%
(Don't know/Refused)          5%    3%      8%       5%     4%      2%     4%     2%    1%      3%     8%     7%    3%    5%      -    4%      6%     2%    3%      -    -      -   33%    -    -       -   30%

D301. HISPANIC
Yes                          13%   12%      6%      31%      9%     9%    15%     8%   10%     19%      3%   11%   18%     8%    5%   10%     16%    11%   14%     -      - 100%      -    -    - 100%        -
No                           82%   86%     85%      62%     89%    91%    83%    91%   89%     77%     91%   82%   81%    87%   95%   86%     78%    88%   84%   99%    97%    -    74% 100% 100%    -      82%
                                                                                                                                                                                                                  Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 209 of 239 PageID #: 423




(Don't know/Refused)          5%    2%      9%       7%      2%      *     2%     1%    1%      4%      6%    7%    1%     5%     -    4%      6%     1%    2%    1%     3%    -    26%    -    -    -      18%
Select Litigation Page 34                                                          SL3617-8 EDNY/EDivNDILL                                                                 November 2022
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                                D100. Gender.     D101. Age.    D102. Education.     Q20. Party registration.      D300. Race.      D301. Hispanic.

                                                 EDUCATION                           SEX & RACE                                    RACE & EDUCATION                        PARTY REG
                                            ===================        ======================================           ======================================           =============
                                            ****NY*** ***ILL***        ********NY******** ********ILL*******            ********NY******** ********ILL*******            ******NY*****
                                NY   ILL    COLL LESS COLL LESS        W M W W O M O W W M W W O M O W                  W C W L O C O L W C W L O C O L                  DEM REP OTH
                               ---- ----   ----- ---- ---- ----       ---- ---- ---- ---- ---- ---- ---- ----          ---- ---- ---- ---- ---- ---- ---- ----          ---- ---- ----

     TOTAL                      400 400     121 279 142 258             98 109    84 109 117 130      69   84            87 120 34* 159 112 135 30* 123                  159   76 106
                               100% 100%   100% 100% 100% 100%        100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100%

     D100. GENDER
     Male                      45%   46%    45%    45%    47%   46%   100%    - 100%    - 100%    - 100%    -           48%   47%   39%   44%   48%   47%   44%   45%    42%   46%   52%
     Female                    55%   54%    55%    55%    53%   54%      - 100%    - 100%    - 100%    - 100%           52%   53%   61%   56%   52%   53%   56%   55%    58%   54%   48%

     D101. AGE
     18-24                      9%   12%     6%    10%     6%   15%    6%     8%    9%   13%    8%    9%   21%   13%    6%     8%    7%   12%    6%   11%   10%   19%    10%    6%    9%
     25-29                     11%   10%     8%    13%    10%   10%    8%     6%   11%   18%    9%    5%   14%   15%    9%     6%    5%   18%    9%    5%   12%   15%    15%    1%   18%
     30-34                     12%   11%    11%    12%     8%   12%   12%     5%   17%   15%    5%    6%   19%   19%    9%     8%   17%   16%    5%    5%   17%   20%    15%    5%   14%
     35-39                     11%    9%     9%    12%     6%   10%   11%     7%   13%   14%   11%    7%    7%   11%    8%     9%   11%   14%    6%   11%    7%   10%     9%    6%   12%
     40-44                      4%    6%     3%     4%    13%    3%    3%     1%    9%    3%    8%    7%    6%    4%    3%     2%    3%    6%   13%    3%   13%    3%     2%    5%    7%
     45-49                      3%    6%     5%     2%     6%    5%    5%     3%    4%    1%    4%    5%    9%    6%    5%     4%    6%    1%    7%    3%    1%    8%     3%    4%    2%
     50-54                      9%    5%    14%     7%     9%    3%   11%    16%    6%    3%    5%    2%    7%    8%   16%    12%    9%    3%    6%    2%   21%    4%     6%   17%    6%
     55-59                      7%    9%    11%     6%     9%    9%    9%     4%    5%   11%   10%    9%    6%    9%   10%     4%   14%    7%    8%   11%   12%    7%     7%    7%    6%
     60-64                      8%    5%     8%     8%     6%    4%    5%    13%    9%    3%    7%    6%    2%    2%    8%    10%    6%    6%    8%    6%    2%    2%    11%   13%    3%
     65+                       26%   28%    25%    26%    27%   29%   30%    37%   16%   18%   34%   43%    9%   12%   27%    38%   21%   17%   33%   44%    5%   12%    22%   36%   24%
     (Refused)                   -     -      -      -      -     -     -      -     -     -     -     -     -     -     -      -     -     -     -     -     -     -      -     -     -

     D102. EDUCATION
     Some grade school (1-8)    2%     *      -      3%     -    1%      -    2%    1%    4%     -     -     -    2%      -    2%     -    3%     -     -     -    1%     4%    1%    1%
     Some high school (9-11)    7%    5%      -     10%     -    8%     6%    2%   11%    9%    3%    2%   12%    7%      -    6%     -   12%     -    4%     -   12%     9%    4%    9%
     Graduated high school     15%   21%      -     22%     -   33%    11%   18%   18%   14%   17%   17%   37%   23%      -   25%     -   20%     -   30%     -   36%    17%   21%   11%
     Technical/Vocational       7%    4%      -      9%     -    6%     6%    3%    7%   10%    4%    2%    7%    3%      -    8%     -   11%     -    5%     -    6%     3%    6%    6%
     Some college              33%   31%      -     47%     -   47%    27%   27%   45%   34%   29%   33%   20%   39%      -   46%     -   47%     -   56%     -   38%    31%   28%   39%
     Graduated college         19%   24%    62%       -   66%     -    26%   26%   10%   11%   31%   28%   11%   17%    62%     -   61%     -   65%     -   71%     -    19%   22%   22%
     Graduate/Professional     12%   12%    38%       -   34%     -    16%   15%    6%    8%   14%   17%    9%    3%    38%     -   39%     -   35%     -   29%     -    15%   12%   11%
     (Don't know/Refused)       6%    3%      -      9%     -    5%     8%    6%    2%    8%    2%    2%    4%    7%      -   12%     -    7%     -    4%     -    7%     2%    4%     -

     Q20. PARTY REGISTRATION
     Democrat                  40%     -    45%     38%     -     -    34%   42%   40%   43%     -     -     -     -    45%   33%   43%   41%     -     -     -     -   100%    -      -
     Independent               21%     -    25%     19%     -     -    22%   15%   23%   25%     -     -     -     -    21%   16%   34%   22%     -     -     -     -      -    -    80%
     Republican                19%     -    22%     18%     -     -    26%   30%   12%    7%     -     -     -     -    26%   30%   11%    9%     -     -     -     -      - 100%      -
     (Other)                    5%     -     4%      6%     -     -     8%    5%    8%    1%     -     -     -     -     5%    8%    1%    5%     -     -     -     -      -    -    20%
     (Don't know)              14%     -     4%     19%     -     -     8%    8%   18%   24%     -     -     -     -     1%   12%   11%   24%     -     -     -     -      -    -      -
     Not registered             1%     -      *      1%     -     -     2%     -     -     -     -     -     -     -     1%    1%     -     -     -     -     -     -      -    -      -

     D300. RACE
     Black                     21%   17%     9%    26%     6%   23%      -    -    42%   43%    -    -     42%   48%      -    -    30%   45%    -    -     29%   49%    30%     *   17%
     White                     54%   64%    74%    45%    81%   55%   100% 100%     5%    3% 100% 100%      5%    8%   100% 100%     7%    3% 100% 100%     12%    5%    52%   80%   50%
     Asian                      5%    3%     5%     5%     3%    3%      -    -    13%    8%    -    -     11%    5%      -    -    19%    8%    -    -     15%    6%     2%    3%   11%
     (Other)                   16%   13%     8%    19%     6%   16%      -    -    31%   35%    -    -     37%   30%      -    -    29%   34%    -    -     29%   34%    15%   12%   19%
     (Don't know/Refused)       5%    3%     4%     6%     3%    3%      -    -     9%   12%    -    -      5%    9%      -    -    14%   10%    -    -     15%    5%     1%    5%    2%

     D301. HISPANIC
     Yes                       13%   12%     7%    16%     6%   16%      -     -   21%   33%    -    -     30%   35%      -     -   24%   28%    -    -     30%   33%   14%    12%   18%
     No                        82%   86%    90%    78%    91%   83%    99%   99%   71%   57% 100% 100%     67%   60%    99%   99%   65%   62% 100% 100%     60%   64%   84%    84%   81%
                                                                                                                                                                                           Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 210 of 239 PageID #: 424




     (Don't know/Refused)       5%    2%     4%     6%     2%    1%     1%    1%    8%   10%    -    -      3%    6%     1%    1%   11%    9%    -    -     10%    3%    2%     4%    1%
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                                D100. Gender.    D101. Age.       D102. Education.      Q20. Party registration.       D300. Race.    D301. Hispanic.

                                                  THINK GUILTY                            JURY VOTE                              FAIR TRIAL                         MEDIA COVERAGE
                                          ============================           ============================           ============================         ============================
                                          ******NY***** *****ILL*****            ******NY***** *****ILL*****            ******NY***** *****ILL*****          ******NY***** *****ILL*****
                              NY   ILL    GLT NOT OTH GLT NOT OTH                GLT NOT OTH GLT NOT OTH                YES NO    OTH YES NO     OTH         GLT NOT OTH GLT NOT OTH
                             ---- ----   ---- ---- ---- ---- ---- ----          ---- ---- ---- ---- ---- ----          ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----

   TOTAL                      400 400     226   12 162 153     2* 245            204   9* 187 137     5* 258            254   29 117 174 35* 191             186   9* 205 136     4* 260
                             100% 100%   100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%

   D100. GENDER
   Male                      45%   46%   43%    55%   48%   46%    60%    47%   41%     39%    51%   45%   72%   47%   46%    46%   44%   47%   50%   46%   41%    38%   49%   44%   46%   48%
   Female                    55%   54%   57%    45%   52%   54%    40%    53%   59%     61%    49%   55%   28%   53%   54%    54%   56%   53%   50%   54%   59%    62%   51%   56%   54%   52%

   D101. AGE
   18-24                      9%   12%   12%     4%    6%   15%    28%    10%   11%      6%     7%   18%   41%    8%    8%     2%   13%    8%   34%   11%    9%     9%    9%   15%     -   10%
   25-29                     11%   10%    9%    58%   11%    8%      -    11%    9%     66%    11%    7%   15%   11%    7%    16%   18%    6%    9%   13%   11%    12%   11%   10%     -   10%
   30-34                     12%   11%   13%    11%   11%   13%    55%     9%   13%     17%    10%   10%   25%   11%   10%    15%   15%   11%    5%   12%   13%      -   12%   14%   46%    9%
   35-39                     11%    9%    9%    21%   14%    5%      -    12%   10%       -    13%    6%   18%   10%    7%    12%   20%    7%   11%   10%   10%     4%   13%    7%     -   10%
   40-44                      4%    6%    4%      -    4%    7%      -     6%    2%      9%     5%    7%     -    6%    3%    14%    3%    7%    4%    7%    4%    29%    3%    5%     -    7%
   45-49                      3%    6%    4%      -    2%    6%      -     5%    5%       -     1%    7%     -    5%    3%     5%    4%    6%    1%    6%    5%     8%    1%    6%   21%    5%
   50-54                      9%    5%    8%      -   12%    6%    17%     4%    6%       -    13%    7%     -    4%   10%     5%    8%    4%    1%    6%    7%    14%   11%    5%   10%    5%
   55-59                      7%    9%    8%      -    7%    8%      -    10%    8%       -     7%   10%     -    9%    8%     5%    5%   10%    8%    8%    8%      -    7%   11%     -    8%
   60-64                      8%    5%    8%      -    8%    4%      -     5%    8%       -     7%    6%     -    4%    9%    15%    2%    6%     -    5%    7%      -    9%    6%     -    4%
   65+                       26%   28%   27%     6%   26%   29%      -    28%   26%      2%    27%   23%     -   31%   34%    10%   12%   35%   26%   22%   28%    24%   24%   21%   23%   32%
   (Refused)                   -     -     -      -     -     -      -      -     -       -      -     -     -     -     -      -     -     -     -     -     -      -     -     -     -     -

   D102. EDUCATION
   Some grade school (1-8)    2%     *    1%      -    4%    1%      -      -    2%        -    2%    1%     -     -    2%      -    3%     -     -    1%     1%    9%    2%    1%     -     -
   Some high school (9-11)    7%    5%    6%    32%    7%    5%      -     5%    6%      34%    6%    5%     -    5%    6%     6%    9%    6%     -    5%     7%     -    7%    5%     -    5%
   Graduated high school     15%   21%   17%      -   15%   19%      -    23%   15%        -   16%   19%   28%   22%   17%    19%   12%   15%   27%   26%    13%   26%   17%   23%   28%   21%
   Technical/Vocational       7%    4%    5%    17%    8%    5%      -     3%    6%      22%    7%    6%     -    3%    6%     7%    7%    4%     -    4%     7%     -    7%    4%     -    4%
   Some college              33%   31%   38%    11%   27%   32%    28%    30%   38%       9%   28%   33%   31%   30%   31%    31%   37%   32%   30%   29%    38%   14%   29%   34%     -   29%
   Graduated college         19%   24%   20%    22%   17%   28%    55%    21%   20%      26%   17%   26%   41%   22%   19%    24%   17%   27%   27%   20%    22%   20%   16%   23%   62%   23%
   Graduate/Professional     12%   12%   11%     6%   13%   10%    17%    13%    9%       8%   14%    9%     -   14%   14%    13%    6%   15%   16%    8%    10%   16%   13%    9%   10%   14%
   (Don't know/Refused)       6%    3%    3%    11%   10%    1%      -     5%    3%        -   10%    1%     -    5%    6%      -    9%    1%     -    6%     3%   15%    9%    1%     -    5%

   Q20. PARTY REGISTRATION
   Democrat                  40%     -   47%    22%   32%     -       -     -    45%     17%   35%     -     -     -    46%   35%   28%     -     -     -    47%   32%   34%     -     -     -
   Independent               21%     -   21%    46%   19%     -       -     -    21%     71%   18%     -     -     -    17%   29%   27%     -     -     -    22%    7%   21%     -     -     -
   Republican                19%     -   20%    11%   19%     -       -     -    19%      6%   20%     -     -     -    19%   35%   14%     -     -     -    19%   32%   18%     -     -     -
   (Other)                    5%     -    3%    21%    7%     -       -     -     3%      4%    8%     -     -     -     4%     -   10%     -     -     -     2%   14%    8%     -     -     -
   (Don't know)              14%     -    9%      -   23%     -       -     -    11%      2%   18%     -     -     -    13%    1%   20%     -     -     -     9%   15%   19%     -     -     -
   Not registered             1%     -    1%      -     *     -       -     -      -       -    1%     -     -     -     1%     -     -     -     -     -     1%     -     *     -     -     -

   D300. RACE
   Black                     21%   17%   18%     7%   25%   18%      -    17%   19%     14%    22%   17%     -   18%   16%     4%   35%   10%   16%   24%    21%    8%   20%   25%    -    14%
   White                     54%   64%   56%    46%   50%   63%    72%    65%   54%     19%    55%   61%   69%   66%   61%    49%   39%   72%   68%   57%    53%   45%   54%   57% 100%    67%
   Asian                      5%    3%    3%    47%    5%    2%    28%     3%    4%     66%     3%    1%   31%    3%    3%    14%    8%    3%    8%    2%     3%    6%    7%    1%    -     4%
   (Other)                   16%   13%   19%      -   13%   14%      -    12%   20%       -    13%   17%     -   11%   16%    28%   13%   12%    9%   13%    19%   38%   12%   16%    -    11%
   (Don't know/Refused)       5%    3%    4%      -    7%    3%      -     3%    3%       -     7%    4%     -    2%    5%     5%    6%    2%     -    4%     3%    3%    7%    2%    -     3%

   D301. HISPANIC
   Yes                       13%   12%   15%    32%   10%   14%    49%    11%   17%     34%     9%   17%   15%   10%   13%    13%   13%   11%   16%   13%   16%     3%   12%   15%   28%   11%
   No                        82%   86%   80%    68%   85%   84%    51%    87%   78%     66%    86%   81%   85%   88%   81%    83%   82%   88%   84%   84%   80%    93%   82%   84%   72%   87%
                                                                                                                                                                                                 Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 211 of 239 PageID #: 425




   (Don't know/Refused)       5%    2%    5%      -    6%    1%      -     2%    5%       -     5%    1%     -    2%    5%     4%    5%    1%     -    3%    4%     3%    6%    1%     -    2%
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                                    D100. Gender.   D101. Age.    D102. Education.     Q20. Party registration.    D300. Race.     D301. Hispanic.

                                                        NY AFFECTED                         NY SUBWAY                                 NY CHANGES IN RESPONSE
                                                     ==================       =====================================       ==============================================
                                                     *******KNOW*******       ***********DURING********** TAKE N/R        *TRAVEL* *SUBWAY* **SAFE** ****FEEL SAFE****
                                         NY   ILL    ANY SELF OTH NONE        SUBWAY NOT SUB N/R NOT N/R REG NOT          WAS NOT WAS NOT WAS NOT LESS MORE/NO DIFF
                                        ---- ----   ---- ---- ---- ----      ------- ------- ---- ------- ---- ----      ---- ---- ---- ---- ---- ---- ---- ------------

          TOTAL                          400 400      97   67   73 303           47       353 36*      364 122 278        126 195 122 187 176 148 215                  158
                                        100% 100%   100% 100% 100% 100%        100%      100% 100%    100% 100% 100%     100% 100% 100% 100% 100% 100% 100%           100%

          D100. GENDER
          Male                          45%   46%   46%    48%   43%   45%      46%       45%   52%    45%   44%   46%   38%     44%   33%   52%   37%   51%   39%     53%
          Female                        55%   54%   54%    52%   57%   55%      54%       55%   48%    55%   56%   54%   62%     56%   67%   48%   63%   49%   61%     47%

          D101. AGE
          18-24                          9%   12%   18%    13%   20%    6%      21%        7%   21%     8%   12%    8%   13%      7%    8%   10%   12%    7%   10%      7%
          25-29                         11%   10%    6%     8%    3%   13%      12%       11%   11%    11%   11%   11%   13%      7%    8%   13%   10%   10%    7%     17%
          30-34                         12%   11%   13%    12%   15%   12%       7%       13%   11%    12%   10%   13%    7%     12%   10%   12%   10%   10%   10%     16%
          35-39                         11%    9%   10%    11%   10%   11%       9%       11%    8%    11%   11%   11%    8%     11%   10%    9%    7%   12%   11%      9%
          40-44                          4%    6%    6%     3%    8%    3%      10%        3%   16%     3%    5%    3%    1%      5%    2%    2%    4%    5%    4%      3%
          45-49                          3%    6%    3%     2%    4%    3%       5%        3%    6%     3%    4%    3%    4%      2%    4%    1%    4%    1%    3%      3%
          50-54                          9%    5%    5%     5%    2%   11%       5%       10%    5%    10%    8%   10%    9%      9%    7%   10%    7%   11%    9%      8%
          55-59                          7%    9%    6%     6%    5%    8%       8%        7%    1%     8%   10%    6%    6%     10%   11%    7%    8%    6%   10%      5%
          60-64                          8%    5%    8%    10%    8%    8%       4%        8%    5%     8%    8%    7%    8%      9%    9%    8%    9%    7%    8%      9%
          65+                           26%   28%   25%    30%   26%   26%      20%       26%   15%    27%   20%   28%   31%     27%   31%   28%   28%   29%   29%     22%
          (Refused)                       -     -     -      -     -     -        -         -     -      -     -     -     -       -     -     -     -     -     -       -

          D102. EDUCATION
          Some grade school (1-8)        2%     *    1%     2%    2%    2%       4%        2%    6%     2%    3%    2%    5%      1%    2%    3%    3%    1%     *       4%
          Some high school (9-11)        7%    5%    5%     6%    3%    7%       9%        6%    7%     7%    9%    6%    8%      4%    7%    5%    6%    3%    5%       9%
          Graduated high school         15%   21%   11%    14%   11%   17%       5%       17%    9%    16%   17%   15%   18%     13%   16%   12%   18%   14%   17%      12%
          Technical/Vocational           7%    4%    5%     3%    6%    7%       3%        7%     -     7%    7%    7%    4%      8%    3%   10%    4%   12%    6%       9%
          Some college                  33%   31%   47%    39%   58%   28%      43%       31%   38%    32%   33%   32%   38%     28%   45%   23%   35%   27%   37%      27%
          Graduated college             19%   24%   15%    18%   10%   20%      22%       18%   29%    18%   19%   19%   17%     21%   18%   22%   21%   17%   21%      17%
          Graduate/Professional         12%   12%   11%    12%    8%   12%      13%       11%   11%    12%   11%   12%    7%     17%    7%   17%   12%   13%   11%      15%
          (Don't know/Refused)           6%    3%    5%     7%    2%    7%        -        7%     -     7%    1%    8%    2%      8%    2%    8%    2%   11%    3%       7%

          Q20. PARTY REGISTRATION
          Democrat                      40%     -    50%   51%   51%   36%      50%       38%   49%    39%   51%   35%   43%     46%   48%   45%   45%   43%   35%     52%
          Independent                   21%     -    22%   18%   22%   21%      25%       21%   20%    21%   20%   22%   24%     18%   23%   17%   26%   14%   24%     17%
          Republican                    19%     -    13%   11%   15%   21%      15%       20%   17%    19%   14%   21%   20%     19%   19%   18%   19%   19%   24%     13%
          (Other)                        5%     -     5%    4%    5%    6%       9%        5%   13%     5%    4%    6%    5%      2%    4%    3%    4%    3%    5%      7%
          (Don't know)                  14%     -    11%   15%    7%   15%       2%       16%    1%    16%   11%   16%    6%     15%    5%   15%    4%   20%   12%     10%
          Not registered                 1%     -      -     -     -    1%        -        1%     -     1%     -    1%    2%       -     *    1%    1%     -     *      1%

          D300. RACE
          Black                         21%   17%   23%    20%   30%   20%      20%       21%    8%    22%   25%   19%   19%     21%   27%   20%   19%   24%   19%      22%
          White                         54%   64%   45%    42%   44%   56%      48%       54%   60%    53%   48%   56%   57%     55%   53%   57%   59%   49%   53%      55%
          Asian                          5%    3%    4%     6%    1%    5%       5%        5%    2%     5%    4%    6%    5%      3%    2%    5%    2%    6%    4%       7%
          (Other)                       16%   13%   25%    28%   25%   13%      24%       15%   28%    15%   20%   14%   17%     17%   15%   14%   17%   16%   19%      11%
          (Don't know/Refused)           5%    3%    3%     4%     -    6%       2%        5%    2%     5%    4%    6%    3%      5%    3%    4%    3%    4%    5%       5%

          D301. HISPANIC
          Yes                           13%   12%   23%    22%   23%   10%      18%       13%   21%    13%   13%   14%   14%     15%   12%   13%   13%   17%   15%     13%
          No                            82%   86%   73%    75%   74%   85%      75%       83%   67%    83%   81%   82%   82%     80%   82%   84%   84%   78%   81%     82%
                                                                                                                                                                                     Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 212 of 239 PageID #: 426




          (Don't know/Refused)           5%    2%    4%     3%    3%    5%       8%        5%   12%     4%    6%    4%    4%      5%    6%    3%    4%    5%    4%      5%
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                                                  NY REGION             ILL REGION                      AGE                              SEX                                RACE
                                           =======================    ==============       ==============================         ==================       ======================================
                                                         NASS                              ******NY****** ******ILL*****          ***NY*** ***ILL**        ********NY******** ********ILL*******
                              NY   ILL     BROOK QUEENS /STAT SUFF     COOK COLL REST      <50 50-64 65+ <50 50-64 65+            MEN WOM MEN WOM          WHT BLK HISP OTH WHT BLK HISP OTH
                             ---- ----    ------ ------ ----- ----    ----- ---- ----     ---- ----- ---- ---- ----- ----        ---- ---- ---- ----      ---- ---- ---- ---- ---- ---- ---- ----

TOTAL                         400 400       116     97    103   83     233 114    53       201     96 103 213         76 112      181 219 186 214          207   78   53   61 247    67   50 36*
                             100% 100%     100%   100%   100% 100%    100% 100% 100%      100%   100% 100% 100%     100% 100%    100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%


Eastern District NY          100%    -     100%   100%   100% 100%        -    -    -     100%   100% 100%    -        -    -    100% 100%    -    -      100% 100% 100% 100%    -    -    -    -
East Div South Dist Illinois    - 100%        -      -      -    -     100% 100% 100%        -      -    - 100%     100% 100%       -    - 100% 100%         -    -    -    - 100% 100% 100% 100%

NY REGION
Brooklyn                      29%     -    100%      -      -    -        -     -     -    33%    34%   16%     -      -     -    28%   30%     -     -    21%   53%   13%   39%     -     -     -     -
Queens                        24%     -       -   100%      -    -        -     -     -    32%    10%   22%     -      -     -    24%   24%     -     -    14%   26%   56%   30%     -     -     -     -
Nassau/Staten Island          26%     -       -      -   100%    -        -     -     -    22%    33%   27%     -      -     -    26%   26%     -     -    33%   14%   17%   22%     -     -     -     -
Suffolk                       21%     -       -      -      - 100%        -     -     -    13%    23%   34%     -      -     -    21%   20%     -     -    32%    6%   13%    9%     -     -     -     -

ILL REGION
Cook                            -   58%       -      -      -     -    100%    -    -        -      -     -   65%    52%   49%      -     -   57%   59%      -     -     -     -   47%   88%   71%   58%
Collar                          -   29%       -      -      -     -       - 100%    -        -      -     -   24%    32%   35%      -     -   29%   28%      -     -     -     -   35%   10%   18%   34%
Rest                            -   13%       -      -      -     -       -    - 100%        -      -     -   11%    16%   17%      -     -   14%   13%      -     -     -     -   18%    2%   11%    8%

AGE
NY: 18-49                     50%     -     58%    66%    42%   32%       -     -     -   100%      -    -    -        -    -     54%   48%     -     -    37%   64%   73%   57%     -     -     -     -
NY: 50-64                     24%     -     28%    10%    31%   26%       -     -     -      -   100%    -    -        -    -     23%   25%     -     -    29%   24%    6%   23%     -     -     -     -
NY: 65+                       26%     -     14%    24%    27%   42%       -     -     -      -      - 100%    -        -    -     24%   28%     -     -    33%   13%   22%   20%     -     -     -     -
ILL: 18-49                      -   53%       -      -      -     -     60%   45%   43%      -      -    - 100%        -    -       -     -   56%   51%      -     -     -     -   41%   70%   77%   69%
ILL: 50-64                      -   19%       -      -      -     -     17%   21%   23%      -      -    -    -     100%    -       -     -   20%   18%      -     -     -     -   20%   19%   12%   22%
ILL: 65+                        -   28%       -      -      -     -     23%   34%   35%      -      -    -    -        - 100%       -     -   24%   31%      -     -     -     -   39%   11%   11%    9%

SEX
NY: Men                       45%     -     44%    45%    46%   47%       -     -     -    48%    43%   41%     -      -     -   100%    -    -    -       47%   40%   33%   56%     -     -     -     -
NY: Women                     55%     -     56%    55%    54%   53%       -     -     -    52%    57%   59%     -      -     -      - 100%    -    -       53%   60%   67%   44%     -     -     -     -
ILL: Men                        -   46%       -      -      -     -     46%   47%   49%      -      -     -   49%    49%   40%      -    - 100%    -         -     -     -     -   47%   43%   41%   54%
ILL: Women                      -   54%       -      -      -     -     54%   53%   51%      -      -     -   51%    51%   60%      -    -    - 100%         -     -     -     -   53%   57%   59%   46%

RACE
NY: White                     52%     -     38%    29%    67%   79%       -     -     -    38%    63%   67%     -      -     -    54%   50%     -     -   100%    -    -    -    -    -    -    -
NY: Black                     20%     -     35%    21%    11%    6%       -     -     -    25%    19%   10%     -      -     -    17%   21%     -     -      - 100%    -    -    -    -    -    -
NY: Hispanic                  13%     -      6%    31%     9%    9%       -     -     -    19%     3%   11%     -      -     -    10%   16%     -     -      -    - 100%    -    -    -    -    -
NY: Other                     15%     -     21%    19%    13%    6%       -     -     -    17%    15%   12%     -      -     -    19%   12%     -     -      -    -    - 100%    -    -    -    -
ILL: White                      -   62%       -      -      -     -     50%   76%   82%      -      -     -   48%    65%   86%      -     -   63%   61%      -    -    -    - 100%    -    -    -
ILL: Black                      -   17%       -      -      -     -     25%    6%    3%      -      -     -   22%    17%    7%      -     -   15%   18%      -    -    -    -    - 100%    -    -
ILL: Hispanic                   -   12%       -      -      -     -     15%    8%   10%      -      -     -   18%     8%    5%      -     -   11%   14%      -    -    -    -    -    - 100%    -
ILL: Other                      -    9%       -      -      -     -      9%   11%    5%      -      -     -   12%    11%    3%      -     -   11%    8%      -    -    -    -    -    -    - 100%
                                                                                                                                                                                                           Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 213 of 239 PageID #: 427
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                                                     EDUCATION                         SEX & RACE                                    RACE & EDUCATION                        PARTY REG
                                                ===================      ======================================           ======================================           =============
                                                ****NY*** ***ILL***      ********NY******** ********ILL*******            ********NY******** ********ILL*******            ******NY*****
                                   NY   ILL     COLL LESS COLL LESS      W M W W O M O W W M W W O M O W                  W C W L O C O L W C W L O C O L                  DEM REP OTH
                                  ---- ----    ----- ---- ---- ----     ---- ---- ---- ---- ---- ---- ---- ----          ---- ---- ---- ---- ---- ---- ---- ----          ---- ---- ----

     TOTAL                         400 400      121 279 142 258           98 109    84 109 117 130      69   84            87 120 34* 159 112 135 30* 123                  159   76 106
                                  100% 100%    100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100%


     Eastern District NY          100%    -    100% 100%    -    -      100% 100% 100% 100%    -    -    -    -          100% 100% 100% 100%    -    -    -    -          100% 100% 100%
     East Div South Dist Illinois    - 100%       -    - 100% 100%         -    -    -    - 100% 100% 100% 100%             -    -    -    - 100% 100% 100% 100%             -    -    -

     NY REGION
     Brooklyn                      29%     -    24%   31%     -     -    21%   21%   36%   38%     -     -     -     -    23%   20%   29%   39%     -     -     -     -    36%    9%    23%
     Queens                        24%     -    17%   27%     -     -    14%   14%   37%   35%     -     -     -     -    12%   15%   29%   37%     -     -     -     -    21%   11%    39%
     Nassau/Staten Island          26%     -    35%   22%     -     -    33%   33%   18%   18%     -     -     -     -    37%   30%   27%   16%     -     -     -     -    26%   42%    24%
     Suffolk                       21%     -    24%   19%     -     -    32%   32%    9%    9%     -     -     -     -    27%   35%   15%    8%     -     -     -     -    17%   38%    14%

     ILL REGION
     Cook                            -   58%      -     -   54%   60%      -     -     -     -   47%   47%   75%   76%      -     -     -     -   51%   44%   64%   79%      -     -      -
     Collar                          -   29%      -     -   36%   24%      -     -     -     -   35%   35%   18%   19%      -     -     -     -   37%   33%   31%   15%      -     -      -
     Rest                            -   13%      -     -   10%   15%      -     -     -     -   18%   18%    8%    5%      -     -     -     -   11%   23%    6%    6%      -     -      -

     AGE
     NY: 18-49                     50%     -    42%   54%     -     -    45%   30%   64%   65%     -     -     -     -    39%   36%   50%   67%     -     -     -     -    54%   27%    61%
     NY: 50-64                     24%     -    33%   20%     -     -    25%   33%   20%   17%     -     -     -     -    34%   25%   29%   16%     -     -     -     -    24%   37%    15%
     NY: 65+                       26%     -    25%   26%     -     -    30%   37%   16%   18%     -     -     -     -    27%   38%   21%   17%     -     -     -     -    22%   36%    24%
     ILL: 18-49                      -   53%      -     -   49%   55%      -     -     -     -   44%   39%   76%   69%      -     -     -     -   46%   38%   60%   75%      -     -      -
     ILL: 50-64                      -   19%      -     -   24%   16%      -     -     -     -   23%   17%   15%   19%      -     -     -     -   21%   19%   35%   13%      -     -      -
     ILL: 65+                        -   28%      -     -   27%   29%      -     -     -     -   34%   43%    9%   12%      -     -     -     -   33%   44%    5%   12%      -     -      -

     SEX
     NY: Men                       45%     -    45%   45%     -     -   100%    - 100%    -    -    -    -    -           48%   47%   39%   44%     -     -     -     -    42%   46%    52%
     NY: Women                     55%     -    55%   55%     -     -      - 100%    - 100%    -    -    -    -           52%   53%   61%   56%     -     -     -     -    58%   54%    48%
     ILL: Men                        -   46%      -     -   47%   46%      -    -    -    - 100%    - 100%    -             -     -     -     -   48%   47%   44%   45%      -     -      -
     ILL: Women                      -   54%      -     -   53%   54%      -    -    -    -    - 100%    - 100%             -     -     -     -   52%   53%   56%   55%      -     -      -

     RACE
     NY: White                     52%     -    72%   43%     -     -   100% 100%      -     -    -    -       -     -   100% 100%      -     -    -    -       -     -    50%   77%    49%
     NY: Black                     20%     -     8%   24%     -     -      -    -    38%   43%    -    -       -     -      -    -    29%   43%    -    -       -     -    29%    *     15%
     NY: Hispanic                  13%     -     7%   16%     -     -      -    -    21%   33%    -    -       -     -      -    -    24%   28%    -    -       -     -    14%   12%    18%
     NY: Other                     15%     -    13%   16%     -     -      -    -    41%   25%    -    -       -     -      -    -    47%   29%    -    -       -     -     8%   11%    19%
     ILL: White                      -   62%      -     -   79%   52%      -    -      -     - 100% 100%       -     -      -    -      -     - 100% 100%       -     -      -      -     -
     ILL: Black                      -   17%      -     -    6%   23%      -    -      -     -    -    -     41%   46%      -    -      -     -    -    -     28%   48%      -      -     -
     ILL: Hispanic                   -   12%      -     -    6%   16%      -    -      -     -    -    -     30%   35%      -    -      -     -    -    -     30%   33%      -      -     -
     ILL: Other                      -    9%      -     -    9%    9%      -    -      -     -    -    -     28%   20%      -    -      -     -    -    -     42%   19%      -      -     -
                                                                                                                                                                                              Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 214 of 239 PageID #: 428
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                                                      THINK GUILTY                          JURY VOTE                            FAIR TRIAL                         MEDIA COVERAGE
                                              ============================         ============================         ============================         ============================
                                              ******NY***** *****ILL*****          ******NY***** *****ILL*****          ******NY***** *****ILL*****          ******NY***** *****ILL*****
                                 NY   ILL     GLT NOT OTH GLT NOT OTH              GLT NOT OTH GLT NOT OTH              YES NO    OTH YES NO     OTH         GLT NOT OTH GLT NOT OTH
                                ---- ----    ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----

   TOTAL                         400 400      226   12 162 153     2* 245          204   9* 187 137     5* 258          254   29 117 174 35* 191             186   9* 205 136     4* 260
                                100% 100%    100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%


   Eastern District NY          100%    -    100% 100% 100%    -    -    -        100% 100% 100%    -    -    -        100% 100% 100%    -    -    -        100% 100% 100%    -    -    -
   East Div South Dist Illinois    - 100%       -    -    - 100% 100% 100%           -    -    - 100% 100% 100%           -    -    - 100% 100% 100%           -    -    - 100% 100% 100%

   NY REGION
   Brooklyn                      29%     -    31%   12%   27%     -     -     -    34%    8%   25%     -     -     -    29%   28%   31%     -     -     -    37%   23%   23%     -     -     -
   Queens                        24%     -    20%   83%   26%     -     -     -    21%   85%   25%     -     -     -    21%   25%   31%     -     -     -    20%   21%   29%     -     -     -
   Nassau/Staten Island          26%     -    28%     -   25%     -     -     -    26%     -   27%     -     -     -    27%   24%   25%     -     -     -    30%   40%   22%     -     -     -
   Suffolk                       21%     -    21%    5%   22%     -     -     -    19%    7%   23%     -     -     -    24%   23%   14%     -     -     -    14%   15%   27%     -     -     -

   ILL REGION
   Cook                            -   58%      -     -     -   64%    -    55%      -     -     -   62%   15%   57%      -     -     -   57%   54%   60%      -     -     -   58%   21%   59%
   Collar                          -   29%      -     -     -   28%    -    29%      -     -     -   28%     -   29%      -     -     -   34%   13%   27%      -     -     -   30%   51%   27%
   Rest                            -   13%      -     -     -    8% 100%    16%      -     -     -   10%   85%   14%      -     -     -    9%   33%   14%      -     -     -   12%   28%   14%

   AGE
   NY: 18-49                     50%     -    50%   94%   48%     -     -     -    52%   98%   46%     -    -      -    38%   65%   73%     -     -     -    51%   62%   49%     -     -     -
   NY: 50-64                     24%     -    23%     -   27%     -     -     -    23%     -   27%     -    -      -    28%   25%   15%     -     -     -    22%   14%   27%     -     -     -
   NY: 65+                       26%     -    27%    6%   26%     -     -     -    26%    2%   27%     -    -      -    34%   10%   12%     -     -     -    28%   24%   24%     -     -     -
   ILL: 18-49                      -   53%      -     -     -   53%   83%   53%      -     -     -   55% 100%    51%      -     -     -   45%   65%   59%      -     -     -   58%   67%   51%
   ILL: 50-64                      -   19%      -     -     -   18%   17%   19%      -     -     -   22%    -    18%      -     -     -   20%    9%   19%      -     -     -   22%   10%   17%
   ILL: 65+                        -   28%      -     -     -   29%     -   28%      -     -     -   23%    -    31%      -     -     -   35%   26%   22%      -     -     -   21%   23%   32%

   SEX
   NY: Men                       45%     -    43%   55%   48%     -     -     -    41%   39%   51%     -     -     -    46%   46%   44%     -     -     -    41%   38%   49%     -     -     -
   NY: Women                     55%     -    57%   45%   52%     -     -     -    59%   61%   49%     -     -     -    54%   54%   56%     -     -     -    59%   62%   51%     -     -     -
   ILL: Men                        -   46%      -     -     -   46%   60%   47%      -     -     -   45%   72%   47%      -     -     -   47%   50%   46%      -     -     -   44%   46%   48%
   ILL: Women                      -   54%      -     -     -   54%   40%   53%      -     -     -   55%   28%   53%      -     -     -   53%   50%   54%      -     -     -   56%   54%   52%

   RACE
   NY: White                     52%     -    54%   39%   49%     -     -     -    52%   19%   53%     -     -     -    58%   49%   38%     -     -     -    51%   45%   53%     -     -     -
   NY: Black                     20%     -    17%    7%   23%     -     -     -    19%   14%   21%     -     -     -    16%    4%   32%     -     -     -    21%    8%   19%     -     -     -
   NY: Hispanic                  13%     -    15%   32%   10%     -     -     -    17%   34%    9%     -     -     -    13%   13%   13%     -     -     -    16%    3%   12%     -     -     -
   NY: Other                     15%     -    14%   21%   17%     -     -     -    13%   32%   17%     -     -     -    12%   34%   17%     -     -     -    13%   44%   16%     -     -     -
   ILL: White                      -   62%      -     -     -   61%   22%   63%      -     -     -   59%   54%   64%      -     -     -   70%   56%   56%      -     -     -   54%   72%   66%
   ILL: Black                      -   17%      -     -     -   18%     -   16%      -     -     -   17%     -   17%      -     -     -   10%   16%   23%      -     -     -   25%     -   13%
   ILL: Hispanic                   -   12%      -     -     -   14%   49%   11%      -     -     -   17%   15%   10%      -     -     -   11%   16%   13%      -     -     -   15%   28%   11%
   ILL: Other                      -    9%      -     -     -    7%   28%   10%      -     -     -    7%   31%   10%      -     -     -    9%   12%    8%      -     -     -    6%     -   11%
                                                                                                                                                                                                 Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 215 of 239 PageID #: 429
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                                                        NY AFFECTED                         NY SUBWAY                                  NY CHANGES IN RESPONSE
                                                     ==================       =====================================        ==============================================
                                                     *******KNOW*******       ***********DURING********** TAKE N/R         *TRAVEL* *SUBWAY* **SAFE** ****FEEL SAFE****
                                        NY   ILL     ANY SELF OTH NONE        SUBWAY NOT SUB N/R NOT N/R REG NOT           WAS NOT WAS NOT WAS NOT LESS MORE/NO DIFF
                                       ---- ----    ---- ---- ---- ----      ------- ------- ---- ------- ---- ----       ---- ---- ---- ---- ---- ---- ---- ------------

          TOTAL                         400 400       97   67   73 303           47       353 36*       364 122 278        126 195 122 187 176 148 215                 158
                                       100% 100%    100% 100% 100% 100%        100%      100% 100%     100% 100% 100%     100% 100% 100% 100% 100% 100% 100%          100%


          Eastern District NY          100%    -    100% 100% 100% 100%        100%      100% 100%     100% 100% 100%     100% 100% 100% 100% 100% 100% 100%          100%
          East Div South Dist Illinois    - 100%       -    -    -    -           -         -    -        -    -    -        -    -    -    -    -    -    -             -

          NY REGION
          Brooklyn                      29%     -    38%   38%   43%   26%      38%       28%    36%   28%    42%   23%   28%    37%   34%   33%   30%   33%   29%     30%
          Queens                        24%     -    37%   38%   34%   20%      25%       24%    33%   23%    26%   23%   28%    16%   26%   18%   24%   21%   24%     25%
          Nassau/Staten Island          26%     -    15%   16%   15%   29%      22%       26%    18%   27%    23%   27%   27%    25%   26%   27%   27%   26%   30%     21%
          Suffolk                       21%     -     9%    8%    8%   24%      15%       22%    14%   22%     8%   26%   16%    22%   14%   22%   20%   19%   18%     24%

          ILL REGION
          Cook                            -   58%      -     -     -     -         -         -     -      -     -     -      -     -     -     -     -     -     -        -
          Collar                          -   29%      -     -     -     -         -         -     -      -     -     -      -     -     -     -     -     -     -        -
          Rest                            -   13%      -     -     -     -         -         -     -      -     -     -      -     -     -     -     -     -     -        -

          AGE
          NY: 18-49                     50%     -    57%   49%   59%   48%      63%       49%    73%   48%    54%   49%   46%    45%   42%   47%   47%   46%   45%     56%
          NY: 50-64                     24%     -    18%   21%   14%   26%      17%       25%    11%   25%    26%   23%   23%    28%   26%   25%   25%   25%   26%     22%
          NY: 65+                       26%     -    25%   30%   26%   26%      20%       26%    15%   27%    20%   28%   31%    27%   31%   28%   28%   29%   29%     22%
          ILL: 18-49                      -   53%      -     -     -     -        -         -      -     -      -     -     -      -     -     -     -     -     -       -
          ILL: 50-64                      -   19%      -     -     -     -        -         -      -     -      -     -     -      -     -     -     -     -     -       -
          ILL: 65+                        -   28%      -     -     -     -        -         -      -     -      -     -     -      -     -     -     -     -     -       -

          SEX
          NY: Men                       45%     -    46%   48%   43%   45%      46%       45%    52%   45%    44%   46%   38%    44%   33%   52%   37%   51%   39%     53%
          NY: Women                     55%     -    54%   52%   57%   55%      54%       55%    48%   55%    56%   54%   62%    56%   67%   48%   63%   49%   61%     47%
          ILL: Men                        -   46%      -     -     -     -        -         -      -     -      -     -     -      -     -     -     -     -     -       -
          ILL: Women                      -   54%      -     -     -     -        -         -      -     -      -     -     -      -     -     -     -     -     -       -

          RACE
          NY: White                     52%     -    42%   41%   40%   55%      43%       53%    54%   52%    46%   54%   56%    51%   52%   54%   58%   46%   52%     52%
          NY: Black                     20%     -    22%   20%   29%   19%      20%       19%     8%   21%    25%   17%   18%    21%   26%   20%   19%   23%   19%     20%
          NY: Hispanic                  13%     -    23%   22%   23%   10%      18%       13%    21%   13%    13%   14%   14%    15%   12%   13%   13%   17%   15%     13%
          NY: Other                     15%     -    13%   17%    8%   16%      19%       15%    17%   15%    16%   15%   13%    13%   11%   13%   11%   15%   14%     15%
          ILL: White                      -   62%      -     -     -     -        -         -      -     -      -     -     -      -     -     -     -     -     -       -
          ILL: Black                      -   17%      -     -     -     -        -         -      -     -      -     -     -      -     -     -     -     -     -       -
          ILL: Hispanic                   -   12%      -     -     -     -        -         -      -     -      -     -     -      -     -     -     -     -     -       -
          ILL: Other                      -    9%      -     -     -     -        -         -      -     -      -     -     -      -     -     -     -     -     -       -
                                                                                                                                                                                     Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 216 of 239 PageID #: 430
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                                                  NY REGION             ILL REGION                      AGE                              SEX                                RACE
                                           =======================    ==============       ==============================         ==================       ======================================
                                                         NASS                              ******NY****** ******ILL*****          ***NY*** ***ILL**        ********NY******** ********ILL*******
                              NY   ILL     BROOK QUEENS /STAT SUFF     COOK COLL REST      <50 50-64 65+ <50 50-64 65+            MEN WOM MEN WOM          WHT BLK HISP OTH WHT BLK HISP OTH
                             ---- ----    ------ ------ ----- ----    ----- ---- ----     ---- ----- ---- ---- ----- ----        ---- ---- ---- ----      ---- ---- ---- ---- ---- ---- ---- ----

TOTAL                         400 400       116     97    103   83     233 114    53       201     96 103 213         76 112      181 219 186 214          207   78   53   61 247    67   50 36*
                             100% 100%     100%   100%   100% 100%    100% 100% 100%      100%   100% 100% 100%     100% 100%    100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%


Eastern District NY          100%    -     100%   100%   100% 100%        -    -    -     100%   100% 100%    -        -    -    100% 100%    -    -      100% 100% 100% 100%    -    -    -    -
East Div South Dist Illinois    - 100%        -      -      -    -     100% 100% 100%        -      -    - 100%     100% 100%       -    - 100% 100%         -    -    -    - 100% 100% 100% 100%

EDUCATION
NY: College                   30%     -     26%    21%    41%   35%       -     -     -    25%    41%   30%     -      -     -    30%   30%     -     -    42%   13%   15%   26%     -     -     -     -
NY: Less than college         70%     -     74%    79%    59%   65%       -     -     -    75%    59%   70%     -      -     -    70%   70%     -     -    58%   87%   85%   74%     -     -     -     -
ILL: College                    -   35%       -      -      -     -     33%   45%   27%      -      -     -   33%    45%   34%      -     -   36%   35%      -     -     -     -   45%   13%   18%   35%
ILL: Less than college          -   65%       -      -      -     -     67%   55%   73%      -      -     -   67%    55%   66%      -     -   64%   65%      -     -     -     -   55%   87%   82%   65%

SEX & RACE
NY: White men                 24%     -     18%    14%    32%   37%       -     -     -    22%    25%   28%     -      -     -    54%     -     -     -    47%     -     -     -     -     -     -     -
NY: White women               27%     -     20%    15%    35%   42%       -     -     -    17%    38%   39%     -      -     -      -   50%     -     -    53%     -     -     -     -     -     -     -
NY: Other men                 21%     -     26%    32%    14%    9%       -     -     -    26%    18%   13%     -      -     -    46%     -     -     -      -   40%   33%   56%     -     -     -     -
NY: Other women               27%     -     36%    39%    19%   11%       -     -     -    35%    19%   19%     -      -     -      -   50%     -     -      -   60%   67%   44%     -     -     -     -
ILL: White men                  -   29%       -      -      -     -     24%   36%   39%      -      -     -   24%    35%   35%      -     -   63%     -      -     -     -     -   47%     -     -     -
ILL: White women                -   32%       -      -      -     -     26%   40%   43%      -      -     -   24%    29%   50%      -     -     -   61%      -     -     -     -   53%     -     -     -
ILL: Other men                  -   17%       -      -      -     -     22%   11%   10%      -      -     -   25%    14%    5%      -     -   37%     -      -     -     -     -     -   43%   41%   54%
ILL: Other women                -   21%       -      -      -     -     28%   14%    8%      -      -     -   27%    22%    9%      -     -     -   39%      -     -     -     -     -   57%   59%   46%

RACE & EDUCATION
NY: White college             22%     -     17%    11%    32%   29%       -     -     -    17%    31%   23%     -      -     -    23%   21%     -     -    42%     -     -     -     -     -     -     -
NY: White less                30%     -     21%    18%    35%   50%       -     -     -    22%    32%   45%     -      -     -    31%   29%     -     -    58%     -     -     -     -     -     -     -
NY: Other college              9%     -      8%    10%     9%    6%       -     -     -     9%    10%    7%     -      -     -     7%   10%     -     -      -   13%   15%   26%     -     -     -     -
NY: Other less                40%     -     54%    61%    24%   15%       -     -     -    53%    27%   26%     -      -     -    39%   40%     -     -      -   87%   85%   74%     -     -     -     -
ILL: White college              -   28%       -      -      -     -     25%   37%   23%      -      -     -   24%    31%   33%      -     -   29%   27%      -     -     -     -   45%     -     -     -
ILL: White less                 -   34%       -      -      -     -     26%   39%   59%      -      -     -   24%    33%   53%      -     -   34%   33%      -     -     -     -   55%     -     -     -
ILL: Other college              -    8%       -      -      -     -      8%    8%    3%      -      -     -    9%    14%    1%      -     -    7%    8%      -     -     -     -     -   13%   18%   35%
ILL: Other less                 -   31%       -      -      -     -     41%   16%   14%      -      -     -   43%    21%   13%      -     -   30%   31%      -     -     -     -     -   87%   82%   65%

PARTY REG
NY: Democrat                  40%     -     49%    34%    40%   32%       -     -     -    42%    40%   35%     -      -     -    37%   42%     -     -    38%   59%   42%   20%     -     -     -     -
NY: Republican                19%     -      6%     9%    31%   35%       -     -     -    10%    29%   27%     -      -     -    19%   19%     -     -    28%    *    18%   13%     -     -     -     -
NY: Other                     26%     -     21%    43%    24%   18%       -     -     -    32%    16%   25%     -      -     -    30%   23%     -     -    25%   20%   35%   33%     -     -     -     -
                                                                                                                                                                                                           Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 217 of 239 PageID #: 431
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                                                     EDUCATION                         SEX & RACE                                    RACE & EDUCATION                        PARTY REG
                                                ===================      ======================================           ======================================           =============
                                                ****NY*** ***ILL***      ********NY******** ********ILL*******            ********NY******** ********ILL*******            ******NY*****
                                   NY   ILL     COLL LESS COLL LESS      W M W W O M O W W M W W O M O W                  W C W L O C O L W C W L O C O L                  DEM REP OTH
                                  ---- ----    ----- ---- ---- ----     ---- ---- ---- ---- ---- ---- ---- ----          ---- ---- ---- ---- ---- ---- ---- ----          ---- ---- ----

     TOTAL                         400 400      121 279 142 258           98 109    84 109 117 130      69   84            87 120 34* 159 112 135 30* 123                  159   76 106
                                  100% 100%    100% 100% 100% 100%      100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100% 100% 100%          100% 100% 100%


     Eastern District NY          100%    -    100% 100%    -    -      100% 100% 100% 100%    -    -    -    -          100% 100% 100% 100%    -    -    -    -          100% 100% 100%
     East Div South Dist Illinois    - 100%       -    - 100% 100%         -    -    -    - 100% 100% 100% 100%             -    -    -    - 100% 100% 100% 100%             -    -    -

     EDUCATION
     NY: College                   30%     -   100%    -    -    -       43%   42%   16%   19%     -     -     -     -   100%    - 100%    -    -    -    -    -           34%   35%   33%
     NY: Less than college         70%     -      - 100%    -    -       57%   58%   84%   81%     -     -     -     -      - 100%    - 100%    -    -    -    -           66%   65%   67%
     ILL: College                    -   35%      -    - 100%    -         -     -     -     -   46%   45%   20%   20%      -    -    -    - 100%    - 100%    -             -     -     -
     ILL: Less than college          -   65%      -    -    - 100%         -     -     -     -   54%   55%   80%   80%      -    -    -    -    - 100%    - 100%             -     -     -

     SEX & RACE
     NY: White men                 24%     -    34%   20%     -     -   100%    -    -    -    -    -    -    -           48%   47%     -     -     -     -     -     -    21%   33%   28%
     NY: White women               27%     -    38%   23%     -     -      - 100%    -    -    -    -    -    -           52%   53%     -     -     -     -     -     -    29%   43%   21%
     NY: Other men                 21%     -    11%   25%     -     -      -    - 100%    -    -    -    -    -             -     -   39%   44%     -     -     -     -    21%   13%   24%
     NY: Other women               27%     -    17%   32%     -     -      -    -    - 100%    -    -    -    -             -     -   61%   56%     -     -     -     -    29%   10%   27%
     ILL: White men                  -   29%      -     -   38%   25%      -    -    -    - 100%    -    -    -             -     -     -     -   48%   47%     -     -      -     -     -
     ILL: White women                -   32%      -     -   41%   28%      -    -    -    -    - 100%    -    -             -     -     -     -   52%   53%     -     -      -     -     -
     ILL: Other men                  -   17%      -     -    9%   21%      -    -    -    -    -    - 100%    -             -     -     -     -     -     -   44%   45%      -     -     -
     ILL: Other women                -   21%      -     -   12%   26%      -    -    -    -    -    -    - 100%             -     -     -     -     -     -   56%   55%      -     -     -

     RACE & EDUCATION
     NY: White college             22%     -    72%     -     -     -    43%   42%     -     -     -     -     -     -   100%    -    -    -    -    -    -    -           25%   30%   22%
     NY: White less                30%     -      -   43%     -     -    57%   58%     -     -     -     -     -     -      - 100%    -    -    -    -    -    -           25%   47%   27%
     NY: Other college              9%     -    28%     -     -     -      -     -   16%   19%     -     -     -     -      -    - 100%    -    -    -    -    -            9%    5%   11%
     NY: Other less                40%     -      -   57%     -     -      -     -   84%   81%     -     -     -     -      -    -    - 100%    -    -    -    -           41%   18%   40%
     ILL: White college              -   28%      -     -   79%     -      -     -     -     -   46%   45%     -     -      -    -    -    - 100%    -    -    -             -     -     -
     ILL: White less                 -   34%      -     -     -   52%      -     -     -     -   54%   55%     -     -      -    -    -    -    - 100%    -    -             -     -     -
     ILL: Other college              -    8%      -     -   21%     -      -     -     -     -     -     -   20%   20%      -    -    -    -    -    - 100%    -             -     -     -
     ILL: Other less                 -   31%      -     -     -   48%      -     -     -     -     -     -   80%   80%      -    -    -    -    -    -    - 100%             -     -     -

     PARTY REG
     NY: Democrat                  40%     -    45%   38%     -     -    34%   42%   40%   43%     -     -     -     -    45%   33%   43%   41%     -     -     -     -   100%    -    -
     NY: Republican                19%     -    22%   18%     -     -    26%   30%   12%    7%     -     -     -     -    26%   30%   11%    9%     -     -     -     -      - 100%    -
     NY: Other                     26%     -    29%   25%     -     -    30%   20%   30%   26%     -     -     -     -    26%   24%   35%   27%     -     -     -     -      -    - 100%
                                                                                                                                                                                             Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 218 of 239 PageID #: 432
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                                                      THINK GUILTY                         JURY VOTE                              FAIR TRIAL                         MEDIA COVERAGE
                                              ============================        ============================           ============================         ============================
                                              ******NY***** *****ILL*****         ******NY***** *****ILL*****            ******NY***** *****ILL*****          ******NY***** *****ILL*****
                                 NY   ILL     GLT NOT OTH GLT NOT OTH             GLT NOT OTH GLT NOT OTH                YES NO    OTH YES NO     OTH         GLT NOT OTH GLT NOT OTH
                                ---- ----    ---- ---- ---- ---- ---- ----       ---- ---- ---- ---- ---- ----          ---- ---- ---- ---- ---- ----        ---- ---- ---- ---- ---- ----

   TOTAL                         400 400      226   12 162 153     2* 245         204   9* 187 137     5* 258            254   29 117 174 35* 191             186   9* 205 136     4* 260
                                100% 100%    100% 100% 100% 100% 100% 100%       100% 100% 100% 100% 100% 100%          100% 100% 100% 100% 100% 100%        100% 100% 100% 100% 100% 100%


   Eastern District NY          100%    -    100% 100% 100%    -    -    -       100% 100% 100%    -    -    -          100% 100% 100%    -    -    -        100% 100% 100%    -    -    -
   East Div South Dist Illinois    - 100%       -    -    - 100% 100% 100%          -    -    - 100% 100% 100%             -    -    - 100% 100% 100%           -    -    - 100% 100% 100%

   EDUCATION
   NY: College                   30%     -   31%   28%   30%     -     -     -    30%     34%   31%     -     -     -    33%   37%   23%     -     -     -    32%   36%   29%     -     -     -
   NY: Less than college         70%     -   69%   72%   70%     -     -     -    70%     66%   69%     -     -     -    67%   63%   77%     -     -     -    68%   64%   71%     -     -     -
   ILL: College                    -   35%     -     -     -   38%   72%   34%      -       -     -   35%   41%   36%      -     -     -   42%   43%   29%      -     -     -   32%   72%   37%
   ILL: Less than college          -   65%     -     -     -   62%   28%   66%      -       -     -   65%   59%   64%      -     -     -   58%   57%   71%      -     -     -   68%   28%   63%

   SEX & RACE
   NY: White men                 24%     -   24%   30%   25%     -     -     -    23%     10%   27%     -     -     -    28%   14%   20%     -     -     -    23%    4%   27%     -     -     -
   NY: White women               27%     -   30%    9%   24%     -     -     -    29%      9%   26%     -     -     -    31%   34%   18%     -     -     -    28%   42%   26%     -     -     -
   NY: Other men                 21%     -   19%   25%   23%     -     -     -    18%     28%   24%     -     -     -    18%   32%   24%     -     -     -    19%   34%   22%     -     -     -
   NY: Other women               27%     -   27%   36%   27%     -     -     -    30%     52%   23%     -     -     -    23%   19%   38%     -     -     -    31%   20%   24%     -     -     -
   ILL: White men                  -   29%     -     -     -   27%     -   31%      -       -     -   28%   44%   30%      -     -     -   34%   22%   26%      -     -     -   24%   28%   32%
   ILL: White women                -   32%     -     -     -   33%   22%   32%      -       -     -   31%   10%   34%      -     -     -   35%   34%   30%      -     -     -   31%   44%   33%
   ILL: Other men                  -   17%     -     -     -   18%   60%   16%      -       -     -   17%   28%   17%      -     -     -   13%   28%   20%      -     -     -   20%   18%   15%
   ILL: Other women                -   21%     -     -     -   21%   17%   21%      -       -     -   24%   18%   19%      -     -     -   18%   16%   25%      -     -     -   25%   10%   19%

   RACE & EDUCATION
   NY: White college             22%     -   21%   17%   23%     -     -     -    21%     10%   24%     -     -     -    24%   26%   16%     -     -     -    22%   16%   22%     -     -     -
   NY: White less                30%     -   33%   23%   27%     -     -     -    31%      9%   30%     -     -     -    34%   23%   23%     -     -     -    28%   29%   31%     -     -     -
   NY: Other college              9%     -    9%   12%    7%     -     -     -     9%     24%    7%     -     -     -     9%   11%    7%     -     -     -    10%   20%    7%     -     -     -
   NY: Other less                40%     -   37%   49%   43%     -     -     -    39%     56%   40%     -     -     -    33%   40%   55%     -     -     -    40%   34%   40%     -     -     -
   ILL: White college              -   28%     -     -     -   29%   22%   27%      -       -     -   26%   26%   29%      -     -     -   33%   34%   22%      -     -     -   23%   44%   30%
   ILL: White less                 -   34%     -     -     -   32%     -   36%      -       -     -   32%   28%   35%      -     -     -   36%   22%   34%      -     -     -   31%   28%   36%
   ILL: Other college              -    8%     -     -     -    9%   49%    7%      -       -     -    9%   15%    7%      -     -     -    8%    9%    7%      -     -     -    8%   28%    7%
   ILL: Other less                 -   31%     -     -     -   31%   28%   31%      -       -     -   33%   31%   30%      -     -     -   22%   35%   38%      -     -     -   37%     -   28%

   PARTY REG
   NY: Democrat                  40%     -   47%   22%   32%     -     -     -    45%     17%   35%     -     -     -    46%   35%   28%     -     -     -    47%   32%   34%     -     -     -
   NY: Republican                19%     -   20%   11%   19%     -     -     -    19%      6%   20%     -     -     -    19%   35%   14%     -     -     -    19%   32%   18%     -     -     -
   NY: Other                     26%     -   24%   67%   27%     -     -     -    25%     75%   26%     -     -     -    21%   29%   38%     -     -     -    24%   21%   29%     -     -     -
                                                                                                                                                                                                  Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 219 of 239 PageID #: 433
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                                                        NY AFFECTED                         NY SUBWAY                                 NY CHANGES IN RESPONSE
                                                     ==================       =====================================       ==============================================
                                                     *******KNOW*******       ***********DURING********** TAKE N/R        *TRAVEL* *SUBWAY* **SAFE** ****FEEL SAFE****
                                        NY   ILL     ANY SELF OTH NONE        SUBWAY NOT SUB N/R NOT N/R REG NOT          WAS NOT WAS NOT WAS NOT LESS MORE/NO DIFF
                                       ---- ----    ---- ---- ---- ----      ------- ------- ---- ------- ---- ----      ---- ---- ---- ---- ---- ---- ---- ------------

          TOTAL                         400 400       97   67   73 303           47       353 36*      364 122 278        126 195 122 187 176 148 215                158
                                       100% 100%    100% 100% 100% 100%        100%      100% 100%    100% 100% 100%     100% 100% 100% 100% 100% 100% 100%         100%


          Eastern District NY          100%    -    100% 100% 100% 100%        100%      100% 100%    100% 100% 100%     100% 100% 100% 100% 100% 100% 100%         100%
          East Div South Dist Illinois    - 100%       -    -    -    -           -         -    -       -    -    -        -    -    -    -    -    -    -            -

          EDUCATION
          NY: College                   30%     -    26%   30%   18%   32%      35%       30%   39%    29%   30%   31%   24%   39%   25%   39%   33%   31%   32%     32%
          NY: Less than college         70%     -    74%   70%   82%   68%      65%       70%   61%    71%   70%   69%   76%   61%   75%   61%   67%   69%   68%     68%
          ILL: College                    -   35%      -     -     -     -        -         -     -      -     -     -     -     -     -     -     -     -     -       -
          ILL: Less than college          -   65%      -     -     -     -        -         -     -      -     -     -     -     -     -     -     -     -     -       -

          SEX & RACE
          NY: White men                 24%     -    21%   23%   19%   25%      26%       24%   24%    24%   22%   25%   22%   27%   17%   31%   25%   25%   23%     27%
          NY: White women               27%     -    21%   18%   21%   29%      17%       29%   30%    27%   23%   29%   34%   25%   34%   23%   32%   21%   29%     25%
          NY: Other men                 21%     -    25%   25%   24%   20%      20%       21%   28%    20%   21%   21%   16%   17%   16%   21%   12%   26%   16%     26%
          NY: Other women               27%     -    33%   35%   35%   26%      37%       26%   18%    28%   33%   25%   28%   31%   32%   25%   30%   28%   32%     23%
          ILL: White men                  -   29%      -     -     -     -        -         -     -      -     -     -     -     -     -     -     -     -     -       -
          ILL: White women                -   32%      -     -     -     -        -         -     -      -     -     -     -     -     -     -     -     -     -       -
          ILL: Other men                  -   17%      -     -     -     -        -         -     -      -     -     -     -     -     -     -     -     -     -       -
          ILL: Other women                -   21%      -     -     -     -        -         -     -      -     -     -     -     -     -     -     -     -     -       -

          RACE & EDUCATION
          NY: White college             22%     -    17%   17%   15%   23%      24%       22%   29%    21%   19%   23%   18%   27%   17%   28%   24%   21%   21%     25%
          NY: White less                30%     -    25%   23%   26%   32%      20%       31%   25%    30%   27%   31%   38%   24%   35%   26%   33%   25%   31%     27%
          NY: Other college              9%     -     8%   12%    4%    9%      11%        8%   10%     8%   11%    7%    6%   11%    8%   11%    9%   10%   10%      7%
          NY: Other less                40%     -    49%   47%   56%   37%      45%       39%   35%    40%   43%   38%   38%   37%   41%   35%   34%   44%   38%     41%
          ILL: White college              -   28%      -     -     -     -        -         -     -      -     -     -     -     -     -     -     -     -     -       -
          ILL: White less                 -   34%      -     -     -     -        -         -     -      -     -     -     -     -     -     -     -     -     -       -
          ILL: Other college              -    8%      -     -     -     -        -         -     -      -     -     -     -     -     -     -     -     -     -       -
          ILL: Other less                 -   31%      -     -     -     -        -         -     -      -     -     -     -     -     -     -     -     -     -       -

          PARTY REG
          NY: Democrat                  40%     -    50%   51%   51%   36%      50%       38%   49%    39%   51%   35%   43%   46%   48%   45%   45%   43%   35%     52%
          NY: Republican                19%     -    13%   11%   15%   21%      15%       20%   17%    19%   14%   21%   20%   19%   19%   18%   19%   19%   24%     13%
          NY: Other                     26%     -    27%   22%   26%   26%      33%       25%   33%    26%   24%   27%   28%   21%   27%   20%   30%   17%   29%     24%
                                                                                                                                                                                   Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 220 of 239 PageID #: 434
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                                                   NY REGION               ILL REGION                       AGE                                  SEX                                  RACE
                                            =======================      ==============        ==============================             ==================         ======================================
                                                          NASS                                 ******NY****** ******ILL*****              ***NY*** ***ILL**          ********NY******** ********ILL*******
                              NY   ILL      BROOK QUEENS /STAT SUFF       COOK COLL REST       <50 50-64 65+ <50 50-64 65+                MEN WOM MEN WOM            WHT BLK HISP OTH WHT BLK HISP OTH
                             ---- ----     ------ ------ ----- ----      ----- ---- ----      ---- ----- ---- ---- ----- ----            ---- ---- ---- ----        ---- ---- ---- ---- ---- ---- ---- ----

TOTAL                         400 400        116      97    103   83      233 114    53        201     96 103 213           76 112        181 219 186 214            207   78   53   61 247    67   50 36*
                             100% 100%      100%    100%   100% 100%     100% 100% 100%       100%   100% 100% 100%       100% 100%      100% 100% 100% 100%        100% 100% 100% 100% 100% 100% 100% 100%


Eastern District NY          100%    -      100%    100%   100% 100%         -    -    -      100%   100% 100%    -          -    -      100% 100%    -    -        100% 100% 100% 100%    -    -    -    -
East Div South Dist Illinois    - 100%         -       -      -    -      100% 100% 100%         -      -    - 100%       100% 100%         -    - 100% 100%           -    -    -    - 100% 100% 100% 100%

THINK GUILTY
NY: Guilty                    57%      -     61%     47%    61%   56%        -      -     -    56%    55%   59%       -       -     -     53%   59%      -      -    59%    50%    63%    50%      -     -     -     -
NY: Not guilty                 3%      -      1%     10%      -    *         -      -     -     6%      -    *        -       -     -      4%    2%      -      -     2%     1%     7%     4%      -     -     -     -
NY: Other                     40%      -     38%     43%    39%   43%        -      -     -    38%    45%   41%       -       -     -     43%   38%      -      -    39%    49%    30%    46%      -     -     -     -
ILL: Guilty                     -   38%        -       -      -      -     42%    38%   22%      -      -      -   38%     37%    39%       -     -   38%    39%       -      -      -      -   38%    41%   44%   29%
ILL: Not guilty                 -    *         -       -      -      -       -      -    4%      -      -      -    *       *       -       -     -    *      *        -      -      -      -    *       -    2%    2%
ILL: Other                      -   61%        -       -      -      -     58%    62%   74%      -      -      -   61%     63%    61%       -     -   62%    61%       -      -      -      -   62%    59%   54%   69%

JURY VOTE
NY: Guilty                    51%     -      60%     43%    51%   47%         -     -     -    52%    48%   51%      -       -      -     46%   55%     -       -    51%    49%    64%    42%     -      -     -     -
NY: Not guilty                 2%     -       *       8%      -    *          -     -     -     4%      -    *       -       -      -      2%    3%     -       -     *      2%     6%     5%     -      -     -     -
NY: Other                     47%     -      40%     49%    49%   52%         -     -     -    43%    52%   49%      -       -      -     52%   42%     -       -    48%    50%    31%    53%     -      -     -     -
ILL: Guilty                     -   34%         -      -      -      -     37%    34%   25%      -      -      -   35%     40%    28%       -     -   33%    35%        -     -      -      -   33%    35%   48%   27%
ILL: Not guilty                 -    1%         -      -      -      -      *       -    8%      -      -      -    2%       -      -       -     -    2%     *         -     -      -      -    1%      -    1%    4%
ILL: Other                      -   65%         -      -      -      -     63%    66%   68%      -      -      -   62%     60%    72%       -     -   65%    64%        -     -      -      -   66%    65%   51%   68%

FAIR TRIAL
NY: Will be fair              64%     -      62%     55%    65%   73%        -      -     -    48%    74%   84%      -       -      -     64%   63%     -      -     72%    51%    64%    52%     -      -     -     -
NY: Will not be fair           7%     -       7%      8%     7%    8%        -      -     -     9%     8%    3%      -       -      -      7%    7%     -      -      7%     1%     7%    16%     -      -     -     -
NY: Other                     29%     -      31%     37%    28%   19%        -      -     -    42%    18%   13%      -       -      -     28%   30%     -      -     22%    47%    28%    32%     -      -     -     -
ILL: Will be fair               -   43%        -       -      -     -      43%    52%   30%      -      -     -    37%     47%    55%       -     -   44%    43%       -      -      -      -   49%    26%   38%   45%
ILL: Will not be fair           -    9%        -       -      -     -       8%     4%   21%      -      -     -    11%      4%     8%       -     -    9%     8%       -      -      -      -    8%     8%   11%   11%
ILL: Other                      -   48%        -       -      -     -      49%    45%   49%      -      -     -    53%     49%    37%       -     -   47%    49%       -      -      -      -   43%    66%   50%   44%

MEDIA COVERAGE
NY: Guilty                    46%      -     58%     37%    54%   31%         -     -     -    47%    42%   50%      -        -      -    42%   50%      -      -    45%    49%    54%    39%     -      -     -     -
NY: Not guilty                 2%      -      2%      2%     4%    2%         -     -     -     3%     1%    2%      -        -      -     2%    3%      -      -     2%     *      *      6%     -      -     -     -
NY: Other                     51%      -     40%     61%    43%   67%         -     -     -    50%    57%   48%      -        -      -    56%   48%      -      -    53%    50%    45%    54%     -      -     -     -
ILL: Guilty                     -   34%        -       -      -     -      34%    36%   31%      -      -     -    37%     40%    25%       -     -   32%    35%       -       -      -     -   30%    50%   41%   23%
ILL: Not guilty                 -    *         -       -      -     -       *      2%    2%      -      -     -     1%      *      *        -     -    *      *        -       -      -     -    1%      -    2%     -
ILL: Other                      -   65%        -       -      -     -      66%    62%   67%      -      -     -    62%     60%    74%       -     -   67%    64%       -       -      -     -   69%    50%   57%   77%
                                                                                                                                                                                                                         Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 221 of 239 PageID #: 435
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                                                      EDUCATION                          SEX & RACE                                         RACE & EDUCATION                            PARTY REG
                                                 ===================       ======================================                ======================================               =============
                                                 ****NY*** ***ILL***       ********NY******** ********ILL*******                 ********NY******** ********ILL*******                ******NY*****
                                   NY   ILL      COLL LESS COLL LESS       W M W W O M O W W M W W O M O W                       W C W L O C O L W C W L O C O L                      DEM REP OTH
                                  ---- ----     ----- ---- ---- ----      ---- ---- ---- ---- ---- ---- ---- ----               ---- ---- ---- ---- ---- ---- ---- ----              ---- ---- ----

     TOTAL                         400 400       121 279 142 258            98 109    84 109 117 130      69   84                 87 120 34* 159 112 135 30* 123                      159   76 106
                                  100% 100%     100% 100% 100% 100%       100% 100% 100% 100% 100% 100% 100% 100%               100% 100% 100% 100% 100% 100% 100% 100%              100% 100% 100%


     Eastern District NY          100%    -     100% 100%    -    -       100% 100% 100% 100%    -    -    -    -               100% 100% 100% 100%    -    -    -    -              100% 100% 100%
     East Div South Dist Illinois    - 100%        -    - 100% 100%          -    -    -    - 100% 100% 100% 100%                  -    -    -    - 100% 100% 100% 100%                 -    -    -

     THINK GUILTY
     NY: Guilty                    57%      -    57%   56%     -      -    55%    63%    51%   56%     -       -     -      -    55%   62%    61%   52%      -     -      -      -    66%    58%    52%
     NY: Not guilty                 3%      -     3%    3%     -      -     4%     1%     4%    4%     -       -     -      -     2%    2%     4%    4%      -     -      -      -     2%     2%     8%
     NY: Other                     40%      -    40%   41%     -      -    41%    36%    45%   40%     -       -     -      -    42%   36%    35%   44%      -     -      -      -    32%    40%    41%
     ILL: Guilty                     -   38%       -     -   41%   37%       -      -      -     -   36%    39%    40%   38%       -     -      -     -   40%    36%    44%   38%       -      -      -
     ILL: Not guilty                 -    *        -     -    1%    *        -      -      -     -     -     *      2%    *        -     -      -     -    *       -     4%    *        -      -      -
     ILL: Other                      -   61%       -     -   58%   63%       -      -      -     -   64%    60%    58%   61%       -     -      -     -   60%    64%    53%   61%       -      -      -

     JURY VOTE
     NY: Guilty                    51%     -     50%   51%     -     -     47%    55%    44%   56%     -       -     -     -     48%   53%    53%   50%     -      -      -     -     58%    51%    47%
     NY: Not guilty                 2%     -      3%    2%     -     -      *      *      3%    4%     -       -     -     -      1%    *      6%    3%     -      -      -     -      *      *      6%
     NY: Other                     47%     -     48%   46%     -     -     52%    45%    53%   40%     -       -     -     -     51%   46%    40%   47%     -      -      -     -     41%    49%    46%
     ILL: Guilty                     -   34%       -     -   34%   34%        -      -     -     -   33%    33%    34%   40%       -      -     -     -   32%    33%    40%   37%        -      -     -
     ILL: Not guilty                 -    1%       -     -    1%    1%        -      -     -     -    2%     *      2%    1%       -      -     -     -    1%     1%     2%    1%        -      -     -
     ILL: Other                      -   65%       -     -   65%   64%        -      -     -     -   66%    67%    64%   59%       -      -     -     -   66%    66%    58%   62%        -      -     -

     FAIR TRIAL
     NY: Will be fair              64%     -     69%   61%     -     -     72%    71%    55%   55%     -      -      -     -     71%   72%    66%   52%     -      -      -     -     73%    65%    50%
     NY: Will not be fair           7%     -      9%    7%     -     -      4%     9%    11%    5%     -      -      -     -      9%    6%    10%    7%     -      -      -     -      6%    13%     8%
     NY: Other                     29%     -     22%   32%     -     -     24%    19%    34%   40%     -      -      -     -     21%   22%    24%   40%     -      -      -     -     20%    22%    42%
     ILL: Will be fair               -   43%       -     -   51%   39%       -      -      -     -   51%    47%    32%   37%       -     -      -     -   52%    47%    48%   31%       -      -      -
     ILL: Will not be fair           -    9%       -     -   11%    8%       -      -      -     -    7%     9%    14%    7%       -     -      -     -   11%     6%    10%   10%       -      -      -
     ILL: Other                      -   48%       -     -   38%   53%       -      -      -     -   43%    44%    54%   56%       -     -      -     -   37%    48%    42%   59%       -      -      -

     MEDIA COVERAGE
     NY: Guilty                    46%      -    48%   45%     -      -    43%    47%    41%   52%      -     -      -      -    47%   44%    52%   47%     -       -     -     -     55%    47%    42%
     NY: Not guilty                 2%      -     3%    2%     -      -     *      3%     4%    2%      -     -      -      -     2%    2%     5%    2%     -       -     -     -      2%     4%     2%
     NY: Other                     51%      -    49%   52%     -      -    56%    49%    55%   46%      -     -      -      -    51%   54%    42%   51%     -       -     -     -     43%    49%    56%
     ILL: Guilty                     -   34%       -     -   31%   36%        -     -      -     -   28%    32%    40%   41%       -     -      -     -   29%    31%    38%   41%       -      -      -
     ILL: Not guilty                 -    *        -     -    2%    *         -     -      -     -    *      1%     1%    *        -     -      -     -    2%     *      4%     -       -      -      -
     ILL: Other                      -   65%       -     -   67%   64%        -     -      -     -   72%    67%    59%   59%       -     -      -     -   70%    68%    59%   59%       -      -      -
                                                                                                                                                                                                          Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 222 of 239 PageID #: 436
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                                                       THINK GUILTY                             JURY VOTE                               FAIR TRIAL                            MEDIA COVERAGE
                                               ============================            ============================            ============================            ============================
                                               ******NY***** *****ILL*****             ******NY***** *****ILL*****             ******NY***** *****ILL*****             ******NY***** *****ILL*****
                                 NY   ILL      GLT NOT OTH GLT NOT OTH                 GLT NOT OTH GLT NOT OTH                 YES NO    OTH YES NO     OTH            GLT NOT OTH GLT NOT OTH
                                ---- ----     ---- ---- ---- ---- ---- ----           ---- ---- ---- ---- ---- ----           ---- ---- ---- ---- ---- ----           ---- ---- ---- ---- ---- ----

   TOTAL                         400 400       226   12 162 153     2* 245             204   9* 187 137     5* 258             254   29 117 174 35* 191                186   9* 205 136     4* 260
                                100% 100%     100% 100% 100% 100% 100% 100%           100% 100% 100% 100% 100% 100%           100% 100% 100% 100% 100% 100%           100% 100% 100% 100% 100% 100%


   Eastern District NY          100%    -     100% 100% 100%    -    -    -           100% 100% 100%    -    -    -           100% 100% 100%    -    -    -           100% 100% 100%    -    -    -
   East Div South Dist Illinois    - 100%        -    -    - 100% 100% 100%              -    -    - 100% 100% 100%              -    -    - 100% 100% 100%              -    -    - 100% 100% 100%

   THINK GUILTY
   NY: Guilty                    57%      -   100%    -    -    -    -    -            94%     2%   19%     -      -      -    67%    68%   31%     -      -      -    84%    77%   31%     -     -      -
   NY: Not guilty                 3%      -      - 100%    -    -    -    -             *     82%    2%     -      -      -     *     10%    7%     -      -      -     *      6%    5%     -     -      -
   NY: Other                     40%      -      -    - 100%    -    -    -             6%    16%   79%     -      -      -    32%    22%   63%     -      -      -    15%    18%   65%     -     -      -
   ILL: Guilty                     -   38%       -    -    - 100%    -    -               -     -     -   90%      -   11%        -     -     -   54%    49%   22%        -     -     -   73%   51%   20%
   ILL: Not guilty                 -    *        -    -    -    - 100%    -               -     -     -     -    38%    *         -     -     -     -     5%    *         -     -     -     -   28%    *
   ILL: Other                      -   61%       -    -    -    -    - 100%               -     -     -   10%    62%   89%        -     -     -   46%    46%   78%        -     -     -   27%   21%   80%

   JURY VOTE
   NY: Guilty                    51%     -     84%     6%    8%      -     -     -    100%    -    -    -    -    -            63%    49%   26%     -      -      -    80%    51%   25%     -     -     -
   NY: Not guilty                 2%     -      *     62%    *       -     -     -       - 100%    -    -    -    -             *     10%    5%     -      -      -     *      6%    4%     -     -     -
   NY: Other                     47%     -     16%    32%   91%      -     -     -       -    - 100%    -    -    -            37%    41%   69%     -      -      -    20%    44%   72%     -     -     -
   ILL: Guilty                     -   34%        -     -      -   81%     -    5%       -    -    - 100%    -    -               -     -     -   47%    51%   19%        -     -     -   71%   23%   15%
   ILL: Not guilty                 -    1%        -     -      -     -   83%    1%       -    -    -    - 100%    -               -     -     -     -    10%    *         -     -     -     -   18%    2%
   ILL: Other                      -   65%        -     -      -   19%   17%   93%       -    -    -    -    - 100%               -     -     -   53%    38%   80%        -     -     -   29%   59%   83%

   FAIR TRIAL
   NY: Will be fair              64%     -     75%    12%   51%      -     -     -     78%    10%   50%     -      -     -    100%    -    -    -    -    -            76%    47%   53%     -     -     -
   NY: Will not be fair           7%     -      9%    23%    4%      -     -     -      7%    31%    6%     -      -     -       - 100%    -    -    -    -             9%    29%    5%     -     -     -
   NY: Other                     29%     -     16%    64%   45%      -     -     -     15%    59%   43%     -      -     -       -    - 100%    -    -    -            16%    23%   41%     -     -     -
   ILL: Will be fair               -   43%       -      -     -    61%     -   33%       -      -     -   60%      -   35%       -    -    - 100%    -    -              -      -     -   57%   28%   36%
   ILL: Will not be fair           -    9%       -      -     -    11%   78%    7%       -      -     -   13%    74%    5%       -    -    -    - 100%    -              -      -     -   13%   28%    6%
   ILL: Other                      -   48%       -      -     -    28%   22%   61%       -      -     -   27%    26%   59%       -    -    -    -    - 100%              -      -     -   29%   44%   58%

   MEDIA COVERAGE
   NY: Guilty                    46%      -    69%    11%   17%      -     -      -    73%     7%   19%      -     -      -    55%    55%   25%      -     -      -   100%    -    -    -    -    -
   NY: Not guilty                 2%      -     3%     4%    *       -     -      -     2%     6%    2%      -     -      -     2%     9%    2%      -     -      -      - 100%    -    -    -    -
   NY: Other                     51%      -    28%    84%   82%      -     -      -    25%    88%   78%      -     -      -    43%    36%   73%      -     -      -      -    - 100%    -    -    -
   ILL: Guilty                     -   34%       -      -      -   65%     -   15%       -      -     -   70%      -   16%       -      -     -   45%    52%   21%       -    -    - 100%    -    -
   ILL: Not guilty                 -    *        -      -      -    1%   49%    *        -      -     -    *     15%    *        -      -     -    *      3%    *        -    -    -    - 100%    -
   ILL: Other                      -   65%       -      -      -   34%   51%   85%       -      -     -   29%    85%   84%       -      -     -   54%    45%   78%       -    -    -    -    - 100%
                                                                                                                                                                                                             Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 223 of 239 PageID #: 437
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Banner4 by Banner3

                                                         NY AFFECTED                         NY SUBWAY                                  NY CHANGES IN RESPONSE
                                                      ==================       =====================================        ==============================================
                                                      *******KNOW*******       ***********DURING********** TAKE N/R         *TRAVEL* *SUBWAY* **SAFE** ****FEEL SAFE****
                                        NY   ILL      ANY SELF OTH NONE        SUBWAY NOT SUB N/R NOT N/R REG NOT           WAS NOT WAS NOT WAS NOT LESS MORE/NO DIFF
                                       ---- ----     ---- ---- ---- ----      ------- ------- ---- ------- ---- ----       ---- ---- ---- ---- ---- ---- ---- ------------

          TOTAL                         400 400        97   67   73 303           47       353 36*      364 122 278         126 195 122 187 176 148 215                    158
                                       100% 100%     100% 100% 100% 100%        100%      100% 100%    100% 100% 100%      100% 100% 100% 100% 100% 100% 100%             100%


          Eastern District NY          100%    -     100% 100% 100% 100%        100%      100% 100%    100% 100% 100%      100% 100% 100% 100% 100% 100% 100%             100%
          East Div South Dist Illinois    - 100%        -    -    -    -           -         -    -       -    -    -         -    -    -    -    -    -    -                -

          THINK GUILTY
          NY: Guilty                    57%      -    78%   73%   80%   50%      76%       54%   74%    55%   72%    50%   73%    57%    77%   55%   72%   55%    68%      47%
          NY: Not guilty                 3%      -     2%    3%    1%    3%        -        3%     -     3%    *      4%    *      *       -    2%     -    4%     1%       6%
          NY: Other                     40%      -    20%   24%   19%   47%      24%       43%   26%    42%   27%    46%   27%    42%    23%   43%   28%   42%    31%      47%
          ILL: Guilty                     -   38%       -     -     -     -        -         -     -      -      -     -      -      -     -     -     -     -      -        -
          ILL: Not guilty                 -    *        -     -     -     -        -         -     -      -      -     -      -      -     -     -     -     -      -        -
          ILL: Other                      -   61%       -     -     -     -        -         -     -      -      -     -      -      -     -     -     -     -      -        -

          JURY VOTE
          NY: Guilty                    51%     -     77%   74%   81%   43%      73%       48%   67%    49%   72%    42%   66%    52%    69%   50%   62%   53%    61%       41%
          NY: Not guilty                 2%     -       -     -     -    3%        -        3%     -     2%     -     3%     -     1%      -    2%     -    2%     *         5%
          NY: Other                     47%     -     23%   26%   19%   54%      27%       50%   33%    48%   28%    55%   34%    47%    31%   48%   38%   45%    38%       54%
          ILL: Guilty                     -   34%       -     -     -     -        -         -     -      -     -      -     -      -      -     -     -     -       -        -
          ILL: Not guilty                 -    1%       -     -     -     -        -         -     -      -     -      -     -      -      -     -     -     -       -        -
          ILL: Other                      -   65%       -     -     -     -        -         -     -      -     -      -     -      -      -     -     -     -       -        -

          FAIR TRIAL
          NY: Will be fair              64%     -     64%   65%   63%   63%      52%       65%   63%    64%   70%    61%   75%    67%    72%   67%   72%   69%    69%      60%
          NY: Will not be fair           7%     -     11%   14%   13%    6%      18%        6%   21%     6%   10%     6%    6%     8%     8%    7%    8%    6%     9%       6%
          NY: Other                     29%     -     25%   20%   24%   31%      30%       29%   16%    31%   20%    33%   19%    25%    20%   27%   20%   25%    22%      34%
          ILL: Will be fair               -   43%       -     -     -     -        -         -     -      -     -      -     -      -      -     -     -     -      -        -
          ILL: Will not be fair           -    9%       -     -     -     -        -         -     -      -     -      -     -      -      -     -     -     -      -        -
          ILL: Other                      -   48%       -     -     -     -        -         -     -      -     -      -     -      -      -     -     -     -      -        -

          MEDIA COVERAGE
          NY: Guilty                    46%      -    63%   62%   73%   41%      61%       44%   52%    46%   64%    39%   58%    49%    66%   46%   58%   46%    53%      42%
          NY: Not guilty                 2%      -     2%    3%    2%    2%       7%        2%    9%     2%    4%     2%    2%     2%     1%    1%    3%    *      3%       *
          NY: Other                     51%      -    35%   35%   26%   57%      32%       54%   39%    53%   33%    60%   40%    49%    33%   53%   38%   53%    44%      58%
          ILL: Guilty                     -   34%       -     -     -     -        -         -     -      -     -      -     -      -      -     -     -      -     -         -
          ILL: Not guilty                 -    *        -     -     -     -        -         -     -      -     -      -     -      -      -     -     -      -     -         -
          ILL: Other                      -   65%       -     -     -     -        -         -     -      -     -      -     -      -      -     -     -      -     -         -
                                                                                                                                                                                         Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 224 of 239 PageID #: 438
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                                                  NY REGION             ILL REGION                    AGE                            SEX                             RACE
                                           =======================    ==============     ==============================       ==================    ======================================
                                                         NASS                            ******NY****** ******ILL*****        ***NY*** ***ILL**     ********NY******** ********ILL*******
                               NY   ILL    BROOK QUEENS /STAT SUFF     COOK COLL REST    <50 50-64 65+ <50 50-64 65+          MEN WOM MEN WOM       WHT BLK HISP OTH WHT BLK HISP OTH
                              ---- ----   ------ ------ ----- ----    ----- ---- ----   ---- ----- ---- ---- ----- ----      ---- ---- ---- ----   ---- ---- ---- ---- ---- ---- ---- ----

TOTAL                          400 400      116     97    103   83     233 114    53     201     96 103 213        76 112     181 219 186 214       207   78   53   61 247    67   50 36*
                              100% 100%    100%   100%   100% 100%    100% 100% 100%    100%   100% 100% 100%    100% 100%   100% 100% 100% 100%   100% 100% 100% 100% 100% 100% 100% 100%


Eastern District NY          100%    -     100%   100%   100% 100%        -    -    -   100%   100% 100%    -       -    -   100% 100%    -    -   100% 100% 100% 100%    -    -    -    -
East Div South Dist Illinois    - 100%        -      -      -    -     100% 100% 100%      -      -    - 100%    100% 100%      -    - 100% 100%      -    -    -    - 100% 100% 100% 100%

NY AFFECTED
Know anyone                   24%     -     32%    37%    14%   11%       -    -    -    27%    18%   24%    -      -    -    25%   24%   -    -    20%   27%   42%   20%    -    -   -   -
Self                          17%     -     22%    26%    11%    6%       -    -    -    16%    14%   20%    -      -    -    18%   16%   -    -    13%   18%   28%   19%    -    -   -   -
Others                        18%     -     27%    25%    11%    7%       -    -    -    22%    11%   19%    -      -    -    18%   19%   -    -    14%   27%   31%    9%    -    -   -   -
Know no one                   76%     -     68%    63%    86%   89%       -    -    -    73%    82%   76%    -      -    -    75%   76%   -    -    80%   73%   58%   80%    -    -   -   -

NY SUBWAY
On subway during              12%     -     15%    12%    10%    8%       -    -    -    15%     9%    9%    -      -    -    12%   12%   -    -    10%   12%   16%   15%    -    -   -   -
Not on subway during          88%     -     85%    88%    90%   92%       -    -    -    85%    91%   91%    -      -    -    88%   88%   -    -    90%   88%   84%   85%    -    -   -   -
On N/R line during             9%     -     11%    12%     6%    6%       -    -    -    13%     4%    5%    -      -    -    10%    8%   -    -    10%    4%   14%   10%    -    -   -   -
Not on N/R line during        91%     -     89%    88%    94%   94%       -    -    -    87%    96%   95%    -      -    -    90%   92%   -    -    90%   96%   86%   90%    -    -   -   -
Regularly take N/R line       30%     -     44%    33%    27%   12%       -    -    -    32%    33%   24%    -      -    -    29%   31%   -    -    27%   39%   29%   32%    -    -   -   -
Do not regularly take N/R     70%     -     56%    67%    73%   88%       -    -    -    68%    67%   76%    -      -    -    71%   69%   -    -    73%   61%   71%   68%    -    -   -   -
                     line

NY CHANGES IN RESPONSE
Changed travel habits         32%     -     31%    36%    33%   25%       -    -    -    29%    30%   39%    -      -    -    27%   36%   -    -    34%   29%   33%   26%    -    -   -   -
Didn't change travel habits   49%     -     61%    32%    47%   52%       -    -    -    43%    57%   51%    -      -    -    47%   50%   -    -    48%   52%   54%   41%    -    -   -   -
Changed subway usage          30%     -     36%    32%    30%   21%       -    -    -    25%    34%   37%    -      -    -    22%   37%   -    -    30%   40%   26%   22%    -    -   -   -
Didn't change subway usage    47%     -     53%    34%    49%   50%       -    -    -    44%    49%   51%    -      -    -    53%   41%   -    -    49%   47%   45%   41%    -    -   -   -
Changed feeling safe          44%     -     45%    43%    46%   42%       -    -    -    41%    46%   48%    -      -    -    36%   50%   -    -    49%   43%   42%   31%    -    -   -   -
Didn't change feeling safe    37%     -     42%    33%    37%   35%       -    -    -    34%    38%   42%    -      -    -    41%   33%   -    -    33%   43%   46%   35%    -    -   -   -
Feel less safe on subway      54%     -     53%    53%    62%   45%       -    -    -    48%    59%   60%    -      -    -    47%   60%   -    -    54%   52%   61%   48%    -    -   -   -
Feel more safe or no          40%     -     41%    40%    33%   45%       -    -    -    44%    36%   33%    -      -    -    46%   34%   -    -    39%   41%   39%   40%    -    -   -   -
          difference
                                                                                                                                                                                              Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 225 of 239 PageID #: 439
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                                                     EDUCATION                       SEX & RACE                              RACE & EDUCATION                 PARTY REG
                                                ===================    ======================================     ======================================    =============
                                                ****NY*** ***ILL***    ********NY******** ********ILL*******      ********NY******** ********ILL*******     ******NY*****
                                    NY   ILL    COLL LESS COLL LESS    W M W W O M O W W M W W O M O W            W C W L O C O L W C W L O C O L           DEM REP OTH
                                   ---- ----   ----- ---- ---- ----   ---- ---- ---- ---- ---- ---- ---- ----    ---- ---- ---- ---- ---- ---- ---- ----   ---- ---- ----

     TOTAL                          400 400     121 279 142 258         98 109    84 109 117 130      69   84      87 120 34* 159 112 135 30* 123           159   76 106
                                   100% 100%   100% 100% 100% 100%    100% 100% 100% 100% 100% 100% 100% 100%    100% 100% 100% 100% 100% 100% 100% 100%   100% 100% 100%


     Eastern District NY          100%    -    100% 100%    -    -    100% 100% 100% 100%    -    -    -    -    100% 100% 100% 100%    -    -    -    -   100% 100% 100%
     East Div South Dist Illinois    - 100%       -    - 100% 100%       -    -    -    - 100% 100% 100% 100%       -    -    -    - 100% 100% 100% 100%      -    -    -

     NY AFFECTED
     Know anyone                   24%     -    21%   26%    -    -    21%   18%   29%   29%   -    -    -   -   19%   20%   24%   30%   -   -    -    -    30%   16%   25%
     Self                          17%     -    16%   17%    -    -    16%   11%   20%   21%   -    -    -   -   13%   13%   24%   20%   -   -    -    -    22%   10%   14%
     Others                        18%     -    11%   22%    -    -    14%   14%   21%   24%   -    -    -   -   12%   16%    8%   26%   -   -    -    -    23%   15%   18%
     Know no one                   76%     -    79%   74%    -    -    79%   82%   71%   71%   -    -    -   -   81%   80%   76%   70%   -   -    -    -    70%   84%   75%

     NY SUBWAY
     On subway during              12%     -    14%   11%    -    -    13%    8%   11%   16%   -    -    -   -   13%    8%   16%   13%   -   -    -    -    15%    9%   15%
     Not on subway during          88%     -    86%   89%    -    -    87%   92%   89%   84%   -    -    -   -   87%   92%   84%   87%   -   -    -    -    85%   91%   85%
     On N/R line during             9%     -    12%    8%    -    -     9%   10%   12%    6%   -    -    -   -   12%    8%   11%    8%   -   -    -    -    11%    8%   11%
     Not on N/R line during        91%     -    88%   92%    -    -    91%   90%   88%   94%   -    -    -   -   88%   92%   89%   92%   -   -    -    -    89%   92%   89%
     Regularly take N/R line       30%     -    30%   31%    -    -    28%   26%   31%   36%   -    -    -   -   26%   27%   39%   33%   -   -    -    -    39%   22%   28%
     Do not regularly take N/R     70%     -    70%   69%    -    -    72%   74%   69%   64%   -    -    -   -   74%   73%   61%   67%   -   -    -    -    61%   78%   72%
                          line

     NY CHANGES IN RESPONSE
     Changed travel habits         32%     -    25%   34%    -    -    28%   39%   25%   33%   -    -    -   -   26%   40%   23%   30%   -   -    -    -    34%   34%   34%
     Didn't change travel habits   49%     -    62%   43%    -    -    53%   44%   40%   56%   -    -    -   -   61%   39%   64%   46%   -   -    -    -    56%   48%   38%
     Changed subway usage          30%     -    25%   33%    -    -    22%   38%   23%   36%   -    -    -   -   24%   35%   27%   31%   -   -    -    -    37%   31%   31%
     Didn't change subway usage    47%     -    60%   41%    -    -    59%   40%   47%   43%   -    -    -   -   61%   40%   58%   42%   -   -    -    -    54%   45%   36%
     Changed feeling safe          44%     -    48%   42%    -    -    45%   52%   26%   49%   -    -    -   -   49%   49%   45%   37%   -   -    -    -    50%   45%   50%
     Didn't change feeling safe    37%     -    37%   37%    -    -    38%   28%   46%   38%   -    -    -   -   35%   31%   43%   41%   -   -    -    -    40%   38%   24%
     Feel less safe on subway      54%     -    56%   53%    -    -    52%   56%   41%   63%   -    -    -   -   53%   55%   64%   51%   -   -    -    -    47%   68%   59%
     Feel more safe or no          40%     -    42%   39%    -    -    43%   36%   49%   33%   -    -    -   -   45%   35%   34%   41%   -   -    -    -    51%   27%   36%
               difference
                                                                                                                                                                              Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 226 of 239 PageID #: 440
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                                                      THINK GUILTY                     JURY VOTE                        FAIR TRIAL                    MEDIA COVERAGE
                                              ============================    ============================     ============================    ============================
                                              ******NY***** *****ILL*****     ******NY***** *****ILL*****      ******NY***** *****ILL*****     ******NY***** *****ILL*****
                                  NY   ILL    GLT NOT OTH GLT NOT OTH         GLT NOT OTH GLT NOT OTH          YES NO    OTH YES NO     OTH    GLT NOT OTH GLT NOT OTH
                                 ---- ----   ---- ---- ---- ---- ---- ----   ---- ---- ---- ---- ---- ----    ---- ---- ---- ---- ---- ----   ---- ---- ---- ---- ---- ----

   TOTAL                          400 400     226   12 162 153     2* 245     204   9* 187 137     5* 258      254   29 117 174 35* 191        186   9* 205 136     4* 260
                                 100% 100%   100% 100% 100% 100% 100% 100%   100% 100% 100% 100% 100% 100%    100% 100% 100% 100% 100% 100%   100% 100% 100% 100% 100% 100%


   Eastern District NY          100%    -    100% 100% 100%    -    -    -   100% 100% 100%    -    -    -    100% 100% 100%    -    -    -   100% 100% 100%    -    -    -
   East Div South Dist Illinois    - 100%       -    -    - 100% 100% 100%      -    -    - 100% 100% 100%       -    -    - 100% 100% 100%      -    -    - 100% 100% 100%

   NY AFFECTED
   Know anyone                   24%     -   33%   18%   12%   -    -    -    36%    -    12%   -   -     -    24%   36%   20%   -   -    -    33%   22%   16%     -    -    -
   Self                          17%     -   22%   18%   10%   -    -    -    24%    -     9%   -   -     -    17%   33%   12%   -   -    -    22%   22%   11%     -    -    -
   Others                        18%     -   26%    6%    9%   -    -    -    29%    -     7%   -   -     -    18%   33%   15%   -   -    -    29%   12%    9%     -    -    -
   Know no one                   76%     -   67%   82%   88%   -    -    -    64% 100%    88%   -   -     -    76%   64%   80%   -   -    -    67%   78%   84%     -    -    -

   NY SUBWAY
   On subway during              12%     -   16%    -     7%   -    -    -    17%    -     7%   -   -     -    10%   30%   12%   -   -    -    15%   38%    7%     -    -    -
   Not on subway during          88%     -   84% 100%    93%   -    -    -    83% 100%    93%   -   -     -    90%   70%   88%   -   -    -    85%   62%   93%     -    -    -
   On N/R line during             9%     -   12%    -     6%   -    -    -    12%    -     6%   -   -     -     9%   26%    5%   -   -    -    10%   34%    7%     -    -    -
   Not on N/R line during        91%     -   88% 100%    94%   -    -    -    88% 100%    94%   -   -     -    91%   74%   95%   -   -    -    90%   66%   93%     -    -    -
   Regularly take N/R line       30%     -   39%   6%    20%   -    -    -    43%    -    18%   -   -     -    33%   43%   21%   -   -    -    42%   49%   19%     -    -    -
   Do not regularly take N/R     70%     -   61% 94%     80%   -    -    -    57% 100%    82%   -   -     -    67%   57%   79%   -   -    -    58%   51%   81%     -    -    -
                        line

   NY CHANGES IN RESPONSE
   Changed travel habits         32%     -   41%    6%   21%   -    -    -    41%     -   23%   -   -     -    37%   28%   20%   -   -    -    39%   24%   25%     -    -    -
   Didn't change travel habits   49%     -   49%   15%   51%   -    -    -    49%   22%   49%   -   -     -    51%   51%   42%   -   -    -    52%   49%   46%     -    -    -
   Changed subway usage          30%     -   41%     -   18%   -    -    -    41%     -   20%   -   -     -    34%   32%   21%   -   -    -    43%   15%   19%     -    -    -
   Didn't change subway usage    47%     -   46%   28%   50%   -    -    -    46%   43%   48%   -   -     -    49%   43%   43%   -   -    -    47%   27%   48%     -    -    -
   Changed feeling safe          44%     -   56%     -   31%   -    -    -    53%     -   36%   -   -     -    50%   48%   30%   -   -    -    55%   61%   33%     -    -    -
   Didn't change feeling safe    37%     -   36%   46%   38%   -    -    -    38%   39%   35%   -   -     -    40%   32%   32%   -   -    -    36%   15%   38%     -    -    -
   Feel less safe on subway      54%     -   64%   20%   41%   -    -    -    65%    8%   44%   -   -     -    58%   68%   41%   -   -    -    61%   73%   46%     -    -    -
   Feel more safe or no          40%     -   33%   80%   46%   -    -    -    32%   88%   46%   -   -     -    37%   32%   46%   -   -    -    36%   12%   44%     -    -    -
             difference
                                                                                                                                                                                 Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 227 of 239 PageID #: 441
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Banner4 by Banner4

                                                        NY AFFECTED                         NY SUBWAY                                    NY CHANGES IN RESPONSE
                                                     ==================       =====================================          ==============================================
                                                     *******KNOW*******       ***********DURING********** TAKE N/R           *TRAVEL* *SUBWAY* **SAFE** ****FEEL SAFE****
                                         NY   ILL    ANY SELF OTH NONE        SUBWAY NOT SUB N/R NOT N/R REG NOT             WAS NOT WAS NOT WAS NOT LESS MORE/NO DIFF
                                        ---- ----   ---- ---- ---- ----      ------- ------- ---- ------- ---- ----         ---- ---- ---- ---- ---- ---- ---- ------------

          TOTAL                          400 400      97   67   73 303           47       353 36*       364 122 278          126 195 122 187 176 148 215                 158
                                        100% 100%   100% 100% 100% 100%        100%      100% 100%     100% 100% 100%       100% 100% 100% 100% 100% 100% 100%          100%


          Eastern District NY          100%    -    100% 100% 100% 100%        100%      100% 100%     100% 100% 100%       100% 100% 100% 100% 100% 100% 100%          100%
          East Div South Dist Illinois    - 100%       -    -    -    -           -         -    -        -    -    -          -    -    -    -    -    -    -             -

          NY AFFECTED
          Know anyone                   24%     -   100% 100% 100%    -          64%       19%   68%    20%     47%   14%    46%   16%   48%   14%   36%   20%   35%      13%
          Self                          17%     -    69% 100% 60%     -          33%       15%   30%    15%     34%    9%    38%    8%   35%    8%   27%   13%   26%       7%
          Others                        18%     -    76% 65% 100%     -          56%       13%   56%    15%     37%   10%    35%   13%   40%    9%   28%   15%   27%       8%
          Know no one                   76%     -      -    -    - 100%          36%       81%   32%    80%     53%   86%    54%   84%   52%   86%   64%   80%   65%      87%

          NY SUBWAY
          On subway during              12%     -    31%   24%   36%    6%      100%         - 78%       5% 30%    4%        18%   12%   19%   10%   18%    8%   14%      10%
          Not on subway during          88%     -    69%   76%   64%   94%         -      100% 22%      95% 70% 96%          82%   88%   81%   90%   82%   92%   86%      90%
          On N/R line during             9%     -    25%   16%   28%    4%       60%        2% 100%       - 26%    2%        15%    7%   13%    7%   13%    6%   10%       8%
          Not on N/R line during        91%     -    75%   84%   72%   96%       40%       98%    -    100% 74% 98%          85%   93%   87%   93%   87%   94%   90%      92%
          Regularly take N/R line       30%     -    59%   62%   62%   21%       77%       24% 88%      25% 100%    -        52%   25%   58%   21%   48%   19%   40%      21%
          Do not regularly take N/R     70%     -    41%   38%   38%   79%       23%       76% 12%      75%    - 100%        48%   75%   42%   79%   52%   81%   60%      79%
                               line

          NY CHANGES IN RESPONSE
          Changed travel habits         32%     -    60%   71%   60%   23%      47%       29%    52%   30%    54%     22%   100%    - 78% 13% 63% 11% 51%                 11%
          Didn't change travel habits   49%     -    33%   22%   33%   54%      48%       49%    39%   50%    40%     53%      - 100% 20% 81% 34% 81% 41%                 64%
          Changed subway usage          30%     -    60%   64%   66%   21%      49%       28%    44%   29%    58%     18%    76% 13% 100%    - 62%   8% 49%                8%
          Didn't change subway usage    47%     -    27%   22%   24%   53%      39%       48%    36%   48%    33%     53%    19% 78%    - 100% 27% 85% 34%                70%
          Changed feeling safe          44%     -    66%   70%   67%   37%      66%       41%    63%   42%    70%     33%    87% 31% 90% 26% 100%     - 68%               19%
          Didn't change feeling safe    37%     -    31%   28%   30%   39%      26%       38%    23%   38%    23%     43%    13% 61% 10% 67%     - 100% 25%               56%
          Feel less safe on subway      54%     -    77%   84%   79%   46%      63%       53%    61%   53%    71%     46%    86% 45% 87% 39% 83% 37% 100%                   -
          Feel more safe or no          40%     -    21%   16%   18%   46%      33%       40%    33%   40%    27%     45%    14% 52% 11% 59% 17% 60%      -              100%
                    difference
                                                                                                                                                                                       Case 1:22-cr-00214-WFK Document 40 Filed 11/07/22 Page 228 of 239 PageID #: 442
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                            Verbatim Responses to Open-Ended Questions

Question 4. In your own words, what do you remember about the incident? What else? Anything else?

Eastern District of New York.
1      There was a shooting, and they didn't mention much else.
4      He set off some gas pellets before the shootings.
5      They got the gun away from him or he would have shot more people.
6      We cancelled our trip that morning due to the shooting.
7      You were horrified.
10     He was shooting at the passengers. The subway stopped for a few hours.
12     That someone on the train was shooting, maybe randomly.
15     I just remember it seemed so impossible for him to get on, shoot people, and get off without being
       able to be found.
16     Was found and arrested at mc Donald's for the shooting.
19     That he just did a random shooting, nobody tried to stop him.
21     It was traumatic, glad they caught him, citizens help to get him arrested, people were scared and
       upset, and I worked in that area.
24     He got on the train and started shooting.
25     I only saw a headline.
27     Innocent people on the train, feel he is guilty.
30     I saw a clip on TV.
32     I remember it was horrible and a lot of news coverage.
35     Someone came into the train and they placed some smoke bombs. They began shooting and they
       were wearing a construction uniform.
41     The shooting happened in Brooklyn.
43     He went into McDonalds and called police on himself.
44     I had a friend of mine who was riding the subway I was concern for him.
47     The person who identified the suspect.
49     Just the report that someone was shot on the subway.
51     It was unusual and I had never heard of anyone using smoke canisters. I am aware he was from out
       of state. Not sure why he came to our city to conduct his crime.
55     That he shot all these people.
58     I he came subway he caught walking around.
60     It was in the afternoon, he started shooting people in the subway. Then he ran away. Then the
       police were looking for him. Then he called the police himself. He was in a restaurant in the city.
64     Her friend was in the car and thought the car was on fire.
66     I remember the headlines only. I think it was a subway shooting.
71     It was surprising to make you feel unsafe.
73     During lockdown, the Mayor released mental health patients to free up beds for Covid. I believe we
       are stuck with the ramifications of that decision.
77     I was scared and didn't take the subway.
82     He was trying to kill people and ran off, but they found him.
83     Just that there was a shooting on the train.
84     Another unwarranted incident.
85     Opened fire on subway.
88     Shooting and death.
92     That it was early in the morning.
94     That it happened.
95     He was arrested.
97     Subway, he ignited a fire some kind of smoke device. took handgun and started to shoot people.
98     That he just wanted to kill whites, but the media doesn't report the truth.
100    A rampage.
102    It was loud and close to my mother’s house.
104    Went wild in a McDonald’s.
106    Rampage of shooting.
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Responses to Open-Ended Questions   SL3617-8    Eastern Dist. of New York/Eastern Div. of Northern Dist. of Illinois   2/11


107     Heavy set man, shooting in early morning while kids were on the way to school.
108     Gas mask and started shooting.
111     Threw canisters of smoke and shooting up the subway happened in the morning during rush hour,
        and he was African-American male.
112     Just that it happened.
114     Know from news.
115     That he drove from out of state and had gas mask and started shooting.
116     Lot of smoke, he fired on passengers.
118     He shot a number of people.
120     I remember it was an older gentleman the police had picture of him.
121     Escaped using subway, shooting on subway.
122     He was mentally ill.
123     He shot a lot of people.
125     Shooting on subway.
126     He drove a van out of state and had handguns and threw smoke.
127     Remember it being on the news and close to my home.
128     He shot a lot of people.
130     The news showing kids shot on the subway.
131     They showed how he was talking himself up than ran out and started shooting.
133     It was close to home. And nothing like that really happens. Robberies, but nothing like that.
        Intoxication or drugs at night, but nothing during the day. Police are always in the area. Especially at
        36th Street.
135     He was a big man and turned himself in.
139     He sounded like a real nut case.
141     Was an incident on the subway. Person was caught.
143     It was sad.
145     I believe he turned himself in. It caused major havoc, and the cameras were not working.
146     He just shot randomly.
147     It was in the news, but I didn't pay attention to it.
149     He was mad at the world.
150     I recall it was chaos, caught my attention because grew up in Sunset Park.
152     He was wearing a mask and attempted to kill those in the subway system. Male, Black.
163     It was just tragic.
164     I saw it in the news.
168     Not too much just it was close to home and pretty scary.
169     I remember he shot several people and had no remorse. Previously convicted on other crimes but
        bailed out.
170     Seeing it on the news coming home from work smoke was coming out of the subway area.
172     Shooting.
173     That he isn't a resident of New York and had explosives and a gun. Numerous injured.
174     Lots of chaos and lots of people were shot.
176     It occurred in Brooklynn. He went into the subway around school dismissal time. He shot into the
        crowd. Police did excellent job.
179     He was dressed up as a worker.
180     That my kid told me about it and a lock down in school.
182     Aware of the shooting at 1st known the name but forgot now.
187     He look like a Subway worker and something smoke and starting thankful no one died.
189     That after shooting he tried to enter a school but was denied entry.
190     It was 7:30 in the am He exploded a smoke device and then he started shooting. It looked like every
        one that was shot was shot in the leg. He got away and turned himself in the next day.
194     The man killed like 10 people.
201     Smoke grenade guy and started shooting people.
202     It was horrifying that a deranged man started shooting in rush hour on a moving vehicle. A lot of
        people died, but luckily his gun jammed.
204     The incident happened that's all I know.
205     Just about him being arrested.
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Responses to Open-Ended Questions   SL3617-8   Eastern Dist. of New York/Eastern Div. of Northern Dist. of Illinois   3/11


207     He is accused of subway mass shooting.
208     Happened during the day on 9th street and he shot many people was no one hit.
210     Smoke grenade and shot a lot and caught him sitting down.
213     I recall the area I was in. The person shot 11 or 12 people some were hurt. The person that was
        looking for him couldn't find him but was looking for him.
215     Deranged individual. A Black man.
216     A lot a people are injured.
217     He is Black man and people got shot. another mass shooting.
224     Threw smoke grenades and started shooting. One person died and shot 11 or 12 people.
226     I just heard it was a guy shooting people on the subway.
227     He is a maniac allegedly sprayed more than 30 bullets for innocent people.
232     Total insanity.
233     Remembered the vicinity.
234     Shooting, early in morning, firefighters showed up, barricaded.
237     Started shooting crazily by the station and saw on the news.
238     It happened around school time.
239     He was spotted getting food after the shooting, and used a smoke bomb maybe.
240     He killed the innocent people.
241     It’s about the shooting that occurred in April.
244     I was at work, but it happened on the train.
245     It was awful.
248     Just the shooting.
249     I don't really remember much about it but that he was guilty.
250     Hearing the shots.
253     He had a bomb, and then took out a gun.
254     There was a shooting on a train.
255     Subway shooting.
256     Black man entered the subway and was going to do domestic terrorism.
257     It was on a subway, with a 9mm, by a Black man.
258     News stating a shooting.
259     Moring rush.
262     Accused of shooting several people.
265     Shooting on the subway.
267     Don't know much other than he was arrested and that about it.
268     It was very scary.
269     The shooting.
270     Mother was on train.
272     That a lot of people got hurt.
273     He opened fire on the crowded train.
274     People got shot on the subway.
275     Hearing on tv.
279     That his own tip led law enforcement to him.
280     It was a shooting that killed people on the subway.
282     I only remember the sound of screaming and shots.
283     Just remember he shot some people.
285     All I remember it was on the subway and glad I don't take the subway.
286     He gunned people down and had terrorist stuff in his backpack.
287     Injured a lot of people on the subway.
288     I just heard about the man went into the subway and started shooting.
289     Subway shooting.
293     He was alone and started shooting people.
294     A shooting in Brooklyn.
295     Nothing other than he was shooting like a lunatic.
296     He is the one who responsible of shooting.
297     Shooting.
298     That it happened not much.
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Responses to Open-Ended Questions   SL3617-8    Eastern Dist. of New York/Eastern Div. of Northern Dist. of Illinois   4/11


299     Older man riding the subway but I don’t know why he did it.
303     He started shooting after moving state to state.
305     He shot 10 people and jumped on another train.
308     That it is unsafe to take subway and I take subway several times a week. It scares me.
309     My brother-in-law was near the shooting.
310     That 10 people were killed and a lot more were injured.
311     He was on the train and just started shooting.
314     He arrested in connection of firing an innocent people.
316     That a lot of people were killed and injured for no reason.
317     It was a shooting on the Subway.
319     He passed a barber shop and he called the police.
320     Mass shooting.
321     Remember seeing it on the news.
323     After he randomly shot people he fled, then next day called police as tipline to turn himself in.
324     I heard shots and screaming.
325     He committed a horrific act that resulted a lot of people killed.
327     That 10 people were killed and a lot more were hurt.
330     He killed 30 people on the train last April.
331     Basically, it was in the morning, and it was I think in the L or G train.
332     Some people got injured cause fired shots on train.
333     Weekday morning and he started shooting.
334     Random shooting. Took a couple days to find him.
335     Perpetrator deployed smoke bomb and started shooting.
337     Black guy threw smoke bombs into a train, while wearing a gas mask and then started shooting in
        the train.
338     The individual shot eight people in the subway and was on the loose for two days until he turned
        himself into the NYPD.
339     He was wearing bulletproof vest while shooting others with the intention of killing.
340     I was working in an area not far from Sunset Park that day. My coworkers were worried. We heard
        that it was a shooting in the train and over a dozen were injured.
342     He had prior arrests.
345     Someone repeatedly fired a handgun on the N/R line in Sunset Park, with some injured but
        thankfully none killed. He was later identified by a bodega worker and turned himself in.
346     Several people were shot but no one was killed, the suspect turned himself in a day later, police
        could not say how they didn’t apprehend him earlier.
348     Shot numerous people.
351     I believe he had multiple weapons and starting shooting in the subway.
352     He shot multiple unarmed non-Blacks on the subway.
354     Frank James was on a subway with a mask and then he threw smoke bombs on train and began
        shooting. Thankfully no one died.
357     Nobody died.
359     There were viral videos of injured persons, and a manhunt over the next few days. This was in my
        neighborhood; I was a few blocks away at the time.
360     A man brought a gun and smoke grenades onto the train, was not detected due to cameras being
        broken, and no officers being at the station. He detonated the smoke and shot a bunch of people.
        He proceeded to get off the train and was not apprehended until a bystander got him.
365     Smoke bomb. Glock. Gun jammed. He turned himself in.
368     The police fucked it up.
370     Just that it happened. It wasn’t a politically motivated, so the media didn’t give it much attention.
372     He shot at people in an underground Sunset Park station, the subway cameras were not working,
        he got away but then he was arrested on St. Marks and I think 3rd or 2nd the next day; I heard
        somebody recognized him but I also heard he turned himself in.
373     It was horrific.
375     Crazy guy from elsewhere came back to NY to do a shooting and shot a bunch of people on the N
        train.
376     My friend was one of the people who got shot.
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Responses to Open-Ended Questions   SL3617-8   Eastern Dist. of New York/Eastern Div. of Northern Dist. of Illinois   5/11


378     He drove in from out of state, parked his vehicle, and boarded the subway with a number of guns.
        He had previously made several YouTube videos attacking racial minorities living in the city.
380     I do recall a story of Frank James opening gunfire on a busy NYC subway station. But I just
        assumed he would get the typical NYC slap on the wrist and free to go if you're a person of color.
381     He used a smoke bomb them began shooting. He was arrested a couple days later very close to
        where I work in the meat packing district.
382     Getting a call from my mother about it but not being aware otherwise.
383     Suspect apprehended after turning himself in. Lots of press about NYPD efforts. Not a lot else. Felt
        like another day.
384     Someone was on the subway with a gun tried to shoot people and the gun jammed.
388     A man shot at least 10 people on the subway.
391     Some guy opened fire in a subway station.
393     That the man entered the subway car with a bag and mask and then started to shoot people as the
        train entered the station.
395     A Black supremacist, crazy guy that watched too much MSNBC shot up a subway car where
        nobody died, and he was apprehended a day later.
396     He shot in the train but no one suffered serious injuries.
397     Attacked in the subway.
399     The person who did the shooting was apprehended or gave himself up several hours later.

Eastern Division of Northern District of Illinois.
17     People were running off the train. Lots of smoke. Same man had smoke bombs. He was caught and
       had mental issues. Black man.
19     They he took a gun to the subway in NY. He left. 2 people were killed. So many mass shootings it is
       hard to recall the rest.
22     That he had hate and acted on it.
30     That it happened, and it was terrible.
32     Remembers that it happened.
38     He shot a lot of people.
44     Mental problems and started shooting.
48     He turn himself in.
63     Unnecessary event and I am glad they got him.
67     He was on the L train shooting people and went to McDonalds and turn himself in.
73     It was a hate crime.
74     During rush hour.
75     Doesn't remember a lot but just heard about it.
76     He broke into the back and people went out the front.
77     I know there were a lot of people on the train at the time, he was able to avoid capture for a while,
       then he turned himself in.
81     He was on a train and shot people.
82     I just heard on evening news.
89     Just that it occurred on the train.
92     Just that it seemed to be unprovoked.
93     Just that it happened.
108    Seemed to be a random shooting.
111    Major subway shooting.
113    That the injured people and gave himself up.
120    He opened fire on a commuter train and he had a Charles Manson YouTube website about a race
       war between whites and Blacks.
129    I just remember seeing some video of people running from the subway.
141    That it was bloody. He took a lot of people and killed them.
143    Did shooting in the subway.
146    Just hearing it on the news.
150    Shooting in the subway.
152    Set off smoke grenades in the subway and shot 33 times.
157    The NYC subway shooting suspect.
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Responses to Open-Ended Questions   SL3617-8    Eastern Dist. of New York/Eastern Div. of Northern Dist. of Illinois   6/11


160     That there was an older Black man that did it I don't keep up on the news like I should.
170     A man was shooting on the subway.
171     Only that it was a rampage.
176     Saw on the news about the shooting.
179     I just saw in tv.
182     Shooting in suburbs.
183     That he shot 10 people.
184     Just that there was a shooting.
189     I just remember hearing about the shooting, and he was caught.
193     Hearing about it from the news.
195     It was a big shooting.
200     I remember more info on my feed on Facebook, more senseless deaths.
204     Randomly started shooting according to the news.
205     Subway shooting.
208     Ignorant man spiraled.
209     He killed a lot of people in the subway.
212     It was a terrible shooting.
216     He injured 10 people, but no one died.
219     Just saw in tv.
225     He just started shooting.
228     It took several days for a consistent story to come about. Lot of hype then nothing to report out here.
        I heard very little about it.
232     That he randomly was shooting at people.
233     He was loose for awhile and then they captured him.
235     Shooting.
239     I heard about this back in the spring.
244     That a lot of people were killed and injured.
245     It was scary, because my children take the train here.
250     That 10 people were shot on the subway.
252     I just saw it on the news, people were scared to ride the subway.
259     Remember a news article about it.
264     He went shooting on a subway.
266     That it was in New York.
271     It was a subway shooting.
274     An incident on a New York subway that involved some kids.
278     That it was in New York.
279     Only that someone was seen on camera, and a bag, but not too many details.
280     I think a shooting.
283     Only heard from friends.
284     It happened in New York and it left 29 people injured.
288     He was in the subway train shooting people.
289     Shot up random people on the subway. From Illinois.
291     Man opened fire on innocent subway riders.
292     Frank James did it.
297     Man on the subway started shooting people and they were trying to flee.
306     Several wounded. None killed.
308     I remember footage of the person being arrested on the street maybe.
309     I remember the shooting took place on a train car in the NY subway system, the suspect is an
        African American middle-aged heavy-set man.
314     I used to live there so that’s only why it stood out in my head.
316     He has a trauma history. He shot people on the subway. He is Black.
331     The suspect was on a southbound N train in between stations when he detonated a smoke bomb
        and started shooting inside the subway car.
335     A man with a gas mask opened fire during morning rush. He shot 10 people and deployed a smoke
        device.
342     It caused mass hysteria and panic.
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349     It happened on a subway.
354     Yes. He was dressed as a construction worker.
358     There was smoke, I think they thought a bomb went off at first.
360     Shooter with a YouTube channel shot up a subway car after using smoke grenades, used I believe
        a Glock with an extended magazine and was apparently a terrible shot, wounded a ton of people but
        only killed a few, possibly. Maybe none?
362     I just remember that the person came onto the train and shot a bunch of people, a few died but most
        were just hurt.
363     I recall him escaping the scene, an ensuing manhunt, and I believe an arrest at or near a restaurant.
371     He drove and shot at a train while it was approaching the station. He also used smoke bombs,
        around 10 people were hurt.
374     He deserves the death penalty.
375     I remember hearing about it from social media. I heard multiple people had been fatally shot by a
        gunman in New York at a train station.
382     I think he opened fire on the subway and I don’t remember how many people were injured and/or
        killed.
383     Shooting on subway, little else.
385     Just that a shooting occurred in Brooklyn.
387     Just his mug shot.
391     He shot people in a NYC subway.
396     Parents were dropping kids at school, via metro or train rail, when the shooting happened.
397     Many were injured.
399     African-America man. "Black nationalist" and seemed to hate anyone not Black. He had extreme
        views and used a handgun to shoot 9 or 10 people and caused injuries to dozens more.
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Question 11. In your own words, what are some of the things that you know about Frank James? What are
       other things you know about Frank James? What else? Anything else?

Eastern District of New York.
1      That he has had some petty crimes before.
5      Only what I stated earlier, I know he has a sheet like most offenders today.
6      Might be insane.
10     He was the shooter. I don't know if people died. I put the blame on mayor Adams.
16     He is obviously guilty, and he needs to be treated as such, how did he get a gun anyway?
21     I think he was diagnosed mentally ill and that he was supposedly not taking his medication.
24     He had a record, mental illness.
35     I know he is from Chicago. I think he worked in construction. And he traveled from CHI to NY.
47     Think he is African American and overweight.
49     Not very much at all other than he is associated with the shooting.
51     I still don't understand why he did it and what the details. The information stopped after he was
       caught. I think residents were just relieved to know he was removed from the streets.
55     He is a psycho.
58     I think he had mental illness.
64     He was in Philadelphia, rented a U-Haul, and came to New York and got on the train.
68     Brought a gun onto the subway.
73     We are afraid. We do not take the subway unless we need to. My daughter has a taser. She works
       in the wee hours of the morning. And there are so many homeless people in the subways. We are
       scared. We are afraid.
79     Mental illness.
85     Social media posts about him shooting and he has a criminal record.
86     Mental illness.
92     He is crazy mentally ill.
97     He had a nap sack with him on the train before the disturbance.
98     He was a Black Panther, Black Lives Matter.
99     He is crazy.
100    What he looks like.
104    Disgruntled man who’s very angry. No regard for life and selfish.
105    Mental illness.
107    Heavy set, African-American.
111    He is accused of the shooting and in military garb.
114    He was loose in subway system. Devices on him.
119    Mental illness.
120    I understand he had a record.
122    Crazy and was a violent man.
126    He opened fire on the subway that were defenseless and then called and turned himself in.
128    He shot a lot of people.
130    He has some kind of mental illness.
135    He was from out of town.
139    Has a bias against white people.
140    That he is guilty.
143    It was bad. He was angry.
152    After a week from the incident no further media coverage at all.
154    He was the one that went on subway and shoot people.
164    He is involved in the shootings.
168    He committed a mass shooting on the train.
170    See it on the news that day he did not want to go to court on the first appearance.
180    That he's mentally ill and his background is why he did this.
187    He might be mentally ill.
190    I do not think he should be charged with terrorism.
195    Don't know much other then he killed lots of people.
201    He was wearing a work uniform and then changed back to normal clothes to hide.
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202     I think he was deranged and very angry.
206     He killed a person.
207     He is a crazy and evil person.
208     Mental health issues possibly.
214     They let guilty people out of jail so it is very dangerous on the subway.
216     Mental illness.
221     He’s a bad guy for hurting people.
224     Nothing personal dressed as a construction worker.
226     I don't know anything except he was a Black man.
227     Mentally ill and terrorist.
232     Any one of subway are innocent people he is firing his gun and kill.
237     I believe his instinct to kill was terroristic and racist.
238     They found him at McDonalds.
239     Walking with a luggage and had a construction mask he was spotted he had a device it blew up in
        smoke.
240     He faces a federal terrorism charge and he is crazy.
242     His intent was damaging to himself and others.
250     A man that went on a rampage with multiple shots.
253     He has guilty.
256     That he is Black and carried army gear.
258     A racist.
262     Mental illness.
267     Only that he was medically problematic.
268     He had weapons, and gas cannisters like terrorist.
272     That he is a sick man.
273     He is insane.
275     A racist that couldn't take it anymore.
279     That he hurt a lot of people.
282     He has a look of no remorse.
283     He is Black.
286     For him to have all of the items in his backpack, he thought this out.
287     Prior incidents of prior mental instability.
293     Mental issues.
295     Heard he is a racist.
296     He is a crazy and mentally ill.
297     Crazy what he did.
299     Nothing elderly man.
300     Most people are guilty of crime.
303     He was crazy.
305     He is mentally ill and to speak about racism and terrorism is a cop-out.
308     Heard that someone attacked someone one in train station.
310     That he planned the shooting, and the U-Haul was rented in his name.
313     It was an action of terrorism and racist hatred.
314     He is a terrorist.
316     That he's a racist.
320     Mentally ill.
321     Other than his actions being racist.
323     That he obviously has a mental situation.
324     The man had so much built-up rage.
325     He is insane.
327     That he made a lot of racist YouTube post and supported other mass shooters.
330     Mentally ill.
332     He was old maybe mental issues.
337     He’s Black and hates Black people.
338     He traveled from a different state and was a Black supremacist.
346     He is Black, possibly mentally disturbed.
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352     He's a Black who hates every race but his own. Needs to be charged with a hate crime.
354     He posted YouTube videos ranting about society.
359     It seems he was mentally I’ll and didn’t have a clear target when deciding to shoot people. I don’t
        recall the motive but that it seemed disconnected from the action.
361     I don't really remember much other than he drove to New York from a different state.
365     Guilty.
368     The subway cameras didn’t work.
372     I thought he turned himself in.
381     He was distressed about something.
382     Just that he was a disgruntled older male who planned the attack for months.
383     Mentally a bit unstable, self-identified as having trouble, turned himself in if I recall correctly.
388     He had a lot of weapons and posted that he wanted to kill a lot of people on social media.
395     He put out videos online hating on white people, and Black people who date white people. He was a
        fan of MSNBC. Surprisingly nobody died even though he opened fire in a small, enclosed space. I
        was surprised they didn't release him on cashless bail because our state and local government
        cares more about criminals than normal people. Considering he knew he was wanted but decided to
        hang around for a day or so in the East Village and then he turned himself in, it's pretty obvious he's
        guilty. If he wasn't, he would have turned himself in immediately to explain that it wasn't him.
396     He mentioned something about homelessness.
399     He is mentally challenged.

Eastern Division of Northern District of Illinois.
17     Black man. mentally ill.
19     He's African-American. Lived in NY. Mentally ill. Should have never had a gun.
21     Mental illness.
22     He is racist.
28     Mental illness.
38     I heard he was a Black man, their saying he is a terrorist.
42     Just what I've seen in the media that he was a past criminal. Don't recall what the media said about
       him.
44     Only know what the news has said.
48     He is African American, middle aged.
50     Mental illness.
63     We are glad that he was caught, and we hope for justice first.
73     He had a manifesto; it was all planned.
75     Hasn't heard much about the shooting outside of the initial news report. Hasn't dug much into the
       details.
76     He drove in from New Jersey in a van.
79     He had a chemical bomb on the train.
81     He did have a record.
82     I just saw it as breaking news when it occurred.
83     He looks guilty.
90     He was homeless.
94     Portrayed him as domestic terrorist.
96     He is guilty as sin.
102    That he is Black and is accused of being a mass shooter.
120    Frank James had videos posted on YouTube and said he would start a race war.
127    He was in a subway station and that he had a gun and people were killed.
135    Mentally ill.
149    Mental illness.
152    That his attack left 29 people injured.
161    He has an illness.
170    Just that he was responsible for the shooting.
176    He's a maniac that went on a spree.
182    He's mentally ill.
183    That he planned the shooting.
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188     He was involved in a mass transportation vehicle in the incident.
189     I do not know anything Frank James, except they are saying that he is a Black man.
208     Was racist.
209     He has to be mentally ill.
214     Just that he's an older Black man with mental issues.
216     They think he called in the tipline on himself.
219     Mentally ill.
225     He basically called and turned himself in, mental illness seems like.
232     He was a Black man in his 60's.
235     Crazy.
239     He was crazy and shooting.
250     29 people were injured including 5 children.
257     Guilty.
261     He sound lost.
264     He didn't kill anyone, but he hurt a lot of people.
265     He did it.
271     I think that he is mentally challenged.
274     That he is crazy.
278     This man is mentally disturbed it’s sad, but I don't think he is really aware of his consequences.
283     Not too much besides the shooting and possibly racist.
284     He has to be mentally unstable to set smoke grenades on a subway and start shooting.
288     He had just bought the gun he used for the shooting a couple days before.
289     Black nationalist.
291     He posted on social media.
297     He was crazy.
312     I would need to understand fully what the terrorism charge is and look at the evidence presented. I
        don’t think anyone denies that he did shoot people on the train, so he’s guilty of something, but I’m
        not sure of the exact charge. I’d also like to know Mr. James’ history, psychological profile, mental
        health, etc.
324     He had a violent past and a history of racist comments. His racism resulted in threats of violence. In
        addition, he was very prepared to do violence, even bringing a gas mask with him.
331     He often traveled between Wisconsin and Pennsylvania.
335     62 years old. Past criminal record and has lived in multiple states.
346     That he is a man. And at the end of the day, that’s all he will ever be.
354     He pled guilty.
360     Had a YouTube channel, I think may have had racial supremacist views, not really anything else, I
        think middle-aged, not young.
363     I know he was arrested in connection with the shooting. I believe he is middle aged and Black.
364     He is accused of a mass shooting on a NYC subway.
365     I’m pretty sure my first answer was never heard of this. After googling it since you keep asking me
        more questions about it, yea he’s guilty. I understand folks are innocent until proven guilty, but that’s
        to ensure innocent people aren’t mistreated. What he did is disgusting and blatantly criminal and
        should not be protected as if there’s a possibility, he might be innocent - give me a break!
371     Frank James was a Black man, who was battled mental issues and shared the poor quality of the
        services he received.
374     He deserves to die.
382     I believe he was a Black man with mental illness.
383     Mentally ill, African American.
387     I only remember his mug shot.
391     He used to live in Chicago and was a mean neighbor.
392     He’s guilty & should be put to death by the system. We are too soft on crime.
397     He’s a dangerous man who caused chaotic scene from his desire to hurt or kill people while going to
        work on the NY subway.
399     That he considers himself a Black Nationalist and has pretty extreme views.
